Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 1 of 261




         EXHIBIT
           “A”
           Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 2 of 261
A   lb.

;_:_t CT Corporation                                                              Service of Process
                                                                                  Transmittal
                                                                                  10/15/2018
                                                                                  CT Log Number 534221556
          TO:     Julianne Blanchette
                  Starwood Waypoint Homes
                  1717 Main St Ste 2000
                  Dallas, TX 75201-4657

          RE:     Process Served in Georgia

          FOR:    Primestar Fund I IRS, Inc. (Domestic State: DE)




          ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

          TITLE OF ACTION:                  Oni Roberts, Pltf. vs. BANK OF AMERICA, CORPORATION, et at., Dfts. // To:
                                            PrimeStar Fund I TRS, Inc.
          DOCUMENT(S) SERVED:               Summons, Affidavit, Complaint, Attachment(s), Exhibit(s)
          COURT/AGENCY:                     DeKalb County Superior Court, GA
                                            Case # 18CV10026
          NATURE OF ACTION:                 Foreclosure Litigation - Mortgage
          ON WHOM PROCESS WAS SERVED:       C T Corporation System, Lawrenceville, GA
          DATE AND HOUR OF SERVICE:         By Process Server on 10/15/2018 at 10:25
          JURISDICTION SERVED:              Georgia
          APPEARANCE OR ANSWER DUE:         Within 30 days after service, exclusive of the day of service
          ATTORNEY(S) / SENDER(S):          Oni Roberts
                                            5371 Charity Way
                                            Stone Mountain, GA 30083
                                            404-518-6496
          ACTION ITEMS:                     CT has retained the current log, Retain Date: 10/15/2018, Expected Purge Date:
                                            10/20/2018

                                            Image SOP

                                            Email Notification, Julianne Blanchette julianne.blanchette@invitationhomes.com

                                            Email Notification, Legal Department legal@invitationhomes.com
                                            Email Notification, Kimberly Gardner kim.gardner@invitationhomes.com

                                            Email Notification, Brian Neighbarger bneighbarger@invitationhomes.com

          SIGNED:                           C T Corporation System
          ADDRESS:                          289 5 Culver St.
                                            Lawrenceville, GA 30046-4805
          TELEPHONE:                        214-932-3601




                                                                                  Page 1 of 1 / AS
                                                                                  Information displayed on this transmittal is for CT
                                                                                  Corporation's record keeping purposes only and is provided to
                                                                                  the recipient for quick reference. This information does not
                                                                                  constitute a legal opinion as to the nature of action, the
                                                                                  amount of damages, the answer date, or any information
                                                                                  contained in the documents themselves. Recipient is
                                                                                  responsible for interpreting said documents and for taking
                                                                                  appropriate action. Signatures on certified mail receipts
                                                                                  confirm receipt of package only, not contents.
              Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 3 of 261




                                   IN THE SUPERIOR COURT OF DEKALB COUNTY
                                               STATE OF GEORGIA
  Oni Roberts,                                                                  Case No.:                   /8 w/o6 076

                                   Plaintiff

              VS
  CT Corporation System
Aor PrimeStar Fund I TRS, Inc.
  289 S. Culver Street

  Lawrenceville, GA 30046-4805 (Gwinnett County)
                    Defendant

                                                                     SUMMONS
 TO THE ABOVE NAMED DEFENDANT(S):
 You arc hereby summoned and required to file electronically with the Clerk of said court at
 httos://efileaa.tvlerhost.net/ofsweb and serve upon the Plaintiff's attorney, whose name, address and email is:
                                                 Oni Roberts         •
                                              5371 Charity Way
                                        Stone Mountain, GA 30083

 An answer to the complaint which is herewith served upon you, within 30 days after service of this summons
 upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
 the relief demanded in the complaint.

 This                                         day of                                       , 20


                                                                                                      Honorable Debra DeBerry
                                                                                                      Clerk of Superior Court
                                                                                                      By
                                                                                                                 Deputy Clerk
 E-Filinst and E-S nice

 Pursuant to the Superior Court of DeKalb County's E-File Order, dated December 27, 2016, and available at www.dlouneriorclerkeornicivil. the
 parties must file all documents electronically through eFileGA unless expressly exempted under the Rule. All orders and notices from the Court vall
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 Instructions: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet Es used.
                Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 4 of 261




                                          General Civil and Domestic Relations Case Filing Information Form

                                              Ifli
                                                 kSuperior or 0 State Court of                          Pe/YA                  b                  County

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Plaintiff(s)                                                                                          Defendant(s)
Roberts      Cr                                                                                       Bank of America Corporation; Fay Servicing. LLC
Last                      First                    Middle L        Suffix         Prefix               Last                    First                Middle L          Suffix         Prefix
                                                                                                      US BanCorp dicia US Bank National Association
Last                      First                    Middle I.       Suffix         Prefix              Last                     First                Middle L          Suffix         Prefix
                                                                                                      Statelkidge Company, LLC; PrimeStar Fund I TRS, Inc.
Last                      First                    Middle I.       Suffix         Prefix              Last                     First                Middle L          Suffix         Prefix
                                                                                                      Wilmington Savings Fund Society, FSB; Brett J. Chaness Esq
Last                      First                    Middle L        Suffix         Prefix              Last                     First               Middle L           Suffix         Prefix

Plaintiff's Attorney                     Oni Roberts Propria Persona                                    Bar Number                                    Self-Represented El

                                                                     Check One Case Type in One Box

              General Civil Cases                                                                             Domestic Relation.; Cases
              O            Automobile Tort                                                                    O            Adoption
              O            Civil Appeal                                                                       O            Dissolution/Divorce/Separate
              CI           Contract                                                                                        Maintenance
              O            Garnishment                                                                        O            Family Violence Petition
              O            General Tort                                                                       o            Paternity/Legitimation
              O            Habeas Corpus                                                                      o            Support -1V-D
              O            Injunction/Mandamus/Other Writ                                                     O            Support- Private (non-IV-D)
              O            Landlord/Tenant                                                                    o            Other Domestic Relations
              O            Medical Malpractice Tort
              O            Product Liability Tort                                                             Post-Judgment - Check One Case Time
              O            Real Property                                                                      O           Contempt
              O            Restraining Petition                                                                       0    Non-payment of child support,
              O            Other General Civil                                                                             medical support, or alimony
                                                                                                              O           Modification
                                                                                                              O           Other/Administrative

O             Check if the action is related to another action(s) pending or previously pending in this court involving some or all
              of the same parties, subject matter, or factual issues. If so, provide a case number for each.

               t(q bi 4J2-1c
                            Case Number                                                              Case Number

0           „ I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
               redaction of personal or confidential information in 0.C.GA. § 9-11-7.1.

O             Is an interpreter needed in this case? If so, provide the language(s) required.
                                                                                                                                                 Language(s) Required

O             Do you or your client need any disability accommodations? If so, please describe the accommodation request.



                                                                                                                                                                                       Venison 1.1.15
          Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 5 of 261


                       General Civil and Domestic Relations Case Filing Information Form

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 ▪        • Filed —
        Date                                                            Case Number • •
                               -•              NI         •    •                             '
                   MM-DD-YYYY,

Plaintiff(s)                                                                  Defendant(s)
Roberts      Oni                                                              Bank of America Corporation; Fay Servicing, I1C
Last           First          Middle L       Suffix           Prefix          Last    •       First           Middle L      Suffix   Prefix
                                                                              US BanCorp a/k/a US Bank National Association
Last          First           Middle L       Suffix           Prefix          Last            First           Middle L      Suffix   Prefix
                                                                              StateBridge Company, LLC: PrimeStar Fund I TRS, Inc.
Last          First           Middle L       Suffix           Prefix          Last            First           Middle L      Suffix   Prefix
                                                                              Wilmington Savings Fund Society, FSB; Brett J. Chaness Esq
Last           First          Middle L       Suffix           Prefix          Last                 First         Middle L    Suffix   Prefix

Plaintiffs Attorney Oni Roberts Propria Persona                                   Bar Number                         Self-Represented Er

                                               Check One Case Type in One Box

        General Civil Cases                                                          Domestic Relations Cases
        O       Automobile Tort                                                      O           Adoption
        O       Civil Appeal                                                         O           Dissolution/Divorce/Separate
        0       Contract                                                                         Maintenance
        O       Garnishment                                                          O           Family Violence Petition
        O       General Tort                                                         O           Paternity/Legitimation
        O I     Habeas Corpus                                                        O           Support - IV-D
        O       Injunction/Mandamus/Other Writ                                       O           Support - Private (non-IV-D)
        O       Landlord/Tenant                                                      O           Other Domestic Relations
        O       Medical Malpractice Tort
        O       Product Liability Tort                                               Post-Judgment - Check One Case Type
        O       Real Property                                                        O           _Contempt
        O       Restraining Petition                                                     0        Non-payment of child support,
        O       Other General Civil                                                               medical support, or alimony
                                                                                     O           Modification
                                                                                     O           Other/Administrative

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                CA/   5D- 7 5--
                Case Number                                               Case Number

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                                                                                                               Languages) Required

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                                                                                                                                       Version 1.118
              Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 6 of 261




                                  IN THE SUPERIOR COURT OF DEKALB COUNTY
                                              STATE OF GEORGIA
 Oni Roberts,                                                                  Case No.:




                                  Plaintiff

            VS
 CT Corporation System
 Bank of America Corporation
289 Culver Street

 Lawrenceville. GA 300464805 (Gwinnett County)
                   Defendant

                                                                    SUMMONS
TO THE ABOVE NAMED DEFENDANT(S):
You are hereby summoned and required to file electronically with the Clerk of said court at
httos://efileRa.tvIerhost.net/ofsweb and serve upon the Plaintiff's attorney, whose name, address and email is:
                                                Oni Roberts
                                             5371 Charity Way
                                        Stone Mountain, GA 30083

An answer to the complaint which is herewith served upon you, within 30 days after service of this summons
upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint.

This                                         day of                                       ,20


                                                                                                     Honorable Debra DeBerry
                                                                                                     Clerk of Superior Court

                                                                                                     By
                                                                                                                Deputy Clerk
EfFilina and g-Senict

Pursuant to the Superior Cotut of DeKalb County's E-File Order, dated December 27, 2016, and available at wwwdlmoeriorcleric.comkivil, the
parties must file all documents electronically through eFileGA unless expressly exempted under the Rule. All orders and notices from the Court vd11
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case and the party represent, and take whatever steps are necessary to ensure that correspondence from eFileGA reaches the parties' inboxes. To
access eFileGA, please go to lAtp://www,odvssevefilega.comi




Instructions: Attach addendum shlhn for additional parties if needed, make notation on this sheet if addendum sheet is used.
              Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 7 of 261




                                  IN THE SUPERIOR COURT OF DEKALB COUNTY
                                              STATE OF GEORGIA
 Oni Roberts,                                                                  Case No.:




                                  Plaintiff

             VS
 Registered Agent Solutions, Inc,
 for Fav Servicing LLC
 900 Old Roswell Lakes Parkway, Ste.310
 Roswell, GA 30076 (Fulton County)
                                  Defendant

                                                                    SUMMONS
TO THE ABOVE NAMED DEFENDANT(S):
You are hereby summoned and required to file electronically with the Clerk of said court at
httos://efilega.tvlerhost.netiolsweb and serve upon the Plaintiff's attorney, whose name, address and email is:
                                                 Oni Roberts
                                               5371 Charity .Way
                                         Stone Mountain, GA 30083

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                                                                                                     Clerk of Superior Court

                                                                                                     By
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             Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 8 of 261




                                  IN THE SUPERIOR COURT OF DEKALB COUNTY
                                              STATE OF GEORGIA
  Oni Roberts,                                                                  Case No.:




                                  Plaintiff

            VS
 CT Corporation System, Inc.
for US BanCorm alida US Bank National Association

 10_10 Dale St.. N.

 St. Paul. MN 55117-5603
                   Defendant

                                                                    SUMMONS
TO THE ABOVE NAMED DEFENDANT(S):
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This                                         day of                                       ,20


                                                                                                     Honorable Debra DeBerry
                                                                                                     Clerk of Superior Court

                                                                                                     By
                                                                                                                Deputy Clerk
              E-Servize

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              Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 9 of 261




                                  IN THE SUPERIOR COURT OF DEKALB COUNTY
                                              STATE OF GEORGIA
  Oni Roberts,                                                                 Case No.:




                                  Plaintiff

              VS
 Incorp Services, Inc.
 for StateBridge Company, LLC

 2000 Riveredge Parkway, N.W- Suite 885

 Atlanta, GA 30328
                                  Defendant

                                                                    SUMMONS
TO THE ABOVE NAMED DEFENDANT(S):
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httns://efileaa.tvlerhost.nettofsweb and serve upon the Plaintiff's attorney, whose name, address and email is:
                                                 Oni Roberts
                                              5371 Charity Way
                                         Stone Mountain, GA 30083

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This                                         day of                                       ,20


                                                                                                     Honorable Debra DeBerry
                                                                                                     Clerk of Superior Court

                                                                                                     By
                                                                                                                Deputy Clerk
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             Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 10 of 261




                                  IN THE SUPERIOR COURT OF DEKALB COUNTY
                                              STATE OF GEORGIA
 Om Roberts,                                                                   Case No.:




                                  Plaintiff

                       VS

 Wilmington Savings Fund Society. FSB

 500 Delaware Avenue

 Wilmington. DE 19801
                  Defendant

                                                                    SUMMONS
TO THE ABOVE NAMED DEFENDANT(S):
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This                                         day of                                       ,20


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                                                                                                     Clerk of Superior Court

                                                                                                     By
                                                                                                                Deputy Clerk
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IICCASS eFileGA, please go to hnpliwww.adyssevefilegu,amv




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             Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 11 of 261




                                  IN THE SUPERIOR COURT OF DEKALB COUNTY
                                              STATE OF GEORGIA
 Oni Roberts,                                                                  Case No.:




                                  Plaintiff

             vs
Brett J. Chaness, Esq.
Rubin Lublin Law Office

 3145 AvaLon Place, Suite 100

 Peachtree Corners, GA 30071
                    Defendant

                                                                    SUMMONS
TO THE ABOVE NAMED DEFENDANT(S):
You are hereby summoned and required to file electronically with the Clerk of said court at
httos://efileea.tvlerhost.net/ofsw b and serve upon the Plaintiff's attorney, whose name, address and email is:
                                                Oni Roberts
                                             5371 Charity Way
                                       Stone Mountain, GA 30083

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This                                         day of                                      ,20


                                                                                                    Honorable Debra DeBerry
                                                                                                    Clerk of Superior Court

                                                                                                    By
                                                                                                               Deputy Clerk
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Case 1:18-cv-05229-MHC-AJB            Document 1-1 Filed 11/14/18 Page 12 of 261
         FILED 10112/2018 3:56 PM CLERK OF SUPERIOR COURT DEKALB COUNTY GEORGIA




                                   DEKALB COUNTY SUPERIOR COURT
                                             STATE OF GEORGIA


     Oni Roberts
                        Plaintiff,                              Civil Action
vs. Bank Of America Corporation,
    Fay Servicing, LLC, PrimeStar                                                       8CV10026
                                                                Case Number
    Fund I TRS, INC, Wilmington
    savings Fund, ESA Defindant.
    US BanCorp aka US-131Wional
    Association, Bret Chaness Esq.
    Statelkidge Company, LLC
                                        AFFIDAVIT OF POVERTY
         I am the Cd Plaintiff 0 Defendant in this case. I am filing this Affidavit ofPovery under
OCGA § 9452, to-ask that I be-relieved from paying the court costs.
         I hereby swear or affirm, before a notary public, that the following information is true:

                                                           1.
       Because I am indigent, I am unable to pay the filing fee, service fee, and other costs
which-are-normally required-in the-court.

                                                          2.
         My income comes from the following sources:                     (Check all that apply.)
0 Earnings from my job 1111Other work 0 Social Security or SSI 0 Unemployment benefits
OVA benefits 0 Disability Insurance or Worker's Compensation 0 Child Support
CI TAW Cl Pension or Retirement Benefits 0 Alimony 12 Help from family or friends

                                                          3.
         Myaverage gross tome (before taxes) is S                              per month; my net income
(after taxes) is S    ttg I             per month.


         In addition to my own income, my other family members living with me have a total
income of     5      let           per month:


                                0, at                     4.
       I have S            l•           in my savings account(s), and $ 402. IA in my checking
account(s).


Affidavit of Poverty - rev. approved August 31, 2010                                               Page] of 2
Provided by the Das% County Superior Court and the Atlanta Lest] Aid Society
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 13 of 261




                                                          5.
           The amount of my rent or mortgage payment is S                            per month.
 (Check one °famed [II am current on my payments                          I am IL s       months in arrears.

                                                          6.
       I pay $ 1\1 Aik        per month in child support, alimony or other support to other family
  members. who do not live with me.

                                                          7.
           I support the following dependents who-live with me:                 Ar



                                                          8.
           I have the following special financial circumstances:

  0.       I do not have any income of any kind, and'! am paying my expenses in the following way:




  gt.      I have a bankruptcy going on or just recently completed. The court case number for my
           bankruptcy is: ‘q 4639/                                   .
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 Affidavit of Poverty - rev. approved August 51,2010                                               Page 2 of 2
  Provided by theDelCarCounty Superior Coxat and theAthmta LegstAid Society
       Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 14 of 261
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 Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 15 of 261
Case 18-65399-pmb Doc 19 Filed 10/10/18 Entered 10/10/18 15:57:08 Desc Main
                          Document Page 1 of 2




  IT IS ORDERED as set forth below:



  Date: October 10, 2018                                                         A3 amk.,,

                                                                          Paul Batsler
                                                                  U.S. Bankruptcy Court Judge




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In m:                                                  CASE NUMBER

TWANISHA ON! ROBERTS,                                  18-65399-PMB

        Debtor.                                        CHAPTER 13


                          ORDER (I) DENYING DEBTOR'S
                  MOTION TO EXTEND STAY AND DISMISSING CASE

        This matter comes before the Court on a pleading filed by the Debtor referenced above (the

"Debtor") entitled Emergency Motion (Docket No. I 8)(the "Motion") on October 9, 2018. In the

Motion, the Debtor seeks to extend the automatic stay in this case, as it is her second bankruptcy

case filed within the last year. The Debtor asserts in the Motion that she filed this Case in good

faith, and requests additional time to obtain counsel to assist her in the prosecution of this case.

        As noted in the Motion, the Debtor has a prior bankruptcy case that was dismissed within

the twelve (12) month period that preceded the filing of this case, Case No. I 8-50881-PMB (the

"Prior Case"). In fact, the order of dismissal in the Prior Case (Prior Case, Docket No. 31)(the
 Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 16 of 261
Case 18-65399-omb Doc 19 Filed 10110/18 Entered 10/10/18 15:57:08 Desc Main
                          Document Page 2 of 2




"Dismissal Order") was entered with a finding under 11 U.S.C. § I09(g), rendering the Debtor

ineligible to file another Chapter 13 case for dperied of 180 days from the date of the Dismissal

Order. The Dismissal Order was entered on April 10, 2018 and this case was filed on September

13, 2018; accordingly, the Debtor filed this case only 156 days after the Dismissal Order in

violation of the Section 109(g) finding in the Dismissal Order.

       Moreover, for the automatic stay of this case to be extended pursuant to 11 U.S.C.

§ 362(c)(3)(3), the Debtor must show that she filed this case in good faith. The fact that this case

was filed in violation of the Section 109(g) finding of the Dismissal Order, however, suggests a

lack of good faith on the part of the Debtor.

       Upon consideration of the foregoing, it is hereby

       ORDERED that the Motion is DENIED. And it is further

       ORDRED that this case is DISMISSED.

       The Clerk is directed to serve a copy of this Order upon the Debtor, the Chapter 13 Trustee,

the United States Trustee, and all parties on the mailing matrix in this case.

                                        LEND OF DOCUMENT]




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                  Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 17 of 261                                        9/17/18, 1037 AM
GEORGIA




                                                                                                    GEORGIA SECRETARY OF STATE
                      GEORGIA
                      CORPORATIONS DIVISION                                                                  BRIAN P. KEMP

                                                                                                                              HOME (/)
       BUSINESS SEARCH                                   IL
        BUSINESS INFORMATION
                                          PRIMFSTAR FUND I
                     Business Name:                                                     Control Number: 15001743
                                          TRS INC.
                                          Foreign Pfldit
                       Business Type:                                                    Business Status: Revoked
                                          Corporation-
                   Business Purpose: NONE
                                    8665 East Hartford Dr,
                                                                                     Date of Formation!
           Principal Office Address: Suite 200, Scottsdale, AZ,                                          1/6/2015
                                                                                      Registration Date:
                                    85255, USA
                                                                               Last Annual Registration 2017
                          Jurisdiction: Delaware
                                                                                                  Year:
                     Dissolved Date: 09/07/2018


        REGISTERED AGENT INFORMATION
           Registered•Agent Name: C T Corporation System
                   Physical Address: 289 S Culver St, Lawrenceville, GA, 30046-4805, USA
                               County: Gwinnett


        OFFICER INFORMATION

        Mime                  TIM             Blishiess Addiess
         Arik Prawer          CFO             8665 East Hartford Dr Suite 200, Scottsdale, AZ, 85255, USA
        Fred Tuomi            CEO             8665 East Hartford Dr Suite 200, Scottsdale, AZ, 85255, USA
        Ryan Berry            Secretary       8665 East Hartford Dr Suite 200, Scottsdale, AZ, 85255, USA


                                                       Sling History           Name History
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                      IN THE SUPERIOR COURT OF DEICALB COUNTY
                                  STATE OF GEORGIA

  PRIME STAR FUND 1 TRS,

                     Plaintiff,
                                                                                                t.
  V.                                                            File No.: 1 Ce...A/ 511C

  ONI ROBERTS,

                     Defendant.


        ORDER GRANTING moyioN TO PROCEED IN FORMA PAUPERIS
          The Court has reviewed Defendant's Motion to Proceed In Forma Pauperis and

  upon review of the Defendant's Affidavit and other pleadings it appears to the Court that

  the affiant is Unable to pay the filing fees and associated costs of this action. The court

  approves the petition to file in forma pauperis at this time, but ig upon further

  information, the court determines that Defendant does not qualify, costs may be assessed

  at the court's discretion.


          SO ORDERED this 10.4-#
                                                 POLday of                          ,2016.




                                                                              if
         Oft al _ G_.41)81011 County,
         lie trdedgedeCcerof CeKal &paled:ad webs 11219is in
       • e tun ard coed cmg dthAddnaldanseenhahin on Ea mfr..                      fhlri-/-
         mad lobe Wife oftwaertal        Cast Muss wham'
         end      (sirWI el                                     JIMGE ASHA F. JACKSON
                                                                DelCalb County Superior Court
                                                                Division 2




                                                                                          SCANNED




               •
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                                                    Court      Page
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                                                                 County



                              IN THE SUPERIOR COURT OF DEICALB COUNTY
                                          STATE OF GEORGIA

SHAWN WILLIAMS,
          Plaintiff                                ) CIVIL ACTION-
VS.                                                ) FILE NO. 18FM5981-9

TWANISHA ONI BAKER,
          Defendant.                              ).

                    FINALALDGMENT AND DECREE OF DIVORCA

         The-above-styled-divorce action-came before the Court-on-a-Domestic Calendar on-July 24; 201&

         Upon consideration of this ease, upon evidence submitted-as provided by law, it is the judgment

of the-Court thata-total-divorce be granted; that is-to-say, a divorce avinculomegrimoniii between-the

parties-to the above stated case upon legal principles.

         It- is-considered1 ordered, anddecreed-by.the Court-that the marriage contract heretofore entered-

into between the parties-to this case, from and after this date, be and is set aside and dissolved as fully

andeffectually•asif no-such contract had-ever been-made or entered into; Plaintiff and-Defendant,

formerly husbandand wife, in the future shall be held and considered as separate and distinct persons

altogether unconnected-by any nuptial-union-or civil-contract whatsoever, and•both-shall have the right

to remany.

         The Settlement Agreement-Without-Minor Children between-the partiesfiled on. June 7, 2018- is

hereby incorporated into this decree.

         The costs-of these proceedings-are taxed-against-the Plaintiff.

         The Defendant is restored to former name, to wit: Twanisha Oni Baker

         SO ORDERED this Viday of            Jut/           .2018.


                                          WINSTON P. BETHEL, JUDGE
                                          SITING BY DESIGNATION FOR
                                          MARK ANTHONY SCOTT, JUDGE.
                                          STONE MOUNTAIN JUDICIAL CIRCUIT
cc:      Shawn Williams, Pro Sc
         Tvamisha Oni Baker, Pro Sc
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 20 of 261




                                                                                          r-•
                  IN THE SUPERIOR COURT OF DEICALB COUNTY
                                State of Georgia                                 '....•:=';
                                                                                I--
                                                                                mice?           •••••••:,
                                              §
                  Oni Roberts,                                                                  r •


                    Plaintiff                 §
                       V.                                                     C.-• '-'I
                                              §
                                                               Civil Action       c-:
  BANK OF AMERICA, CORPORATION;
                                              §                                  ,...74
           FAY SERVICING, LLC;
             • US BANCORP;                    §     File No.
     STATEBRIDGE COMPANY, LLC;
                                                     JURY TRIAL DEMANDED
    WILMINGTON SAVINGS FUND
  SOCIETY. FSB. (As Trustee for the Prime '
         Star — H Fund I Trust);
      PRIMESTAR FUNDA TRS. INC;
           BRET J. CHANESS, Esq;
                  Defendants


            VERIFIED EMERGENCY PETITION FOR TEMPORARY
        RESTRAINING ORDER AND/OR INTERLOCUTORY INJUNCTION



       COMES NOW, Plaintiff, Oni Roberts, ("Plaintiff" or "Ms. Roberts"), who

respectfully files her Verified Emergency Petition for Temporary Restraining

Order/Interlocutory Injunction, pursuant to Uniform Superior Court Rule 6.71, and
0.C.G.A. §9-11-65(b) against the listed Defendants, and shows this Honorable as follows:

§ 9-11-65. Injunctions; restraining orders:


'Upon written notice and good cause shown, the assigned judge may shorten or waive the
time requirement applicable to emergency motions, except motions for summary judgment,
or grant an immediate hearing on any matter requiring such expedited procedure. The
motion shall set forth in detail the necessity for such expedited procedure.
Uniform Superior Court Rule 6.7, GA R UNIF SUPER CT Rule 6.7; Current with
amendments received through May I, 2018. (Ga. Unif. Super. Ct. R. 6.7).
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                  IN THE SUPERIOR COURT OF DEKALB COUNTY
                                State of Georgia

                  Oni Roberts,
                    Plaintiff
                       V.

   BANK OF AMERICA, CORPORATION;                                Civil Action
                                              §
           FAY SERVICING, LLC;
                                                      File No. 'I SCV10026
            US BANCORP;         §
      STATEBRIDGE COMPANY, LLC; §
                                                       JURY TRIAL DEMANDED
     WILMINGTON SAVINGS FUND g
   SOCIETY. FSB-. (As Trustee for- the Prime
          Star — H Fund I Trust);
      PRIMESTAR FUND. I TRS. INC;
                                             9
         BRET S. CHAIVESS, Esq;
                   Defendants


             VERIFIED EMERGENCY PETITION FOR TEMPORARY
         RESTRAINING ORDER AND/OR INTERLOCUTORY INJUNCTION



       COMES NOW, Plaintiff; Oni Roberts, ("Plaintiff' or "Ms. Roberts"), who
 respectfully files her Verified Emergency Petition for Temporary Restraining
 Order/Interlocutory Injunction, pursuant to Uniform Superior Court Rule 6.71, and
 0.C.G.A. §9-11-65(b) against the listed Defendants, and shows this Honorable as follows:
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'Upon written notice and good cause shown, the assigned judge may shorten or waive the
time requirement applicable to emergency motions, except motions for summary judgment,
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Uniform Superior Court Rule 6.7, GA R UNIF SUPER CT Rule 6.7; Current with
amendments received through May I, 2018. (Ga. Unit: Super. Ct R. 6.7).
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           (b) Temporary restraining order; when granted without notice; duration;
           hearing; application to dissolve or modify. A temporary restraining order
           may be granted without written or oral notice to the adverse-party or his
           attorney only if:
                (1) It clearly appears from specific facts shown by affidavit or by
               the verified complaint that immediate and irreparable injury, loss,
               or damage will result to the applicant before the adverse party or
               his attorney can beheard in opposition; and
                (2) The applicant's attorney certifies to the court, in writing, the
                efforts, if any, which have been made to give the notice and the
               reasons supporting the party's claim that notice should not be
               required.
           Every temporary restraining order granted without notice shall be
           endorsed with the date and hour of issuance, shall be filed forthwith in the
           clerk's office and entered of record, and shall expire by its terms within
           such time after entry, not to exceed 30 days, as the court fixes, unless the
           party against whom the order is directed consents that it may be extended
           for a longer period.
 Ga. Code Ann. § 9-11-65 (West)

          I.                        JURISDICTION AND VENUE

 1.       Jurisdiction is proper in DeKalb County Superior Court, pursuant to- Ga. Const
 1983, Art. VI, § IV, 11.

 2.       Jurisdiction is also proper in this Court because it concerns title to real property:
 "The superior courts ... shall have exclusive jurisdiction ... in cases respecting title to land,
 &dock v. Setiock, 286 Ga. 384, 688 SE2d 346 (2010); in divorce cases; and in equity
 cases".

 3.       The judges of the superior courts have authority to grant for their respective circuits
 writs of certiorari, supersedeas, quo warnmto, mandamus, habeas corpus, and bail in
 actions ex deficit). (0.C.G.A. § 15-6-9(1); writs of injunction, prohibition, and ne twat
 (0.C.G.A. § 15-6-9(3))2, as well as to entertain bills quia time! (0.C.G.A. § 15-6-9(2));

 26   Se e Fuller v. Williams. 150- Ga. App. 730,258 S.E.2d 538(1979); judgment rev'd, 244
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 Superior Courts correct errors made by lower courts on appeal and have jurisdiction to
 grant equitable-relief.

 4.     Venue is proper in this Court, as the subject of this complaint is real property and
 title thereto; the property is located within DeKalb County.

        IL                             THE PART1ES3

 5.     Plaintiff, Oni Roberts during all. times relevant has owned and resided at 5371
 Charity Way, Stone Mountain, GA 30083.

 6.     Defendant Bank of America Corporation. ("BAC") during all times relevant has
 been a Foreign- for profit Corporation; the parent of Bank of America, NA., Bank of
 America Home Loans Servicing, etc., they are organized and existing under the laws of
 Delaware; their principal place of business located at 100 North Tryon Street, Charlotte,
 NC 28255. Service of process will be perfected upon BAC through service upon their
 Registered Agent: CT Corporation System, 289 Culver Street, Lawreneevill% GA
 30046-4805, Gwinneft County.

 7.     Defendant Fay Servicing, LLC, ("Fay") during all times. relevant has been a
 Foreign Limited Liability Company, organized and existing under the laws of Delaware,
 with their principal place of business located at 440 S. LaSalle St., 20'h Floor, Chicago, IL
 60605. Service of process will be perfected upon Fay, through service upon their
 Registered Agent: Registered Agent Solutions, Inc., 900-01dRosweilLakes Parkway,


 Ga. 846,262 S.E.2d 135(1979); s.c., 153 Ga.App. 282,266 S.E.2d 806 (1980).
 3 Contemporaneously herewith, Plaintiff has filed a formal complaint against the entities
 herein, this Emergency Petition is directed only toward the entity attempting to evict
 Plaintig PrimeStar Fund, I TRS, Inc. and their attorneys, agents, etc. and whomever they
 may use for the eviction.
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 Suite 310, Roswell, GA 30076, Fulton County.

 8.    Defendant US- Bancorp; a/kist US Bank National Association (As 'Trustee for
 PROF-2013-53 REMIC Trust, 111, ("US/1"), during all times relevant has not been
 registered to do business within the State of Georgia; and is organized and existing under
 the laws of Delaware. USB will be served through the Registered Agent in Minnesota:
 CT Corporation System4 Inc., 1010 Dale St. N., St Paul; MN 55117-5601

 9.    Defendant StateBridge Company, LLC ("StateBridge") during all times relevant,
 has been a Foreign Limited Liability Company, organized and existing under the laws of
 Colorado. Service of process will be perfected upon Statebridge through service upon their
 Registered Agent: Incorp• Services, Inc., 2000.Riveredge Parkway, N.W., Suite 885,
 Atlanta, GA 30328.

 10.   Defendant Willmington Sayhms Fund Society. FSR- Ma Trustee for the Prime
 Star H Fund I Trust ("WSFS")). during all times relevant has not been registered to do
 business within the State of Georgia. 'MPS is located at 500 Delaware Avenue,
 Wilmington. DE 19801 where they can be served with process.

 11.   Defendant PrimeStar Fund I TR& Inc ("Primestet during all times relevant
 has been a Foreign for Profit Corporation organized and existing under the laws of
Delaware. Their principatplace ofkusines, is located at 8665_East Hartford Dr.. Suite 20,
 Scottsdale. AZ 85255. Service of process will be perfected upon Primestar. through their
,Reratered Agent CT Corporation System. 284 A. Culver St. Lawrenceville— GA
30046-4805 in Gwinnett County.

 12.   Defendant Brett J. Chaness. Esau ("Chanessn during all times relevant, has been
a•partner and a member of the Litigation Department at Rubin Lublin, LLC., which during
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 all relevant times: was located in Peachtree Corners. Service of process will be perfected
 upon Chaness by personally serving him at the Rabin Lublin Law office located at 3145
 Avalon Ridge Place—Suite 100—Peachtree Corners, GA 30071.

 13.    Busch White Norton, LLP C'B'WN") and Baker Donelson during all times
 relevant has been a law firm that represented the foreclosing entity.

 14.    Plaintiff is informed and believes that information and belief alleges, that at all times
 mentioned in this complaint, defendants were the agents and that their employees were
 acting within the course and scope of that agency and employment.

 15.    The Defendants, and each of them, were the agents, employees, representatives,
 partners, officers, principals and/or joint venturers of each of the remaining defendants,
 and in doing the things hereinafter alleged, were acting within the scope, course and
 purpose of such agency, employment or position, or within the apparent scope, COMM and
 purpose of such agency, employment or position and with permission and consent of each
 of the remaining defendants.4

                                  BRIEF BACKGROUND
 16.    On July 25, 2006, Plaintiff purchased the property commonly known as 5371
 Charity Way, Stone Mountain, GA 3008 in DeKalh County; the property is more
 thoroughly described as:
         ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING DI
         LAND LT 74 OF THE 18TH DISTRICT OF DEKALB COUNTY,
         GEORGIA, AND BEING LOT 8, IVY RIDGE SUBDIVISION, AS PRE


 4 Whenever, appearing in this complaint, each and every reference to Defendants or to any
 of them, is intended to be and shall be a reference to all Defendants hereto, and to each of
 themunless said reference is specifically qualified:
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         PLAT RECORDED IN PLAT BOOK 118, PAGES 43-44, DEICALB
         COUNTY, GEORGIA RECORDS, AS REVISEDQT PLAT BOOK 1111,
         PAGE 96, DEKALB COUNTY, GEORGIA RECORDS, TO WHICH
         PLAT REFERENCE IS HEREBY MADE FOR THE PUROSE OF
         INCORPORATING HEREIN.

 17.   The special Warranty Deed EXHIBIT A being Instrument Number 2006-
 (055444, and recorded into' DeKalb County Georgia Records, Book 19045; Page 29; and
 shows that Deutsche Bank National Trust Company, as Trustee, having sold the property
 to Oni Roberts, and Forrest G. Roberts, ins           •

 18.   To fund the purchase of the property. Plaintiff signed a Promissory Note, and
 Security Deed in favor of Bank of America, N.A., a National Banking Association
 EXHIBIT D, Instrument Number 2006-0155445, and recorded at De1Calb County

 Georgia Records, Book 19045, Page 31; the loan number was xxxxxx1371.

 19.   Litton Loan Servicing, 4828 Loop Central Drive, Houston, TX 77081,was the loan
 servicer for the alleged Account Number: xxxx9718; Plaintiff does not know when, why,
 or by whom the loan number had been changed.

 20.   Plaintiff had been denied actual knowledge in violation of state statutes, federal
 statutes, and FDCPA and RESPA, of the true secured creditor and holder of the note, yet
 the legal duty to disclose was present
 21.   Plaintiff still isn't exactly sure who foreclosed upon her, Looking at the Deed Under
 Power of Sale ("DIP") FJCHIBTf C, recorded 11/13/2015, just exactly who foreclosed is
 difficult to determine; StateBridgehad begun the foreclosure; but th DUP shows:



 5 When the property was purchased, Oni Roberts was married to Forrest 0. Roberts, Jr.,
 but has since divorced, and Mr. Roberts is no longer a part of the property, and is not a
 party in this action.
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        "THIS INDENTURE is made as of this 6th day of October, 2015...duly
        appointed agent and attorney-in-fact, Wilmington Savings Fund Society
        FSB, not in its individual capacity but solely as Trustee- for thePrimeStar-
        H Fund I Trust (assignee of U.S. Bank National Association, as Trustee
        for Prof-2013 Remic Trust M as assignee of Bank of America, NA,
        Lender"), with an address of do Busch White Norton, LLP, 3300
        Cumberland Boulevard, Suite 300, Atlanta, GA 30339 and
        Wilmington Savings Fund Society, FSB, not in its individual capacity but
        solely as Trustee for the PrimeStar-H Fund I Trust ("Grantee) with an
        address of do Statebridge Company, LLC, 5680 Greenwood Plus, Blvd.,
        Stdte 100, South Greenwood Village, CO 80111.

 22.   If you look up the address: 3300 Cumberland Boulevard, Suite 300, Atlanta, GA
 30339, the webpage that comes up; is not for Busch White Norton, LLP, or even for
 Wilmington Savings Fund Society, FSB, the webpage shows: "Pope & Land Real Estate".
 23.   The other address, 5680 Greenwood Plaza Blvd., Suite 100, Greenwood Village
 CO 80111 is shown as "Statebridge Company".
 24.   Are we to assume that Busch White Norton LLP in realityis Pope- & Land Real
 Estate; and that Wilmington Savings Fund Society in reality is Statebridge Company?
 25.   One thing is certain, the foreclosure was not what everyone has been told.
 26.   The DUP goes on to state on page 2:
        "WHEREAS, Lender did expose the hereinafter described property for
        sale to the highest and best bidder for cash on the first Tuesday in October,
        2015 within the legal hours of sale at the usual place for conducting
        Sheriff's sales in DeKalb, Georgia, before the Courthouse door un said
        County and offered said property for sale at public outcry to the highest
        bidder for cash, when and where Grantee bid ONE HUNDRED AND
        NO/100'MS DOLLARS. ($100.00); and
        WHEREAS, the aforementioned bid was the highest and best bid, the
        hereinafter described property was knocked off to Grantee for sum bid by
        Grantee.;

 27.   Wilmington Savings Bank Fund Society, FSB and PrimeStar Fund, I TRS, Inc., and
 their attorneys knowingly, willingly, wantonly, and with malicious intent, acted in bad
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 28 of 261




 faith, and with blatant disregard of Plaintiff's property Rights, Federal Law and Georgia
 Statutes have perpetrated- a fraud; wrongfully foreclosed upon subject real. property, and
 has further, made a mockery of Georgia non-judicial foreclosure laws, claiming that they
 auctioned the property for $100.00 to the best and highest bidder..
 28.    Plaintiff has filed, contemporaneously herewith filed her Verified Complaint in
 addition to. this Emergency Verified Petition; which outlines the grounds that the
 foreclosure had been wrongful, the manner of the sale under power, and other conditions
 calling for the setting aside of the sale.
 29.    To the best of Plaintiff's knowledge and belief, and from what she has been able to
 determine from the DelCalb. County Georgia Records, there were several changes in.
 lenderlservicer, never recorded, and many question remain unanswered.
 30.    Without proper notice to Plaintiff and in fact, while Plaintiff was in the middle of a
 loan modification, PrimeStar Fund, I TRS, Inc. and their attorneys, and while a promise
 not to foreclose- had. been given, Plaintiff was allegedly foreclosed upon and. bought and
 sold at auction for $100.00.
 31.    Foreclosure by Defendant Wilmington/Statebridge and their attorneys were in
 violation of not only the Security Deed, and 0.C.G.A. §44-14-162, but also in violation
 and all known non-judicial foreclosure laws.
 32.    Plaintiff has been alerted that this week, the Sheriff's office is going to evict
 Plaintiff.
 33.    As shown in this Emergency Verified Petition, and her Verified Complaint filed
 contemporaneously herewith; not only were-therequirements toconduct a non-judicial sale
 under power violated, but the property was not called out at auction', and claims made that

 'Plaintiff's neighbor attended the auction the full time and will testify to the facts about
 the failure to call Plaintiff's property out at auction.
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 29 of 261




 it was auctioned to the highest and best bidder for $100.00.
 34.    After not being called out at auction; the Deed Under Power created as proof of the
 foreclosure and sale under power, shows that the property was bought and sold for $100.00.
 35.    Without intervention by this Court, Plaintiff will wrongfully be evicted from her
 home this week.
 36.    These- Defendants have knowingly, willingly, wantonly, fraudulently and illegally
 continued on to foreclose and execute Sale Under Power, while in the middle of a loan
 modification, but were also in direct violation of The Real.Estate Settlement Procedures
 Act
              MEMORANDUM OF LAW IR SUPPORT OF TEMPORARY
              U_SMUigIDE LNTERLOCUTORY INJUUNCTION


 37. Plaintiff incorporates fully and by this specific reference the statements in
 paragraphs 1 through 36 of this Petition as if stated fully herein.
 38.    Plaintiff has notified defendants involved, that she has sought an Emergency TRO;
 sea EXHIBIT D; so it is not as if she has not alerted defendants to this action or TRO.
 39.     Pursuant to 0.C.O.A. § 9-11-65(b) holds: "A temporary restraining order may be
 granted without written or oral notice to the adverse party or his attorney only it
         (1) It clearly appears from specific facts shown by affidavit or by the
         verified complaint that immediate and irreparable injury, loss, or damage
         will result tothe applicant before-the adverse party or his attorney can be
         heard in opposition; and
         (2) The applicant's attorney certifies to the court, in writing, the efforts, if
         any, which have been made to give the notice and the reasons supporting
         the party's claim that notice should not be- required:

 40.    Plaintiff has filed a Verified Petition, at the same time she filed her Verified
 Complaint, both documents are sworn under Oath, which in turn is as an Affidavit
 41.    The facts, and evidence shows that the property was not sold at auction; it would
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 30 of 261




 have been impossible for the property to sale for a mere $100.00.
 42.    The.Deed-Under Power further shows it is questionable whosold, who. bought, and.
 who had a right to either one, especially since Plaintiff had not been properly noticed prior
 to the Sale Under Power, and while in the middle of a loan modification application.
 43.    Further, Plaintiff has, within this Verified Petition, shown her efforts to give
 defendants affected; notice-by sending them the entire- Verified Petition., See Exhibit D, it
 is not only Plaintiff's sworn Petition, but also she had a professional FAX a copy to the
 effected parties.
 44.    It has been held that
         "A motion for interlocutory injunction or a TRO. is an extraordinary
         motion, which is time sensitive, unlike other motions, because it seeks to
         preserve the status quo until a full hearing can be held to avoid irreparable
         harm. If a TRO is granted ex parte, then a hearing for interlocutory
         injunction must be held within 30 days or the TRO is dissolved as a matter
         of law. OCGA § 9-11-65(b). There is nothing in either the Civil Practice
         Act or the.USCR that prohibits a trial judge-front setting an interlocutory
         injunction hearing in less than 30 days, because such motion is an
         extraordinary emergency procedure in law or in equity to protect rights
         from harm in an emergency created by the respondent.

 Focus Enbn't Intl, Inc. v. Partridge Greene, Inc., 253 Ga. App. 121, 123, 558 S.E.2d
 440; 441(2001): See also: Stubbs v. Bank of Am., 844 F. Supp. 2d 1267, 1269 (N.D. Ga.
 2012), wherein the Coact held:
         "Georgia courts have long recognized that harm to an interest in land is
         irreparable due to the "unique character of the property interest" Focus
         Enon't Ina v. Partridge Greene, 253 Ga.App. 121,558 S.E.2d 440,446
         (Ga.Ct.App..2001): The real property interest holds a special place in our
         legal system as in our society, especially in cases involving the potential
         loss of that most important, tangible piece of emotional and physical
         stability—the home".

 45.   The Focus Court had gone on to teach that foreclosure is one such instance which
 "injunction is appropriate" because "when an interest in land is threatened with harm",
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 31 of 261




 "such hum is deemed to be irreparable to the unique character of the property interest,
 i.e., money damages are not adequate compensation to protect the interest llama" See
 the following:

          "(a) Land, under Georgia law, is deemed sufficiently unique that it
          is entitled to equitable remedies to protect such interest in land. Rip
          R Corbett, 264 Ga. 871 (455 SE2d 581) (1995) (injunction to protect
          an easement); Benton% Patel, 257 Ga. 669, 672 (1)-(362 SE2d 217).
          (1987) (injunction to stop foreclosure); Black v. American Vending
          Co., 239 Ga. 632, 634 (2) (238 SE2d 420) (1977) ("the law regards
          as sufficiently unique that equity will enforce a contract for [land]
          sale or lease"); Clark v. Cagle, 141 Ga. 703, 705-706 (1) (82 SE 21)
          (1914) (specific performance of contract to sell land). Therefore,
          when an interest in landis threatened with harm; equitable injunctive
          relief is appropriate, because such harm is deemed to be irreparable
          to the unique character of the property interest, i.e., money damages
          are not adequate compensation to protect the interest harmed. See
          generally Central of Ga R. Co. v. Americas Constr. Co., 133 Ga.
          392, 398 (65 SE 855) (1909) (irreparable injury defined to enjoin a
          nuisance); see also Roth v. Connor, 235 Ga. App. 866; 868-8690)
          (510 SE2d 550) (1998) (property interests of grantor and others in
          restrictive covenants for their benefit)."
 Id
 46.    Plaintiff has shown that without an Emergency Order, she will be evicted this week,
 even though she can show that the foreclosure was wrongful; and violated all of the-non-
 judicial foreclosure statutes imaginable.

 47.    Plaintiff has been learning more about the foreclosure than she had known in the
 past, and can finally now, bring the full truth into the Court about what transpired, even
 though it had long been secreted from her.

 48.    Plaintiff's Petition is further verified, and Plaintiff has shown that prior to coming
 to this Court to file this Emergency Verified Petition, she had a professional FAX it to the
 effected defendants.
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 32 of 261




 49.      Plaintiffs Verified Complaint, filed contemporaneously herewith, shows that
 Defendants have practiced a pattern- of refusing to provider Plaintiff with facts, that she is
 legally entitled to, and in violation of RESPA 2605(e).

 50.      Defendants' own recorded documents shows that they have perpetrated a fraud upon
 the Courts to get as far as they have gotten with the numerous violations of statutes and
 regulations GA has in place- toprevent this scenario.from taking place.

 51.      Even though Plaintiff provided credible evidence that she has notified the effected
 defendants of the Emergency TRO,                   §9-11-65 allows the Court to grant such
 Orders without notice to opposition in certain circumstances.

 52.      Plaintiff being thrown out of her horn; while attempting to prove the facts stated
 within her Verified Complaint, and stated herein, a Verified Petition, would expose
 Plaintiff to potentially ruinous financial liability, would be cruel and unusual punishment,
 when all Plaintiff has ever wanted to do, is pay for her home and be left alone.

 53.      Plaintiff is not one of those-that everyonehears about seeking a free house; Plaintiff
 continues to intend on paying for her home, but without the predatory type of loan, the kind
 of which caused the housing bubble to burst once already and appears to be going to do so

 again.

                        CONCLUSION AND PRAYER FOR RELIEF

          Plaintiff, prior to coming to the Court with her Verified Complaint and her Verified
 Emergency Petition; hada professional send-a FAX to the effected Defendants, showing a
• full, correct, complete copy of this Verified Petition for TRO/Injunction.

          Plaintiff has shown that her property allegedly sold for $100.00, while the county
 property tax shows that the property is worth over $300;000:00. That defendants' actions
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 33 of 261




 were made blatantly in bad faith, with no respect to Plaintiff's rights, and in violation of
 Georgia foreclosure- laws, violations of federal laws, violations of regulations to prevent
 this very thing from happening.

        Plaintiff regrets that this has to be done in an Emergency situation. Plaintiff should
 not be evicted, and forced to by to bring this to the Courts while living in her car, when the
 foreclosure-should never have happened.

        Plaintiff Prays that this Honorable Court will Grant this Emergency Petition,
 preventing her eviction, and that the Petition will go on to be granted as an Injunction
 pending the outcome of her Verified Complaint.

        Respectfully submitted; this 12th day of October, 201


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                                                                        i 74111111Pr
                                                                             ''"'-   14-*
                                                            Ilirrm Rob         111111W
                                                            5371 Charity Way
                                                        Stone Mountain, GA 30083
                                                              (404) 518-6496
                   Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 34 of 261




                                      VERIFICATION AND CERT1FCATION OF SERVICE

                          On Roberts, having appeared before me, the undersigned notary, who after being
                                                                                   A
                    duly sworn deposes and says:
                           I am over the age of twenty-one (21) and competent to testify in this matter, I suffer
                    frour no known disabilities, and I make- this statement under penalty of perjury, and from
                    first-band knowledge I have prepared and reviewed the foregoing Verified Petition, all
                    statements, facts, and Exhibits are true and correct All Exhibits are true, correct, unaltered
                    copies. If called upon to taffy at trial, I will testify exactly as I have herein.
                           I further Certify that I have; this day also caused tobesent, by a professional, a FAX
                    of this Verified Petitim alerting them that I wilt be filing same day, sea Exhibit




                    Sworn to and Subscribed Before Me
                              This a'day of October, 2018
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 A. ...... . -                 PUBLIC, State of Georgia
  ..
  .         -.,,        TAgY                                              Janet Diane McDonald
                    •                                                       NOTARY PUBUC
                                                                             DelColb County
                                                                             State of Georgia
                    My CommissionExpires:                           Ph Commission Expires Folmar/ 13.2022
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 35 of 261




                            EXHIBIT A
                       Special Warranty Deed -
          Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 36 of 261

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                                                                                       Linda Carter
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                                                                                         Malt Counts Glarp I 0




              File 0032 / 5371 amity Way                                 Ream to:
              Ord Roberts                                                Shaping, Morse & Ross, LLP
                                                                         6159 Riverdale Road
                                                                         Riverdale, GA 30274
                                                                         AttorReconveyance Dept

                                             SPECIAL WARRANTY DEED
              STATE OF TEXAS
              cournT OF HURLS
                   THIS EGIENTURE h made theraluday of                       My             • in lito Vat IWO-
              THOUSAND Six between

                         Damson RANK NATIONAL TRUST COMPANY, AS TRUSTEE
              on party or pardes of Melba pm; hereinafter celled•Gzentor end

                                   OM ROBERTS and FORRBST G. kW" JR.

              as party or parties of the second part hereinafter called Grantee (the words "Cuantor" and
              "Grantee le' include their respectivalwirk sticsassOls, and assigns where the context requires.or
              permits).        -

                      WM1ESSETH that GRANTOR, for and in consideration of the sum of Ten and
              oef100 Dollars ($10.00) and other valuable considerations in hand paid al end beam the sealing
              and delivery of these presents, the receipt whereof is hemby camowledged, has granted.
              bargained, sold. aimed, conveyed and conarracri„ and by these presents does grant, bargain. sull,
              alien, convey and confirm unto the said Grantee:

              ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOT 74 OF
              THE 18TH =num OF MALE COUNTY. GEORGIA, AND BEING LOT 8, IVY
              RIDGE SUBDIVISION. AS PER PLAT RECORDED IN PLAT BOOK 118. PAGES 43-44,
              DEICALB'COUNTY. GEORGIA RECORDS, AS REVISED AT PLAT BOOR 118. PAGE 95.
              DEICALB COUNTY. GEORGIA RECORDS, TO WHICH PLAT REFERENCE IS HEREBY
              MADE FOR THE PURPOSE OF INCORPORATING HEREIN.


                     THIS CONVEYANCE is executed subject to oil casements, covenants and resbistions
              of record.

                     TO HAVE AND TO HOLD the said tram or parcel eland, with all and singuka the




                                            EXHIBIT A - Special Warranty Deed - Page - 001

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         Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 37 of 261

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                                                                                 Linda Carter
                                                                                  Clerk of Scoopior Court
                                                                                   C'eltolb Counts. Georgie




             rights, members and appurtenances theme, to the moo Wog. telooglani or. n_1111riviso
             appertaining to the wpm use, benefit and Ischia of Bald Cinema forever In FEE SUM&

                    AND THE SAID GRANTOR WILL WARRANT AND FOREVER DEFEND the
             right had this Ur the show desaibed• properly unto thresh:1' Chenter against ihe'dains of an '
             prisons darning by.nueugh or ender Orator only.

                   DI WITNESS WHEREOF. the Grantor has signed and sealed this deed, the day and
             yearabove written;

                                                       DEUTSCHE BANK NATIONAL TRUST
                                                       COMPANTI, AS TRUSTER


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                                                       Rye           ATRINGYAMMT
                                                       Name:
                                                       TUIr                                      ......

                                                                     (CORPORATE 414,7t-Z7c013"
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                                         EXHIBIT A - Special Warranty Deed - Page - 002

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Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 38 of 261




                             EXHIBIT B
                            Security Deed
             Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 39 of 261

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                                                                                                         1906.00
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                9000 SOUTHSIDE SM.
                SLOG 700. FILE RECEIPT 11137.
                JACKSCHVKLE. FL 32258
                Prepared
                   CHRISTINA FAME
                    NM OF AVERICA. N.A.
                    9000 SOUDISICE BLVD.. 1600
                    JAIXSOIVIU.E. R. 322560000
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                                               SECURITY DEED




                DEFINHIONS
                Words toed In multi& swims of this document are defined Wow and other wards en deigned
                In Sections 3. 11. 13. la 20 and 21. Cereals Mae assuring tha usage of wards used in this
                document ma also provIdedlOSectIon 16.
                (A) 'Security gastronome means deb decurnene.which is dated JULY 20. 2000
                together with sli Etidero to this document.
                (1111 'Borrower is WI ROBERTS AND FORREST 0 RIY3ERTS JR.. MARRIED




                BOTTOViet LS the grantor wider this Security Instrument.
                CC) Lendeels MK OF AWERICA.
                Lender is a NATIONAL BAWDS ASSOCIATION
                organized and mistiagonderthe laws of Tle WITED STATES CF ANERI CA


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                                                                                         Rood Soot 2904S Ps 32


                Leeds% addrees Ls 9000 SOMME BLVD.. 1600. JACKSMNIU.E. R.. 32=0030
                Lander is the grantee under this Security Insttement.
                (1:1) 'Note means the promissory note signed by Borrower and dated JILT 25 , 2008                 .
                The Note sages that Borrower owes Lander THREE WOW 1103 DCUSAN) AND Calibb
                                                                                                            Dollars
                (U.S. $        302.00000 ) plus interns. Borrower has promised to pay this debt in regular
                Periodic Dimensioned to pay the debt in loll not later than     AUGUST 01. 2038
                (E) 'Properly" TOM the property that la described below under the Istaerag "Transfa of Right;
                in the Property.'
                (12) "lean mans the debt evidenced by the Note. plus interest. any prepayment ehargeo and late
                charges due under She Note, and all soma due under this Security lostrusient. pits Interns.
                (U) 'Olden' mann all Riders to this Security lostromeat that are eracoad by Borrower. The
                following Riders arc to be ezensed by Borrower (duck hoeis  opplicablek
                b    Asibstabte Rote Rider
                     Balloon Rider
                                                  Cerndensiniunt Rider
                                                  Planned Unit Development Rider
                                                                                                        Rider
                                                                                          Second Home Rid
                                                                                          1-4 Family Rider
                     VA Rider                     Biweekly Pawners Rider                  Other(s) (specify/
                                                                 worse' W IstripfsaaPr, rouse Au
                                                                     eltOelrld ATTOritisra AFFIDAVIT
                (H) 'Applicable Low' times eli controlling applicable Mud. state and local statute%
                regulations, ordinances and administrative rubs and orders (that have the effect of law) as well as
                aU apadieable fied. orarappadatie juiSeial opinions.
                (1) 'Community Associate's Dues, Pam and Astesonsemr means ail dues. fem.
                amisments and other charges that ase imposed on Hanover err the Property by a condominium
                essocidion homeowners emaciation or similu organization.
                0/ "Mamie POO& Transfer' OMAN any warder of limb. other than a mimed=
                originated by check draft, or similar yaw iestroment, which in Initiated through en electronic
                terminal, telephonic 'nommen; computer, or megoede tape an an to/rider. instruct, or authorize
                a enandal institution so debit or weft an aceramt. Such term incluides. but is not limited to,
                poiarotrale ttansdern, automated teller machine tousactions. transfers; Whined by telephone, wire
                wandas, and automated deeringhouse sandal.
                00 "Escrow Items' means those hems thes am desisibcd in Smiths &
                (L) Itliseellancous Proceed? memo any compensation. nettlemat, award of damp" or
                proceeds paid by any third party (other than toStIrEOCe proceeds paid under the coverages
                desseibul in Section S) Ion (i) damage to, or dem:tine of. the Property; Cu) condeousation or
                other Whin of oil or any part of the Propory; (III) wants= in lieu of candemnaticue or (iv)
                mineprecomations rd, or embed= as to. the value end* condition of the Property.
                (hi) "Mortgage leausencer OMNI inane= protecting Lender aphis the nonpayment of. Of
                default on. the Loan.
                (N) 'Periodic Payment' means the regularly scheduled amount doe for 6) principal and
                Waal under the N014 Plus 00 any smolt= under Section 3 of Ms Security lormariscat.
                (0) "RESPA" meats the Real Estate Settlement Peocedlues Act            U.S.C. Section 2601 at seqj
                and its implant:slog regulation. Regulation X (24 CPA Pere 3500). as they 'Ai& be =Ended
                learn time to time, or any additionsl or aumessor legislation or regidstina that governs the sum
                subject matter. As used in this Security foramment. 'RESPA' refers to all esquire:meow and
                                                                                   S.




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                           CRA. 03223133 Itif RI 1111331111




                                                    EXHIBIT B - Security Deed - Page - 002

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               renrietlans that ere imposed in regard en a 'federally relowd reengage loan even if the Loan
               does not molify as a "federelly related mortgage ham' under RESPA.
               (Pt 'Samar la Interest of Borrower means any party that has taken this to the Property.
               whether or not that party has assumed Barrooda obliged's= under theWO Cahn this Seemiti
               lastrument.

               111ANSFER OF RIOIfiS1N MB PROPERTY

               This Security howurnent secures to Leader (I) the ecPaimeet 01 the Loan. old eli teemrcls.
               extender= and moSficadons of the NM= and lin the performance of Borrower% memento wad
               agreements under this Security Instrumest and the Note. For this yorpooe. Earsower does hereby
               grant and convey to Leader and Laufer% =nem= end assigns. with power of We, the following
               described property !owed in the COWRY                               Mice of Receema
               of CRAB                                         INamo of Rceoztliogloolofiedos):
               •LEGAL DESCR IPT1124 ATTACHED NEREID AND RADE A FART HEREOF. •                   Eon=       *A.




               Peril ID Number 11121422043                                      Which earready Ms the address of
               5971 CHARITY WAY                                                                           atroan
               STONE IL                                                 ict,a . Georgia 313083         Itsie Cabal
               r Properly Addres");

                    TO HAVE AND TO HOLD this poverty unto Lender and Lender% successors and
               forever, together with all the Improvements now or hereafter etsxtad on the property. Zird
               anements apporteaseses. and (Mures OM Of hereafter i Fri Of the properly. All replacements
               end additions shall also be covered by this Security Instrument. AU of theloregolne is referred to
               in eh= &einity fosoument as the Trope:v.'
                    RORROW             VENANTS dud Harrower is horridly seised of the orate hereby conveyed
               and Ins the right Cava= end convey die Property and that the Properly is mercumbered. meets
               for encumbrances of record. Borrower mamma and will defend generally the tide to the Properly
               against all claims and demands. subject to any entsentseneas of record.
                    THIS   secuRrrv      INSTRUMENT combiner mils= comma for national we and
               non-uniform annum with limited variations by ;mbar:than to constitute a uniform smoky
               hisfrumefil miming real
                    UNIFORhi WiMi      l ANIS. Emmen. and Lender covenant and awe as halo=
                    L Payment of PribeiPeL Internal. Escrow Darnel Prepayment Cane; end Lem
               Charges. Borrower shall pay when due the principal of, sad smarm on the debt evidenced by the


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         Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 42 of 261

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              NOW and any prepayment charges and'hno charism due under the Nom Borrower' deli alto pay
              funds for Escrow Items pursuant to Section 3. Perlman due under the Note and this Security
              Warn:nem shall be made in U.S. currency. However, if any check or other inurement reeeived by
              Lender as Payment under the Note or thia Security Instrument is retuned to Lender unpaid,
             Lender may require that any or all cutcreptent payments due under the Note and thb Security
             instrument be roads in one or more of the following form% an selected by Leaden (a) cash:
              money olden (e) certIfIed check, bank cheek treasurer's check' ercashiefreback. prodded' any
             such check in drawn upon an institution whose deposit: are instead by n federal @gamy,
             instomeastality, or entity: an (d) Bectronic Ponds Trude&
                   Psymeens we deemed received by Lender when received at the focation designated in the
             Note or at such other !Deaden as may to designated by Lender in accordance with the nem
             provisions in Section 13: Lender may reniew any payment orpardal payment tithe payment or
             partial pampa are insufficient to being the Loan merest. loader may mein any payment or
             partial payment itrefficient to bring ea Loan cunent, without waiver deny rights hereunder or
             prejudice to its rights to minas such payment or. Forded payments in the future. but Lender is not
             obligated to apply such payments at the time such payments are accepted. If each Pub&
              Payment is applied an of its ccheduled due date. thee Lender need oot pay Wen% on onsmdied
             lends. louder may bold such tmapplied funds until Harrower mans payment to bring the Loan
             wrath If Honower doer not done within a renatmable pitied of time. Leader shell either apply
             each funds or return them to Borrower. If not applied malice, Inch funds will be applied to the
             autstameng peincipal balance under the Nate immensely prior to foreeleente. No effort or claim
              which Borrower might have now or in the Arum against Lender aball relieve Borrower from
             snaking pommel due under the Note end Wm Security Instrument Of perforinthg the covenants
             and agreements secured by this Security Instrontast.
                   2. Application of Payments at Proceeds. Except is otherwise &scribed in thin Section?.
             ell payments accepted and applied by Lender shall be applied in the following order of' priority;
             (a) Interest due under the Note; (b) priccipal due under the Notre (e) emotion due under Section
             3. Such payments dealt be implied to cads Pedalie Payment in the order in which it became due.
             Any remaining mon= shell be applied firm to late chimes, sewed to any other enemata due
             under this Security inetrument, and then to seduce the principal Warm of the Note.
                   If Lender leadves a payment front Borrower for a delinquent PetiOrla Parente which
             includes a =Indent amount to pay any late charge due, the payment may be applied to the
             ddinquens payment and the late charge. If more than one Periodic Payment is outstanding, Lender
             may apply way payment received ham Borrower to the repayment of the Perinea Perrone if,
             and to the extent that, each payment cm to paid in full. To the extent that any cum exists after
             the payment is applied to the full punnet atone or mere %belie Paulen% rash nem may be
             applied to any late charges due. %Away prepayments shelf be applied Gm to any prepayment
             charges and thee as &scaled in the Note.
                   Any application of Femme, insurance proceeds. or Miscellaneous hounds to principal due
             under the Nate dull not extend or postpone the due daft, or charge the amount, of the Periodic
             Perzcntu
                   3. Funds for Escrow Items. Betrayer shall pay to Lender on the day Palette Payments
             are due under the Note, until the Note is paid in full, a one (the "Fuesta) to provide for payment
             of sienormts duo fon (a) tens and IOSNOTI1013 and other hems which car attain priority over els
             Socusiry instrument ens lien or ONUIMOIDO2 OD the Property; (b) leasehold paymenus or ground
             reels on the Property. if any; (e) premiums for any end all insurance rerpfned by Lender under
             Section end (6) Mortgage Insurance premium. if any, or any sums payable by Borrower to
             Lender in lieu of the payment of Mortgage Insurance premium in armada= with the progurions
             of Section 10. These hang aro called Tram Some At origination or at an                 e diving the

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               term of tbe Loan. Lender may reqtdre that Comotimity Association Duet Feee. and Asmstallenta.
               if any, be escrowed by Borrower rod ode dam ken and amernments shall be an SWIM 111:711.
               Borrower shall promptly healeh to Lander ell notices of emanate to to paid under this Section.
               Borrower shall pay Lender the Funds for Escrow Items calms Leader waiver Borrower's
               obligation to pay the Ponds far any or all Escrow Items. Lender may waive Borrower's obligation
               or pry to Leader Panda for any or all Escrow Items as any time. Any ash waiver may only to in
               writing. In the was of ouch waiver, Betrayer shall pay directly, when and where payable, the
               mounts due for any Escrow Items lot which payment of Funds has been waked by Leader and.
               if Lender inquirer. doll furnish to Lander receipts evidencing sum payment within nuek time
               period as Lender may require. Berrinee6 oUiplion to mato met peyments and to provide
               reseipte doll for all purposes be deemed to to a covenasts and agreement contained to ihb
               Security Instannem. as the phrase 'comma and Agreement" In used in Section 9. If Borrower is
               obligated to pay Erarow Items flimsily. pursuant to a waiver. and Borrower fails to pay the
               amount dm for an narrow Item. Lender may exercise its rights under &Won 9 end pay suds
               amount and Borrower shall than be obligated under Section 9 to Mar to 'Alder any with
               amount. tender may revoke the wakes as to any or all &WOW Iftelld at any thins by a notice
               given in accordance with Section 15 end, upon each remember. Borrower shall soy to Lender AR
                       and in mob amounts, dot am than Required nodes this Section 3.
                    !seder may. at any time, collect and hold Funds loan amount (a) sufficient to permit
               Lender In apply the Ponds at the time specified under RBSPA, cod (b) oat to exceed the
               roasimum mime a loan* inn require under RESPA. Leader doll estimate the amount of Panda
               duo on the basis of current data and easamble estimates of ezpadituree of future Escrow ILC01.9
               or atheneum in accordance with Applicable Lew.
                    The Foode dell be held In an imitation whose dqsasits are Insured by a federal mem
               Instrumeamlity, or twig (including Lender, if lender Is an institution whom deposit era so
               insured) or in any Federal Horne Loan Bank. Linder ahdI apply the Funds to pay the Escrow
               Items no later Than the time medlied under RESPA. Leader shall not charge Borrower far
               Wag and applying the Ponds, earnally analysing the =OW meounl, or verifying the Escrow
               Items. unless Loafer pays Borrower Interest on the Funds and Applicable Lao parasite Lender to
               make etch e• dorm Unless on agreement is made In writing or Applicable Law remdror inteeess
               to be paid on the Puede. Leader shell ant be required to pay Borrower any interest or earalop on
               the Fsmds. Borrower and Lander can agree in writing, however, that Immo shell be paid on the
               Finds Lender shall give to Borrower. without charge, en annual accounting of the Funds an
               required by RESPA.
                    If there is • nurplus of Funds held in escrow, as defined wader REV& Larder shall account
               to Borrower lee the mews lends in MCCOPLUICO with RESPA- R there its shortage of Punk held
               In miaow. an defined seeder REM& Ladle               notify Borrower as required by RESPA. and
               Borrower shall pay to Lender the amount neemsary to mats up the dortege in accordance with
               MR& but in no more than 12 monthly payments. If them in a deficiency of Funds held in
               oserow.es defined under RESPA. Lender shall notify Borrower as required by RESPA. and
               Borrower shall pay to Lender the amount accessary to mate up the ddiciency in accordance with
               REV& bus in no more than 12 monthly Forman
                    Upon payment In full of all auras snored by thin Security lassrumumLenda shell promptly
               Wend to Borrower any Panda held by Leader.
                    4. Onegau Liens. Borrower shell pay all tam assonments. charges. fine& and introit=
               attributable to the Property which cars attain priority over this Security Instrument, leasehold
               payments or ground rents an the Property. if any. andlInsmunkr Anceiatien Dues. PM and
               Aaerzentate. if any. In the extern that than items OM &cm/ Items, Borrower drag pay than in
               the mender Foisted in Section 3.

               Cratrant luau                              nip e el le       Ith14415..... COM 2011 WM
                        CM% 07/211165 GM sir sounsui




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         Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 44 of 261

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                     Borrower shell promptly dim:hole any lira which hoe priority over this Security Instranuot
                tutees Borrow= (a) were in writing to the payment of the obligation secured by the lien in a
               manneracceptable to Under; bur only an long is Borrower' in perforator such agreement (b)
               contorts the lien in goad faith by, or defends Isaias' enforcement of the lien in, legal proceedings
                which in Lender's opinion operate to proud the enforcement of the lien while these proceedings
               are pending, hut only until each proceedings am conclude* or (c) MUMS from the !udder of the
               den an agreement satisfactory to Lender subordinateg the lien to this Security Instalment. U
               Lender determines that any pert of the Property is robject to e lien which can main pWity over
               this Security Instrument, Lender may give Borrower a notice Identifying the lien. Within lUdaya
               of the date on which that nubs Is given. Borrower shall satisfy the lien or lake one or more of
                the setters me forth above in this Soden 4.
                     Leader may require Beam= to par a ourrtme charge for a real estate ter verification
               andior reporting service used by Lender in connection with this Loan.
                     S. Property Insurance- Borrower shall keep the impmvements non earring or hereafter
               erected' on the Proonqr ireauld'againer loan by ibe. hoards' included' within. theleno 'eroded.
               oomerege; and any other hazards (doting. but not limited to. corthquthes and floods, for which
               Lender requires insumnos. This insurance shall be maintained in the amounts (itelvding
               charade levels) and for the periods thar Lender rapine What Lender require pursmat to the
               preceding sernenam can change during the term of the Loan. The insure= curia providing the
               insurance shall be chosen by Borrower subject to Lender% right to dinapprova Borrower's choice,
               which right shall' not be exercised' unreasorably. Leader may                 Borrower' to pay; in
               eanneetion with this Loan. either: (a) a coed= thugs for flood zone determination. maitionion
               and teaching service* or (b) a one    -tree charge for flood zone determination and eatifIcetion
               sari= end aubsequeer charger each time rentsprthiga or similar changaroccur witieh reasonably
               might affect sad &termination or certifiraton. Borrower shall also be ropensible for the
               payment d eny fees impthed by the Pedord Emergency Management Ageory in connection with
               the review of any Bard zone determination waking front an objection by Dormer:
                     If Borrower hills to maintain any of the coverages described above, Lender may obtain
               insurance coverage. at lender's option and Borrower's ezpeese. Lender Is under no obligation to
               pwchase any particular type or amount of mow. Therefore. etch coverage shall cover tender.
               but might or might not protect Borrower, &novice° equity in the Pager% or the contents of
               the harm% Mara any dar hazard' artist:41W end. mien provide greater or lesser coverage'
               then was previously in effect. Borrower acknowledges that the cost of the insurance coverage so
               obtained might eigationty mead the casket insurance that Borrower could have chained An,
               ammo &shunted by Lender under this &deo 5 shall become additional debt of Borrower
               mewed by a& Security Insinmsent. Than amounts dell bar Interest at the Note rate from the
               date of disbursement and abed' be payabie. with soh interest, upon notice from Lender to
               Bennwer requeatins payment.
                     MI issuance prdichn toggled by Lender and renewals of such policies shell he radices to
               Lender% right to disapprove such politer, shall include rastsndmid mangler clause. and shall
               name Lender as mornings endAar as an additional loss payee. Leader dull have the right to hold
               the politer and nomad antifirates. If Lender requiter. Borrower shell promptly give to Lender
               all maim of rid' premiums an* renewal' modem: If Barrower abler any furor of Insurastr.o.
               coverage, not otherwise required by Lender, for damage to, or desammion of, the Property. acr.h
               policy shell include a standard mangsge clams and shall came Lender as mortgagee endior an so
               additional loss ppm
                    be the event of foss. Borrower shell give prompt notes to the ia11/0103 carrier end Lender.
               Lender may make proof of lost it not made promptly by Borrower: Unitas Leederandlorrower
               otherwise agree in. writing, any lasuraltaa proceeds. whether or not the           •• inotrarce was


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                 rupdred by Lender. doll be applied•to neannoinn or repair of the Poverty. if theemteration or
                 repair leecanumIcally feasible and Lender's security ia cot lessened. MAN     ' t such repair and
                rederation period. Lender shall have the right to hold such ;roma= premeds until lender hie
                had MI opportunity to inmeet suds Property to azure the waft has been completed to Lender%
                aatisheion. provided the each inspection thall be undertaken promptly. Lender may &bursa
                proceeds for the repaint end renerefien Incdoge payment Or in a sales of mamas payments es
                 the work is completed. Unless an easement Is made in writing or Applicable Law requires
                interest to be paid on such imam proceeds, Ueda doll not be required to pay Borrower any
                Interest ar carninga on such proxeda. Pm for public adjusters. or other third parties. retained by
                Borrower shall not be paid aut of the insuranto proceeds and shall be the ride obligation of
                Borrower. lithe resteradon or repair is not commit:Ay feasible or Lender% security would be
                lessened. the Insure= preeeels ahell be applied to the coma secured by thin Security Ineavment.
                whether or nat then dun with the escess, if any. paid to Borrower. Such Insurance proceeds chill
                be applied in the order provided for in Seedon 2.
                     if Bomater donde= the Propety. Leader may fag negotiate and settle any available
                ireurance claim and related mutant. If Borrower does not respond within 30 days to a notice
                from Lender that the insurance carder los °limed to settle a calm. then Lender may negotiate
                end mum the dairn. The egtay pried will begin when the notice Is even. In either event, or if
                Lender sequirea the Property wader Section 22 or otherwise. Borrower hereby =kw to Lender
                ird Berrewes% rights to any Imams proceeds in an amount not to ceased the mama untold
                under the Note or this Security Instrument. and (b) any other of Borrower% skim (other than tho
                fight to any rdund of unearned premiums peid by Borrower) under all hamar= *idle
                covering the Property. Media as such rights ere implicate to the coverage of the Property. Lender
                may use the insurance proceeds either to repair or suture the Property or to pay mounts unpaid
                under the Note as tido Security bowmen% whether or not then due.
                     6. Occupancy. Borrower shall occupy. math% and we the Properly as Borrower%
                principal reithem within 60 dale after the =curies of this Security Instrument end shall
                continue to occupy the Property as Bernardo principal residence few at lean one year after the
                date of occupancy. union Lender othersien agrees In writing. which consent doll not be
                unreasonably withheld, or unless catenating circumstance: mks whida. me beyond Borrower's
                cantraL
                     7. Preservation. Maintenance and Protection of the Property; Inspections. Borrower
                doll not destroy. damage or impair the Propel% allow the Pommy to deteriorate or commit
                waste on the Properly. Whether or not Borrower is residing in the Property. Borrower shall
                maintain the Properly in ceder to precast the Properly from deteriorating or decreeing in value
                due to its condition Unless it la determined pursuant to Section 5 that repair or ranorstion is net
                economically feasible. Borrower Mall promptly repair the Property If damaged to avoid further
                deterioration or damage. If insurance or condemnation proceeds are paid in connection with
                damage to. or the taking of. the Property. Borrower shall be responsible for repairibg at sestoring
                the Property only if Lender has reined proceeds for such purposes. Lender may album
                proceeds for the repairs earl nernation In a single payment or Inn swim of progress payments es
                the work is completed. If the immune or eandemenion proceeds am not mdficient to repair or
                restore the Property, Borrower is ant relieved of Borrower% obligation las the completion of etch
                rep* or actoratian.
                     Lender or its agent may make reasonable narks upon and inspections of theiWparty. JIb
                hes reasanable mom Lender may inspect the imaot of the improvement° on the Property.
                Lender doll give Borrower notice at the time of or prior to arch an lathier inspection apeeklying
                nth reasonable atom


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                     & Borrower's Loan Application. Borrower shall be In &bull if. during the Loan
               application process. Borrower or any peewee or entities acting at the direction of Borrower or
               with Borrower's knowledge or comps gave materially false. mirdeadIng. or inaccurate
               information or statements De Lender (or failed to provide Lender with materiel information) in
               connection with the Loan. hdeterial represenrations Include but are not limited to. representations
               eoneenting Borrower's occupancy of the Peoperty as Dammed principal residuum
                     9. Protection of Loodeen Interest is the Property and Rights Under this Security
               Inetnunent. 11 6) Borrower fails to pawns the covenants and agreements contained in this
               Security Instrument. (b) there Ira legal proceeding that might crignificently Wen Lender's burrow
                In the Property ender rights ueder this Security bowman (euchre a proceeding In bankruptcy.
               probate, for condemnation or forfeiture, for enforcement uric lien which may attain priority over
                this Semidry Instrument'or to enforce lows or regulations). or (c) Borrower 1ms abandoned the
               Property. deur Leader may do and pay for whatever is rensonalde or appropriate to protect
                Lender's interest in the Property and rights under this Seinrity Instrument Indudieg protecting
               ander asses:dog the value of the Property, and securing sadder repairing the Property (as set fug
               below). Leaden anions can include. tan are not limbed tee (s) pasha any toms secured bye lien
                which Ins priority over. this Security instrumen% (b) appearing In court end (e) Wing massothle
               attorneys' fees to protect be Interest in the Property andlor rights under this Security Instrument.
               indicting its secured position inn bankruptcy. proceeding. Securing the Property includee, but is
               not limited to, making repairs, replacing doom and windows, draining water from pipes. and
               diminating building or other code violations or dangerous congtioan. Although Lender may take
               action under this Section 9. Lender does not have to do so and in not under any duty or obligation
                to do co. It is agreed that Lender incurs no liability for not taking any or all lotions authorized
               under this Section 9.
                      My amounts disbursed by Lender under this Section 9 shall become additional debt of
               Borrower secured by this Security Insinmteet These amounts shall beer interest at the Nese rate
                from the data of disbursement and shall be payable. with web interest, upon notice from Lender
                to &MOW requesting payment.
                      If thin Security Instrument is one leasehold, Borrower shall comedy with all the provisions
               of the lease. if Venoms Requiem fee title to the Property, the leasehold and the fee title shall net
               merge unless Lender owes to the merger in writing.
                      10. Mortgage insurance. If Lender required Mortgage bsurenee en. condition of seakig
                the Loan. Burrower shall pay the premiums required to enainteln the Mortgage Insets= in effect.
                If for any OIOSDI4 the Mortgage Insurance coverage required by Lender ceases to be available from
                the mortgage insurer tint previously provided lash immune° and Borrower was required to stake
               separately &Award payments %award the premiums for Mortgage insures" Borrower shall sop
                the premiums required to obtain coverage substantially equivalent to the Mortgage Insurance
                preview:1y in diem man cost substantially equivalent to the wee to Borrower of. the Mortgage
                Immense previously in Wm, from an alternate mortgage insurer selected by Lender. 11
               sulinandally equivalent Morey's, Meuse= ammo is not available. Borrowst shall continue to
                pay to Lender the moms of the separately designated payments that wee due when the hours=
               coverage mesa to be in effect. Leader will accept. ore sad retain them Foments a a
              • notrntfundable loss reserve In lieu of Mortgage Insurance. Such lees nserve shall be
                norrefundalfie, tunwithriandlog the feet that the Leen In ultimately paid In full, and Lender "heti
                not be requited to pay Borrower any interest Of earnings no sort tom reserve. Lender can no
                longer require loss reserve payments 11 Mangum LOOM= eoverege (in the antount and for the
                Wed that Loader requires) provided by an insurer selected by Lender egain becomes availed; in
                obtained, and Lender requires awed, designated payments toward the premiums for Mortgage
                Inoue= If Leader required Mortgage ifeUrOMM as a contrition of en ' the Lean end

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             &MOM MS required to maks separately designated papaws toward the premiums for
                        Immure, Harrower aka pay the premiums required to maintain Mortgage hum=
             litr2ie.P or to provide a cue fundable Imo reserve, until lneder's requirement far :if=
             leave= lab in 'mundane: with any written agreement between Borrower and Lander                     •
             for suds tanninedon or until termination is required by Appliceble Law. Nothing in es Section
             ID effects Bonowab obligation to pay interest at the retemovided In the Note.
                  Mortgage Insurance reimburse' Lender (Or my entity that pnrcb               the Note) for midst
             losses b may Moor if Borrower dolman repay the Loan as ngeued Samoa in note party to the
             Mortre   nsage
                        btamenee.
                            insurers evaluate their total risk on all mach lassie= in fume from dme to time.
             and may enter into agreemente with ather,pardio that chars or medify their rick. or led= Mmes.
             These                   on terms and conentions that are satisfactory to the mortgage insurer end
             the. other party      partied to titan agmerneite These agreements may require the mortgage
             insurer to make payments using eny' cum of brads that the mortgage insurer may have available
             (which may include funds obtained from Mortgage Insurance premiums).
                  As a result of diem agreements. Under, any purchaser of the Nate. another hwarer. eay
             Meaner, any other why, or any affiliate of any of the foregolog may receive (directly or
             Indirectly) amounts that derive fmn (or might be dnanetaixed es) a pardon of Borrower's
             perm= for Mortgage Insaranee. in eschew for during or mailing the mortgega insures
             rid. or reducing loam If such agreement presides that en affiliate of Lender takes &Aare at the
             insurer's risk in exchange for Mare of the premium paid to the insurer, the arrangement is
             often tamed 'captive rernsuraneo." Further:
                   (a) Any each egnernents will not affect the amo.mts that Bonewer lies emend to
             pay for Mortgage Insmance. or any other terms of the Loan. Such agreements will not
             macaw the amount Borrower will owe for Mortgage Insurance. and they will not entitle
             Borrower to any Attend.
                   (b) Any such •greernents will not affect the rights Borrower hes • If soy - with
             respect to the Mortgage Inamence under the Homeowners Protection Act of INS or any
             other law. These lights may include the right to 1116811,11 certain dlecknores. to request
             and obtain cancellation of the Mortgage Mumma. to Mu the Mortgage Ineurnnar
             terminated sidornatieelly, anew to receive • refund of soy Mortgage lame=
             premiumsMat•were enema at the time of such mediation or termination.
                   11. Assignment of Miscellaneous Proceeds: Priefeltore. All itreseellanamo Peoceeds are
             hereby assigned to end shall be paid to Ueda.
                  U thoProparty is damaged. suds Miscellaneous Proceeds thell be applied' to restored= or
             repair of the Psoperty, if the rertoration or repair la ecommically basilic and Linda's security in
             not lessened. Dining with manic and testormon period. Lender shall have the right tobethisigh
             Mhzellasenos Proceeds until Lender hes had on opportunity to inspect such Property to ensure
             the troth tim been completed to Lender'.                                 that retch Irepection dell be
             undertaken toompdy. Lender may pay for the repairs ..rAvutia      ldlos lee single distant:nets or
             in a sales of psogima payments as the work as completed. Hams an agnomen is raw* in
             writing or Applicnble Law requires interest to be paid on such kfireallaneour Proceeds. Leader
             dell not be required to pay Borrower any interest or earninge an such Miser:Smote Proceed% U
                                     ' in non economically feasible or Landau's amity would to lessmed, the
             the restoration or repair
             hficeeSeneons Proceeds Mall be applied to the ems secured by this Security lesuumeet, whether
             or eat duo duo, with the amass if any..paid in Borrower. Such hfsedlanimin Proceebnhell be
             applied in the mar movidedlor in Sefton 2.
                  In the avant cite total taking. destruction, or loss in valise of the Property, the hfieedleneaus
             Premeds shall be applied to the sums seaned•by this Security lostrument. whether or net then
             duo, with die meas. II my, pdd to Borrower.
                  in the event of. weld taking, destruction, or loss in value of the Progeny in which the fair
             market Woe or the Property Immediately berate the partial takim destruction. or leas in value la
             equal to or muter than the amount of the sum secured by ibis femiq Instmment Immediately
             Wore the partial teNns, destruction. or loss in value. Wets Borrower and Lender otherwise
             agree looming, the roma inured by thin Security Instrument dell be reduced by the amount of
             the Mistelhamour Proceeds multiplied by the following hoed= (a) the total amount of the soma


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                   armed immediately before the pad taking, destruction, or loss hi valve divided by the fair
                   ntarket value of the             inunerfrately Wore the partial taling. destruction, or loss in value.
                   Any bah= shall be           to
                          In the mad of a partial taking. dnsenetion, or loss in value of the Properry in which the fair
                   market value of the Progeny immediately before the wild taking. destructog or loss in value is
                   lois than the amount of the mans =toed immediately before the partial taking. don:union. or
                   Ina in admit online Barrow and Lender othendes agree in main the laftscelleneoto Proceeds
                   Aril be mitred to the mints secured by this Severity fortnunent whether or out the some are than
                   due-
                          It the Property in abandoned by Borrower. or if after rode by Larder In Borrower that the
                   Opposing Party (ea defined in the nest sentence) offers to make an award to sada a claim for
                   Acroaccr. Nonorrer tam to respond to Lender within JO dap deer the data the notice is .given.
                   Lender is authorised to. coact and apply thsr beseethureous Penned] either to restrushon or
                   repair of the Projietty or to the sumo eectoed by thia Security inslrument, whether or not than
                   due. *Oppoeing Prier means the third patty that owes Borrower Miscellaneous Proseala or the
                   party against whom coww has a right of action in regard to hfseelteneoto Peoceeds.
                           Borrower shall be in default if any action or proceeding, whether civil or ahninal, is begun
                   that, in brodefir   _ Monad, could mutt in forfeiture of the Property or other material
                   impairment of Leaden interest in the Properly Cr tights trader thin Security instrumeot
                   Borrower Ian cine such o default and. II acceleration bas occurred. reinstate as prodded In Section
                    19. by cushy the ardor or gag to be crisrobsed with a Min the; in Lendesie Milsiunst.
                   precludes Welton of the                   or other material Impairment of Lades interest in the
                   Pty or rights under this                 'ty Inerriusent._ The, woome of any award or claim for
                   &unmet thee are attributable to the impairman of LendWe interest ie the Property am hereby
                   assigned end shall be paid !pleader.
                          All Miscellaneous Proved] that are oat seethed to restoration or repair of the Property shall
                   be applied in the order provided for in &aim 2.
                         - 12. Borrower Not Released; Forbearance By Lender Not a Waiver. Patension of the
                   time for payment or modification of amortisation of the sums sawed by thin Security
                   Imsaument granted by Lender to Borrower or any Saxe= in Interest at Harrower shall not
                   %ewe to Mose the liability of Borrower               Successors in buten of Bonotar. Lender dell
                   not be repired comae= promedinp 2 On eny SUIX22202 in. Interco of Borrower or to
                   WU= 920 Mend time for payment Or                    May amenieraion of the sums secured by this
                   Security lastrumers by ram of any demand mode by the Retsina! Borrower or any Suoz=ornin
                   Interest of Borrower. Any forbearance by Lender in entarang any dgbt or remea=ns.
                   without limitation. Lender's acme= of payments from third proms, entities or                        in
                   Interest of Borrower or in aneunts Ins than the amount then floe. shall not bee waiver of or
                   preclude the 011221.93 of any rithl or remedy.
                           13. Joint and Several Liability; Cosigners; Sureessetra end Amigos Bound. Borrower
                    consents and agrees that Borrower's obligations and liability shell be joint end several. Newer.
                    im Borrower who *nips this Serenity 1[22211M1211 but dew not execute the Note (a*co-sig       ' nen
                    la) is oneigaing thin Security !ornament only to mortgage. great dud convey the co-signer's
                    interns in the Propaty under the tams of this Sevarity lostromenn (b) Is not persenelly
                   obligated to pay the Dunn secured by this Security instrument; awl (e) were that Lender and any
                    other Borrower can agree to emend. modify, _ferbear or make tiny aceommodetionn with regard to
                    the termed thin Seeuri Insuromns or the Note without the coniasera consent.
                           Subject to the provisions at Section lit any Saxe= in Interest of Borrower who spurns
                    Bonowert obligations under this Seemly lestrument in weibaL and is approved by Leader. thall
                    obehrrill of Borrower% rights end bonefirs under this Security lmuument. Borrower shall not be
                    releesed from %moat obligations and liability under Silo Security lostrunters Was Lender
                    area to such relax in writs% The mecums and mamma= of this Saneity lostruinear shall
                    bind Weeps an provided in Section 29) and benefit the mass= and assigns of Lender.
                           Id. Lows 411writee.
                                      1        Lender may door Borrower lees for services performed in
                    with Betrotrale default. for she popsy protecting Lender's Interns in the Property and righte
                    under this Security Instrument. meiuding. but net limited to. attorneys' few, property.fesection
                    and volosion•fees. In regard to any odor fees, dte absence of apron oulleonly    -      Ms Security



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                              cute wireses it:erne 211232137i




                                                        EXHIBIT B - Security Deed - Page - 010
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         Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 49 of 261

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                                                                                          Bend Book 1904$ Ps          43


                  loot, man to charge a ameiric tee to Borrower shall not be construed as a praibitien on the
                  charging of =eh fa. Leader iney not charge tea that ere expossly prohibited by this Security
                  inatminent or by ApclIcable Law.
                        if the Loan is salmi to a law which an maxim= loan domes. and that law is runny
                  interpreted en that the otterei Or Other Imo cheera   collected or to be collected in connection
                  with the titan arees
                                     elthe permitted limits. then (a • =eh loan charge shall be reduced by the
                  amount necessary to reduce the charge to shaper=       limit; and (b) any SU= already collected
                  from Borrower which exoteded   r4Led hmito will be refunded to Borrower. Lender may
                  acerse to make this nand by        • the ptinsipal Owed under the Note or by making a &set
                  payment to Banower. If refund               paincipoL the rayed= will be treated as a =rod
                  prepayment without any prepayment dame (whetter or net. prepayment charge la provided for
                  under- the Note). Bersones acceptance of any such Mond made. duet    du miry= to Borrower
                  will constitute a waiver of any right of =don Bonne=                t have arising out of web
                wellnotices. All notices given by Borrower or Lander in emceed= with this Security
                Instrument must be in wining. Any nada to Borrower in connection with this Sunnily
                Instrument shall be deemed to have been given to Borrower when mailed by rue clam mail or
                when madly delivered to Borrower% nom eddnanif cent by other means. Notice to any are
                 Bonower shall constitute notice to all %nett= unless Applicable Law eapresaly repine
                otherwise. 1112 notice addroo dell be the Pmuty Address =less Borrower has designated
                substitute reties edibles by notice to Lender. Emma dual protopir.               notif
                                                                                                    w&lander of
                Borrower's change of address. If Lender mycelia= paced= for reporting                           of
                admen then BotrowersGbnIl ottr repast e•change of ethical through that crucified procedure.
                There may be only one                notices eddieco under *kr Security incism-m as my em time.
                My entice to Lander             be even by delivering It or by manila it by lira cism mail to
                Linsdoir address mated herein others [Rada hes designated =other address by notice to
                Borrower. Any notice in connection with this Salida Instrument shall not be deemed to have
                bolo given to Lender until actually received by Lean. U eny nodes required by this &amity
                Inaromentis elm required under Applicable Lew. the Applicable Law tecurement will entsfythe
                corresponding reipartment under this Security Insournest.
                      IS. Griferning Law; Severability; Rube of Construction. This Security lostrument shell
                ho governed ti foal law and the law of the jurisdiction in which the Property is located. All
                rights and claigations contained is this Secadty Instrument are suloject to any aqui/emu= and
                limitation of Applied& Law. Applied& Law might crackly or implicitly allow the panics to
                ogle by emu= or it might be who% but cab talc= atoll not be ecesorued en a prohibition
                against agreement by contract. In the event that any proviam or clause of this Security
                Instrument or the Note conflicts with Applicable Lew, mob wain shall not affect other
             — panda= of this Scalia Instrument or the Note which can be even effect without the
                conflicting provision.
                      AS USItA in this Security linuontene (a) words of the nuteculloe Fader chill mane and
                 Include correspowlino muter words or words of the feminine gender, (b) wards in the singular
                shall maw and indate the plural and lace vow end (c) the ward 'mar given side discretian
                valise= any obligation to Moan, action.
                      17. Borrower's Copy. Borrower shall be given one copy of the Note ad of this Sanity
                 lostrumens
                      I& Treader of the Property or s Beneficial hetcanet in Borrower. As mil in this
                Section 113, Interen in the Property" ma= an, legal or beneficial intense hi the Property.
                 Whereas, but not limited to. those berialicial inters= Worferred inn bond for de4 emitters for
                 deed. instalment odes =Mart or craw agromern. the intent of which En the Pander of title by
                 Barrow ate funue date to a_purelinser.
                      If all or sny put of the Peepedy or any fnurest in the Piuperty is said or transferral (or if
                 Borrower is nor el natural moon and a beneficial interest inrow.        . Is sold or transferred)
                 without Lender's prior written cocas. Lender may require immediate payment in full of all
                aunts creurid by this Security Instrument. However, this option shall not be atacised by Lender
                 If oia cease is prohibitedly Applicable Law.
                      If Lander =ram this option. Lender shall dee Borrower notice of acceleration. The entice
                shall amide a period of net las then3Odess from lie date the maim is even in accordance with


                  Crania =Ow                                    itn, II la II                     Pane 3911 1101
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                                                       EXHIBIT B - Security Deed - Page - 011

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        Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 50 of 261

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               Section 15 within whirls Borrower mien pay all mime secured by this Security Instroment. U
               Borrower fails to my time sums prior to the mikados of this period. Lender mayjavoke any
               remake permitted by thin Security hemment without further notice or demand on Bonuw er.
                    19. Borrower, ittlit to Reinstate After Acceleration. If BOI/OWLY ITICCIN certain
               conditions. Somme              have the eight to have enforcement of this Security Instrument
               rEccongened at any time prior to the cadets' OE (a) five days before ode of the PropenY pima=
               to any power of sale contained In this Smutty intertonoth (14 such other Period BS Acta
               Law night specify for the termination of Senewees right to es:rotate; or (cy auy of a         ant
               enforcing eh Security histsument Thom =aim are that BOTTOM= 6) pay' Lodes wens
               which diar would be due under this Security Inswilinent and the Note at if no needenstioo hod
               ocoared; (b) corm an default of any other covenants or (cremate (c) pea all mass
               Ingested in enforcing this Security Imminent, melding but oat limited to, reasonable attenne
               keo, property inksolon and IMMO= feet and other (em Incurred for the purpose of protecting
               Lender's interest in the Property end Ada um= this Security Instrumen% Mid 69 acs eicE
               mien as Lender may teammably temdre to smut that Lender's mutat in the Property and rights
               under this Security lourument. and Bonowees_obligedon to pay the sums masa by this
               Security Instrument. shall continue unchanged. Lender may require that Borrower pay such
               teinstatement arms ea moms in one or mote of the following forms, as elected by Leedem
               (a) ask (b) money ceder, (e) mailed check, bank cheek. treasure's cheek or mikes cheek,
               prodded. any such check is drawn upon en insitudon stole deiamits are insured by a federal
               amm. histrumorudity or entity: or (d) Electronic Pads Mender. Upon ninstelement by
               Berrower. this Security barmen% end obligations mewed hereby shall remain fully (Hooke as
               if no acceleration had occurred. However, this right to reinstate shall not apply in the case of
               °ordered= mem Section 18.
                    20. Site of Nato Change! Lean Serail:co Notice of Grievance. The Note eta venial
               inter= in the Note (together with this Security Insuuntent) out he mid one or more dam
               without prior notice to Donuwer. A ale might result lit a change in the entity (known as the
               'Loan Soviets, that collects PaioSe hymens due under the Note and this Sender karoment
               and ens other swim loan cations obligations under the Now, this Security Estrunum.
               and       Webb Lew.There dm might be ascot more changes of the Loan Smiles unrelated to
               ask        Nom. If there Is a change of the Loan Service, Borrower will to given written notice of
               do change which will state the name and edema of. the new Loan Service, the edginess to which
               payments should be made and ay other inhumation NEPA ratting in connection with a notice
               of transfer of coviein& If the Note is sold and theseafter the Loan is uerdeed by a Loan &Mow
               other than the pusehreer of the Note. the mortgage loan Derain obligations to Borrower will
               remain with the Loan Sondem or be transferred to eumemor Loan Serener and are not sr:Bunted
               by the Note purchaser unless otherwise provided by the Note purchaser.
                    Natter Borrower nor Lender may cornmenot join. or be joined to any judidal action (as
               either an Individual litigant or the member of a dread that arlem from the other mots loins
               pursuant to ibis Seamy Inaument or that alleges       - that the other piny has breedud any
               prodnito of. or any duty owed by meson of, this Security Instrument, until such Borrower or
               Lender la notified the other-tem OM web notice given in compliance with the requiremento
               of Section IS) of such alleged breach and afforded the other parry hereto a 'atonable period after
               do living of code notice to take corrective action. It Apdicabto Lam _geovides a time peeled
               Wilde mot dam totem certain action can be taken. 1M1 time pencil will be deemed to to
               reasoneke for wpm of this pram& The mice of mecieration and opportunitfLoreows:
               given to Borrower poreown to Section 22 and the notice of seed:Mon given to
               pursuant to Section le shell be deemed to satisfy the entice and opportunity to tab corrective
               action provisions of this Section 20.
                    21. hazardous Substances. As Med in this Solon 211 (a) "Hazardous Suter:woe are
               those subsumes defined as twig or hazardous substances, pollutants, or walla by Environmental
               law and the following Bilbao= Nadine, kerosene, other flontriable or toxic petroleum
               Cgr        cork moiddee and herbicides. volatile solvent materials aostainlos as holm or
                      tlehyde. end roliosedve caste:dein (h) 'Environmental Lew" mars federal lam ea IMM
               of the Jr:gaieties whoa the Properey is located Mae reline to health, safety or environmental



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               princedom (c) 'Environments] Mune induden am response mina, remedial action. or
               removal action, en ddired In Environmental Lam and (d) an'Endecontentel Condidmi• mann
               a condition that can cause. conuibute to, or otherwise trigger an Bevirtainiental Cleanup.
                    Borrower dull 1101 IMMO Or permit the presence. use„dispumi. storage. or alum of any
              Hazardous Substances or threaten to release my Hazardous Suto1nnom on or In the PropMy.
               Borrower shall eel do. nor allow anyone dm to do, anything affeedeg the Pitmen, (a) that is in
               dolours of any Ereironmental Law. (h) Web creates en Environmentd Condition, or (c)
               which, due to the presence tee, or abase of a Hazardous Substsroe, cooler a vsndition that
              Moss* affects the valve of the Properly. The pricidge two oentences shell not apply to the
               promee. um or storage on the Proyeny of mutt momilice of Hasardots Substances that we
                f=g      recogdzed to he            "ate to normal reeidential uses md to mainunanee of the
                        (including, but not limited to. hazardous substances in consumer products).
                          OCT shall promptly give Lender mince notice of (a) any investigation. claim, demand.
               law& or other tam by any joucinceenlel or regulatory spoor or private pow involving the
                         and any tlam Basta= or Environmental Law of which Borrower has actual
              hood         (b) any Emininmental Condition. including Ism not limited to, any Male lotting.
              discharge. release or threat of miens of my Hazardous Subeawe. and (a) am condition caused by
              the pc,jro or release of a Hama= Substance which adorn* affects the value of the
              Property. If Borrower harm or in anSffed by any governmentsl or regulatory authoritr or any
              citrate puny, that my removal or other rernediaSonof any Huardous Substanceaflocthig the
              Properly in mecq, Borrower shall promptly take all necessary remora: Redone in scuridensu
              with Biudrunmeolni Lew. Nothing herein shall create any obligation an Lender for en
              Environmental Cleanup.
                    610NIJNIFORld COVENANTS. Beacom and Lender further constant and agree es
              follows
                    22. Acceleration: Remedies. Lender shall give notice to Borrower prior to
              amektation /*Bowleg Borrower's breach of any covenant or agreement in this Security
              Instrument (but not The           to acceleration under Section 18 unless Applicable Law
              provides otherwise). The notice shell way: (a) the default; (b) the salon required to
              cure the default (c) e date, not less than JO' dap from the date the notice is given to
              Borrower, by which the default nom be cured; and (d) that Muse to cure the default on
              or before the date ere:Media the notice may result is maderation of the some secured
              by this Security Instrument and ado of the Property. The notke shall further Worm
              Romance of the right to reinstate after acceleration and the right to bring a court action
              to amen the nonexistence of a default or any other defense of Borrower to moderation
              sad sale. 1/ the default leant cured on or before the dole specified in the notice. Lender
              elite option may require immediate payment in lull atoll rums secured by thin Security
              Instrument without further demand and may invoke the power of Me granted by
              Borrower and any other remedies permitted by Applicable Law. Borrower appellate
              Lender the agent and attneney4e4art for Borrower to exercise the power of imht. Lander
              shall be entided to collect ell expenses incumsl he pursuing the remedies provided In
              this Section 22. including, but not limited IDb reasonable attorneys' Ices sod anti of title
              evidence.
                    If Lender. invokes the power of sale. Lender shall give. copy of a notice clank by
              public advertisement for the time and in the manner prescsibed by Applied* Lew.
              Lender. without further demand en Borrower. shall sell the Property at public auction
              to the Idabel" bidder as the time and place and under the terms raiginatad in the notice
              of sole in one or more parcels and in any order Lender determiner. Lender or its
              designee may purchase the Property el soy male.
                   -Larder shall convey to the purchaser indefeasible tithe to the Progeny. and
              Borrower hereby sprain!' Lander Borrower's agent end attorney-in-fort to make such
              conveyance. The rands in the Lender's deed shell be pima facie evidence of the truth
              of the /memento made therein. Borrower covenants and agrees that Lender shall apply
              the proceeds of the sale lives following order: (o) to all cereals' of the sale. Including,
              but not limited to, seasonable attorneys' feet lto) to all sums scoured by this Security
              Instrument and (a) any excess to the person or persons legally entitled to it. Ilia power


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               and agency granted am molded with an Interest arc irrevocable by death or otherwise
               end are mandolin to the remedies for collection of debt so provided by Applicable
               Law.
                    tithe Prelim' is sold Fromant to this Section 12. Borrower, or any person holding
               possession of the psopes4,. won& Borrower. shall Imoudintely intender p_ormaslon of
               the Properly to the purchaser at the isle. If possession le not smoldered. Borrower or
               such person shall boa tenant holding over and guy be dispossessed in accordance with
               Applicable Law.
                    23. Refuse. Uwe payment of all mum caned by this Security Instrunsard, Lend= shall
               cancel this &amity monument Borrower shall pay any Recordation cm% Lender may charge
               Borrower a fee for releasing this Security laseentent, hat only it the fee is mid roe shod party
               for seniors rendered and the clerghtj of thefts is permitted under Applltnhloiaw..
                    24. Waiver of Homestead. BWTUWer mins all rights of homestead ememption in the
               Pig
                   ''iArsun,ptIom Not • Nervation. Lender's amemance of an assumption of the obligations
               of this Security.1mmmmt and the Note and my Mom of Borrower in conaccdo• shatssish.
               shall nos enroniuten nosed=
                     26. Security Heed. This cossemse Is to be commend wider the (misting lawn of the State
               of Gearga is a deed pamog tide, and noise mortgage. end is intended to meow the payment of
               III sums secured tieruby.




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                    BORROWER Acceprs AND A0118115 to the terms and envenoms annoined in this
               Sea:lily Instrument and in any Rider maned by Borrower and maimed with I.
                    IN WITNESIMNEREOF. &Imam bin signed                    ' Security Instrument.

                                                       (Seal)                                             (Seal)
                                                   .Heetewcr      on   ate   S      V                  •Benewer




                                                       (Seal)                                             (Seal)
                                                    40/awes                                            •Banains




                                                       Meg)                                               (Sod)
                                                    •Borrower                                          •Thasawas




                                                       (sew                                     otz        ism)
                                                    -Bersawar MAU 0               in .I0               elkarerwer




               STME OF GEORGIA.                      amerce                                County an
                  Signed. added and ddivered hi the predates ot




               arGESN CND                                  Ppm                                   Alan 1011 1101
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             ALL THAT TRACT CA PARCEL OF LAND LYING AND BEING IN LAND LOT 74
             OF THE I dm testlucr OF MUM cowry. GEORGIA. AND BEING LOT 8,
             IVY RIDGE SUBDIVISION. AS PEA PLAT RECORDED IN PLAT BOOK I IS,
             PAGES 4344; DEXALB COUNTY. GEORGIA RECORDS, AS REVISEDAT PLAT
             BOOK 116, PAGE 96, DECALB COUNTY. GEORGIA RECORDS. TO WHICH PLAT
             REFERENCE IS HEREBY MADE FOR THE PURPOSE OF INCORPORATING
             HEREIN.




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                                                                                  Linda Curter
                                                                                   elepir et superior cam
     (ROTOR am ROBETITe                                                             Male Comb. Gorski
     LENDER MN OF AMERICA. N. A .

     DATE OF SECURITY DEEM 07i2sion
                                           WAIVER OP BORROWERS RIMS
     By UEDA= OF TIms pARAGRAmt GRANTOR EXPRESSLY: III ACKNOWLEDGES THE RIGHT TO
     ACCBERA1E THE DEBT MD TIE POWER OF ATTORNEY GWEN WEIN TO LENDER TO SELL 1VE
     PREMISES BY NONTUDICIAL FORECLOSURE WON DEFAULT BY GRANTOR WTTHoor ANY JUDICIAL HEARING
     MD WITHOUT ANY NO= OTHM THAN SUCH NOTICE AS 13 RECLUEED TO BE GM34 =MI THE
     PROVISIONS IEREOF; 123 WAIVES ANY AID ALL RIGHTS WHIM GRANTOR MAY HAVE UNDER THE WPM
     AND FOURTEENTH AMENDMENTS TO DIE CDNSITTIJIMM OF TIE UNITED STATES. TIE VARIOUS
     PROMOTE OF TIE CONSTITUTION FOR THE SEVERAL STATES. OR BY REASON OF ANY OTHER
     APPLICABLE LAW TO NOTICE AND TO J.KIICIAL leARSIMPRIOR TO THE EXERCISE BY TENDER OF ANY
     RIGHT OR REEDY ISM PROVIDED TO TEDDER EXCEPT SUCH NOTICE AS IS SPEC(RCALLY REWIRED TO
     BE PRoviTED NEM 0) ACKNOWLEDGES THAT GRANTOR HAS READ THIS DEED MD SPECIFICALLY THE
     PARAGRAPH ND ANY ADD AU. OUESTIONS REDMOND TIE LEGAL IFFECT OF SAID DEED AND ITS
     PROVISIONS RAVE BEEN EXPLAINED FULLY TO GRANTOR AND GRANTOR HAS SEEN AFFORDED AN
     OPPORTUNITY TO CONSULT INITHCOMISS. OF GUIDONS OIDICE PRIOR TO EXECUTING IIES DEECt NT
     ACKNOWIJEDGES THAT ALL WAM3IS OF THE AFORESAID RIGHTS OF GRANTOR HAVE BEM MADE
     KNOWINGLY. INTENTIONALLY ADD WILUNG:f BY GRANTOR AS PART OF A BARGAWED FOR LOAN
     'TRANSACTION AND TE AGREES THAT THE PROVISIONS IEREOF.ABE INCORPORATED INTO AND MADE A
     PART OF DE SECURITY DEEM
              READ AIRD AGREED BY GRANTOR
            Elrod. Saud and delivered In the presence of:   .o"
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                                             CLOSING ATTORNITS ARDEN
         Before deo                           offtcer persondy appeared eis tarderalipsed dosing attorney. who.
     halm been first                          to Iew. states =Tar oath as Mosul
         In closinActi:*       tom but          to the execution of the Deed to Secure Debt and •Wahrer of the
     Borrower's          by the Borrowertd. I reviewed WM end =planed to the Borroweric) the terms and
     provisions of     Deed to Sauce Debt and parecularly the provisions Thereof withoriatut tho Lender to sell
                difterty by a nonJuSold foredo= under a power of cuts. toveter..swth            _   the 'Walser of
     Borroyiert        " and infommtho Borrowesiti of BerrOwift rights under Ma mnsitiMn of the Slate or
     Gww and          Constitution of the Ladtall States to norms wide prEdal hearing prior to such foreclosure In
     Ms..= of a lusowing, intention     ' al end wiling, contractual watior by Borrowarld of Borrovnict tionts
     After said review with aid exptenation to 13ornswartd, Elorrowartsi executed The Dead to SWIM Debt aid
     'Waiver of Bowowert Riede
         Based on said review with aid explandi                     BorrovrerisL IT is my opinion that Borrower(s)
     knowtmly. Interdionally and wiIiIrmly ummoted       .. .. _ . Borrower's constibMon0 rigida to notice end
     Web! /tots, prier to rny such nanballoial forlitireares4:
     Sworn to and subscrated bah:risme

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         0.C.ILA. Section 7-11011112 regidrim that we Inform you that If you fall to mast any condition or
     cum of Ma documents that you sign In commotion with Modish* • mangos, loon you may lose the
     property that            (lateral for the mortgage loan through fanicicatio.

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                             EXHIBIT C
                      Deed Under Power of Sale
       Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 57 of 261

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               AFTER RECORDING. PLEASE RETURN TO:
               Matthew B. Norton, Esq.                                        Cross Reference:
               Busch White Nelson, LIP                                        Deed Book 19045, Page 31
               3330 Cumberland Boulevard, Suite 300                           DelCatb County Records
               Atlanta. Georgia 30339

               STATE OF FLORIDA

               COUNTY OP HILLSBOROUGH

                                               DEED UNDER POWER OF SALE


                       THIS INDENTURE is made as of this 6th day of October. 2015, by Oni Roberts and
               Forrest G Roberts, Jr, each a Georgia resident ("Grantor"), acting through his duly appointed
               agent and attorney-in-font, Wilmington Savings Fund Society, FSB, not in its individual capacity
               but solely as Trustee for the Prirmatar611 Fund I Trost (assignee of U.S. Bank National
               Association, as Trustee for Prof-201343 Mimic Trost III as assignee of Bank of America, 14.A.,
               "Lender"), with an address ado Busch White Norton, LLP, 3330 Cumberland Boulevard, Suite
               300, Atlanta; Georgia 30339 and Wilmington Savings Fund Society, FSB, not in its individual
               capacity but solely as Trustee for the Primdtar-H Fund I 'Dust ("Grantee"), with an address of
               eta Statebridge Company, LW, 56110 Greenwood Plaza Blvd., Suite 100S, Greenwood Village,
               CO B0111;

                                                      WITNESSETH:

                      WHEREAS, Grantor executed and delivered to Lender that certain Security Deed, dated
               July 25,2006, filed and recorded August IS, 2006 in Deed Book 19045, Page 31, of the Official
               Records of the Clerk of Superior Court of DeKalb County. Georgia (as may have been modified,
               amended and assigned from time to time, the "Security Deed"), conveying the hereinafter
               described property, to secure the payment of a promissory note dated July 25,2006 (as may have




                                   EXEEIBIT C - Deed Under Power of Sale - Page - 001

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        Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 58 of 261

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                been replaced, renewed, extended, modified, amended and/or assigned from time to time (as the
                case may be). the "Note% together with any and all other indebtedness owing by Grantor to
                Under;
                       WHEREAS, default in the payment of the Note occurred, and whereas by reason of said
                default; Lender dated pursuant tolhe terms of the Security Deed and-Note to declare-the entiro
                outstanding indebtedness secured by the Security Deed immediately due and payable;

                       WHEREAS, the endre outstanding indebtedness still being in default, Lender on behalf
                of Grantor, and-according to-the terms of the Security Deed andihe laws of the Stale of Georgia,
                did legally and properly advertise the Property (as hereinafter defined) for sale once a week for
                four (4) consecutive weeks immediately preceding the foreclosure sale in the official newspaper
                in which the Sheriff of DeKalb-Cormty, Georgia published legal advadsement;

                      WHEREAS, notice of the initiation of proceedings to exercise a power of sale was given
                pursuant to Official Code of Georgia Secdon 44-14-162.2;

                       WHEREAS, Lender did expose the hereinafter described property for sale to the highest
                andlest bidder for cash-on the first Tuesday in- October, 2015-within-the legal hours of sale. at
                the usual place fbr conducting Sheriffs sales in DelCalb, Georgia, before the Courthouse door in
                said County and offered said properly for into at public Outcry to the highest bidder for cash,
                when and-where Grantee bid ONE HUNDRED AND NO/100THSDOLLAR(110080); arid

                       WHEREAS, the aforementioned bid by Grantee was the highest and best bid, the
                hereinafter described property was knocked off to Grantee for said sum bid by °sante%

                      NOW THEREFORE, in consideration of the premises and said sum of money and by
               virtue of and- in the exercise of the power of sale codeine& 'in the-Security Deed; Grantor has
               bargained, sold, granted, and conveyed and by these presents does hereby bargain, sell, grant,
               and convey to Grantee, its heirs, representatives, SUCCESIOTS, and assigns, the following described
               property. to-wit:
               ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOT 74 OF
               THE 18TH DISTRICT OF DEICALB COUNTY, GEORGIA, AND BEING LOT 8, IVY
               RIDGE SUBDIVISION, AS PER PLAT RECORDED IN PLAT BOOK 118, PAGES 43-44,
               DEICALR COUNTY, GEORGIA RECORDS, AS REVISED AT PLAT BOOK 118, PAGE 96,
               DEICALE COUNTY, GEORGIA RECORDS, TO WHICH PLATS ARE HEREBY
               REFERENCED TO FOR THE PURPOSE OF INCORPORATING HEREIN.
               Together with all the rights, members and appurtenances thereto appertaining also, all the estate„
               right, dtle, interest, claim or demand. of Grantor, Grantor's representatives, heirs, successors and
               assigns, legal, equitable or otherwise whatsoever, in and to the same. All of the foregoing are
               referred to Insuin as the 'Property.'

               Grantor hereby designates Grantee, as successor-in-tide to Grantor by virtue of this instrument as
               the declarant under any Declaration. of Covenants, Conditions, Restrictions and Easements (or
               any similar document) affecting the Property.




                          — - EXHIBIT C Deed Under Power of Sale -Page -002

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                                                                                    •• —       ••••• ,M•MT •    •••       •



                                                                                        DEED B001( 25259 Pe 313.




                        TO HAVE AND TO HOLD the Property and every pat thereof unto said Grantee, its
                successors and assigns, to its own proper nse, benefit and behoof in PEE SIMPLE, in an full and
                ample a manner an Grantor, or its successors, heirs or assigns, did hold and enjoy the same,
                subject, however, to unpaareal estate advalorem taxes anct governmental assessment:rand to all
                prior ratrictions, rights-of-way, easements and other matters of record, if any, appearing prior to
                the date of the Security Deed and those appearing after the date of the Security Deed. and
                consented to by Grantee.

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                                  "EXHIBIT C - DeWUnder Power ceSale - Page - 003 •

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                                                                                       DEED BOOK 25259 Ps 31.2
                                                                                        Deb r a Derr
                                                                                         Clerk at Suiserior Caurt
                                                                                         DeKalb Counts, ceorsla

                       IN WITNESS WHEREOF, Lender, as agent rued attomerin-fact for Grantor, has
                hereunto affixed its hand and seal, as of the day end year first above written.



                Signed, sealed and delivered.                  Wilmington Savings Fund Society, FSB; not in its
                in the Faience a                               individual capacity but solely as Trustee for the
                                                               PrimaStar-H Fund I Trost (assignee of U.S. Bank
                                                               National Association, as Trustee for Prof-2013-S3
                                                               Ramie Trust Ill as assignee of Bank of Amaiea,
                                                               NA.)


                                                                                                          [SEL.
                                                                    ma Jamie Rand
                                                                   Titic Vice President
               My Commission Expires:



                                                               AS AGENT AND ATTORNEY-IN-FACT
                                                               FOR GRANTOR




                            -EMMET C DEffUuder Power of Sale - Page -004

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GEORGIA'.                                                                                                                 9n7(18. 1037 AM,




                                                                                                GEORGIA SECRINARY OF STATE
                         GEORGIA
                                                                                                        BRIAN P. KEIVIP
                         CORPORATIONS DIVISION
                                                                                                                         HOME (/)
      BUSINESS SEARCH

        BUSINESS INFORMATION
                                           PRIBIESTAR FUND I
                     Business Name:                                                   Control Number: 15001743
                                           TRS'
                                           Foreign Profit
                         Business Type:                                                Business Status: Revoked
                                           Corporation.
                   Business Purpose: NONE
                                      8665 East Hartford Dr,
                                                                                    Date of Formation
             Principal Office Address: Suite 200, Scottsdale, AZ,                                       11612015
                                                                                     Registration Date:
                                      85255, USA
                                                                            Last Annual Registration wry
                            Jurisdiction: Delaware
                                                                                               Year:
                         Dissolved Date: 09/07/2018


        REGISTERED AGENT INFORMATION                                            •
              RegisteredAgent Name: CT Corporadon•System•
                    Physical Address: 289S Culver St, Lawrenceville, GA, 30046-4805, USA
                                County: GwInnett


        OFFICER INFORMATION

        Name                   Title          Bushiest Athircss
        Arik Prewar            CFO            8665 East Hartford Dr Suite 200, Scottsdale, AZ, 85255, USA
            Fred Tuomi         CEO            8665 East Hartford Dr Suite 200, Scottsdale, AZ, 85255, USA
            Ryan Berry         Secretary      8665 East Hartford Dr Suite 200, Scottsdale, AZ, 85255, USA


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                                EXHIBIT D
                 Proof Defendants have been notified by FAX
                             and Certified Mail

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                  IN THE SUPERIOR COURT OF DEICALB COUNTY
                                State of Georgia

                  Oni Roberts,
                    Plaintiff
                        V.
   BANK OF AMERICA, CORPORATION;                                  Civil Action
            FAY SERVICING, LLC;
                US BANCORP;                            File No.   11ScV1002-•
      STATEBRIDGE COMPANY, LLC;
                                                         JURY TRIAL DEMANDED
    WILMINGTON SAVINGS FUND
  SOCIETY, FSB, (As Trustee for the Prime
         Star — H Fund I Trust);
      PRIMESTAR FUND, I TRS, INC;
            BRET J. CHANESS, Esq;
                  Defendants


                                 VERIFIED COMPLAINT



       COMES NOW, Plaintiff, Oni Roberts, ("Plaintiff' or "Ms. Roberts"), who
respectfully files this Verified Complaint, and shows this Honorable as follows:


       I.              BRIEF INTRODUCTORY STATEMENT

       The entities named herein, have in the past, they currently are, and will in the future
continue to violate Ms. Roberts' civil and Constitutional Rights, the due process clause,
and over two hundred (200) years of Georgia Real Estate laws.

       Defendants have stepped beyond their respective rights and abilities and in the
process of so doing, have caused Ms. Roberts serious harm and injury resulting in liability
   Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 64 of 261
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                 IN THE SUPERIOR COURT OP DEICALB COUNTY
                               State of Georgia

                 Oni Roberts,
                  Plaintiff
                      V.        §.
  BANK OF AMERICA, CORPORATION;                                     Civil Action
        FAY SERVICING, LLC;
           US BANCORP;          §                        File No. 18CV10026
    STATEBRIDGE COMPANY, LLC; §
                                                           JURY TRIAL DEMANDED
     WILMINGTON SAVINGS FUND
  SOCIETY, FSB, (As Trustee for the Prime
         Star — H Fund I Trust);
      PRIMESTAR FUND, I TRS, INC;
                                                 9
         BRET 1. CHANESS, Esq;
              Defendants

                                 VERIFIED COMPLAINT


      COMES NOW, Plaintiff, Oni Roberts, ("Plaintiff" or "Ms. Roberts"), who
respectfully files this Verified Complaint, and shows-this Honorable as follows:


       I.•             BRIEF INTRODUCTORY STATEMENT
      The entities named herein, have in the past, they currently are, and will in the future
continue to violate Ms-. Roberts' civil. and Constitutional- Rights; the due process clause,
and over two hundred (200) years of Georgia Real Estate laws.
       Defendants have stepped beyond their respective rights and abilities and in the
process of so doing, have caused Ms. Roberts serious harm and injury resulting in liability
     Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 65 of 261




for damages to Ms. Roberts.
          Some of the defendants have ignored; and failed and refused to timely andproperly
respond to Notice of Error and Debt Validation Requests ("NEDVR"), as well as
Qualified Written Requests (aQWR's), and have committed fraud upon the Courts in
Georgia to obtain rulings in their favor.
        Plaintiff, was not provided with proper foreclosure notice, in violation of Georgia
statute, and in breach of contract. The property was not sold at auction, thereby power of
sale within the security deed, could not be utilized. The Deed Under Power shows that the
entity alleging to be lender, purchased the property for $100.00. The sale was illegal, and
did not take place in accordance with strict Georgia laws, and was never consummated;
under the laws of Georgia.


                               JURISDICTION AND VENUE
1.      Jurisdiction is proper in DelCalb County Superior Court, pursuant to Ga. Const.
1983, Art. VI, § IV, 11.

2.      Jurisdiction is also proper in this Court because it concerns title to real property:
"The superior courts ... shall have exclusive jurisdiction... in cases respecting title to land,
Setlock v. Setlock, 286 Ga. 384, 688 SE2d 346 (2010); in divorce cases; and in equity
cases".

3.      The judges of the superior courts have authority to grant for their respective circuits
writs of certiorari; supersedeas, quo warranto, mandamus, habeas corpus, and bail in
actions ex delicto (0.C.G.A. § 15-6-9(1); writs of injunction, prohibition, and ne exeat



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     Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 66 of 261




(0.C.G.A. § 15-6-9(3))1, as well as to entertain bills quia time! (0.C.G.A. § 15-6-9(2));
Superior Courts correct errors made by lower courts on appeal and have jurisdiction to.
grant equitable relief.

4.      Venue is proper in this Court, as the subject of this complaint is real property and
title thereto; the property is located. within DeKalb- County.

        HI.                         THE PARTIES

5.      Plaintiff, Oni Roberts during all times relevant has owned and resided at 5371
Charity Way, Stone Mountain, GA 30083:

6.      Defendant Bank of America Corporation. ("BAC") during all times relevant has
been a Foreign for profit Corporation, the parent of Bank of America, N.A., Bank of
America Home Loans Servicing, etc., they are organized and existing under the laws of
Delaware; their principal place of business locked at 100 North Tryon Street, Charlotte,
NC 28255. Service of process Will be perfected upon BAC through service upon their
Registered Agent: CT Corporation System, 289 Culver Street, Lawrenceville, GA
30046-4805; Gwinnett County.

7.      Defendant Fay Servicing, LLC, ("Fay") during all times relevant has been a
Foreign Limited Liability Company, organized and existing under the laws of Delaware,
with their principal place of business located at 440 S. LaSalle St., 201 Floor, Chicago, IL
60605.    Service of process- will be perfected- upon. Fay, through service upon their
Registered Agent: Registered Agent Solutions, Inc., 900 Old Roswell Lakes Parkway,


'See Fuller v. Williams, 150 Ga. App. 730, 258 S.E.2d• 538(1979), judgment rev'd, 244
Ga. 846,262 S.E2d 135 (1979); s.c., 153 Ga.App. 282,266 S.E.2d 806 (1980).

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Suite MO, Roswell, GA 30076, Fulton County.

8.      Defendant US Bancorp, a/k/a US Bank National Association (As Trustee for
PROF-2013-53 REMIC Trust, III, ("USW), during all times relevant has not been
registered to do business within the State of Georgia; and is organized and existing under
the laws of Delaware. US13- will be served through the Registered Agent in Minnesota:
CT Corporation System, Inc., 1010 Dale St. N., St Paul, MN 55117-5603.

9.      Defendant StateBridge Company, LLC ("StateBridge") during all times relevant,
has been a Foreign LimitectLiability Company, organized• and existing under the laws of
Colorado. Service of process will be perfected upon Statebridge through service upon their
Registered Agent: Incorp Services, Inc., 2000 Riveredge Parkway, N.W., Suite 885,
Atlanta, GA 30328:

10.     Defendant Wilmington Savings Fund Society, FSB (As Trustee for the Prime
Star — H Fund I Trust ("WSFS")), during all times relevant has not been registered to do
business within the State of Georgia. WSFS is located at SOO Delaware Avenue,
Wilmington, DE 19801 where they can be served with process.

11.     Defendant PrimeStar Fund I TRS, Inc ("Primestar"), during all times relevant
has been a Foreign for Profit Corporation organized and existing under the laws of
Delaware. Their principal place of business is located at 8665 East Hartford Dr., Suite 20,
Scottsdale, AZ 85255. Service of process will be perfected upon Primestar, through their
Registered Agent: CT Corporation System, 289 S. Culver St.; Lawrenceville, GA
30046-4805 in Gwinnett County.

12.     Defendant Brett J. Chaness, Esq. ("Chaness") during all times relevant, has been
a partner and a member of the Litigation Department at Rubin Lublin, LLC., which during
                                            4
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all relevant times, was located in Peachtree Corners. Service of process will be perfected
upon Chaness by personally serving him at the Rubin Lublin Law office located at 3145
Avalon Ridge Place, Suite 100, Peachtree Corners, GA 30071.

13.    Busch White Norton, LLP ("BWN") and Baker Donelson during all times
relevant have been a law firm that represented the foreclosing entity

14.    Plaintiff is informed and believes that information and belief alleges, that at all times
mentioned in this complaint, defendants were the agents and that their employees were
acting within the course and scope of that agency and employment.

15.    The Defendants, and each of them, were the agents, employees, representatives,
partners, officers, principals and/or joint venturers of each of the remaining defendants,
and in doing the things hereinafter alleged, were acting within the scope, course and
purpose of such agency, employment or position, or within the apparent scope, course and
purpose of such agency, employment or position and with permission and consent of each
of the remaining defendants.2

       IV.     STATEMENT OF FACTS PERTINENT TO ALL CLAIMS

16.    On July 25, 2006, Plaintiff purchased the property commonly known as 5371
Charity Way, Stone Mountain, GA 3008 in DeKalb County; the property is more
thoroughly described as:
        ALL THAT TRACT OR PARCEL OF LAND- LYING AND BEING IN
        LAND LT 74 OF THE 18121 DISTRICT OF DEKALB COUNTY,

2 Whenever,   appearing in this complaint, each and every reference to Defendants or to any
of them, is intended to be and shall be a reference to all Defendants hereto, and to each of
them unless said reference is specifically qualified.

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          GEORGIA, AND BEING LOT 8, IVY RIDGE SUBDIVISION, AS PRE
          PLAT RECORDED IN PLAT BOOK 118, PAGES 43-44, DEKALB
          COUNTY, GEORGIA RECORDS, AS REVISED QT PLAT BOOK 118,
          PAGE 96, DEICALB COUNTY, GEORGIA RECORDS, TO WHICH
          PLAT REFERENCE IS HEREBY MADE FOR. THE PUROSE OF
          INCORPORATING HEREIN.

17.    The special Warranty Deed EXHIBIT A being Instrument Number 2006-
0155444, and recorded into DeKalb County Georgia Records, Book 19045, Page 29, and
shows that Deutsche Bank National Trust Company, as Trustee, having sold the property
to Oni Roberts, and Forrest G. Roberts, Jr.3

18.    To fund the purchase of the property, Plaintiff signed a Promissory Note, and
Security Deed in favor of Bank of America, NA, a National Banking Association
EXHIBIT B, Instrument Number 2006-0155445, and recorded at DeKalb County
Georgia Records, Book 19045, Page 31.

19.    Litton Loan Servicing, 4828 Loop Central Drive, Houston, TX 77081,was the loan
servicer for the alleged Account Number xxxx9718.

20.    Bank of America was the alleged lender for loan #: moacxx1371.

21.    The Security Deed, § 2 describes how Plaintiff's payments were to be applied, and
the way late payments are handled.

22.    The Security Deed, § 3 describes the escrow, bills the escrow covers, the amount of
money that RESPA allows the lender to-hold for escrow, how the funds are to be handled,
as well as shortages and overages of escrow funds.

3 When.  the property was purchased-, Oni Roberts was married to- Forrest G. Roberts, Jr.,
but has since divorced, and Mr. Roberts is no longer a part of the property, and is not a
party in this. action.

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23.    The Security Deed, § 19 provides information about the Borrower has the right to
reinstate after acceleration; §20 provides information about the lender selling the note and
loan servicer changes; § 22 covers acceleration, and remedies.

24.    § 22 States: "Lender shale give notice to Borrower prior to acceleration following
Borrower's breach of any covenant or agreement in this Security Instrument.. .The notice
shall specify: (a) the default; (b) the action required to cure the default; (c) a date not
less than 30 days from the date the notice is given to Borrower, by which default must be
cured; and (d) that failure to cure the default on or before the date specified ... may result
in acceleration of the sums secured ... and sale of the property".

25.    "The notice shall further inform Borrower of the right to reinstate after acceleration
and the right to bring a court action to assert the non-existence of a default or any other
defense of Borrower to acceleration and sale..".

26.    After having never been late, or missed a payment for six (6) years, Plaintiff and
Plaintiff (her) ex-husband ("her ex") began suffering financial difficulties due to the
economy.

4 Umnistakably mandatory character, requiring that certain procedures "shall," "will," or
"must" be employed Hewitt v. Helms, 459 US 460 - Supreme Court 1983; "mandatory
language, the words 'shall', 'must', or 'will' In sum, the use of 'explicitly mandatory
language,' ...establishment of "specified substantive predicates" to limit discretion, ...."
Hewitt v. Helms, 459 U. S., at 472. ".. is perfectly clear and unambiguous. Pleasant v.
Luther, 195 Ga.App. 889,890(1), 395 S.Eld 79 (1990). Its-language is mandatory. Preece
v Turman Realty Company, Inc. 228 Ga. App. 609,492 S.E.2d 342 (1997). "To create a
constitutionally protected liberty interest, a state must employ 'language of an
unmistakably mandatory character, requiring that certain procedures "shall," "will," or
"must" be employed ... 1" Russ v. Young, 895 F.2d 1149, 1153 (7th Cir.1990) (quoting
Hewitt, 459 U.S. at 471-72, 103 S.Ct. at 871). Protected due process liberty interests can
be created, however, when a state "plac[esi substantive limitations on official discretion,"
Ohm v. Wakinekona, 461 U.S. 238, 249, 103 S.Ct 1741, 1747, 75 L.Ed.2d 813 (1983).

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27.   Plaintiff and her ex were experiencing difficulties, and money problems had begun
to show up due to the economy.

28.   Plaintiff filed for a Loan Modification, which at that time, 04/07/2010, paperwork
showed that even though there had been nothing notifying Plaintiff and her ex that BAC
Home Loans Servicing as an alleged affiliate of Bank of America, NA., and showing the
alleged Loan P. moorx9326, had apparently taken over, which violated not only the
security deed, but RESPA as well.

29.    Specifically, RESPA provides that "Mach servicer of any federally related
mortgage loan shall notify the borrower in writing of any assignment, *842 sale, or transfer
of the servicing of the loan to any other person." Id. § 2605(b)(1). Subsection (c) similarly
provides that: "[e]aFh transferee servicer to whom the servicing of any federally related
mortgage loan is assigned, sold, or transferred shall notify the borrower of any such
assignment, sale, or transfer." Id. §2605(c). Madura v. Bac Home Loans Servicing, LP,
593 F. Apptx 834, 841-42 (11th Cir. 2014).

30.    04/2012 Plaintiff and her ex, jointly filed for Chapter 13 Bankruptcy in the United
States Bankruptcy Court for the Northern District of Georgia, Atlanta Division.

31.    The Chapter 13 was converted to a Chapter 7, Bankruptcy for which discharge was
granted on 05/06/2014, with the Trustee's Final Report of 02/02/2015.

32.    The loan or servicing rights, allegedly sold on 02/01/2014, to Fay Servicing, who
gave the loan another new account number: m0000r8404EXH/B/T C.

33.    Under Fay Servicing, the loan allegedly was sold into a Trust: U.S. Bank National
Association as Trustee for PROF-2013-M4 Grantor Trust I, using that same loan number


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of mcxxxx8404, EXHIBIT D, even though when Plaintiff purchased the Property, the loan
was already in a Trust Exhibit A.

34.   July 07, 2014, Plaintiff had applied for a loan modification with Fay EXHIBIT E.

35.   Plaintiff had complied with all of Fay's demands, such as an inspection (Appraisal),
instead of Fay granting a modification, they sold the loan servicing rights to StateBridge
while a modification would have been effective September 03, 2014.

36.   September 16, 2014 Plaintiff received a letter from StateBridge confirming the
transfer, and showing the loan number at that time as xxxxatx1276 FJWIBIT F.

37.   On September 23,2014 Plaintiff received a letter from StateBridge stating that the
amount currently due was: $307,526.47; Unpaid Principal $272,561.97; Interest
$19,815.00; Escrow Balance Owed: $14,942.00; Corporate Advance Balance $207.50
EXHIBIT G.

38.   At that same time, Plaintiff learned through written correspondence concerning the
property that Wilmington Savings Fund Society, FSB, solely as Trustee for Primestar -H
Fund I Trust do Prime Asset Fund @ P.O. Box 447, Odessa, FL 33556-0447, had taken
the loan/servicing over, with the account number at that time was xxxxxot2982 FJWIBIT
H.

39.   On September 23, 2014 Plaintiff received correspondence from Frederick Fajardo
representing StateBridge as Plaintiff's Home Retention/Modification contact EX/I/BIT /.

40.   Plaintiff wrote a letter and called Mr. Fajardo and said that she intended on keeping
the property and applying again for loan modification, since Fay Servicing allegedly sold
in the middle of being approved for modification.

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   Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 73 of 261




41.      Plaintiff sent to Mr. Fajardo US Mail, and FAX at the number he had provided to
her (303-) 290-7516 information concerning the modification and alerting him that she
would be sending the QWR to learn why there was a difference of $2,892.05, between
what Fay claimed, and what StateBridge was claiming EXFHBIT J

42.      RESPA also provides a loan servicer, upon receipt of a QWR, for information
related to the servicing of a loan must provide a written response acknowledging receipt of
the QWR within 5 business days. 12 U.S.C. § 2605(e)(I)(A).

43.      A QWR is a written correspondence that (1) allows the servicer to identify the name
and account of the borrower, and (2) includes a statement of the reason for the borrower's
belief that the account is in error or provides sufficient detail regarding other information
sought by the borrower. Id. § 2605(eX1)(B).

44.      The term "servicing" means receiving any scheduled periodic payments from a
borrower under the terms of any loan and making the payments of principal and interest
regarding the amounts received from the borrower as may be required by the loan. Id. §
2605(i)(3). M'adura v. Sac Home Loans Servicing, LP, 593 F. App'x 834, 842 (11th Cir.
2014).

45.      Plaintiff sent out a QWR to StateBridge on 10/13/2014 requesting specific
information about her loan, for example:
          3) "Why does my Bank of America Statement due for 02/01/2014 for
          loan it- xxxxx9326• (modification number), show $47,713.05; Principal
          Balance Owed: $272,561.97, and Escrow Balance of $15,127.80".
          5) "Why does the Fay Servicing Statement for 03/01/2014, only one
          month later show a balance due of $44,821.00", and shows "a late charge
          of $0.06 will be charged after 03/16/2014". "There was only 1 notable
          adjustment of $184.84 as an Expense Adjustment on 02/07/2014"?

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46.    The response Plaintiff received from StateBridge on the QWR, was correspondence
stating 'NOTICE OF INTENT TO ACCELERATE LOAN xxxmcx1276, EXHIBIT K.

47.    The correspondence fluffier informed Plaintiffthat she was in default $57,739.88.

48.    October 21, 2014 Plaintiff received a letter from StateBridge Borrower
Correspondence Team, that they had received the QWR and stated that they would
investigate the account, make appropriate correction, and provide Plaintiff with a report of
any findings EXHIBIT L.

49.    Plaintiff has sent QWR's every year after 2014, and has either gotten no response,
or unsatisfactory responses.

50.    Even though Plaintiff's property allegedly sold at auction, Plaintiff's neighbor, who
will be testifying as a witness at trial, attended the auction all day, as did others, and
Plaintiff's property was never called out.

51.    Apparently, defendants decided that Georgia statute does not matter; they have been
foreclosing in this state for no less than ten (10) years now, and have actual knowledge that
they violated 0.C.G.A. § 23-2-114, which holds that Powers of sale in deeds of trust,
mortgages, and other instruments shall be strictly construed and shall be fairly exercised.
In the absence of stipulations to the contrary in the instrument, the time, place, and manner
of sale shall be that pointed out for public sales. (Ga. Code Ann. § 23-2-114 (West)).

52.    The Deed Under Power EXHIBIT M, shows the property sold for One Hundred
Dollars ($100.00) and it was not cried out at auction.

53.    Further, anyone would have gladly paid $100.01 for the property, defendants have
been awarded a windfall at Plaintiff's expense.

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54.    Plaintiff has been either a victim of bid riggings, fraud, or defendants in this action




  § 16-14-6. Other civil remedies
(a)Any superior court may, after making due provisions for the rights of innocent persons,
enjoin violations of Code Section 16-14-4 by issuing appropriate orders and judgments,
including, but not limited to:
(1) Ordering any defendant to divest himself ...of any interest in any enterprise, real
property, or personal property; (2) Imposing reasonable restrictions upon the future
activities or investments ... including, ... prohibiting from engaging in the same type
of endeavor ... in violation of Code Section 16-14-4; (3) Ordering the dissolution or
reorganization of any enterprise; (4) Ordering the suspension Or revocation of any license,
perrnit, ...; or (5).. .forfeiture of the charter of a corporation organized under the laws of
this state.. .revocation of a certificate ...to conduct business 'within this state..., in
conducting affairs of the corporation, has authorized or engaged in conduct in violation of
Code Section 16-14-4 and that, ...the public interest requires that the charter of the
corporation be forfeited ...
(b) Any aggrieved person... may institute a civil action.. .In such civil action, relief shall
be granted in conformity with'.. .granting of injunctive relief from threatened loss or
damage in other civil cases, provided that no showing of special or irreparable damage
to the person shall have to be made. Upon... a showing of immediate danger..., a
temporary restraining order and a preliminary injunction may be issued...
(c) Any person who is injured by. ..violation of Code Section 16-14-4shall have a cause
of action for three times the actual damages sustained and...punitive damages. Such
person shall also recover attorney's fees in the trial and appellate courts and costs of
Investigation and litigation 'reasonablyincurred. The defendant or any injured person
may demand a trial by jury in any civil action brought pursuant to this Code section.
(d) Any injured person shall have a right or claim -to forfeited property or to the
proceeds derived therefrom as set forth in Code Section 9-16-16.
(e) A conviction in any criminal proceeding shall estop the defendant in any subsequent
civil action or civil forfeiture proceeding under this chapter as to all matters proved in the
criminal proceeding. Ga. Code Ann. § 16-14-6 (West)


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are guilty of violating Georgia's mortgage fraud act.

55.   (1) "Mortgage lending process"
        ... process through which a person seeks or obtains a residential mortgage
        loan ... including, solicitation, application, or origination, negotiation of
        terms, third-party provider services, underwriting, signing and closing,
        and funding of the loan.., shall also include the execution of deeds
        under power of sale ... required to be recorded...Code § 44-14-160...
        the execution of assignments... required to be recorded... (b) of Code §
       44-44-462. Documents involved in the mortgage lending process include,
       but shall not be limited to, uniform residential loan applications.., loan
        applications; appraisal reports; HUD-1 settlement statements; ...personal
       documentation ... such as W-2 fowls, verifications of income and
        employment, bank statements, tax returns, and payroll stubs; and any
        required disclosures.

Ga.. Code Ann: §. 16-8-101 (West)

56.    Loan modifications fall within the parameters of a mortgage lending process.

57.   Residential mortgage fraud offenses can also be prosecuted through the Georgia
RICO.. .are considered within the definition of ...racketeering activity Id

58.    Effective July 1, 2012, 0.C.G.A. § 16-8-101 was amended to provide that the
definition of "mortgage lending process" shall also include the execution of deeds under
power of sale that are required to be recorded pursuant to 0.C.GA. § 44-14-160 and the
execution of assignments that are required to be recorded pursuant to subsection (h) of
0.C.G.A. § 44-15-162. Id

59.   These amendments extend the Georgia Residential Mortgage Fraud Act to
foreclosure fraud IS




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60.    Plaintiff alleges that even if the notice had been properly provided, which Plaintiff
disputes, the foreclosure and sale under power were never consummated, see Building
Block Enterprises v. State Bank and Trust Co., 314 GaApp. 147(2), 723 S.E.2d 467
(2012) (foreclosure sale not consummated where purchaser bank did not transfer buyer's
interest to itself and did not apply proceeds of sale to reduce borrower's debt).
Peachtree Homes, Inc. v. Bank ofAns, NA., 315 Ga. App. 243; 246,726 S.E.2d 737,739
(2012)85.

61.    A foreclosure sale is not consummated when the lender did not apply the proceeds
of the sale to the loan §21:1-14. In general; 3 Ga. Real Estate Law & Procedure § 21:114
(7th ed.).

62.    "Until a deed under power is transferred and consideration is passed, the sale itself
has not occurred; there is only a contract to buy and sell.") (citations and punctuation
omitted Yellow Creek Investments; LLC v. Mullibank 2009-1 C.RE Venture, LLC, 329
Ga. App. 577, 581, 765 S.E.2d 728, 732 (2014).

63.    Further, when Plaintiffpurchased the property, from "Deutsche Bank National Trust
Company, As Trustee" with Litton Loan Servicing, LP as Attorney-In-Fact for Deutsche
Bank, the loan had already been sold to a securitized trust.




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                               FIRST CLAIM FOR RELIEF
                                BREACH OF CONTRACT
                                 (Against All Defendantsi

64.    Plaintiff incorporates II 14 through 57 as if filly restated herein.

65.    Plaintiff alleges that the Warranty Deed Exhibit A, and the Security Deed Exhibit
B are contracts.6

66.    Plaintiff further alleges that when she and her ex signed the closing documents, there
were exactly three (3) people at the closing: Plaintiff, her ex, and the party conducting the
closing, who may or may not have been an attorney.

67.    There were no non-party witnesses, and no notary present at closing.

68.    Plaintiff includes all defendants in breach of contract, Plaintiff alleges that everyone
who took the loan over, as well as their agents, were bound by contract.

69.    It had been alleged that BOA/BAC was the lender, Plaintiff believes the loan was
funded by a Wall Street Warehouse Lender.

70.    Plaintiff further, alleges that when she purchased the property, it had already been
securitized and sold into one or more Trusts.

71.    Since the loan was already in a securitized trust when Plaintiff and her ex signed the
closing documents, the loan could not be pulled from the trust without hurting all of the
investors.

72.     When Plaintiff purchased the property, it could not be removed from the Trust,


6 1. "The elements for a breach of contract claim in Georgia are the (1) breach and the
(2) resultant damages (3) to the party who has the right to complain about the contract
being broken." (Citation and punctuation omitted.) Dowell Sacks, LLP v. Chicago Title
Ins. Co., 324 Ga. App. 219, 223 (2) (a), 749 S.E.2d• 802 (2013).
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without negative adverse effects.

73.    Research indicates Plaintiff therefore alleges, that at the most, BOA/BAC was a
third party servicer.

74.    Plaintiff alleges that research further indicates that the loan was sold numerous.
times, which would be impossible with the Note and Deed of Trust, in a securitized trust.

75.    The servicing rights were apparently sold numerous times, but that does not explain
the many, many different changes in account numbers.

76.    Plaintiff paid for an abstract of tide/title search EXHIBIT N, to gather information
she had repeatedly been denied.

77.    Plaintiff alleges that for the first six years, her payments had never been late.

781    In the divorce, Plaintiff's ex quit claimed. his share of the property to Plaintiff.

79.    Sometime around the time that Plaintiff became the sole owner of the property,
Plaintiff was accused of falling behind on her payments, which she vehemently denies.

80.    Plaintiff alleges that BAC as servicer, along with the true secured creditor, whoever
it is/was, negligently breached the terms of the loan agreements at issue.

81.    More specifically, the contract was breached when Plaintiff's payments, were not
credited to her debt as shown by the Security Deed §2:
        "Application of Payments... Except as otherwise described in this Section
        2 all payments accepted and applied by Lender shall be applied in the
        following order of priority •
        (a) interest due under the Note;
        (b) principal due under the Note,
        (c) amounts due under Section 3 Such payments shall be applied to. each

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        Periodic Payment in the order in which it became due..."

82.   Plaintiff alleges that the payments were improperly credited to the debt, and from
Plaintiffs understanding, her payments were held in an "unapplied funds" account even
though all payments had been made in Bill, and were not late.

83.   Plaintiff alleges that BOA breached their contractual duties concerning application
of her payments and acceleration of the debt found within the security deed and note.

84.   Plaintiff alleges that under the provisions of the contract, whoever actually owned
the loan, along with the servicer, at all times, were obligated to properly manage and
administer the payments made toward the debt, as well as properly administer and manage
the escrow account.

85.   Plaintiff alleges that the loan servicer defendants, which includes BOA/BAC, Fay,
US Bancorp, Statebridge, WSFS, and Primestar, failed toproperly maintain and administer
her payments to the debt.

86.   Plaintiff alleges that the loan servicer defendants, which includes BOA/BAC, Fay,
US Bancorp, Statebridge, WSFS-, and Primestar, failed to properly maintain and administer
the escrow account.

87.   Plaintiff alleges that in 2010 she was granted a loan modification, through Bank of
America, NA.

88.   Plaintiff alleges that after the loan was modified, Plaintiff eventually learned that
BOA had utilized the income of her ex in the modification application without the
knowledge or permission, and behind the backs of Plaintiff and/or her ex.

89.   Plaintiff alleges that terms of the loan modification would have been different had

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her ex's income not been included.

.90. Additionally anchor alternatively, Plaintiff alleges that had it not been for including
her ex's income, Plaintiff would have received a different modification, such as a reduction
of principal owed, and/or she would have been allowed more of a rate reduction, and/or
possibly would have received all of the past arrearage forgiven, rather than being added
onto the end of the loan.

91.    Plaintiff alleges that she has repeatedly sought information concerning the loan, and
been denied.

92.    Plaintiff alleges that the loan number has been changed so many times, a normal
person could not logically be expected to keep up with the changes.

93.    Plaintiff has sent out numerous QWRs attempting to find where a default in payment
occurred1 and to find out the true owner of her loan, but she has never received adequate
responses.

94.    One of the responses Plaintiff received most often was that they did not have to
respond because they had responded to previous QWRs, but the facts show that there had
never been adequate responses to the previous QWRs.

95.    Plaintiff believes and alleges, that had the identity of the note holder not been
secreted from her, she would have been able to negotiate a much better loan modification.

96.    For example the property was already in a Trust when Plaintiff purchased the
property and she has been continually denied the information necessary for Plaintiff to have
someone with Bloomberg terminal access, to research into the Trust, and find that there
had been no default in payments as claimed by defendants.

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97.    When Plaintiff purchased the property, she purchased from Deutsche Bank National
Trust Company, as Trustee [Ex.'11, but the Special Warranty Deed shows it was signed by
Litton Loan Servicing, LP as Attorney-In-Fact, and no Power of Attorney included or
attached.

98.    Deutsche Bank, was acting as Trustee, for who? With Litton Loan Servicing,
servicing what loan? After a foreclosure there is no loan to service, and Litton was not
servicer of the loan.7

99.    Plaintiff alleges that out of the numerous times the servicing rights for her loan were
sold, Plaintiff was not properly noticed of the transfers.

100. Plaintiff incorporates ¶1122 through 28,31 through 40.

101. Plaintiff alleges that the incorporated paragraphs shows breach of contract, with the
last breaches concerning the sale of the property at an auction where the property was not
called out, and for which the Deed Under Power shows the property sold for $100.00.

102. Plaintiff alleges that the Deed Under Power [Exit] shows a fictional statement of
who the seller was acting as attorney-in-fact for, "...this eh day of October 2015, by Oni
Roberts and Forrest G. Roberts, Jr..." The DelCalb County Georgia Records clearly show
that Forrest G. Roberts Jr. was no longer part of the equation, he had quit claimed to
Plaintiff.

103. Plaintiff alleges that "(Grantor)... Wilmington Savings Fund Society, FSB, not in its
individual capacity but solely as Trustee for the PrimeStar-H Fund I Trust (assignee of U.S.

'Plaintiffnever made payments to Deutsche Bank or to Litton, and she did make payments
to Bank of America, but it is Plaintiff's understanding that Bank of America is merely a
third party loan servicer, with no interest in the loan or property.

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Bank National Association, as Trustee for Prof-2013-S3 Runic Trust ifi as assignee of
Bank of America, N.A, "Lender")....c/o Busch White Norton, LLP...and Wilmington
Savings Fund Society, FSB, not in its individual capacity but solely as Trustee for the
PrimeStar-H Fund I Trust ("Grantee"), shows not only a bunch of garble to-confine anyone
interested in the facts, but that there are no Power of Attorney documents to back up the
garbled claim of "attorney-in-fact".

104. Plaintiff alleges the other reason for making the Deed Under Power so confusing
as shown in 1 79, was to keep away from the fact that there was no sale at auction, and
according to the Deed Under Power, the sale amount was only $100.00 to an entity
claiming to have the right to sale, and sold to themselves.

105. Plaintiff alleges that the Security Deed was violated in the following ways:
        a) Failure to properly apply Plaintiff's payments toward the debt,
            violation of Security Deed [FazAp.4] § 2;
        b) Mismanagement of Plaintiff's Escrow payments and the projections
           for the following year, in violation of Security Deed [Ex.B,pp.4-5] §
           3.
        c) Violation of Security Deed [Ex.B,p.12] § 20 Sale of Note; Change of
           Loan Servicer...If there is a change of the Loan Servicer, Borrower
           will be given written notice..." Plaintiff many times did not get notice
           until after the payment had already been made to the prior entity
        d) Violation of Security Deed [Ex.B,p.1.3] § 22. Acceleration, Remedies
           "Lender shall give notice to-Borrower prior to. acceleration following
           Borrower's breach of any covenant or agreement in this Security
           Instrument.. .The notice shall specify: (a) the default; (b) the action
           required to cure the default; (c) a date not less than 30 days from
           the date the notice is given to Borrower, by which- default must be
           cured; and (d) that failure to cure the default on or before the date
           specified ... may result in acceleration of the sums secured ... and sale
           of the property". (e) "The notice shall further inform Borrower of the
                                            20'
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            right to reinstate after acceleration and the right to bring a court action
            to assert the non-existence of a default or any other defense of
            Borrower to acceleration and sale..".

106. Plaintiff alleges that these steps were ignored by the alleged lenders and servicers;
notice was not in compliance with GA code or the Security Deed, and the contracts were
thereby violated.

107. The Security Deed was also breached for the failure to properly notice Plaintiff of
changes in the loan servicer.

108. § 20 Sale of Note; Change of Loan Servicer;...The Note... (together with this
Security Instrument) can be sold one or more times without prior notice to
Borrower.. .night result in a change in the.. .loan servicer...lf there is a change in the Loan
Servicer, Borrower will be given written notice of the change which will state the name
and address to which payments should be made and any other information RESPA requires
in connection with a notice of transfer of servicing...".

109. Plaintiff alleges that Notice of change of loan servicer was not in compliance with
RESPA for several of the changes of loan servicers.g

8(3) Time of notice— (i) In general. Except as provided in paragraphs (b)(3)(ii) and (iii)
of this section, the transferor servicer shall provide the notice of transfer to the borrower
not less than 15 days before the effective date of the transfer of the servicing of the
mortgage loan. The transferee servicer shall provide the notice of transfer to the borrower
not more than 15 days after the effective date of the transfer. The transferor and transferee
servicers- may provide a single notice, in which case the notice shall be provided not less
than 15 days before the effective date of the transfer of the servicing of the mortgage loan.
(12 C.F.R. § 1024.33). (4). Contents of notice. The notices of transfer shall include the
following information:
(i) The effective date of the transfer of servicing; (ii) The name, address, and a collect call
or toll-free telephone number for an employee or department of the transferee servicer that
can be contacted by the borrower...; (iii) The name, address, and a collect call or toll-free
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110. Plaintiff alleges that these defendants breached their contractual duties set forth in
the Security Deed andNote, concerning application of payments, acceleration of the debt,
and the proper notice they were required to provide Plaintiff.

111. As a direct and proximate cause of Defendants' actions/inactions, Plaintiff has been
hanned, injured and made to suffer damages, including the loss of her home.

WHEREFORE, Plaintiff prays for the relief shown in her Final Prayer for Relief.
                            SECOND CLAIM FOR RELIEF
                             WRONGFUL FORECLOSURE
               (Against Defendants Fay. StateBridge. WSFS. and Primestar)

112. Plaintiff incorporates Exhibits C-K, and II] 29-78- as if fully restated herein.

113. Plaintiff alleges that the foreclosing entity violated 0.C.GA. § 23-2-114, which
holds that "Powers of sale in deeds of trust, mortgages, and other instruments shall be
strictly construed and shall be fairly exercised. In the absence of stipulations to the contrary
in the instrument, the time, place, and manner of sale shall be that pointed out for public
sales". (Ga. Code Ann. § 23-2-114 (West)).

114. Plaintiff alleges that the lender and its loan servicer owed Plaintiff a legal duty to
honestly and properly apply her payments toward the debt, and failed to do sa.

115. Plaintiff alleges that the lender and its loan services further owed Plaintiff a legal
duty to honestly and properly supply the escrow account with the money necessary not to

telephone number for an employee or department of the transferor servicer that can be
contacted by the borrower...; (iv) The date on which the transferor servicer will cease to
accept payments ... the date on which the transferee servicer will begin to accept such
payments. These dates shall either be the same or consecutive days; ... (vi) A statement
that the transfer of servicing does not affect any term or condition of the mortgage loan
other than tenns directly related to the servicing of the loan. (12 C.F.R. § 1024.33).
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pay the payments required of the escrow account, failed to do so:

116. Plaintiff clearly alleges that the foreclosing entity had a legal duty to fairly exercise
the power of sale and failed to do so.

117. To exercise the power of sale fairly, the foreclosing party has to timely and properly
provide notice to the borrower, which did not happen in the case at bar.

118. Plaintiff alleges that exercising a foreclosure and sale under power without
following strict GA law, and in violation of the requirements set forth in the Security Deed,
and without providing proper notice is not a sale "fairly exercised".

119. Plaintiff further believes and therefore alleges that the failure to call out the property
for a highest bidder falls within the category of not being strictly construed or fairly
exercised.9

120. The foreclosing entity had an obligation to properly notice Plaintiff of the
foreclosure, at least thirty (30) days prior to the sale, which they did not do.

121. The required actions of the foreclosing entity was required to provide:
         "(a)- Notice of the initiation of proceedings to exercise a power of sale in
         a mortgage, security deed, or other lien contract shall be given to the
         debtor ... no later than 30 days before the date of the proposed foreclosure.
         Such notice shall be in writing, shall include the name, address, and
         telephone number of the individual or entity who shall have full authority
         to negotiate, amend, and modify all terms of the mortgagemith the debtor,
         and shall be sent by registered or certified mail or statutory overnight
         delivery, return receipt requested, to the property address or to such other
         address as the debtor may designate by written notice to the secured


9 Plaintiff had a friend and a neighbor who was there at the auction all day, and is willing
to testify to the truth of the matter, that Plaintiff's property was not called out at auction,

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        creditor..."

Ga. Code Ann. § 44-14-162.2 (West)

122. Plaintiff alleges that Fay, StateBridge, WSFS, and Primestar caused a wrongful
foreclosure, and Plaintiff believes that WSFS- and Primestar worked closely together to sale
the property for as little money as possible with no intent of any money being paid toward
the debt.

123. Plaintiff alleges that these *zee (3) or (4) defendants owed Plaintiff a legal duty,
and Fay, StateBridge, WSFS; and Chaness all had actual knowledge that Plaintiff had
applied for, and application was pending for, a loan modification, yet they had refused the
legal duty of properly responding to a QWR/NEDVR/FOIA Request                .

124. The response to Plaintiff from the proper QWR, was Notice of Intent to Accelerate
the loan which was the response Plaintiff received from StateBridge, Exhibit K.

125. The foreclosure was begun by StateBridge, who assigned to WSFS prior to auction.

126. Neither StateBridge, nor WSFS took concern with the Fact that Plaintiff was in the
middle of a modification application, they just foreclosed anyway, without concern for the
consequences of their actions.

127. The Deed Under Power pretty much shows the lack of concern for anything is shown
by the fact that Deed Under Power shows that the property, was sold and purchased by the
same entity for a whopping One Hundred Dollars ($100.00).

128. Plaintiff is informed, believes, and therefore alleges that if the property had been
called out at auction, the price would have been much, much more than One Hundred
Dollars ($100.00).

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129. Plaintiff; after looking into the auctions that DeKalb County has, and the arrests that
have been made because of fraud- involved in- foreclosure auctions in Georgia; alleges that
there was a matter of bid rigging involved.

130: Alternately, one or more of the defendants participated in chilling the bidding.

131. The Security Deed and Georgia law both state that the foreclosing entity may
purchase the property at auction, but it must be called out to the highest bidder, and
defendant's Deed Under Power claims that the property was called out to the best and
highest bidder, and that consideration was in the amount of a whopping One Hundred
Dollars ($100.00), to the highest and best bidder.

132. For example:
       "As a general rule the price brought at a public sale, after proper and
       lawful advertisement, is prima facie the market value of the property sold,
       absent anything to indicate that there was chilling of the bidding, fraud, or
       the like adversely affecting the sale. Cf Bearden v. General Motors
       Accept. Corp., 122 Ga.App. 180, 176 S..E.2d 652. 'Evidence of what land
       was sold for per acre at sheriffs sale was admissible on the question of the
       value of such land.' May v. Leverene, 164 Ga. 552(11), 139 S.E. 31. But
       under the terms of the statute here the applicant may not rely solely on
       such aprima facie showing., he must introduce evidence showing the value
       of the property at the time of sale. Here he did so. The court concluded
       that the sale had been properly and lawfully advertised and the sale
       properly conducted, and that the price brought represented the title market
       value".
Thompson v. Maslia, 127 Ga. App. 758, 764, 195 S.E.2d 238, 243 (1972)

133. Plaintiff alleges that DeKalb County Tax Commissioner has the Total Tax is for the
amount of Three Hundred Twenty Four Thousand Three Hundred Dollars ($3241300.00).
EXHIBIT 0, page 2 on the property for 2018 and the amount of taxes owed is Seven
Thousand Eight Hundred Sixty-Seven Dollars and sixty-two cents ($7,867.62) Exhibit 0,

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page I.

134. Plaintiff alleges that $100.00 is not only inadequate, but is grossly inadequate,
          "It is only when the price realized is grossly inadequate and the sale is.
          accompanied by either fraud, mistake, misapprehension, surprise or other
          circumstances. which might authorize a finding that such circumstances.
          contributed **169 to bringing about the inadequacy of price that such a
          sale may be set aside by a court of equity. Smith v. Georgia Loan & Trust
          Co., 114 Ga. 189,39 S.E. 846; Croft v. Sorrell, 151 Ga. 92, 106 S.E. 108;
          Massey v. National HomeownersSalesService Corp. ofAtIonta, 225.0a.
          93,99, 165 S.E.2d 854.
Giordano v. Stubby, 228 Ga. 75,79, 184 S-.E.2d 165, 168-69 (1971).

135. Plaintiff alleges that the fact the property was not called out at auction is one of
those other "circumstances which would authorize a finding that such circumstances
contributed to bringing about the inadequacy of price that such a sale may be set aside by
a court of equity".

136. Plaintiff believes and therefore alleges that there were also circumstances such as
fraud involved, and/or possibly bid-rigging and/or other means of chilling the bidding was
involved'.

137. Of course, Plaintiff has also complained herein, that she was not provided with
proper notice prior to foreclosure and sale under power, and that the failure to provide
proper notice is another one of the circumstances, that when combined with the grossly
inadequate sales price, is enough to push it over the edge for the Court to set the sale aside.

138. Plaintiff alleges, given the amount of money involved in the sale, that the sale was
never consummated.

139. "A foreclosure sale is not consummated when the lender did not apply the proceeds


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of the sale to the loan" § 21:114. In general, 3 Ga. Real Estate Law & Procedure § 21:114
(7th ed.).

140. As a direct and proximate cause of the actions/inactions concerning the wrongful
foreclosure of her home by Defendants Fay, StateBridge, WSFS, and Primestar, Plaintiff
has been injured; harmed and has suffered damages.

WHEREFORE Plaintiff prays for the relief shown in her final prayer for relief.

                             THIRD CLAIM FOR RELIEF
                 VIOLATIONS OF 12 U.S.C. 64 2601 and 2605 et seq
        (Against Defendants IJS. Bancorp, Fay. StateBridge, WSFS, and Primestar)

141. Plaintiff alleges that her loan is a "federally related mortgage loan"10 pursuant to 12
U.S.C.A. §§ 2601 and 2605 (West)


1° which "includes any loan which.
(A) is secured by a first or subordinate lien on residential real property... for the occupancy
of from one to four families...; and
(B)(i) is made in whole or in part by any lender the deposits or accounts ...are insured by
any agency of the Federal Government, or is made in whole or in part by any lender ...
regulated by any agency of the Federal Government, or
(ii) is made ..., or insured, guaranteed, supplemented, or assisted.. .by the Secretary or any
other officer or agency of the Federal Government or under or in connection with a housing
or urban development program administered by the Secretary or a housing or related
program administered by any other such officer or agency; or
(iii) is intended to be sold by the originating lender to the Federal National Mortgage
Association, the Government National Mortgage Association, the Federal Home Loan
Mortgage Corporation, or a financial institution from which it is to be purchased by the
Federal Home Loan Mortgage Corporation; or
(iv)is made in whole or in part by any "creditor", as defined in section 1602(f) of Title 15,
who makes or invests in residential real estate loans aggregating more than $1,000,000 per
year, except that for the purpose of this chapter, the term "creditor" does not include any
agency or instrttmentality of any State;
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142. Plaintiff alleges that defendants violated 12 U.S.C. § 2605(c)(1), which states in
pertinent part: "Each transferee servicer to whom the servicing of any federally related
mortgage loan is assigned, sold, or transferred shall notify the borrower of any such
assignment, sale, or transfer," 12 U.S.C. § 2605(c)(1); De Souza v. JP Morgan & Chase
Co:, No: 1:13-CV-24474WT, 2014            1338762, at *2 (ND. Ga. Apr. 2, 2014)

143. And such notice must generally "be made to the borrower not more than 15 days
after the effective date of transfer of the servicing of the mortgage loan," 12 U.S.C. §
2605(c)(2)(A). IS

144. "Whoever fails to comply with any provision of [section 2605] shall be liable to the
borrower." 12 U.S.C. § 2605(f). IS

145. "Any action pursuant to ... section 2605 ... may be brought ... within 3 years ... of a
violation of section 2605." 12 U.S.C. §2614- (emphasis added). IS        ,

146. Plaintiff alleges that for the past several years, she has sent out QWRs (,Notices of
Error, and Requests for Information pursuant to Regulation X

147. Sections 1024.35 (Notice of Error) and 1024.36 (Request for Information) of
Regulation X were both promulgated pursuant to Section 6 of RESPA and thus subject to
RESPA's private right of action".




(9). the term 'Bureau." means the Bureau of Consumer Financial Protection.
11 See 78 Fed. Reg. 10696, 10714, FN. 64 (Feb. 14, 2013)("The [CFPS] notes that
regulations established pursuant to section 6 of RESPA are subject to section 6(f) of
RESPA, which provides borrowers a private right of action to enforce such regulations").
See also 78 Fed. Reg. at 10737, 10751 (the CFPB noting that Section 102435 and 1024.36
implement Section 6(k)(1)(C) and 6(k)(1)(D) respectively).

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148. The CFPB's authority to prescribe such regulations under Section 2605(k)(1)(E), is
statedin Section 2617 of RESPA.I2

149. Plaintiff alleges that the listed servicers, Fay, StateBridge, WSFS, and Primestar
have repeatedly failed and refused to comply with 12 C.F.R. § 102436(d) in that they all
failed and refused to provide adequate responses to numerous requests for information
within the required timeframe.

150. As such, Fay, StateBridge, WSFS, and Primestar have violated 12 U.S.C. §
2605(k)(1)(E).

151. Further, Fay, StateBridge, WSFS, and Primestar failed or refused to comply with
12 C.F.R. §. 1024.36(d)(2)(1)(A). in- that they did not address or provide relevant contact
information for the true "owner" of Plaintiff's Promissory Note within ten (10) days after
receiving such request.

152. As such, Plaintiff alleges that Fay, StateBridge, WSFS, and Primestar have violated
12 U.S.C. 2605(k)(1:)(1)).

153. Plaintiff further alleges that US Bancorp has never responded to QWRs, NEDVRs,
or FOlAs.

154. Defendants US Bancorp, Fay, StateBridge, WSFS, and Primestar have
demonstrated and continue to- demonstrate a- pattern and practice of repeatedly and-
intentionally/knowingly violating 12 U.S.C. § 2601 et seq. [also known and referred to as
the Real Estate Settlement Procedures Act of 1974 or "RESPA", the "Cranston-Gonzalez

12
   “The [CFPB) is- authorized to prescribe such rules- and regulations; to make such
interpretations, and to grant such reasonable exemptions for classes of transactions, as may
be necessary to achieve the purposes of this. chapter." 12 U.S.C. § 2617.
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National Affordable Housing Act" and or "Regulation X! in conjunction with the
servicing of Plaintiff's Loan/Account at issue in this case.

155. Over the past several years, Plaintiff has sent all of these defendants requests for
information, to which defendants most often, never provided a response.

156. Plaintiff alleges that she has consistently requested information about her loan and
identity of her lender, and the information has always been withheld from her.

157. Plaintiff is entitled to actual damages as a result of Defendants' failures to comply
with Regulation X and RESPA, pursuant to 12 U.S.C. § 2605(f)(1)(A), including but not
limited to: photocopying costs and postage costs incurred as a result of having to send
additional correspondences due to StateBridge's failure to adequately respond toPlaintiffs
requests for information.

158. Plaintiff is entitled to statutory damages in an amount not greater than $2000
pursuant to 12 U.S.C. § 2605(f)(1)(13), as a result of defendants' pattern or practice of
noncompliance with Regulation X and RESPA.

159. StateBridge has also violated Regulation X with respect to numerous loans it
services, including, but not limited to. the following loans:
        (1) With respect to loan number ******9791, StateBridge violated 12
        C.F.R. § 1024.36(d)(2)(i)(B) by failing to provide an adequate written
        response to a request for information within the required timeframe.
        (2) With respect to loan number ******3460; StateBridge violated 12
        C.F.R. § 1024.36(d)(2)(i)(B) by failing to provide an adequate written
        response to a request for information within the required timeframe.
        (3) With respect to loan number ******0479, StateBridge violated 12
        C.F.R. §- 1024.36(d)(2)(i)(13)- by failing to provide an adequate written
        response to a request for information within the required timeframe.

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160. Plaintiff is entitled to the costs of this action, together with a reasonable attorney's
fee as detemined by the Court, pursuant to 12 U.S.C, §2605(f)(3).'3

                          FOURTH CLAIM FOR RELIEF
                  VIOLATIONS. OF 15 U.S.C. 1639g AND § 1641(f)(21
                            (Against All Defendants.'


161. Section 1639g of TILA states: "A creditor or servicer of a home loan shall send an
accurate payoff balance within a reasonable time but in no•case more than 7 business days,
after the receipt of a written request for such balance from or on behalf of the borrower."
15 U.S-.C. §1639g.

162. Plaintiff alleges that the loan servicers, Fay, StateBridge, WSFS, and Primestar ("the
servicers" or "these servicers") failed and refused to confirm the identity of, and to provide
the address and telephone number for, the owner or holder of the note, true secured creditor
contrary to 15.        §- 1641(0(2):

163. Plaintiff is a consumer14, who has been denied payoff requests, made pursuant to 15
U.S.C. §1639g. and 12 C.F.R. 1026.36(c)(3) Regulation Z.

164. BOA/BAC is a "creditor"" within: 15 U.S.C. §16-39(t) states: "(2)-Prompt delivery.

13 Plaintiff understands and realizes that she cannot be awarded attorney's fees as a litigant
proceeding inPropria Persona, but Plaintiff has never had and intent on remaining Pro Se,
and continues attempting to locate and retain competent legal counsel. The attorney's fees
are requested only for an attorney retained to complete the case.
14
   This section defines a consumer as follows: "(i)...`consumer', used with reference to a
credit transaction, characterizes the transaction as one in which the party to whom credit is
offered or extended is a natural person, and the money, property, or services which are the
subject of the transaction are primarily for personal, family, or household purposes" (15
U.S.C.A. § 1602 (West)).
15 "The term 'creditor' refers only to a person who both (1) regularly extends, whether in
connection with loans, sales of property or services, or otherwise, consumer credit which
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Payoff balances shall be provided within 5 business days after receiving a request by a
consumer or a person authorized by the consumer to obtain such information". 15 U.S.C.A.
§ 1639 (West).

165. Plaintiff alleges that the rest of the defendants fall within the definition of servicer
in this code section. "A creditor or servicer16 of a home loan shall send an accurate payoff
balance within a reasonable time, but in no case more than 7 business days, after the receipt
of a written request for such balance from. or on behalf of the borrower." 12 C.F.R. 4
1026.3 WO).

166. Plaintiff alleges that to date, these loan servicers have failed and refused to provide
an accurate payoff statement; contrary to 15 U.S.C. § 1639g.

167. Fay, StateBridge, WSFS, and Primestar were obligated to disclose the identity of
the owner of the obligation, as well as its address and telephone number pursuant to 12
C.F.R. § 1024-.36(d)(2(i)(A) of Regulation X, which they failed and refused to disclose.

168. More specifically, § 1641()(2) states in part: "Upon written request by the obligor,
the servicer shall provide the obligor, to the best knowledge of the servicer, with the name,
address, and telephone number of the owner of the obligation..." (15 U.S.C.A. § 1641
(West));

169. Plaintiff was never provided the required information, the name, address, and

is payable by agreement in more than four installments or for which the payment of a
finance charge is or may be required, and (2) is the person to whom the debt arising from
the consumer credit transaction is. initially payable on the face of the evidence of
indebtedness..." (15 U.S.C.A. § 1602 (West)).
16 Servicer means a person responsible for the servicing of a federally related mortgage
loan (including the person who makes or holds such loan if such person also services the
loan). 12 C.F.R. § 1024.2

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telephone number of the owner of the obligation; which was the investors of the Trust;
Plaintiffwas denied the name ofthe Trust

170. 12 C.F.R. § 1024.36(d)(2)(i)(A) requires a servicer to provide a response "not later
than 10 days (excluding legal public holidays, Saturdays, and Sundays) after the servicer
receives an information request for the identify of, and address, or other relevant contact
information for, the owner or assignee a a mortgage loan?' (emphasis added).

171. Plaintiff did not receive a response prior to the expiration of the ten days.

172. The servicers were all obligated, but failed, to provide a written response to Plaintiff
within- thirty (30) business days, which- 'included the requested information, or stated that
the "requested information is not available to the service:" and the "basis for the servicer's
determination". See 12 C.F.R. § 1024.36(d)4 which to date, they have failed and refused
to provide.

173. The CFPB has acknowledged that "There is evidence that borrowers [have been]
subjected to- improper fees that servicers had no reasonable basis to impose, improper
force-placed insurance practices, and improper foreclosure and bankruptcy practices." 78
Fed Reg. 10902, 10906 (Feb. 14, 2013)(emphasis added).

174. Plaintiff alleges that she had not defaulted when her payments began going into a
suspense, of unapplied fund account, and the servicer had purposefully caused a default on
the loan.

175. Plaindff believes and therefore alleges that the servicer was collecting the penalties
and fees added to the debt for the service? s on use.

176. The Note signed by Plaintiff in connection with the loan serviced by Statebridge,

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Fay, WSFS, and/or Primestar is a consumer credit transaction17 within the meaning o4 and
subject to TELA.

177. Plaintiffs loan is a "residential mortgage transaction" as defined by 15 U.S.C. §
1602(x)18

178: Both. Plaintiff, and her auditor specifically requested the "full name, address and
telephone number of the current owner of the original note.

179: Plaintiff alleges that, to date, mane has complied with 15 U.S.C. § 1641(f)(2).

180. Plaintiff alleges that Statebridge, Fay, WSFS, and/or Primestar have repeatedly
failed and refused to provide an accurate payoff statement, in violation of 15 U.S.C. §
1639g. Exhibit R.

181. Plaintiff further alleges that Statebridge, Fay, WSFS, and/or Primestar have
repeatedly failed and refused to properly address specific inquiries for a detailed
explanation of specific fees and charges, including, but not limited to inspections, force
placed insurance, escrow payments, unapplied funds accounts.

182. Upon information and belief, one of the very specific functions the Servicing
Agreement was designed to cover was loan servicers' responding to requests for


17 The term consumer credit transaction is defined as "a credit transaction-, primarily for a
personal, family, or household purpose, that bears a finance charge, or such a transaction
payable in more than four instalhnents•without a finance charge (designed to exclude sales
with a down payment and thirty/sixty/ninety days 'same as cash' but to include longer-
term credit with a finance charge built into the price).
la The term "residential mortgage transaction" means a transaction in which a mortgage,
deed of trust, purchase money security interest arising under an installment sales contract,
or equivalent consensual security interest is created or retained against the consumer's
dwelling to finance the acquisition or initial construction of such dwelling.
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information; notices of error, and requests for payoff statements.

183. Having personally observed the numerous changes in loan servicers first hand,
Plaintiff alleges that the owner of the loan can terminate the loan servicer at any time.

184. Plaintiff sent out several Notice of Error/Debt Validation/Request for Information
to- different servicers around once a year, pursuant to 15 U.S.C. §1641(f)(2) of TILA the
full name, address and telephone number of the current owner of the original mortgage
note, and stated that it was also a Request for Information pursuant to 12 C.F.R.
§1024.26(d)(2)(i)(A), and that they must acknowledge the request within five (5) days, and
respond within ten (10) business days after receiving the request.

185. The last request for validation of the debt, and payment history was made by the
auditor/investigator Plaintiff hired, hoping to get the full information she was seeking
EXHIBIT? page 3.

186. Plaintiff has repeatedly attempted to obtain a full payment history in order to
determine where a default had occurred, and has yet to obtain such payment history.

187. According to the Auditor, and as told to Plaintiff when she sought information, the
only payment history existing begins on 09/15/2014 and goes through 11115/2017.

188. The information omits 96 months of Plaintiff's payment history that no one
apparently has possession of, making validation of the debt impossible Exhibit P page 3.

189. A fact that Plaintiff did not know, because the repeated refusals to provide the
information Plaintiff had repeatedly attempted to obtain.

190. The servicers have all repeatedly refused to provide Plaintiff and now the auditor,
with truthful answers concerning the full loan history, and the identity of who owns the

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loan-.

191. As a direct and proximate cause of the loan servicers' actions/inactions, Plaintiff
has been harmed, injured, and suffered damages.

192. Plaintiff is entitled to the following damages for violations by the listed loan
servicers: statutory damages of not less than $400; nor greater than $4-,00000 pursuant to
15 U.S.C. §1640(a)(2)(A)(iv), and the costs of this action together with reasonable
attorney's fees as determined by the Court and pursuant to 15 U.S.C. § 1640(a)(3).



                               FIFTH CLAIM FOR RELIEF
                                     NEGLIGENCE
                                 (Against All Defendants)

193. Defendants owed numerous duties to Plaintiff with respect to the servicing of her
mortgage, including, but not limited to the following:

         (i)     Duty to meet the ordinary standard of cam for professionals in the
                 loan servicing industry;
         (ii)    Duty of care not to inflict harm upon Plaintiff by reporting false
                 information to- credit bureaus;
         (iii)   Duty of care to properly administer the payments Plaintiff made to
                 the lender;
         (iv)  Duty of care not to foreclose on Plaintiff's home while she was in
               the middle of her loan application be granted or denied;
         (v) Duty of care to service Plaintiff's loan in a non-negligent manner
               once Defendants undertook the servicing of Plaintiff's loan;
         (vi) Duty of care to diligently investigate Plaintiff's claims that she had
               not missed any payments;
         (vii) Duty of care not to publish false and defamatory information in the

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              public records of DeKalb County Georgia Records;
       (viii) Duty of care to-maintain proper and accurate loan records; and
       (ix) Duty of care to institute reasonable safeguards to prevent the
              breach of the above duties of care.

194. The servicer defendants' actions breached the above duties of care in at least the
   following ways:


       CO    Failing to properly credit Plaintiffs accounts for the payments she
             made on the mortgage;
       (ii) Failing to diligently investigate Plaintiff's numerous and repeated
             claims via mail- and telephone that she had not missed any
             payments;
       (iii) Transmitting false and defamatory information to its agent law firm
             charged with performing the foreclosure;
       (iv) Publishing false and defamatory information- to the credit bureaus;
       (v) Publishing and recording into the DeKalb County Georgia
             Records, false and defamatory information by way of the Deed
             Under Power; -
       (vi) Wholly failing to institute reasonable safeguards to prevent the
             above breaches.

195. As a direct and proximate cause of the servicers' and their agent's breaches,
   Plaintiff has suffered severe economic, emotional, and physical harm as a result of the
   servicer defendants' actions/inactions.
WHEREFOR, Plaintiff Prays for the relief shown in the Final Prayer for Relief.




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                           SIXTH CLAIM FOR RELrEF
          FEDERAL DEBT COLLECTION PRACTICES ACT VIOLATIONS
              (Against Chaness. Statebridge. Fay. WSFS. and Primestarl

196. § 1692a- of the FDCPA defines "debt collector" as-the following:

        The term "debt collector" means any person who uses any instrumentality
        of interstate commerce or the mails in any business the principal, purpose
        of which is the collection of any debts, or who regularly collects or
        attempts to-collect, directly, or indirectly, debts owed or due or asserted to
        be owed or due another... For the purpose of §1692f(6) of this title, such
        term also includes any person who uses any instrumentality of interstate
        commerce or the mails in any business the principal purpose of which is
        the enforcement of security interests..."
15U.S.C. § 169246).

197. The substantive provisions of the FDCPA that follow § 1692a prohibit "debt
collectors" from taking certain actions, which Plaintiff alleges were taken regarding her
loan and the attempts to collect a debt.

198. The letters attached as EXHIBIT Q indisputably show the very first thing on the
first page at the top states in extra-large bold font: "This law firm is acting as a debt
collector. This is an attempt to collect a debt and any information
obtained will be used for that purpose."
199. The referenced subject of the letter is: Promissory Note ...in favor of Wilmington
Savings Fund Society, FSB...(assignee of U.S-. Bank National Association; as Trustee.. .as
assignee of Bank of America, NA, ..secured by that certain Security Deed...each of the
above described instruments being referred to herein as the "Loan Documents".

200. On the second page of the letter dated Sept. 25, 2015, is stated: "Since the above
amount was not paid ...then in accordance with the terms and conditions of the Loan

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Documents, the entire amount of the present outstanding balance of both the principal and
accrued interest at the default rate on indebtedness evidenced by the Loan Documents and
secured by the Loan Documents, all late charges incurred on the indebtedness evidenced
by the Loan Documents, all interest incurred at the default rate specified in the Loan
Documents and all other charges provided for under the Loan documents.. .shall be
considered without further action or notice by Lender or its counsek, declared immediately
due and payable.".

201. The letter goes on to state that any money expended by Lender in accordance with
the terms and. conditions ofthe Loan Documents- shalt be added....

202. The last page, above the blue ink signature of Guillermo Todd, in large bold letters
states: "This law firm is acting as a debt collector. This is an attempt to
collect a debt and any information obtainedwillte used for that purpose."
203. Also on page three, "Notice is also hereby given to you pursuant•to 0.C.G.A.
§ 13-4-4, that Lender continues to rely on and hereby continues to require strict compliance
with each and every term and condition of the Loan Documents and the other documents
evidencing and. securing the indebtedness evidenced by the Secured Indebtedness..."

204. The letter further stated "This letter shall also serve as notice that lender intends to
initiate foreclosure proceedings on the first Tuesday of October, 2015 and may also
exercise other rights under the Loan Documents, which rights will be in addition to the
Tights which are exercised, noticed or discussed herein, (Ex ap.21

205. The advertisement shows Prime,star as attorney in fact for Plaintiff and her ex, who
had quit claimed the property to Plaintiff in the divorce.


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206. Plaintiff received three such letters, the dates of which were December 31 ,2014,
August 21, 2015; and September 25; 2015. [Ex.W the two later letters both had a Notice
of Sale Under Power advertisement as the last page, for a sale date of the first Tuesday in
October, 2015.

207. Plaintiff is a "consumer" as defined in the FDCPA, 15 U.S.C. §1692a(3), in that
Defendant sought to collect from Plaintiff a debt incurred for personal; family or household
purposes as defined in. the FDCPA at 15 U.S.C. 1692a(3).

208. Plaintiff had sent a QWR letter that was not responded to; and applied for a loan
modification.

209. Defendants Chaness, US Bancorp, Statebridge, Fay, WSFS, and Primestar is, inter
alit; regularly engaged in the business of collecting debts owed to others incurred for
personal, family or household purposes by acquiring those debts after they were in default
for the purposes of collecting the debts for others.

210. According to what defendants claim, each of them acquired the debt at issue herein
while the debt was in default

211. The term "debt" means any obligation or alleged obligation of a consumer to pay
money arising out of a transaction in which the money, property, insurance, or services
which are the subject of the transaction are primarily for personal, family, or household
purposes, whether or not such obligation has been reduced to judgment. (15 U.S.C. §
1692a(5)). Reese v. Ellis, Painter, Ratterree & Adams, LLP, 678 F.3d 1211, 1216 (11th
Cir. 2012)1

212. Plaintiff alleges that under the above definition encompasses Plaintiffs payment


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obligations under the promissory note.

213. Under the promissory note, Plaintiff is a consumer who must pay money to lender,
or holder of the note, which obligation arose from a transaction involving Plaintiff's
personal; family, or household purposes, in that she lives on the property.

214. The promissory note is a "debt" within the plain language of § 1925(a)(5); a letter
requesting payment on a promissory note secured by a mortgage as an attempt at debt
collection- within the meaning of FDCPA.

215. Plaintiff alleges that the servicer defendants are clearly debt collectors under the
definition of FDCPA.

216. Pursuant to 15 U.S.C. § 1692a(4), the definition of creditor is: "creditor" means
any person who offers or extends credit creating a debt or to         a debt is owed, but such
term does not include any person to the extent that he receives an assignment or transfer of
a debt in default solely for the purpose of facilitating collection of such debt for another,
which is what defendant& did in this case.

217. A promissory note is a contract evidencing a debt and specifying terms under which
one party will pay money to another. See Blades Law Dictionary 1089 (8th ed. 2004)
(defining "promissory note" as an "unconditional written promise, signed by the maker, to
pay absolutely and in any event a certain sum of money either to; or to the order of, the
beam or a designated person"); see also Ga.Code Ann. § I I-9-102(a)(64) (" 'Promissory
note' means an instrument that evidences a promise to pay a monetary obligation....")
Reese v. Ellis, Painter, Ratterree & Adams, LLP, 678 F.3d 1211, 1216 (11th Cir. 2012)1

218. By contrast, a security interest is not a promise to pay a debt; it is an interest in some


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collateral that a lender can take if a debtor does not fulfill a payment obligation. See Black's
Law Dictionary 1384. (8th. ed. 2004). (defining a "security" as "[c]ollateral given or pledged
to guarantee the fulfillment Of an obligation"). A mortgage is a type of security interest
with real property as the collateral. See Black's Law Dictionary 1031 (8th ed. 2004); see
also Ga.Code Ann. § 44-14-30 ("A mortgage in this state is only security for a debt and
passes no.          Id

219. The FDCPA prohibits a "debt collector" from using a "false, deceptive, or
misleading representation or means in connection with the collection of any debt." 15
         § 1692e.

220. Each of the letters shows that payment was being demanded, and brought up that
the author of the letter could negotiate, as the Lender could, with Plaintiff, See Gbarek v.
Litton Loan Servicing LP, 614 F.3d 380, 386 (7th Cir.2010) (holding that a letter
threatening foreclosure while also offering to discuss "foreclosure alternatives" qualified
as a communication related to debt collection activity within the meaning of § 1692e).

221. A party can qualify as a "debt collector" either by using an "instrumentality of
interstate commerce or the mails" in operating a business that has the principal purpose of
collecting debts or by "regularly" attempting to collect debts.

222. According to LinkedIn19, the firm's specialties are: Financial Institutions,
Corporate Transactions & Securities, Intellectual. Property & Technology, Litigation &
Dispute Resolution, Real Estate, Development & Construction, and Lending, Workout &


19httpsd/www.linkedhcomkompany/busch-slipakoffa-schuh-llpi see Also Company
details Website: http://www.bssfirm.com/attorneys/bryan-busch/. They have offices ®
3330 Cumberland Blvd, in Atlanta; Jacksonville, FL, and West Palm. Beach Florida.

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Foreclosure.

223. Exhibit Q indicates "Because of interest, late charges, and other charges that may
vary from day to day, the amount due on he day you pay may be greater. Hence, if you
pay the amount shown above, an adjustment may be necessary after we receive your check,
in which event we will inform you before depositing the check for collection. For further
information write the undersigned of call (770) 790-3550".

224. Plaintiff alleges that Chaness violated FDCPA, and that as a direct and proximate
cause, Plaintiff has been harmed, injured and made to suffer damages.

225. WHEREFORE, the Plaintiff prays for the relief shown in the final prayer for releief.


                             SEVENTH CLAIM FOR RELIEF
                                     CONVERSION
                             (Against all Servicer Defendants)
226. Plaintiff alleges that the servicer defendants repeatedly converted her money by
holding her monthly mortgage payments in a separate account rather than applying them
to her loan, for the sole purpose of charging Plaintiff late fees, interest and other charges.

227. The loan servicer, in control of the money used as payment, then holding it in either
an unapplied fimds account or a suspense account, rather than applying the funds
contractually due, defendants asserted dominion over the fluids.

228. The servicer began withholding the payments in a suspense account or unapplied
funds account, thereby there was an actual conversion of the funds.

229. Actual conversion means: "any distinct act of dominion and control wrongfully
asserted over another's personal property" in denial or inconsistent with his right of

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ownership.

230. Plaintiff alleges that when she made her monthly mortgage payments to the loan
servicer, the servicer failed to appropriately apply her payments to the outstanding debt

231. Once the payments was made, the funds were no longer in. Plaintiff's control:

232. Withholding the payments, and not properly posting them in satisfaction of the
amounts contractually due, the servicer wrongfully asserted dominion over the fluids.

233. As a direct and proximate cause of the servicer defendants' actions/inactions,
Plaintiff has been harmed, injured; and made to suffer damages.

WHEREFORE, Plaintiff prays for the relief shown in her final prayer for relief.



                                  JURY TRIAL DEMANDED

Plaintiff demands that a jury be called for determination of all questions of fact.




                                 FINAL PRAYER FOR RELIEF

          Plaintiffprays that the judge will find in her favor on all claims and for the following
relief:
   a)        For the first claim for relief, Breach of Contract, Plaintiff prays the Court will
             Grant her a modification, consisting of a principal- reduction, a fixed interest rate
             of 1.0 or 2.0% for the life of the loan, and/or for the relief a jury finds she is

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      entitled to, and/or the terms the Court feels fair and just;
b).   For the second claim for relief, Wrongful Foreclosure, Plaintiff prays that the
      Court will Grant her a loan modification, consisting of a principal reduction,
      with a fixed interest rate of .00% for the life of the loan, and/or for the relief a
      jury finds she is entitled to, and/or the terms the Court feels fair and just;
c)    For the third claim for relief, for violations of 12 U.S..C. §§. 2601 and 2605.
      Plaintiff prays that the Court will Grant her the maximum allowable, and costs
      of this action, together with a reasonable attorney's fees, should Plaintiff find
      and retain legal counsel, and as determined by the Court, pursuant to 12 U.S.C.
      § 2605()(3), and/or for the relief a jury finds she is entitled to, and/or the terms
      the Court feels fair and just.;
d)    For the fourth claim for relief, violations of 15 U.S.C. § 1639g AND §
      1641(f)(2) Plaintiff prays that the Court will Grant her statutory damages of
      not less than $400, nor greater than $4,00000. pursuant to 15. U.S.C.
      §1640(a)(2)(A)(iv), and the costs of this action together with reasonable
      attorney's fees as determined by the Court and pursuant to 15 U.S.C. §
      1640(a)(3), and/or for the relief a juty finds she is entitled to, and/or the terms
      the Court feels fair and. just;
 e)    For the fifth claim for relief, Negligence, Plaintiff prays that the Court find in
      her favor and Grants her statutory damages, punitive damages, and the maximum
      allowable other allowable damages, that a jury finds her entitled to, and/or the
      terms the Court feels fair and just;
 f)   For the sixth claim for relief, FDCPA violations, Plaintiff prays that the Court
      will grant her the maximum allowable under the FDCPA, and/or the terms the
      Court feels fair and just;
      For the seventh claim for relief, Conversion, Plaintiff prays that the Court finds
      in her favor and grants statutory damages, punitive damages, and the maximum
      allowable other allowable damages, that a jury finds her entitled to, and/or the
      terms the Court feels fair and just;

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           h)       Plaintiffprgs for any reliefthat she is entitled to, but failed to list, and any relief
                    that the Court feels fair and just under the circumstances stated above.
                    Respectfully submitted, this 12'h day of



                                                                        371- Charity Way
                                                                  Stone Mountain, GA 30083 -
                                                                        (404) 518-6496

                                                VERIFICATION

                Oni Roberts having appeared before me, the undersigned notary, who after being
        duly sworn deposes and says:
              I am over the age of twenty-one (21) and competent to testify in this matter, I suffer
        from no known, disabilities and I make this statement under penalty of perjury. I have
        prepared and reviewed the foregoing Complaint, all statements and facts are true and
        correct to the best of my knowledge and belief and come from first-hand knowledge. All
        Exhibits are true, comm.% unaltered copies. If called up           at trial, I will testify
        exactly as I have herein.
                                                                                             APP
                                                                       An=nrA
                                                                                   Aids
        Sworn to and Subscribed Before Me
        This ii9-tlay of October, 2018



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          q   -AR*RilBLIC,
                -          State of Georgia
                                                               Janet Diana fit:Donald    _
                                                                 NOTARY PUBLIC
                                                                  DeKalb County
                                                                  State of Georgia
        My Commission Expires:                               Carsion Dikes February 11_20”




                                                        46
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                             EXHIBIT INDEX

EXHIBIT A       Special Warranty Deed
EXHIBIT 13      Security Deed
EXHIBIT C       Assignment to Fay or notice letter from lendei(s)
EXHIBIT D       Assignment to US Bank
EXHIBIT E       Evidence of application for loan modification with Fay
EXHIBIT F       09/16/2014 Letter from StateBridge and loan # to xxxcx1276
EXHIBIT G       09/24/2014 Letter from StateBridge currently due $309,440.98
EXHIBIT H       Wilmington Savings as Trustee for Prime changed loan number
EXHIBIT I       09/23/2014 correspondence from Frederick Fajardo
EXHIBIT I       Communication back to Fajardo difference of $2,892.05
EXHIBIT K       StateBridge re to QWR: Notice of Intent to Accelerate Loan
EXHIBIT L       November 26, 2014 Letter from StateBridge about MYR
EXHIBIT M       Deed Under Power, property sold for $100.00!
EXHIBIT N       Pages from Abstract of Title
EXHIBIT 0       Tax Commissioner $324,300.00, owed is $7,867.62
EXHIBIT P       Audit
EXHIBIT Q       Foreclosure Notice Letters
EXHIBIT R       Defendants repeatedly refused to provide accurate payoff.




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                             EXHIBIT A
                         Special Warranty Deed




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                                                                                      Linda Carter
                                                                                       Clerk of Superior Court
                                                                                        Dekalb Curd , 6earsi




       File #5032 /5311 Charity Way                                   Return to:
       Oni Roberts                                                    Shaping, Morse &Ross, LLP
                                                                      6259 Riverdale Road
                                                                      Riverdale, GA 30274
                                                                      Ann: Reconveyanco Dept.

                                        SPECIAL WARRANTY DEED

       STATE OF TEXAS
       COUNTY OF HARRIS

          '   THIS INDENTURE is made the 2stbday of                       July          ,in the year TwO
       'THOUSAND SDC between

                  DEUTSCHE BANK NATIONAL. TRUST COMPANY, AS TRUSTEE

       as party or parties of the first Part, hereinafter called Grantor and

                             ONI ROBERTS and FORREST G. ROBERTS, JR. ;

       as party or parties of the second part, hereinafter called Grantee (the words "Grantor" and
       "Grantee" to include their respective heirs, successors, and assigns where the context requires or
       permits).

               WITNESSETH that: GRANTOR, for and in consideration of the sum or Ten and
       no/100 Dollars (SI0.00) and other valuable considerations in hand paid at and before the sealing
       and delivery of these presents, the receipt whereof is hereby acknowledged, has granted,
       bargained, sold, aliened, conveyed and confirmed, and by these presents does grant, bargain, sell,
       alien, convey and confirm unto the said Grantee: '

       ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOT 74 OF
       THE 18TH DISTRICT OF DEKALB COUNTY, GEORGIA. AND BEING LOT 8, IVY
       RIDGE SUBDIVISION, AS PER. PLAT RECORDED IN PLAT BOOK 118. PAGES 43-44,
       DEKALB COUNTY, GEORGIA RECORDS, AS REVISED AT PLAT BOOK 118, PAGE 96,
       DEKALB COUNTY, GEORGIA RECORDS, TO WHICH PLAT REFERENCE IS HEREBY
       MADE FOR THE PURPOSE OF INCORPORATING HEREIN.


               THIS CONVEYANCE is executed subject to all easements, covenants and restrictions
       of record.

               TO HAVE AND TO HOLD the said tract or parcel of land, with all and singular the
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 113 of 261


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                                                                              Li nda Carr
                                                                                   CI erl: of Superior Court
                                                                                    OeXelb Count Georgie




        rights, members and appurtenances thereof, to the same being, belonging, or in anywise
        appertaining to the proper use, benefit and behoof of said Grantee forever in FEE SIMPLE.

               AND THE SAID GRANTOR WILL WARRANT AND FOREVER DEFEND the
        right and title to the above described property unto the said Grantee against the claims of all
        persons claiming by, through or under Grantor only.

               IN WITNESS 'WHEREOF, the Grantor has signed and sealed this deed, the day and
        year above written.

                                                   DEUTSCHE BANK NATIONAL TRUST
                                                   COMPANY, AS TRUSTEE


                                                   8310,441.—
                                                   Naine:                Rnichi_            Y.
                                                   Title:               residers
                                                             LITTON LOAN SERVICING ,LP
                                                   By:           ATTORNSPIN-FACT
                                                   Name.
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    Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 114 of 261




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.                                         gxmBrr "A"

                ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOT 74
                OF THE 18TH DISTRICT OF DEKALB COUNTY, GEORGIA, AND BEING LOTS,
                IVY RIDGE SUBDIVISION. AS PER PLAT RECORDED INPLAT BOOK 118,
                PAGES 43-44, DEICALB COUNTY, GEORGIA RECORDS, AS REVISED AT PLAT
                BOOK 118, PAGE 96, DEKALB COUNTY, GEORGIA RECORDS, TO WHICH PLAT
                REFERENCE IS HEREBY MADE FOR THE PURPOSE OF INCORPORATING
                HEREIN.
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                             EXHIBIT B
                             Security Deed




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          9030 SOUTHS IDE BLVD.
          BLDG 7130. FILE RECEIPT DEPT.
          JACKSONVILLE, FL 32256
          Prepared By;
              CHR I ST INA PAYNE
              BM OF AMERICA. N.A.
              9000 SOLIBISIDE BLVD. , #1300
              JACKSONVILLE. FL 322560000
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                                          SECURITY DEED




           DEP1NMONS

           Words used in multiple sections at this document arc defined below and other words are defined
           in Sections 3, IL 13. 18. 20 and 21. Certrin rules regarding the usage of words used in this
           document arc also provided in Section 16.

           Cl) "Security Instrument" means this document, which is dated JULY 25. 2008
           together with ell Riders to this document
           (B) "Borrower" is ONI ROBERTS AND FORREST G ROBERTS JR.. MARRIED




           Borrower is the grantor under this Security Instrument.
           (C) 'Lender" is BANK OF AMERICA, N.A.

           Lender is a NATIONAL BANKING ASSOCIATION
           organized and existing under the laws of THE UNITED STATES OF AlERICA



           GEORGIA - Single Family - Fannin Mae/Paddle Mae UNIFORM INSTRUMENT

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                                                                                      Deed Dock 5. 9046 Ps         32



          Lender's address is 9000 SCUMS I OE BLVD..NSW, JACKSONVILLE. FL 322560000

          Lender is the grantee under this Security Instrument.
          (0) "Note" means the promissory note signed by Burrower and dated JULY 25, 2006                   .
          The Note states that Borrower owes Lender THREE RIMED TlY0 7HOUSAND AND 00/100
                                                                                                      Dollars
          (U.S. 3        302,000.00 ) plus interest. Borrower has promised to pay this debt in regular
          Periodic Payments and to pay the debt in fall cot later than    AUGUST 01. 20313                  .
          (B) "Propertr means the property that is described below under the heading 'Transfer of Rights
          in the Property,'
          (F) "Loan" means the debt evidenced by the Note, plus intereet, any prepayment charges and late
          charges due under the Note, and all sums due under this Security Instrument, plus interest.
          (G) "Riders" means all Riders to this Security Instrument that arc executed by Borrower. The
          following Riders are to be executed by Borrower (cheek box as applicable):

               Adjustable Rate Rider El Condominium Rider                              S
                                                                                       oeco
                                                                                         theni.1Hunspe
                                                                                                   rne;der
               Balloon Rider         gni Planned Unit Development Rider                1-4 Family Rider
               VA Rider              IC Biweekly Payment Rider
                                                              Wawa; OF BOFIP.fITAIPS IiMitili AM)
                                                                  CLOSING ATT0fINSY13 AFFIDAVIT
          (H) *Applicable Law" means all controlling applicable federal, state and local statutes,
          regulations, ordinances and administrative rules and orders (that have the effect of law) as well as
          all applicable final, non-appeidable judicial opinions.
          (I) "Community Association Dues. Pee; and Assessments" means all dues, rem
          assessments and other charges that are imposed on Borrower or the Property by a condominium
          association, homeowners association or similar organization.
          (1) "Electronic Funds Transfer' means any transfer of funds, other than a transection
          originated by cheek, draft, or similar paper instrument, which is initiated through an electronic
          terminal, telephonic instrument, computer, or magnetic tope so as to order, instruct, or authorize
          a financial institution to debit or credit an account. Such term includes, but Is not limited to,
          point-of-sale transfers, automated teller machine transactions, transfers initiated by telephone, wire
          transfers, and automated clearinghouse transfers.
          (K) "Escrow Items" means those items that are described in Section 3.
          (L) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or
          proceeds paid by any third party (other than insurance proceeds paid under the coverages
          described in Section 5) for: (i) damage to, or destruction of. the Property; (ii) condemnation or
          other taking of all or any part of the Property; (iii) conveyance in lieu of condemnation; or (iv)
          misrepresentritions of, or omissions as to, the value Radler condition of the Property.
          (M) 'Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or
          default an, the Loan.
          (h) "Periodic Payment" mutts the regularly scheduled amount dire for (i) principal and
          interest under the Note, plus (ii) any amounts under Section 3 of this Security Instrument.
          (0) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 26Di et seq.)
          and its implementing regulation, Regulation X (24 C.P.R. Part 3500), 22 they might be amended
           from time to time, or any additional or successor legislation or regulation that governs the same
          subject matter. As used irk this Security Instrument. 'RESPA* refers to all requirements and



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         , CA-EIRIA) moos                                      Pm. 1 et   le                   Form 3011 11101
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          restrictions that are imposed in regard to a 'federally related mortgage loan" even if the Loan
          does not qualify as a "federally related mortgage loan" under RIISPA.
          (P) "Successor in Interest of Borrower" means any party that has taken title to the Property,
          whether Or not that party has mimed Borrower's obligations under the Note andior this Security
          Instrument,

          TRANSFER OF RIGHTS IN THE PROPERTY

          This Security Instrument SecUren to Lender: (i) the repayment of thc Loan, and all renewals,
          extensions and modifications of the Note; and (ii) the performance of Borrower's covenants and
          agreements under this Security Instrument and the Note. For this purpose. Borrower does hereby
          grant and convey to Lender end Lender's successors and assigns, with power of sale, the following
          described property located in the COUNTY                            (Typo of Recording lurisdictioni
          of OEKALB                                        Name at Recarding furisdictionl

           "LEGAL DESCRIPTION ATTACHED HERETO AND MADE A PART HEREOF." EXHIBIT "An




          Parcel ID Number; KIONO2041                                      which currently has the address of
          5371 CHARITY WAY                                                                            (Street)
          STONE MOUNTA I N                                           mho , Georgie 30083            (Zip Wel
          ("Property Address"):

                 TO HAVE AND TO HOLD this property unto Lender and Lender's successors and assigns,
           forever, together with all the improvements now or hereafter erected on the property, and all
           easements, appurtenances, and fixtures now or hereafter a part of the property. All replacements
           rind additions shall also be covered by this Security Instrument. All of the foregoing is referred to
           in this Security Instrument as the 'Property.'
                 BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed
           and has the right to grant and convey the Property and that the Property is unencumbered, except
           for encumbrances of record. Borrower warrants and will defend generally the title to the Property
           against all claims and demands, subject to any encumbrances of record.
                 THIS SECURITY INSTRUMENT combines uniform covenants for national use and
           non-uniform covenants with limited variations by jurisdiction to constitute a uniform security
           instrument coveringwialpmEastY.
                 UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows
                 I. Payment of Principal, Interest, Escrow Items, Prepayment Charges. end Lets
            Charges. Borrower shall pay when due the principal of, and interest on, the debt evidenced by the


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          Note and any prepayment charges and late charges due under the Note. Borrower shall also pay
          funds for Escrow Items pursuant to Section 3. Payments due under the Note and this Security
          Instrument shell be made in U.S. currency. However, if say check or other instrument received by
          Lender as payment under the Note or this Security Instrument is returned to Lender unpaid.
          Lender may require that any or all subsequent payments due under the Note and this Security
          Instrument be made in one or more of the following forms, as selected by Leaden (a) cash; (b)
          money order; (c) certified check, bank check, treasurer's check or cashier's check, provided any
          such check is drawn upon an institution whose deposits are insured by a federal agency,
          instrumentality, or entity; or (d) Electronic Funds Transfer.
                Payments are deemed received by Lender when received at the location designated in the
          Note or at such other location as may be designated by Lender in accordance with the notice
          provisions in Section IS. Lender may return any payment or partial payment if the payment or
          partial payments are insufficient to bring the Loan current. Lender may accept any payment or
          partial payment insufficient to bring the Loan current, without waiver of any rights hereunder or
          prejudice to its rights to refuse such payment or partial payments in the future. but Lender is not
          obligated to apply such payments at the time such payments are accepted. If each Periodic
          Payment is applied as of its scheduled duddate, then Lender need not pay interest on unapplied
          funds. Lender may hold such =applied funds until Borrower makes payment to bring the Loan
          current. If Borrower does not do so within a reasonable period of time, Lender shall either apply
          such funds or return them to Borrower. If not applied earlier, such 'funds will be applied to the
          outstanding principal balance under the Note immediately prior to foreclosure. No offset or claim
          which Borrower might bare now or in the future against Lender shall relieve Borrower from
          making payments due under the Note and this Security Instrument or performing the covenants
          and. agreements secured by this Security Instrument.
                 2. Application of Payments or Proceeds. Except as otherwise described in this Section 3,
          all payments accepted and applied by Lender shall be applied in the following order of priority;
           (a) interest due under the Note; (b) principal due under the Note; (c) amounts due under Section
          3. Such payments shall be applied to each Periodic Payment in the order in which it became due.
          Any remaining amounts shall be applied first to late charges, second to any other amounts due
          under this Security Instrument, and then to reduce the principal balance of the Note.
                 If Lender receives a payment from Borrower for a delinquent Periodic Payment which
          includes a sufficient amount to pay any late charge due, the payment may be applied to the
          delinquent payment and the late charge. If more than one Periodic Payment is outstanding, Lender
          may apply any payment received from Borrower to the repayment of the Periodic Payments if,
          and to the extent that, each payment can be paid in full. To the extent that any excess exists after
          the payment is applied to the full payment of one or mere Periodic Payments, such excess may be
          applied to any late charges due. Voluntary prepayments shall be eppliod first to any prepayment
          charges and then as described in the Note.
                 Any application of payments, Insurance proceeds. or Miscellaneous Proceeds to principal due
          under the Note shall not extend or postpone the due date, or change the amount, of the Periodic
          Payments. '
                 3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments
           arc due under the Nate, until the Note is paid in full, a sum (the 'Funds') to provide for payment
           of amounts due Ion (a) tares and assessments and other items which can attain priority over this
           Security Instrument as a lien or encumbrance on the Property; (b) leasehold payments or ground
           rents on the Property, if any; (e) premiums for any and nil insurance required by Lender under
           Section 5; and (d) Mortgage Insurance premiums. if any, or any sums payable by Borrower to
           Lender in lieu of the payment of Mortgage Insurance premiums in accordance with the provisions
           of Section 10. These items are called "Escrow Items.' At origination or at any..xiina during the

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Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 120 of 261


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          term of the Loan, Lender may require that Community Association DM,Fees, and Assessments,
          if any, be escrowed by Borrower, and such dues, fees and assessments shall be an Escrow Item.
          Borrower shall promptly furnish to Lender all notices of amounts to be paid under thin Section.
          Borrower shall pay Lender the Funds for Escrow Items unless Lender waives Borrower's
          obligation to pay the Funds for any or all Escrow Items. Leader may waive Borrower's obligation
          to pay to Lender Funds for any or all Escrow Items at any time. Any such waiver may only be in
          writing. In the event of such waiver, Borrower shall pay directly, when and where payable, the
          amounts due for any Escrow Items for which payment of Funds has been waived by Lender and,
          if Lender requires, shall furnish to Lender receipts evidencing such payment within such time
          period as Lender may require. Borrower's obligation to make such payments and to provide
          receipts shall for all purposes be deemed to be a. covenant and agreement contained in this
          Security Instrument, as the phrase ''covenant and agreement is used in Section 9. If Borrower is
          obligated to pay Escrow Items directly, pursuant to a waiver, and Borrower fails to pay the
          amount duo for an Escrow Item, Lender may exercise its rights under Section 9 and pay such
          amount and Borrower shall then be obligated under Section 9 to repay to Lender any such
          amount, Lender may revoke the waiver as to any or all Escrow Items at any time by a notice
          given in accordance with Section 15 and, upon such revocation, Borrower shall pay to Lender all
          Funds, and in such amounts, that are then required under this Section 3.
                Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit
          Lender to apply the Funds at the time specified under RESPA, and (b) not to exceed the
          maximum amount a lender can require under RESPA_ Lender shall estimate the amount of Funds
          due on the basis of current data and reasonable estimates of expenditures of future Escrow Items
          or otherwise in accordance with Applicable Law.
                The Funds shell be held in an institution whose deposits are insured by a federal agency,
           instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so
           insured) or in any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow
           Items no later than the time specified under RESPA. Lender shall not charge Borrower for
           holding and applying the Funds, annually analyzing the escrow account, or verifying the Escrow
           Items, unless Lender pays Borrower interest on the Funds and Applicable Law permits Lender to
           make such a charge. Unless an agreement is made In writing or Applicable Law requires interest
           to be paid on the Funds. Lender shall not be required to pay Borrower any interest or earnings on
           the Funds. Borrower and Lender can agree in writing, however, that interest shall be paid on the
           Funds. Lender shall give to Borrower, without charge, an annual accounting of the Funds as
           required by RESPA.
                 If there is a surplus of Funds held in escrow, as defined under RESPA. Lender shall account
           to Borrower for the mows funds in accordance with RESPA. If there is a shortage of Funds held
           in escrow, as defined under RESPA, Leader shall notify Borrower as required by RESPA. and
           Borrower shall pay to Lander the amount necessary to make up the shortage in accordance with
           RESPA. but in no more than 12 monthly payments. If there is a deficiency of Funds held in
           escrow, as defined under RESPA, Lander shall notify Borrower as required by RESPA, and
           Borrower shall pay to Lender the amount necessary to make up the deficiency in accordance with
           RESPA, but in no more than 12 monthly payments.
                 Upon payment in full of all sums secured by this Security Instrument. Lender shall promptly
           refund to Borrower any Funds held by Lender.
                 4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions
            attributable to the Property which can attain priority over this Security Instrument, leasehold
            payments or ground rents on the Property, if any, and Community Association Dues, Fem. and
            Assessments, if any. To the extent that these items are Escrow Items, Borrower shall pay them in
            the manner provided in Section 3.


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                Borrower shall promptly discharge any lien which has priority over this Security Instrument
          unless Borrower (a) agrees in writing to the payment of the obligation secured by the lien in a
          manner acceptable to Lender, but only so long as Borrower is performing such agreement; (b)
          contests the lien in good faith by, or defends against enforcement of the lien in, legal proceedings
          which in Lender's opinion operate to prevent the enforcement at the lien while those proceedings
          are pending, but only until such proceedings are concluded; or (c) secures from the holder of tho
          lien an agreement satisfactory to Lender subordinating the hen to this Security Instrument. If
          Lender determines that any part of the Property is subject to a lien which can attain priority over
          this Security Instrument, Lender may give Borrower a notice identifying the lien. Within 10 days
          of the dote on which that notice is given, Borrower shall satisfy the lien or take one or more of
          the actions set forth above in this Section 4.
                Lender may require Borrower to pay a one-time charge for a real estate tax verification
          andior reporting service used by Lender in connection with this Loan.
                5. Property Insurance. Borrower shall keep the improvements now existing or hereafter
          erected on the Property insured against loss by fire, hazards included within the term 'mended
          coverage,' and any other hazards including, but not limited to, earthquakes and Hoods, for which
          Lender requires insurance. This insurance shall be maintained in the amounts (including
          deductible levels) and for the periods that Lender requires. What Lender requires pursuant to the
          preceding sentences can change during the term of the Loan. The insurance carrier providing the
          insurance shall be chosen by Borrower subject to Lender's right to disapprove Borrower's choice,
          which right shall not be exercised unreasonably. Leader may require Borrower to pay, in
          connection with this Loan, either. (a) a onetime charge for flood zone determination, certification
          and tracking services; or (b) a onetime charge for flood zone determination and certification
          services and subsequent charges each time remappinga or similar changes occur which reasonably
          might affect such determination or certification. Borrower shall also be responsible for the
          payment of any fees imposed by the Federal Emergency Management Agency in connection with
          the review of any flood zone determination resulting from an objection by Borrower.
                It Borrower fails to maintain any of the coverages described above, Lender may obtain
          insurance coverage, at Lender's option and Borrower's expense. Lender is under no obligation to
          purchase any particular type or amount of coverage. Therefore such coverage shall cover Lender,
          but might or might not protect Borrower, Borrower's equity in the Property, or the contents of
          the Propeny, against any risk, hazard or liability and might provide greater or lesser coverage
          than was previously in effect. Borrower acknowledges that the cost of the insurance coverage so
          obtained might significantly exceed the cost of insurance that Borrower conic' have obtained. Any
          amounts disbursed by Lender under this Section 5 shall become additional debt of Borrower
          secured by this Security Instrument. These amounts shall bear interest at the Note rem from the
          date of disbursement and shall he payable, with such interest, upon notice from Lender to
          Borrower requesting payment.
                All insurance policies required by Lender and renewals of such policies shall be subject to
          Lender's right to disapprove such policies, shall include a standard mortgage clause, and shall
           name Lender as mortgagee andfor as an additional ion payee. Lender shall have the right to hold
           the policies and renewal certificates. If Lender requires, Borrower shall promptly give to Lender
           all receipts of paid premiums and renewal notices. If Borrower obtains any form of insurance
           coverage, not otherwise required by Lender, for damage to, or destruction of, the Property, such
           policy shall include a standard mortgage clause and shall name Lender an mortgagee entliar as an
           additional loss payee.
                 In the event of loss. Borrower shall give prompt notice to the insurance carrier and Lender.
           Lender may make proof of loss if not made promptly by Borrower. Unless Lender and Borrower
           otherwise agree in writing, any insurance proceeds, whether or not the unde • insurance was


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          required by Lender, shell be applied to restoration or repair of the Property if the restoration or
          repair is economically feasible and Lender's security is not lessened. During such repair and
          restoration period, Lender shall have the right to hold such insurance proceeds until Lender has
          had an opportunity to inspect such Property to ensure the work has been completed to Lender's
          satisfaction, provided that such inspection shall be undertaken promptly. Lender may diabursa
          proceeds for the repairs and restoration in a single payment or in e series of progress payments as
          the work is completed. Unless an agreement is made in writing or Applicable Law requires
          interest to be paid on such insurance proceeds. Lender shall not he required to pay Borrower any
          interest or earnings on such proceeds. Pets for public adjusters, or other third parties, retained by
          Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of
          Borrower. If the restoration or repair is not economically feasible or Lender's security would be
          lessened, the insurance proceeds shall he applied to the snots scoured by this Security Instrument,
          whether or not then due, with the excess, if any, paid to Borrower. Such insurance proceeds shall
          be applied in the order provided far in Section 2.
                If Borrower abandons the Property, Lender may file, negotiate and settle any available
          insurance claim and related matters. If Borrower does not respond within 30 days to a notice
          from Lender that the insurance carrier has offered to settle a claim. then Lender may negotiate
          and settle the claim. The 30 day period will begin when the notice is given, ha either event, or if
          Lender acquires the Property under Section 22 or otherwise, Borrower hereby assigns to Lender
          (a) Borrower's rights to any insurance proceeds in an amount not to exceed the amounts unpaid
          under tlw Note or this Security Instrument. and (b) any other of Borrower's rights (other than the
          right to any refund of unearned premiums paid by Borrower) under all insurance policies
          covering the Property, insofar as such rights are applicable to the coverage of the Property. Lender
          may use the insurance proceeds either to repair or restore the Property or to pay amounts unpaid
          under the Note or this Security Instrument, whether or not then due.
                6. Occupancy. •Borrower shall occupy, establish, and use the Property as Borrower's
          principal residence within 60 days after the execution of this Security Instrument and shall
          continue to occupy the Property as Borrower's principal residence for at least one year after the
          date uf occupancy, unless Lender otherwise agrees in writing, which consent shall not be
          unreasonably withheld, or unless extenuating circumstances exist which are beyond Borrower's
          control.
                7. Preservation. Maintenance and Protection of the Property; Inspections. Borrower
          shall not destroy, damage or impair the Property, allow the Property to deteriorate or commit
          waste on the Property. Whether or not Borrower is residing in the Property, Borrower shall
          maintain the Property in order to prevent the Property from deteriorating or decreasing in value
          due to its condition. Unless it Is determined pursuant to Section 5 that repair or restoration is not
          economically feasible. Borrower shall promptly repair the Property if damaged to avoid further
          deterioration or damage. If insurance or condemnation proceeds arc paid in connection with
          damage to, or the taking of, the Property. Borrower shall be responsible for repairing or restoring
          the Property only if Lender has released proceeds for such purposes. Lender may disburse
          proceeds for the repairs and restoration in a single payment or in a series of progress payments as
          the work is completed. If the insurance or condemnation proceeds are not sufficient to repair or
          restore the Property, Borrower Is not relieved of Borrower's obligation for the completion of such
          repair or restoration.
                Lender or its agent may make reasonable entries upon and inspections of the Property. If it
          has reasonable cause, Lender may inspect the interior of the improvements on the Property.
          Lender shall give Borrower notice at the time of or prior to such an interior inspection specifying
          such reasonable cause.



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                8. Borrower's Loan Application. Borrower shall be in default if, during the Loan
          application process, Borrower or any persons or entities acting at the direction of Borrower or
          with Borrower's knowledge or consent gave materially false, misleading, or inaccurate
          information or statements to Lender (or failed to provide Lender with material information) in
          connection with the Loan. Material representations include, but ate not limited to, representations
          concerning Borrower's occupancy of the Property as Borrower's principal residence.
                9. Protection of Lender's Interest in the Property and Rights Under this Security
          Instrument. If (a) Borrower fails to perform the covenants and agreements contained in this
          Security Instrument. (b) there is a legal proceeding that might significantly affect Leader's interest
          in the Property andkor rights under this Security Instrument (such as a proceeding in bankruptcy,
          probate, for condemnation or forfeiture, for enforcement of a lien which may attain priority over
          this Security Instrument or to enforce lawn or regulations), or (c) Borrower has abandoned the
          Property, then Lender may do and pay for whatever is reasonable or appropriate to protect
          Lender's interest in the Property and rights under this Security Instrument, including protecting
          andfor messing the value of the Property, and securing mar repairing the Property (as set forth
          below), Lender's actions can include, but are not limited to: (a) paying any sums secured by a lien
          which has priority over this Security Instrument (b) appearing in court: and (e) paying reasonable
          attorneys' fees to protect its Interest in the Property andkn rights under this Security Instrument,
          including its secured position in a bankruptcy proceeding. Securing the Property includes, but is
          not limited to, making repairs, replacing doom and windows, drainiog water from pipes, and
          eliminating building or other code violations or dangerous conditions. Although Lender may take
          action under this Section 9, Lender does not have to do so and is not under any duty or obligation
          to do so. It is agreed that Lender incurs no liability for not taking any or all actions authorized
          under this Section 9.
                Any amounts disbursed by Lender under this Section 9 shall become additional debt of
          Borrower moored by this Security instrument. These amounts shall bear interest at the Note rate
          from the date of disbursement and shall be payable, with such interest, upon notice from Lender
          to Borrower requesting payment.
                If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions
          of the lease. If Borrower acquires fee title to the Property, the leasehold end the fee title shall not
          merge unless Lender agrees to the merger in writing.
                 10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making
          the Loan, Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect.
          it, for any reason. the Mortgage Insurance coverage required by Lender ceases to be available from
          the mortgage insurer that previously provided such insurance and Borrower was required to make
          separately designated payments toward the premiums for Mortgage Insurance, Borrower shall pay
          the premiums required to obtain coverage substantially equivalent to the Mortgage Insurance
          previously in effect, at a cost substantially equivalent to the cost to Borrower or the Mortgage
          Insurance previously in effect, from an alternate mortgage insurer selected by Lender. If
          substantially equivalent Mortgage Insurance coverage is not available, Borrower shall continue to
          pay to Lander the amount of the separately designated payments that were due when the insurance
          coverage ceased to be in effect. Lender will accept, use and retain these payments as a
           non-refundable loss reserve In lieu of Mortgage Insurance. Such loss reserve shall be
           non-refundable, notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall
           not be required to pay Borrower any interest or earnings on such loss reserve. Lender cao no
           longer require loss reserve payments if Mortgage Insurance coverage (in the amount and for the
           period that Lender requires) provided by an insurer selected by Lender again becomes available, is
          obtained, and Lender requires separately designated payments toward the premiums for Mortgage
           Insurance. If Lender required Mortgage Insurance as a condition of makin the Loan and

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          Borrower was matured to Mae separately designated payments toward the pmmiuma for
          Mortgage Insurance, Borrower shall pay the premiums required to maintain Mortgage Insurance
          in diem or to provide a non-refundable loss reserve. until Lender's requirement for Mortgage
          Insurance ends in accordance with any written agreement between Borrower and Lender providing
          for such termination or until termination is required by Applicable Law. Nothing in this Section
          10 affects Borrower's obligation to py interest at the rate provided in the Note.
                Mortgage Insurance reimburses Lender for any entity that purchases the Nate) for certain
          tosses it may incur if Borrower dace not repay the Loan as agreed. Borrower is note party to the
          Mortgage Insurance.
                Mortgage insurers evaluate their total rick on all such insurance in force from time to time.
          and may enter into agreements with other parties that share or modify their risk, or reduce losses.
          These agreements are on terms and conditions that are satisfactory to the mortgage insurer and
          the other party (or parties) to these agreements. These agreements may requite the mortgage
          insurer to make payments using any source of funds that the mortgage insurer may have available
          (which may include funds obtained from MortgagnInsuranee premiums).
                As a result of these agreements, Lender, any purchaser of the Note, another insurer, any
          reinsurer, any other entity, or any affiliate of any of the foregoing. may receive (directly or
          indirectly) amounts that derive from (or might be characterized an) a portion of Borrower's
          Payments for Mortgage Insurance, in exchange for sharing or modifying the mortgage insurer's
          risk, or reducing losses. If such agreement provides that an affiliate of Lender takes a share of the
          insurer's risk in exchange for a share of the premiums paid to the insurer, the arrangement is
          often termed ''captive reinsurance." Further:
                (a) Any such agreements will not affect the amounts that Borrower has agreed to
          pay for Mortgage Insurance, or any other terms of the Loan. Such agreements will not
          increase the amount Borrower will owe for Mortgage Insurance, and they will not entitle
          Borrower to any refund.
                (b) Any such agreements will not affect the rights Borrower has - if any - with
          respect to the Mortgage Insurance under the Homeowners Protection Act of 1998 or any
          other law. These rights may include the right to receive certain disclosures, to request
          and obtain cancellation of the Mortgage Insurance, to have the Mortgage Insurance
          terminated automatically, andfor to receive a refund of any Mortgage Insurance
          premiums that were unearned at the time of such cancellation or termination.
                11. Assignment of Miscellaneous Proceeds: Forfeiture. All Miscellaneous Proceeds are
          hereby assigeed to and shall be paid to Lender.
                If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or
          repair or the Property, if the restoration or repair is economically feasible and Lender's security is
          not lessened. During such repair and restoration period, Lender shall have the right to hold such
          Miscellaneous Proceeds until Lender has had an opportunity to inspect such Property to ensure
          the work has been completed to Lender's satisfaction, provided that such inspection shall be
          undertaken promptly. Lender may pay for the repairs and restoration in a single disbursement or
          in a series of program payments as the work Is completed. Unless an agreement is made in
          writing or Applicable Law requires interest to be paid on such Miscellaneous Proceeds, Lender
          shall not he required to pay Borrower any interest or earnings on such Miscellaneous Proceeds. If
          the restoration or repair is not economically feasible or Lender's security would be lessened, the
          Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument, whether
          or not then due, with the excess,11 any, paid to Borrower. Such Miscellaneous Proceeds shall be
          applied in the order provided for in Section 2.
                In the event of a total taking, destruction, or lam in value of the Property, the Miscellaneous
          Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then
          due, with the excess, if any, paid to Borrower.
                In the event of a partial taking, destruction, or loss in value of the Property in which the fair
           market value of the Property immediately before the partial taking, destruction, or loss in value is
          equal to or greater than the amount of the sums secured by this Security Instrument immediately
          before the !partial taking, destruction, or loss in value, unless Borrower and Lender otherwise
          agree in writing, the sums secured by this Security Inatrusnentehall he reduced by the amount of
           the Miscellaneous Proceeds multiplied by the following fraction: (a) the total amount of the sums


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          secured immediately before the partial taking, destruction, or loss in value divided by (b) the fair
          market value of the Property immediately before the partial taking, destruction, or loss in value.
          Any balance shall be paid to Borrower.
                In the event of a partial taking, destruction, or loss in value of the Property in which the fair
          market value of the Property immediately before the partial taking, destruction, or loss in value is
          less than the amount of the sums secured immediately before the partial taking, destruction, or
          lass in value, unless Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds
          shall be applied to the sumo secured by this Security Instrument whether or not the sums are then
          due
                If the Property is abandoned by Burrower, or if. after cod= by Lender to Borrower that the
          Opposing Party (as defined in the nest sentence) offer. to make an award to settle a claim for
          damages, Borrower fails to respond to Lender within 30 days after the date the notice is given.
          Lender is authorized to collect and apply the Miscellencous Proceeds either to restoration or
          repair of the Property or to the sums secured by this Security Instrument, whether or not then
          due "Opposing Pam" means the third party that owes Borrower Miscellaneous Proceeds or the
          party against whom Borrower has a right of action in regard to Miscellaneous Proceeds. •
                Borrower shall be in default If any scrim or proceeding, whether civil or criminal, is begun
          that, in Lender's judgment, could result in forfeiture of the Property or other material
          impairment of Lender's interest in the Property or rights under this Security Instrument.
          Borrower can cure such a default and, if acceleration has occurred, reinstate as provided in Section
           19, by causing the action or proceeding to be dismissed with a ruling that, in Lender's judgment,
          precludes forfeiture of the Property or other material impairment of Lender's interest in the
          Property or rights under this Security Instrument. The ;Proceeds of any award or claim for
          damages that are attributable to the impairment of Lender's interest in the Property are hereby
          assigned and shall be paid to Lender.
                All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall
          be applied in the order provided for in Section 1.
                12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the
          time for payment or modification of amortization of the sums secured by this Security
          Instrument granted by Lender to Borrower or any Successor in Interest of Borrower shall not
          operate to release the liability of Borrower or any Successors in Interest of Borrower. Lender shall
          not be required to commence proceedings against any Successor in Interest of Borrower or to
           refuse to extend time for payment or otherwise modify amortization of the sums secured by this
          Security Instrument by reason of any demand made by the original Borrower or any Successors in
           Interest of Borrower. Any forbearance by Lender in exercising any right or remedy Including,
           without limitation. Lender's acceptance of payments from third persons, entities or Successors in
          Interest of Borrower or in amounts less than the amount then clue, shall not be a waiver of or
           preclude the exercise of any right or remedy.
                 13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower
           covenants end agrees that Borroweezi obligations and liability shall be joint and several. However,
           any Borrower who ecrsips this Security Instrument but does not execute the Note (a "co-signer"):
           (a) is cosigning_ this Security Instrument only to mortgage, grant and convey the co-signer's
           interest in the Property under the terms of this Security Instrument; (b) is not personally
           obligated to pay the sums secured by this Security Instrument; and (o) agrees that Lender and any
           other Borrower can agree to extend, modify, forbear or make any accommodations with regard to
           the terms of this Security Instrument or the Note without the co-signer's consent
                Subject to the provisions of Section it any Successor in Interest of Borrower who =ernes
           Borrower's obligations under this Security Instrument in writing, and is approved by Lender, shall
           obtain all of Borrower's rights and benefits under this Security Instnonent. Borrower shell not to
           released from Borrower's obligations and liability under this Security Instrument unless Lender
           agrees to such release in writing. The covenants and agreements of this Security Instrument shall
           bind (except as provided in Section 20) and benefit the successors and assigns of Lender.
                 14. Loan Charges. Lender may charge Borrower fees for services performed in connection
           with Borrower's default, for the purpose of protecting Lender's interest in the Property and rights
            under this Security Instrument. including, but not limited to, attorneys' fees, property inspection
           and valuation fees. In regard to any other fees, the absence of esprese authority in this Security

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          Instrument to charge a specific fee to Borrower shall not be construed as a prohibition on the
          charging of such fee. Lender may not charge fees that are expressly prohibited by this Security
          Instrument or by Applicable Law.
                If the Loan is subject to a law which sets maximum loan charges, and that law is finally
          interpreted so that the interest or other loan charges collected or to be collected in connection
          with the Loan exceed the permitted !knits, them (a) any such loan charge shall be reduced by the
          amount necessary to reduce the charge to the permitted limit; and (b) any sums already collected
          from Borrower which exceeded permitted !units will be refunded to Borrower. Lender may
          choose to make this refund by reducing the principal owed under the Note or by making a direct
          payment to Borrower. If a refund reduces principal, the reduction will be treated as a partial
          prepayment without any prepayment charge (whether or not a prepayment charge is provided for
          under the Note). Borrower's acceptance of any such refund made by direct payment to Borrower
           will constitute a waiver of any right of action Borrower might have arising out of such
          overcharge,
                IS. Notices. All notices given by Borrower or Lender in connection with this Security
          Instrument must be in writing. Any notice to Borrower in connection with this Security
          Instrument shall be deemed to have been given to Borrower when malted by first clam mail or
           when actually delivered to Borrower% notice addmss if sent by other means. Notice to any one
          Borrower shall constitute notice to all Borrowers unless Applicable Law expressly requires
          otherwise. The notice address shall be the Property Address unless Borrower has designated a
          substitute notice address by notice to Lender. Borrower shall promptly notify Lender of
          Borrower's change of address. If Lender specifies a procedure for reporting Borrower% change of
          address, then Borrower shall only report a change of address through that specified procedure.
          There may be only one designated notice address under this Security Instrument at any one time.
          Any notice to Lender shall be given by delivering it or by mailing it by first class mail to
          Lender's address stated herein unless Lender has designated another address by notice to
          Borrower. Any notice in connection with this Security Instrument shall not be deemed to have
          been given to Lender until actually received by Lender. If any notice required by this Security
          Instrument is also required under Applicable Law, the Applicable Law requirement will satisfy the
          corresponding requirement under this Security Instrument,
                 16. Governing Law; Severabiliey; Rules of Construction. This Security Instrument shall
          be governed by federal law and the law of the jurisdiction in which the Property is located. All
          rights and obligations contained in this Security Instrument are subject to any requirements and
          limitations of Applicable Law. Applicable Law might explicitly or implicitly allow the parties to
          agree by contract or it might be silent, but such silence shall not be construed as a prohibition
          against agreement by contract. In the event that any provision or clause of this Security
          Instrument or the Note conflicts with Applicable Law, such conflict shall not affect other
          provisions of this Security Instrument or the Note which can be given effect without the
           conflicting provision.
                As used in this Security Instrument; (a) words of the masculine gender shall mean and
           include corresponding neuter words or words of the feminine gender; (b) words in the singular
           shall mean and include the plural and vice versa; and (o) the word 'may" gives sole discretion
           without any obligation to take any action.
                 17. Borrower's Copy. Borrower shell be given one copy of the Note and of this Security
           Instrument.
                 18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this
           Section 18, "Interest in the Property* means any legal or beneficial interest in the Property,
           including, but not limited to, those beneficial interests transferred in a bond for deed, contract for
           deed, installment sales contract or escrow agreement, the intent of which is the transfer of title by
           Borrower at a future date to a_purchascr.
                 If all or any part of the Property or any Interest in the Property is sold or transferred (or if
           Borrower is not a natural person and a beneficial interest in Burrower is sold or transferred)
           without Lender's prior written consent, Lender may require immediate payment in full of all
           sums secured by this Security Instrument. However, this option shall not be exercised by Lender
           if such exercise is prohibited by Applicable Law.
                 If Lender exercises this option, Lender shall give Borrower notice of acceleration. The native
           shall provide a period of not less than 30 days from the date the notice is given in accordance with

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          Section 15 within which Borrower must pay all sums secured by this Security Instrument. If
          Borrower fails to pay these sums prior to the expiration of this period, Lender may invoke any
          remedies permitted by this Security instrument without further notice or demand on Borrower.
                19. 'Borrower's Right to Reinstate After Acceleration. If Borrower meets certain
          conditions, Borrower shall have the right to have enforcement of this Security Instrument
          discontinued at any time prior to the earliest of: (a) five days before sale of the Property pursuant
          to any power of sale contained in this Security Instrument; (b) such other period as Applicable
          Law might arcify for the termination of Borrower's right to reinstate; or (c) entry of a judgment
          enforcing this Security Instrument. Those conditions are that Borrower: (a) pays Lender all sums
          which then would be due under this Security Instrument and the Note as if no acceleration had
          occurred; (b) cures any default of any other covenants or agreements; (c) pays all expenses
          incurred in enforcing this Security Instrument, including, but not limited to, reasonable attorneys'
          fees, property inspection end valuation fees, and other fees incurred for the purpose of protecting
          Lender's interest in the Property and rights under this Security Instrument; and (d) takes girl
          action as Lender may reasonably require to assure that Lender's interest in the Property and rights
          under this Security Instrument, and Borrower's obligation to pay the sums secured by this
          Security Instrument, shall continue unchatiged. Lender may require that Borrower pay such
          reinstatement sums and expenses in one or more of the Jollowing forms, as selected by Lender
          (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or cashier's check,
          provided any such check is drawn upon an institution whose deposits are insured by a federal
          agency, instrumentality or entity; or (d) Electronic Funds Transfer. Upon reinstatement by
          Borrower, this Security Instrument and obligations secured hereby shall remain fully effective as
          if no acceleration had occurred. However, this right to reinstate shall not apply in the =Se of
          acceleration under Section 18.
                20. Sale of Note; Change of Loan Services; Notice of Grievance. The Note or a partial
          interest in the Note (together with this Security Instrument) can be sold one or more times
          without prior notice to Borrower. A sale might result in a change in the entity (known as the
          "Loan Servicer") that collects Periodic Payments due under the Note and this Security Instrument
          and performs other mortgage loan servicing obligations under the Not; this Security Instrument,
          and Applicable Law. There also might be one or more changes of the Loan Servicer unrelated to a
          sale of the Note. If there is a change of the Loan Servicer, Borrower will be given written notice of
          the change which will state the name and address of the new Loan Service:, the address to which
          payments should be made and any other information RESPA requires in connection with a notice
          of transfer of servicing. If the Note is sold and thereafter the Loan is serviced by a Loan Servicer
          other than the purchaser of the Note, the mortgage loan servicing obligations to Borrower will
          remain with the Loan Servicer or be transferred so a successor Loan Servicer and are not assumed
          by the Note purchaser unless otherwise provided by the Note purchaser.
                Neither Borrower nor Lender may commence, join or he joined to any judicial action (as
          either an individual Stipa or the inember•of a class) that arises from the other party's actions
          pursuant to this Security Instrument or that alleges that the other party has breached any
           wovision of. or any duty owed by reason of, this Security Instrument, until such Borrower or
           Lender has notified the other party (with inch notice given in compliance with the requirements
          of Section 15) of such alleged breach and afforded the other party hereto a reasonable period after
           the giving of such notice to take corrective action. If Applicable Law provides a time period
          which must elapse before certain action can be taken, that time period will be deemed to be
           reasonable for purposes of this paragraph. The notice of acceleration and opportunity to cure
           given to Borrower pursuant to Section 22 and the notice of acceleration given to Borrower
           pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective
           action provisions of this Section 20.
                21. Hazardous Substances. As used in this Section 21: (a) 'Hazardous Substances" are
           those substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental
           Law and the following substances gasoline, kerosene, other flammable or toxic petroleum
           product; toxic pesticides and herbicides, volatile solvents, materials containing asbestos or
           formaldehyde, and radioactive materials; OA "Environmental Law" means federal laws and laws
           of the jurisdiction where the Property is located that relate to health, safety or environmental


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                                                                                   Deed Book 19045 Ps           43



          protection; (c) 'Environmental Cleanup includes any response action. remedial action, or
          removal action, 89 defined in Environmental Law; and ;(1) an ''Environmental Condition' means
          a condition that con cause, contribute to, or otherwise trigger an Environmental Cleanup.
                Borrower shell not cause or permit the presence. use, dismsal, storage, or release of any
          Hazardous Substances, or threaten to release any Hazardous SuUunces, on or in the Property.
          Borrower shall not do, nor allow anyone else to do, anything affecting the Property (a) that is in
          violation of any Environmental Law, (b) which creates an Environmental Condition. or (a)
          which, due to the presence, use, or release of a Hazardous Substance, creates a condition that
          adversely affects the value of the Property. The preceding two sentences shall not apply to the
          presence, use, or storage on the Property of small quantities of Hazardous Substances that are
          generally recognized to be appropriate to normal residential uses and to maintenance of the
          Property (including but not limited to. hazardous substances in consumer products).
                Borrower shale promptly give Lender written notice of (a) any investigation, claim, demand,
          lawsuit or other action by any governmental or regulatory agency or private party involving the
          Property and any Hazardous Substance or Environmental Lew of which Borrower has actual
          knowledge, (b) any Environmental Condition, including but not limited to, any spilling, leaking,
          discharge, release or threat of release of any Hazardous Substance, end (c) any condition caused by
          the presence, use or release of a Hazardous Substance which adversely affects the value of the
          Property. If Borrower learns, or is notified by any governmental or regulatory authority, or any
          ;nivel° mtg, that any removal or other remediation of any Hazardous Substance affecting the
          Property is necessary, Borrower shall promptly take all necessary remedial actions in a-maance
          with Environmental Law. Nothing herein shall create any obligation on Lender for an
          Environmental Cleanup.
                NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as
          follows;
                22. Acceleration; Remedies. Lender shall give notice to Borrower prior to
          acceleration following Borrower's breach of any covenant or agreement in this Security
          Instrument (but not prior to acceleration under Section 18 unless Applicable Law
          provides otherwise). The notice shall specify: (a) the default; (b) the action required to
          cure the default (c) a date, not less then 30 days from the date the notice is given to
          Borrower, by which the default must be cured; and (d) that failure to cure the default on
          or before the date specified in the notice may result in acceleration of the surely secured
          by this Security Instrument end sale of the Property. The notice shall further inform
          Borrower of the right to reinstate after acceleration and the right to bring a court action
          to assert the non-existence of a default or any other defense of Borrower to acceleration
          and sole. If the default Is not cured on or before the date specified in the notice, Lender
          at its option may require immediate payment in full of all sums secured by this Security
          Instrument without further demand and may invoke 'the power of sale granted by
          Borrower and any other remedies permitted by Applicable Law. Borrower appoints
          Lender the agent and attorney-in-fact for Borrower to exercise the power of sale. Lender
          shall be entitled to collect all expenses incurred in pursuing the remedies provided in
           this Section 22, including, but not limited to, reasonable attorneys' fees and costs of title
          evidence.
                If Lender invokes the power of sale, Lender shall give a copy of a notice of sale by
           public advertisement for the time and in the manner prescribed by Applicable Law.
           Under, without further demand on Borrower, shall sell the Property at public auction
           to the highest bidder at the time and place and ender the terms designated in the notice
          of sale in one Of more parcels and in any order Lender determines. Lender or its
          designee may purchase the Property at any sale.
               'Lender shall convey to the _purchaser indefeasible title to the Property, and
           Borrower hereby appoints Lender Borrower's agent and attorney-in-fact to make such
          conveyance. The recitals in the Lender's deed shall be prima facie evidence of the truth
           of the statements made therein. Borrower covenants and agrees that Lender shall apply
          the proceeds or the sale in the following order (a) to all expenses of the sale, including,
           but not limited to reasonable attorneys' fees; (b) to all sums secured by this Security
          Instrument; and (c) any excess to the person or persons legally entitled to it. The power


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          and agency granted are coupled with en interest, are irrevocable by death or otherwise
          and are cumulative to the remedies for collection of debt as provided by Applicable
          Law.
                If the Property is sold pursuant to this Section 12, Borrower, or any person holding
          possession of the Properly through Borrower, shall immediately surrender possession of
          the Property to the purchaser at the sale. If possession is not surrendered. Borrower or
          such person shall be a tenant holding over and may be dispossessed in accordance with
          Applicable Law.
                23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall
          cancel this Security Instrument. Borrower shall pay any recordation costs. Lender may charge
          Borrower a fee for releasing this Security Instrument, but only if the fee is paid to a thud party
          for services rendered and the charging of the fee is permitted'under Applicable Law.
                24. Waiver of Homestead. Borrower waives all rights of homestead exemption in the
          Property.
                23. Assumption Not a Novation. Lender's acceptance of on assumption of the obligations
          of this Security Instrument and the Note, and any release of Borrower in connection therewith,
          shall not constitute a novation.
                26. Security Deed. This conveyance is to be construed under the existing laws of the State
          of Georgia as a deed passing title, and not as a mortgage, and is intended to secure the payment of
          all sums secured hereby.




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              BORROWER ACCEPTS AND AGREES to the term and covenanta contained in this
          Security Instrument end in any Rider executed by Borrower and recorded with it.
              IN WITNESS WHEREOF, Borrower has signed on                this Security Instrument,


                                                     (Seal)                                                   (Seal)
                                                  -Borrower           EN1 RE IR/3    P                     -Borrower



                                                     (Seal)                                                   (Seal)
                                                  -Borrower                                                -Borrower



                                                     (Seel)                                                   (Seal)
                                                  -Borrower                                                -Borrower



                                                     (Seal)             7..L0331 cic                          (Seal)
                                                  .Burfoofer          FORREST 0 ROBERTS JR                 -Borrower




          STATE OF GEORGIA,                       CLAYTON                                     County as:
             Signed, scaled and delivered in the presence of:




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                                                                  SIM, of Georgie            '76742




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                                   EXHIBIT "A"


         ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOT 74
         OF THE 18TH DISTRICT OF DEKALB COUNTY, GEORGIA, AND BEING LOTS,
         IVY RIDGE SUBDIVISION, AS PER PLAT RECORDED IN PLAT BOOK 118,
         PAGES 43-44, DEKALB COUNTY, GEORGIA RECORDS, AS REVISED AT PLAT
         BOOK 118, PAGE 96, DEKALB COUNTY, GEORGIA RECORDS, TO WHICH PLAT
         REFERENCE IS HEREBY MADE FOR THE PURPOSE OF INCORPORATING
         HEREIN.
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       GEORGIA -                                                                              Oved Beak 2 9045 Pa          47
                                                                                                Linda Cart.
                                                                                                 Clerk ei Superior Court
      . GRANTOR: oNi RoBERTS                                                                     OeEal b Cowl tv I Geort a

       LENDER BANK OF AMERICA. N. A .

       DATE OF SECURITY DEED: Wizens
                                                  WAIVER OF BORROWER'S RIGHTS

       BY EXECUTION OF This PARAGRAPH, GRANTOR EXPRESSLY: (1) ACKNOWLEDGES THE RIGHT TO
       ACCELERATE THE DEBT AND THE POWER OF ATTORNEY GIVEN HEREIN TO LENDER TO SELL THE
       PREMISES BY NONJUDICIAL FORECLOSURE UPON DEFAULT BY GRANTOR WITHOUT ANY JUDICIAL HEARING
       AND WITHOUT ANY NOTICE OTHER THAN SUCH NOTICE AS IS REQUIRED TO BE GIVEN UNDER THE
       PROVISIONS HEREOF; 121 WAIVES ANY AND ALL RIGHTS WHICH GRANTOR MAY HAVE UNDER THE FIFTH
       AND FOURTEENTH ANIENDMENTS TO THE CONSTITUTION OF THE UNITED STATES. THE VARIOUS
       PROVISIONS OF THE CONSTITUTION FOR THE SEVERAL STATES. OR BY REASON OF ANY OTHER
       APPUCABLE LAW TO NOTICE AND TO JUDICIAL HEARING PRIOR TO THE EXERCISE BY LENDER OF ANY
       RIGHT OR REMEDY HEREIN PROVIDED TO LENDER, EXCEPT SUCH NOTICE AS IS SPECIFICALLY REQUIRED TO
       BE PROVIDED HEREOF; (3) ACKNOWLEDGES THAT GRANTOR HAS READ THIS DEED AND SPECIFICALLY MIS
       PARAGRAPH AND ANY AND ALL QUESTIONS REGARDING THE LEGAL EFFECT OF SAID DEED AND ITS
       PROVISIONS HAVE BEEN EXPLAINED FULLY TO GRANTOR AND GRANTOR HAS BEEN AFFORDED AN
       OPPORTUNITY TO CONSULT WITH COUNSEL OF GRANTOR'S CHOICE PRIOR TO EXECUTING THIS DEED; 141
       ACKNOWLEDGES THAT ALL WAIVERS OF THE AFORESAID RIGHTS OF GRANTOR HAVE BEEN MADE
       KNOWINGLY, INTENTIONALLY AND WLLINGLY BY GRANTOR AS PART OF A BARGAINED FOR LOAN
       TRANSACTION; AND (5) AGREES THAT THE PROVISIONS HEREOF E INCORPORATED INTO AND MADE A
       PART OF THE SECURITY DEED.
                READ AND AGREED BY GRANTOR

           Signed. Sealed and delivered in the presence of:         re
                                                                    Oil 1103ERT3                                     - Mannar


                                                                            7dItAb Ati 03-.4 -IR..                     (Sean
                                                                                                                     -Grantor


  -             11.‘,10:64r ,                         tag Public
                                                                                                                       Wean
                                                                                                                     -Grantor


                                                                                                                       Med)
                                                                                                                     -Grantor



                                       401     CLOSING ATTORNEY'S AFFIDAVIT
            Before th i       r         °sting officer personally appeared the undersigned closing attorney, who.
       having been first du Bar& according to law, states under oath as follows.
            In closInl the a eve loan, but prior to the execution of the Deed to Secure Debt and "Waiver of the
       Borrower's Rights' by the Borrower(s), I reviewed with and explained to the Borrower(s) the terms and
       provisions of the Deed to Secure Debt and particularly the provisions thereof authorizing the Lender to sell
       the secured property by a nonjudicial foreclosure under a power of sale, together with the 'Waiver of
       Borrower's Rights' and informed the BorrowerIsi of Borrower's rights under the Constits4ion of the State of
       Georgia and the Constitution of the United States to notice and a judicial hearing prior to such foreclosure in
       the absence of a knowing, intentional and willing contractual waiver by Borrower(s) of Borrower's rights.
       After said review with and explanation to Borrower(s), Borrower(s) executed the Deed to Secure Debt and
       'Waiver of Borrower's Rights.'
            Based on cold review with and explanatioggitatak Borrower(s). it Is my opinion that Borrower(s)
       knowingly, intentionally and willingly executed thAstyaNtitZsg_Barrower's constitutional rights to notice and
        judicial hearing prior to any such nonjudicial foratlosureo t.
       Sworn to and subscribed before me          •               ‘.. .

                                                         • • .44.111.11:.       .                 n the date set forth Mala
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                                                           , said           •
                                                                                                Coo g Att
                                              Na 41•Lblir•:CFt.%•:,'"
                                          FORECLOSURE CLOMP DISCLOSURE
           0.C.G.A. Section 7-1-1014(3) requires that we Inform you that if you fall to meet any condition or
       tern of the documents that you sign In connection with obtaining o mortgage loan you may lose the
       property that eeyoe c 'lateral for the mortgage loan through foreclosure.


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                                EXHIBIT C
              Assignment to Fay or notice letter from lender(s)




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F-AY
  SERVICING

                                                         Servicing Transfer Letter
February 10.2014

ONI ROBERTS
5371 CHARITY WAY
STONE MTN GA 30083-3660

           New Loan Number: 48404
           Property Address: 5371 CHARITY WAY, STONE MOUNTAIN GA 30083
           Prior Servicer:      Bank of America, NA.
           investor:            U.S. Bank National Association, as Trustee for PROF-2013-M4 Grantor Trust

          Current Principal Balance: 272561.97
          Current Escrow Balance: -14942

Dear Borrower

Welcome to Fay Servicing, LLC (Fay Servicing). We are pleased to have you as our new customer. PLEASE
READ THIS LETTER CAREFULLY. It contains Important information about making payments on your mortgage
loan.

SERVICING TRANSFER
   LETTER FROM PREVIOUS SERVICER: You should have received a letter from your previous mortgage
   company explaining that the servicing of your home loan would be transferred to Fay Servicing. The transfer
   does not affect the terms and conditions of your loan; it affects only the details associated with the servicing
   of your loan, such as the loan number and payment address. if you have any questions please contact Bank
   of America. N.A. at 1.800.655.1491.
   TRANSFER DATE: Fay Servicing will begin accepting your mortgage payments on February 1, 2014. All
   payments received after the Transfer Date will be processed by Fay Servicing. If your mortgage payment
   was received by your previous servicer prior to the Transfer Date, it was processed upon receipt. However,
   any payments received by your previous servicer after the Transfer Date must be sent to Fay Servicing and
   will be subject to processing delays.

MAKING MORTGAGE PAYMENTS
  BY MAIL (USPS): If you are making payments by mail, please submit each monthly payment with a Fay
  Servicing Mortgage Statement that will be mailed to you shortly In a self-addressed envelope that will be sent
  separately. Make your check payable to Fay Servicing, LLC, write your Fay Servicing Loan Number on your
  check or money order, and mail your payment to us at the following Payment Processing Address:
                                                                 Fay Servicing
                                                                 Customer Service Payment Processing
                                                                 PO Box 3187
                                                                 Carol Stream, IL 60132-3187
     Please allow 6- 10 business days for payment processing. It is important that you mail payments to this
     Payment Processing Address. Mailing your payment to any other address will result in a delay in posting
     your payment.
     By AUTOMATIC PAYMENT (ACH): If you enroll in our Automatic Payment Plan, your payment will be
     withdrawn from your bank account on the date your loan payment is due (generally the first day of the
     month). You can enroll with the ACH Enrollment Form included with this Welcome Kit.
     ONLINE PAYMENTS: You may make your payment electronically via our secure payment website. You
     may also choose to GO GREEN and elect paperless billing•and viewing of your monthly statement. If you
     prefer to make payments online, please contact your Account Manager to obtain your Usemame and
     Password in order to log in at www.fayservicIng.com.

Pg 1 of 2

We are a debt collector, and Information you provide to us may be used to collect a debt. However, if you have filed for bankruptcy. we will fully
respect any applicable automatic stay, modification or discharge. Further. If you filed Chapter 7 bankruptcy, received a discharge, and this loan was
not reaffirmed in the bankruptcy case, we will exercise only In rem rights as allowed under applicable law and will not attempt to collect, recover or
offset the discharged debt as your personal liability.
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F      AY
       SERVICING



     MILITARY & THIRD PARTY PAYMENTS: If your payment is made by military allotment or a third party
     payment service - You must contact the Defense Finance and Accounting Service or your payment service
     company immediately and Instruct them to send your payments to Fay Servicing instead of the previous
     company. Your payment must include the Payment Processing Address above and your new loan number.


OTHER IMPORTANT TRANSFER INFORMATION
   TAX AND INTEREST STATEMENTS: By January 31, 2012 Fay Servicing and your previous mortgage
   company will mail statements of mortgage Interest and property taxes paid during the period your loan was
   serviced by each company this year.

     OPTIONAL INSURANCE: Fay Servicing does not provide any farm of optional insurance. Please call us at
     800-495-7166 with any questions you may have regarding optional Insurance.

     SHRED PREVIOUS SERVICER'S ENVELOPES: Shred your previous servicer's envelopes. The bar code
     on the old envelopes will send your payment to the previous servicer even if you write our address on the
     envelope.

     LOAN PAYOFFS: If you plan to pay off your loan within thirty days of the Transfer Date, payoff statements
     will not be available from Fay Servicing or your previous mortgage company for approximately 14 days.

     SYSTEM UPDATE: Fay Servicing may require one or two business days following the Transfer Date to
     update our system and access your loan information. We apologize in advance for this delay and appreciate
     your patience.

     QUESTIONS: If you have any questions please contact your personal Home Loan Consultant or call us toll
     free at 800-495-7166. Our office is open Mon - Fri 9:00 a.m. to 5:00 p.m. (CT) and Saturday 10:00 a.m. to
     2 p.m. (CT). Fay Servicing is committed to providing honest and impeccable service. We look forward to
     serving you. If you wish to contact Fay Servicing in writing, please do so at Fay Servicing Customer
     Correspondence, PO Box 220720 Chicago, IL 60622.

     COMPLAINTS: If you have problems after your loan is transferred during any potential Modification process
     or for any reason you can send a note to the Office of the President at complaints©fayservicing.com.

     IL RESIDENTS: The primary regulatory agency having jurisdiction over the Fay Servicing in Illinois is the
     Illinois Department of Financial and Professional Regulation (IDFPR), 1228. Michigan Ave., 19th Floor,
     Chicago. IL 60603.

                                                                                      Sincerely,



                                                                                      Matthew Schuster
                                                                                      Vice President of Servicing




Pg 2 of 2

We are a debt collector, and Information you provide to us may be used to collect a debt. However, if you have filed for bankruptcy, we will fully
respect any applicable automatic stay, modification or discharge. Further, If you filed Chapter 7 bankruptcy, received a discharge, and this loan was
not reaffirmed in the bankruptcy case, we Will exercise only in rem rights as allowed under applicable law and will not attempt to collect, recover or
offset the discharged debt as your personal liability.
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                             EXHIBIT D
                        Assignment to US Bank




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                                                                 Bank at tunnies
                                                                 Prepared By:     .
                                                                 Yarned QuIntnallin
                                                                 800444-4302
                                                                                                       When recorded mail to:    .

                                                                                                       Avenue 3E5 Lender Services, LW
                                                                                                       401 Plymouth Road
                                                                 101 S. Marengo Ave.                   Suite 550
                Property Address:                                                                      Plymouth Meeting, PA 19462
                                                                 Pasadena, CA 91101
                5311 Charity Way                                                                       Margo, IL 60641
                Stone Mountain, GA 30083.3660
ri.             GACAM.10 2111C 6117   MIAOW !ATOM
  I


                                              ASSIGNMENT OF SECURITY DEED
                For Value Received, the undersigned holder ore Security Deed (herein "Assign:') whose address is 1800 TAP°
                CANYON ROAD, SIMI VALLEY, CA 93063 does hereby grant, sell, assign, transter and convey unto US.
f."
IJ
                BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR PROF.1013-S3 NEMEC mum Ill. whose
                address is 60 LIVINGSTON AVENUE. EP-MPLWS3D, ST. PAUL, MN 55107, ATTENTION:
                STRUCIVRED FINANCE SERVICES —PROF all beneficial Interest under that cumin Security Deed
                described below together with the note(s) and obligations therein described and the money doe and to boor= due
                thereon with Interest and all rights seemed or to acme underlaid Security Deed.
                Beneficiary:                BANK OF AMERICA, N.A.
                Made By:                    ONI ROBERTS AND FORREST 0 ROBERTS JR., MARRIED
                Date of Secutity Deed:      7/15/2006
                Original Loan Amount:       5302,600.00
                                                                                             •
                Recorded in DoKalb County. GA on: 8/15/3006, book 19045, page lined instrument number2006-0153445


                IN WinIESS WHEREOF, the underrigned has con= this Assignment of Security Deed to be executed on
                    Hicil 1 1 2014
        .1
                BANK OP AMERICA, N.A.


                                                                          By:
                                                                                             Morceden Awl%)
                                                                                         Aftehdent Vice Pitlehiprif


                                                                          Witness:                 Sited MOTedliall
                State of California
                County or Los Angelo

                On                       before me.                                                Notary Public, personally
                appeared                                              and                                                who proved
                to me on the basis ofsatistIckey evidence to be the person(s)         name(s) blare subscribed to the within
                instilment and acknowledged to me that hefshenhey execut           some In his/11track autherired capacity(les),
                and that by his/ha/their signature(s) on the instrument this rson(e), or the entity upon behalf of which the person
                (s) acted, executed the Instrument.

                1 certify under PENALTY OF PERJURY tied the laws afire State of Callibrnin that the foregoing
                paragraph is true and correct.

                WITNESS my hand and official seal.


                                                                                            C9es mc°4
                Notary Public:                                                  (Seal)
                My Commission Expires:
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            g                                                                  DEED BOW 24433 P9 661
                 r •                                                            Ombra DeBer
                                                                                 Clerk or Superior Court
                                                                                 Deltalb Counts . Georsi a




                                           ACKNOWLEDGMt4406ifterff-34-9hhp-gt
                                                        NT
                                                                          imussibtesmisb

      State of California
      County of         law-ruiedb

      On         MAR 1 9 2814                 before me, _eimeaUjithissed2reig                               -
                                                         (insert name and title f the officer)

      personally appeared            Trisha Jackson AA) • Mercedes Judie,                                  ,
      who proved to me on the basis of satisfactory evidence to beffie person(s) whose name(s) islare
      subscribed to the within instrument and acknowledged to de that he/she/they executed the same In
      his/her/their authorized capacity(ies). and that by his/her/their signature(s) on the instrument the
      person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.

      I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
      paragraph is true and correct.


      WITNESS m               and official seal.                                    CARMEN L. MORSE
                                                                                   Commission I 1951349
                                                                                  Nobly Public • Cagoule
                                                                                    Lms Angeles County
                                                                               My Comm. Espkos 05111, 2015
      Sig                                                    (Seal)
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Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 139 of 261




                               EXHIBIT E
          Evidence of application for loan modification with Fay




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  Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 140 of 261




February 20,2014



Fay Servicing Mortgage Transfer Department

Matthew Schuster (Vice President Of Servicing)
P.O. Box 3187
Carol Stream; IL 60132-3187

Fay Servicing Customer Correspondence
P.O. Box 220720
Chicago, IL 60603



I have received your correspondence regarding the loan transfer from Bank Of America to Fay
Servicing.

I request the opportunity and application of a modification on my mortgage loan from Bank Of
America that is apparently now being serviced by Fay Servicing. I have never worked with a
servicer, only Bank Of America's Mortgage Department, Directly.

Please send me more information on what a senricer does and what the current payoff is as
well as the application for modification. I would also like any additional information that would
provide clarity•as to how this process works and-details of the balance of the loaniront Bank Of
America as well as the accounting records.

I look forward to hearing from you Matthew Schuster, Vice President Of Servicing.




Onl Roberts
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     BANKRUPTCYACCOUNT
     MANAGER
                                                  Fay Servicing, LLC
                                        440 S. LaSalle St, Suite 2000
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   Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 143 of 261




February 20, 2014.



Fay Servicing Mortgage Transfer Department

Matthew Schuster (Vice'President Of Servicing)
P.O. Box 3187
Carol Stream, IL 60132-3187

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Chicago; IL 60603


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well as the application for Modification. I would also like any additional Information that would
provide•clarity-as to how this process worIcsand details of the balance of the loan from Bank*Of
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I look forward to hearing from you Matthew Schuster, Vice President Of Servicing.




Oni Roberts
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 144 of 261




                              EXHIBIT F
       09/16/2014 Letter from StateBridge and loan # to 'maxi 276




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Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 145 of 261




                                                           STATEMME.
      •••••••       iI•1•111•Mi




      September 16, 2014




      ONI ROBERTS
      S371 CHARITYWAY
      STOW MOUNTAIN, GA 30003



                                  NOTICE OF ASSIGNMENT, SALE AND TRANSFER OF SERVICING RIGHTS

      RE: FAT SFIIVICING ILCIP:onous Se/inert lean Numbest 00110048404
          Statebridge Company, LIC (New Seedier) Loan Number: 00110021276
       Properly Address:          271  CNARFY WAY
                                  STONE:MOUNTAIN, GA 30003

       Dear ONI ROBERTS.
       In accordance wilt Section Got the Real Este% Salt email! Promdunm Act ('RESPA/ 112 U.S.C. Salton 2605), we are
       Inhuming you that effeCeve Sectember 3, 2014, the servidng of your mortpse lam that h the dad to emiled. payments
       from you, has been assigned and transferred to Statebddge Curnpany, I l. Mune in rmited drcumsbices, On law rectutms
       that your nay/Sari/ker. Statebridge Company, U.0 MuSt send you this nul    ihnsala and Iransfpr no later than Ls daye.
       arta- the effective date cr:transfer or at closing.
       piense be assured that transactions V this type ore common among financial Instlartions end have absolutely no bearing 00
       your credit standing. 'the ass'grurent, sato end transfer of your rrinnEno Man dnei not affect cry bfrni cit tun dIllun of the
       mortgage inS1rUinan Ls, other than leans directly related to Um servidng of your loan. The transfer V sem:kir:8*AM
       however, nay affect the terms of, or die continued availability of. morkpga Ste or disability insurance or any other two(
       optional marance. Not everyone !testis type et insurance, hut If you do; you ;Mild mon;ct your Independent Insurance
       agent 'or dome live rxwerage options. since It may rot be transferable.

       Clfective September 3,2014 FAY SERVICI1413LLCwm Manta accept payment reladng to your loan. Ilene direct your
       payments to Stntebridge Company, 11.C. Any payments received by FAY SHIVICINCI II C alter Septembe• 2, 2014 will be
       forwarded kJ St etthddgo company, U.C. Please be cdvised that any A01 arrangements with FAY SERVICING LLC were
       discontinued effective Sopa-lib.,2, 2014.Tne address fur Stotahridp Company, LLC Is as follows:


                          Send Payments to;                            Send Correspundente to:
                          Sistehridge Company, LLC                     Stall:bridge Comanny, LLC
                          Arm: Payment Processing Dept                 Arm: faurnwarCrarmymntience Dept
                          5650 Greenwood Plata Evil, Sate 100 S        5680 Greenwood Plaza Blvd, Suite 100 S
                          Greenwood Village, CO 80113.                 Greenwood Milne, CO 1J0111

       If you hays any guaranis ralming to thc transfer at ownership and sr:Meng ton FAY Sr.reituNG LLC Stambridge
       Company, LLC you may contact the customer service depadrieny at FAY SliarK3Nti Ilf: m.(100) 495-7166 uj yuu racy tented
       rust:Maur sin vice in Scotch:Wee Company, LLC tell free et 1-1166-110,..1E3r10 (1.(8661461-3360), betweet Monday—Thu:3day
       0:00 AM to 900 PM, Friday 0200 AM to 7:00 PM and Saturday 9$10 AM to 1110 PM CT.




                 This Is for Informational purposes and is not an attempt to collect a debt
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Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 146 of 261




      NOMBI Ole AShIGNIYMT, SALE OR TRANSFER OF OWNERSHIP by MORTGAGE DOAN
                                          § 1641(8))

      You arc reccivicg thin arnica become the ownership of your mongolian:I blivitilind below has heap
      sold, ar.signcd, or transform! o Wilmington &Kings Yawl Society, FSE, not in its individual capacity but
      solely as Tolima for the Primr.Statql Fund ITrusi rerediterl. You may contact theprior holder.of your
      =map loan1 or the earVirAX of your mortgage loan, if you weal in cuarani the saleAsactunent/transfer
      of your mortgage loan to the new Creditor.

      jorarmetian about your Kamm Lon:

      Douower Mantas):                         UM ROHM'S
      Lon Nombre:                              1040002032.
      Address of Mortgaged Property:           5:17 I CH Alt1TY WAY
                                               STONE MOUNTAIN, OA 30013

      Please maybe followlne information. revantino Eptchrodenmendirormfer elew minima into:

       L. Address of the new Cresktor:

           P.O. BOIC 447
           Odessa, FL 33SS6

       2. Molise date of sels/assigiunentkransfer or your mortgageb         9/3/2014

       3. How in matt the party who has surhorhy to aci on behalf of the now Creditor, the Servieer of your
          loam
          'flu; currant Swim of your lam is Sunebridgc Company, [LC (your "Mooptgo leen
           Your lvIrmigage Loan Servicer is responsible for min:cling par mortgage payments, for sending you
          balingsmtemonts Red escrow alutomems sod for aorming ally questions you may have about your
          mortgage Iona.

           The trigiUng address and phone number of the saw Mortgage Loan Seroicer for your mortgage.icito
           gintenridga compony, LLC
           5680 Greenwood Plasm Olvd, Suite 1005
           Greenwood Village, CO 803.11
           Telephoom 1-OG5450-3350

       4. The =site of ownership will be recorded In the office of the public Ind mewls Eur she taunsti or
          local jurisdiedon where the property is Waled.

       5. Additional inflamedion:

           the transfer of ownership of your loan doto not affect any term or condition of your mortgage lose.
           odux than loam directly 'dated to tho ownatzhip of your lona.
           This notice does not clump the addmes whmo you scud your mortgage tom. paymentn, as noted
           above.
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 147 of 261




                              EXHIBIT G
       09/23/2014 Letter from StateMidge currently due $307,526.47




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Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 148 of 261




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       Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 149 of 261

  11/10/2015 235:20PM                      Statebridge Company, LLC

                                           5680 Greenwood Plaza Blvd
                                           Suite 100$
                                           Greenwood Wage                           CO 80111
                                           Toll Free Number          (866) 466-3360

                                                          Loan History Statement


 ON! ROBERTS                                                                                              Lemon 0000021276

5371 CHARITY WAY
STONE MOUNTAIN GA 30083




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09115114        09/15/14       03/01/12                    $0.00                              ($14,942.00 New Loan
10/16/14        10/16/14       03/01/12                ($161.50)                                           EC Attorney Cost Disburse
11/17/14        11/15/14       03/01/12                 ($11.45)                                           Inspections Disburse
11/17/14        11/15/14       03/01/12                 ($11.45)                                           Inspections Disburse
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01/09/15        01/09/15       10/01/14              ($2,490.53)                              ($2,490.53) County Bill 2
01/13/15        01/13/15       03/01/12                ($450.00)                                           PC Attorney Fee Disburse
01/16/15        01/16/15       03/01/12                ($260.00)                                           FC Attorney Cost Disburse
01/22/15        0122/15        03101/12                ($250.00)                                           PC Attorney Fee Disburse
02/27/15        02/10/15       03/01112                   $49.81                                   $49.81 Escrow Only Payment
02/27/15        02/07/15       03/01/12                 ($12.00)                                           Inspections Disburse
03/26/15        03/17/15       03/01/15                 ($64.07)                                           Late Charge Assess
04/10/15        04/03/15       03/01/12                 ($12.00)                                           Inspections Disburse
04/17/15        04/17/15       04/01/15                 ($64.07)                                           Late Charge Assess
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07/17/15        07/17/15       07/01/15                 ($64.07)                                           Laie Cbarge Assess
08114/15        08/11/15       03/01/12                 ($12.00)                                           Inspections Disburse
08/18/I5        08/17/15       08/01/15                 ($64.07)                                           Late Charge Assess
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09104/15        09/04/15       03/01/12                  $320.35                                           Late Charge Waive
09/11/15        09/09/15       03/01/12                 ($12.00)                                           Inspections Disburse
10/09/15        10/09/15       03/01/12                    $0.00                                           Foreclosure (Non-Cash) ,
10/14/15        10113/15       03/01/12                 ($12.00)                                           Inspections Disburse
11/05/15        11105/15       09/30/15              ($1,947.17)                              ($1,947.17) County Bill 1
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Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 150 of 261




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    PLEASE CALL TO UrDATE FIGURES PRIOR TD REMITTING
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Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 152 of 261



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Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 153 of 261




                             EXHIBIT H
      Wilmington Savings as Trustee for Prime changed loan number




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Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 154 of 261




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                                                                                                 clerk of superior Court
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 PREPARED BY:
 U.S. Bank National Association, as trustee
 foe PROF-2013-S3 REMIC Trust 111
 60 Livingston AVE. EP-MN-WE3D
 St Paul, MN 55107
 WHEN RECORDED RETURN TO:
 Aveaue 365 Lender Services
 401 Plymouth RD, Ste. 550
 Plymouth Meeting, PA 19462

 ',arid ID: 1807402043

                                    ASSIGNMENT OF SECURITY DEED

FOR VALUE RECEIVED, the undersigned. U.S. Bank National Association, es trustee for PROF-2013-S3
REMIC Trust HI, loomed at 60 Livingston AVE. E,P4VIN-ViS3D,SL Paul, MN 59107
("ASSIGNOR/GRAMM"), hereby gents, conveys, assigns to: Wilmington Savings Fund Society, FSB, not hi
Its individual capacity but solely as Trustee firr the PrimeStar41 Fund I Trust, located at P.O. BOX 447,
Odessa, FL 33556 (ASSIONEWORANTEE") all beneficial interest under that certain SECURITY DEED dated
7/25/2006, and executed by OPII ROBERTS AND FORREST G ROBERTS X. MARRIED. horrower(s) to:
BANK OF AMERICA. N.A., as original leader, and certain instrument recorded 8/1541106, in Book: 19045 Page
31, or /garment: 2006-0155445. in the Official Records of DEKALB County. the State of Georgia, given to
secure a certain Promissory Note in the amount ofS302.000.00 covering Property located a 5371 cumurt
WAY. STONE MOUNTAIN, Georgia 30083.

TOGETHER with the note or notes therein described and secured thereby, the money due and to become due
thereon, with interest, and all rights accrued or to accrue under said Mortgage including the right to have
reconveyed, in whole or in part, the real property described therein.
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 155 of 261
                                                                                   OZED BOOK 24720 P9755
                                                                                    Debra 0:alleferm
                                                                                     Clerk of Superior Court ,
                                                                                     OeKelb Caunte, Georg!




 Dated: December / %A* ,2014                     ASSIGNOR: U.S. Bank National Assoeiadon, as trustee for
                                                 PROF-2013-33 REMIC Trust III by Avenue 365 Lender
                                                 Services LLC, its attorney-in-face


  Witness   AfAir4 geosIon.
                                                  By:
                                                  Names Carlon Kane
  Witness Rid WC
                                                  Title: Authorized Signatory
                                                 'Power of Ationiey recorded in DeKalb County. Georgia as
                                                 Instrument H2014146912, Book 24643, Page 679
 Slate of Pennsylvania

 County of Montgomery

 Before me. Steven Tmvasefo, duly commissioned Notary Public, on this day personally appeared Corkin Kane,
 Authorized Signatory for Avenue365 Lender Services LLC, attorney-hi-Fact for U.S. Bank National
 Assodatiou, as trustee for PROF-1013S3 REMICtrast UI. perm:nay known to me to be the person whose
 name is subscribed to the foregoing instrument and acknowledged to me that hefshe executed the same for the
 purposes and consideration therein expressed.

 Given under my band and seal of office this _ ft&      day of December, 2014.




                                          emPE?UinYLVANIA               No Public's Sigeature

                                                                rioted Name: Steven Trovaselo

                                                                      ConuaLsslon Expires: 2JI9/2018
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 156 of 261




                              EXHIBIT I
            09/23/2014 correspondence from Frederick Fajardo




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                                                                     STATEBRIDGE:
September 24, 2014




                                                                                          '3110_,D
          ONI ROBERTS
          5371 CHARITY WAY                                 (e4OF
          STONE MOUNTAIN, GA 30083
                                                                               SL

Loan Number: 0000021276
Property Address: 5371 CHARITY WAY, STONE MOUNTAIN, GA 30083
Unpaid Principal Balance: S272,561.97
Dear ON! ROBERTS,

I'd Me to welcome you to Statebridge Company, your new mortgage servicer. At Statebridge, we understand the importance of
homeownership and we are dedicated to making sure you receive the individual attention and debt management assistance you deserve.
The current creditor of your loan is.

I have been assigned to be your Servicing Specialist and will be your main point of contact. I understand today's mortgage market and
care about you and your home.
Below are the items included in this welcome packet as well as a brief description of each item.
LOS.9 Mitigation Information: If you are in default please review this letter carefully and contact your Servicing Specialist as soon as
possible to determine if there isa loss mitigation option that will work for you. If you we not in default, please retain this letter for
future reference.

ACH Enrollment Form: This form offers you the ability to directly debit a checking or savings account to make your monthly
mortgage payment. Once set up, your payment will be automatically drafted each month which will help you avoid the time and hassle
of mailing your payment each month and avoid any late fees caused by mail delays.
3rd Party Authorization Form: This form allows you to authorize Statebridge to speak to a 3rd party regarding your loan.
Authorization for Electronic Communication Form: We understand that many of our customers are using the interact and e-mail to
conduct their personal business. Electronic communication reduces paper waste and telephone expenses and is oftentimes more
convenient If you would like to communicate with Statebridge and receive information regarding your loan through e-mail, please
complete the attached authorization form.

Privacy Statement: This statement describes our Fivucy policy in accordance with the Gramm Leach Bliley Act.
We look forwent to providing you with the service and care you expect and deserve from your mortgage servicer. If you have any
questions, please do not hesitate to contact me, or visit our website at www.statebridgecompany.com.

Sincerely,
Frederick Fajardo
Stmebridge Company, LLC       •
5680 Greenwood Plaza Blvd, Suite 1008
Greemvood Village, CO 80111
866-HO1v4E360 or (866) 466-3360

    V0.4-10-5 4'O -t 4
Statehridge Company, LLC is a debt collector and is oticvnpting to collect a debt My 'promotion obtained may be used for that purpose. If you am
in active bankruptcy or have previously received a discharge in bankruptcy, this correspondence is not and should not be construed to be an attempt
to collect a debt, beta possible enforcement of a lien against property.

Sturbridge Company, LW 5600 Grerowcod Pion Blvd. Suite 1005 Greenwood Varese. co poi 11        twAistotebridgecompany.com                             85546 63360
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                                                                                                II
                                                                       STATEBkibGE.

                                                                  Loss Mitigation Information

  Smtebridge Company, LLC realizes that it can be distressing when you fall behind on your mortgage payments. We want to work with you to help
  you avoid foredo:nue if possible.

  The following summarizes some of the loss midget on ehMegics Stntebridge Company utilizes to help keep borrow= in their homes. Qualifying
  for individual programs may be dependent upon allowances and requirements as established by the owner or insurer of your mortgage.

  Forbearance Plan- A forbearance agreement is a written agreement to reduce or suspend payments due on your loan fore limited and specific
  time period. During the forbearance period, Statebridge will forbear from initiating foreclosure action. Because a forbearance plan may not fully
  reinstate the loan, the plan will often be followed by the borrower reinstating by one of the following methods based on his/her ability to pay:


                              A Lump Sum Payment                                            Loan Modification
                              A Reinstatement Plan                                          Short Sale
                              A Repayment Plan
                    dm,




  Visibility Requirements for this option are determined OA year current ability to pay and the nature of the hardship.

  Repayment Plan- A repayment plan is an executed plan wherein you agree to pay your currently monthly payment plus an additional amount and
  a down payment to repay the outstanding debt owed in an established amount offline. Ifyou remit all payments. late charges and advances
  (property inspections. BPO'e. etc.) the completion of the plan results in you bringingyour loan =rent.

  Eligibility Requirements Mr this option require a portion of the unpaid past due debt as a dawn payment, with the remainder of the unpaid debt
  being spread out over a period of months. You will make the additional payment along with your regular monthly mortgage payment. In order to
  qualify for this option, you must be able to make the required payments as outlined in the plan.

  Loan Modifications- A modification is a structured agreement where one or more terms of your mortgage are changed to enable you to bring
  your defaulted loan current, and help you to keep it amen

  Eligibility Requirements for this option ore determined by your ability to pay (which may requite a down payment), the current value of your
  home, and the hardship suffered.

  Short Sales- A shon sale emus when you sell your property and the proceeds from the sale are less than die total amount owed Statehddge may
  be able to appiove your shod sale and forgive the remaining debt owed.

  Eligibility Requirements on this option are that you must no longer be able to maintain the mortgage payments, and you mad demonstrate that
  the current property value is below your current indebtedness. The lender mny ask you to complete a financial questionnaire (which may require
  a hardship letter) in order to evaluate your ability to pay the debt. The property must have been listed with a real estate agent. You must also
  have a buyer willing to purchase the property for the current fair market value. You must provide an arms-length Real Estate purchase Agreement
  (with no contingencies), Estimated Settlement Statement and Listing Agreement to the servicer for review If requested. you must allow the
  lender/smvicer access to appraise/value your property.

  Deeds in Lieu- A Deed in Licit occurs when you agree to sign over your property to Statebridge in exchange for Statebridge not foreclosing an
  your home.

  Eligibility Requirements for this option include your inability to pay the debt. Your lender may ask you to complete a financial questionnaire
  (which may requite a hardship letter). Also there can no other liens or judgments against the property other than your mortgage obligation that is
  currently in default In other words, title must be "clear and marketable'. In some eirmanstances your lender may went you to prove that your
  taxes, insurance and militia are current.




Stambridge Company, LW is a debt collect/mend is attempting to collect a debt. Any informed= obtained may be used far that purpose. If you ore
in active bankruptcy or have previously received a discharge in bankruptcy, this correspondence is not and should not be consorted to be on auempt
to collect a debt, but a possible enforcement of a lien against property.

5iutebridge Company, LLC 5680 Greenwood Plaza Elvd.Sulre 1005 Greenwood VI lige, CO 80111        wwwatatebrIdgecornitrrw.com                           866.466.3160
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                                                                                    ThiIi
                                                                             STATEBR1DGE.


                                                        Authorization for Automatic Payments (ACFI)
          Add 0                Delete 0                   Change 0

    Name (Please Print)
    Address:
    City:                                                             State:                   Zip:
    Phone:
    Statebridge Loan Number:


                                                                         Funds Settlement Information

    Name of Rank or Financial institution:
    Primary Account Holder's Name:
    Address:
    City:                                                             State:                    Zip:
    Routing Number (9 digits):
    Account Number:


                                                                           Monthly Debit Information

    Day to Debit:                                                  Beginning Debit Date:
    Dollar Amount:                                                 Checking Account           0           Savings Account 0

    • Pk= mne thee you are authorizing a running debit an this necounL Debits are posted the day after the "Day Each Month to Debit" you have noted above.


    AUTHORIZATION
    I understand Uta I will metier a 'Welcome letter describing when my Gist drak no well as subsequm drafts for the year, vi ill occur beim any droll is initiated.
    Stitelnidge Company ecsaves the right to motel this ptograra es anytime. Similarly. I may cued etyACH option at anytime with 30 days written notice. Swan* Company
    also ruerves the right to cancel my enrollment in the Froward should any of toy payments be resumed fat insufficient finds ( NSF).

    Ifthe servicing of my loan is sold et anytime or ttansfernd to another smite', my undlinent in the moment will be canceled.

    I (we) hereby authorize and request Statebridge Sr-racing to initiate electronic debit entries or effect. chance by any ether commerebIly accepted practice to my (our)
    account Indicated below In the financial Institution below ("BARE), and I (we) authorize and request DANK to honor the debts entries Initiated by Siotehrldge on the
    wansaisten date &punted In the "Welecime" Inter described above. Thls authority Is to remain In farce and effect until the schedule of payments is completed or until
    Sewebridge end BANK have received Rental notification from me (or either of us) onto termination In such o time and such a manner no to olTard Statebridge and
    HANK o reasonable oppanunIty to act an it.


    Account Owner Signature:


     DM=


     PLEASE DE ADVISED THAT STATEDRIDGE IS ACTING AS A DEPT COLLECTOR AND IS ATTEMPTING TO COLLECT?. DEW ANY INFORMATION
     PROVIDED DY TOO WILL DE USED FOR TFIAT PURPOSE.



                                .      ATTACH VOIDED CHECK TO FORM - Fax to (303) 290-7516




StatebridEo Company. 1.14 5680 Stemma Plaza Med. Suite too 3 Greenwood MIMEO 80111                         tvwwstatebridgecompany.com                                  866.4E8.3360
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                                                                    STATEBRIDGE


                                                 Authorization for Electronic Communication



                                                                         hereby authorize Statebridge Company, LLC to provide

     statements, lettem and other loan-specific information regarding my account via electronic mail (e-mail). I have

     provided the e-mail address below and understand that if my c-mail address changes or for any reason I choose to

     discontinue receiving information from Statebridge Company via e-mail, I will provide a written notice to

     Statebridge Company within 30 days.




     (Please print name)                                                                    Loan number



     E-mail address



     Signature                                                                              Date


     Please return this authorization to:

                                                            Statebridge Company, LLC
                                                                  Ann: Servicing
                                                      5680 Greenwood Plaza Blvd. Suite 100 S
                                                           Greenwood Village, CO 80111

                                                                Or via fax at 303-290-7516


                In lieu of printing and returning this document, you may send an e-mail to infri@statebrideecompany.com

     with "E-mail Authorization" in the subject line. In the message, please provide your name and loan number, and

     specify that you are granting Statebridge authorization to communicate loan specific information via e -mail

     communication.




seinebridge Cowpony. LLC 5600 Greenwood Ram Blvd. Suite 100 5 Greenwood Village. CO 00111   www.ecatebeiggecempany,onn   6166.41163360
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                                                                    STATEBR1DGE.


                                                             Authorization to Release
                                                           Information to a Third Party

   Borrower's Name(s):



   Borrower's Loan Number:

   Borrower's Social Security Number:

   Name(s) of individual(s) to whom the Statebridge Company is authorized to disclose information about the above -
   named borrower(s):




   Company name (if applicable) and address of individuals authorized to receive information about the above-named
   borrower:




                                                      hereby certify that I am the individual named above as the
   subject of these records. I understand that the knowing and willful request for, or acquisition of, a record pertaining
   to an individual under false pretenses is a criminal offense under the Privacy Act subject to a $5000 fine. I hereby
   authorize Statebridge Company to disclose information in my records regarding my Mortgage and Note held by
   Statebridge Company to the individual(s) named above.


   Signature                                                        Date:


   Meese return this authorization to:
                                                          Statebridge Company, LLC
                                                                Attn: Servicing
                                                    5680 Greenwood Plaza Blvd, Suite 1.00 S
                                                         Greenwood Village, CO 80111

                                                           Or via fax at: (303) 290-7516




Senrebridge Company. LLC SOO Greenwood Plan Blvd. Sults ZOOS Greenwood Village, CO 80111   WWw.stedridgecompanyzam   866466.3360
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                                                                     STATEBR1DGE.

                                                                  Privacy Policy
 'this privacy policy sets out how Statebridge Company, LLC uses and protects any information that you give Statebridge
 Company.
 Statebridge Company is committed to ensuring that your privacy is protected. When you entrust us with your sensitive personal
  financial bubmiation, you can be assured that it will only be used in accordance with this privacy policy.
 Statebridge Company, along with other financial institutions, is required to provide our customers with a doctunent illustrating the
 types of customer information we collect and the circumstances under which we may share it. This document describes our
 practices.
 What We Do With the Information We Gather
 We require certain information to understand your needs and provide you with better service and, in particular, for the following
 reasons:
       • Provide you with the services you requested;
       • Offer you other financial products and services;
       • Make doing business with Statebridge more convenient for you;
       • Internal record keeping;
       • We may use the information to improve our products and services and/or design new products or services;
       • We may periodically send entails that include information which we think you may find interesting or useful, using the
            email address that you have provided;
       • From time to time, we may also use your information to contact you for market research purposes. We may contact you
            by anal, phone, fax or mail; and/or
       • We may use the iffOrMaltiOG to customize the Web site according to your interests.

 We do not provide account or personal information to non-Statebridge affiliated companies for the purpose of independent
 telemarketing or direct mail marketing of any non-financial products or services.
 This policy statement takes the place of any previous privacy policies issued by Statebridge Company or any of its subsidiaries. If.
 in addition to federal law, you are protected by specific state or local regulations. Sunebridge will fully comply with those
 regulations as wen.

 Types of Information We Collect
 When we receive servicing rights on your loan we will be provided with information about your financial status, such as
 employment, income, monthly expenses and assets, as well as identifying information such as your address, telephone number and
 Social Security number.

 In most cases, we will receive this information from your previous servicer or from our contact with you. if we need to know
 about your credit and repayment history, we will also obtain information from consumer reporting agencies and other creditors.

 Once You Become a Customer
 We maintain information about your transactions, about account balances, securities holdings, and repayment history. Because
 it's important to know how to best service you and your loan, we obtain statistics and demographic information about current and
 prospective customers and from third party valuation and analytic providers.

 Who Has Access to this Information?
 Within Statebridge Company, employees are permitted access to the information they need to perform their jobs on your behalf.
 We maintain strict internal policies against unauthorized disclosure or use of customer information by employees and contractors.




Stateteldge Company, LLC 5680 Greenwood Plaza Blvd. Suite 100 S Greenwood VI nose. CO 00111   wow-state bridgecornpany.corn             066.466.3360
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                                                                       STATEBRIDGE

  Companies That You Ask Us to Share With
  From time to time, we will make available the services of other financial firms. We will get your permission belbre sharing any
  information with the outside firm.

  Statebridge may get your written, online or verbal permission to share your information. If you grant us permission to share your
  information, your consent will apply only for the program or programs you specify. If you have previously requested that we
  Hock the sharing of your information, that request will remain in place for all other situations.

  Outside Service Providers
  We have arrangements with companies whose experience is essential for our own services to operate properly. For example, we
  work with firms that execute securities transactions, enable online banking, and make account statements possible for Statebridge
  customers. In addition, we have relationships with third party provide= that help us better and more efficiently service your loan.

  These companies perform their functions at Statebridge's direction and we only share customer information that is necessary to
  allow them to perform these functions. As with all of our business partners, these companies are required to safeguard your
  information, use it only for authorized purposes and slay within the guidelines we establish for the protection of your information.

  Customer Reporting Agencies
  In compliance with standard mortgage banking industry practice, state and federal regulation and state law, Statebridge routinely
  provides data about customer loan repayment and transactions to these agencies and other creditors.

  Courts and Government Bodies
  Certain federal and state laws may require us to share information about you. For example, if you are involved in a legal matter
  with a third party, we may be ordered to provide information to a court or other party. In these circumstances, only the specific
  infonnation required by law, subpoena, or court order will be shared.

  Former Customers
  We may share information about former customers with Statebridge affiliates, marketing partners and other third parties as
  described above; however, former customers cmi also elect not to have their information shared, even if their relationship ends
  with us.

  How to Elect Not to Have Your Information Shared
  You clearly have the choice to limit sharing your information, but please consider thim By making customer information available
  across the Statebridge family, we're able to provide better service and offer better financial solutions we believe will further
  benefit our customers. Some of our products or services may not be available if you do not allow us to share your information.

  If you prefer, you may direct us not to share personal information about you that isn't publically available. This is commonly
  known as "opting-out" of information sharing. You can "opt out" by ivriting us at:

                                                                    Statebridge Company
                                                            5680 Greenwood Plaza Blvd. Suite 100 S
                                                              Greenwood Village, Colorado 80111

  We make every effort to process an "opt-out" request within 30 days of receipt.

 Even if you elect not to have information shared, the Fair Credit Reporting Act and other laws allow us to share specific details
 about your transactions and experience with us. This may include information about your account balances or payment history.
 The use of this information is limited by federal law to specific permission purposes, however, such as applications for credit,
 insurance or employment.




Statetnidge Company, LLL 56g11 Greenwood Plaza Mod, Su Ito 100 5 Greenwood Village. CO 80111   tvww.gotebrldgezompany.com                866.4663360
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                                                                   yThiI
                                                                  STATEBRIDGE.

  How We Protect Your Privacy Online
  We are committed to ensuring that your information is secure. In order to prevent unauthorized access or disclosure, we have put
  in place suitable physical, electronic and managerial procedures to sattguard and secure the information we collect online.

  Links to Other Web sites
  Our Web she may contain links to other Web sites of interest; however, once you have used these links to leave our site, you
  should note that we do not have any control over the linked Web site. Therefore, we cannot-be responsible for the protection and
  privacy of any information which you provide white visiting such sites, and such sites are not governed by this privacy statement
  You should exercise caution and took at the privacy statement applicable to the Web site in question.

  Controlling Your Personal Information
  You may choose to restrict the collection or use of your personal information in the following ways:
      • Whenever you are asked to fill in a form on the Web site, look for the box that you can click to indicate that you do not
          want the information to be used by anybody for direct marketing purposes
      • if you have previously agreed to us using your personal information for direct marketing purposes, you may change your
          mind at any time by writing to us at the address below, or email's% us, at info@senebridgecompany.corn

  We will not sell, distribute or lease your personal information to third parties unless we have your permission or are required by
  law. We may use your personal information to send you promotional information about third parties that we think you may find
  interesting if you tell us that you wish for this to happen.

 You may request details of personal information that we hold about you under the Data Protection Act 1998. A small fee will be
 payable. If you would like a copy of the information held on you please write to 4600 S. Syracuse Street, Suite 700 Denver,
 Colorado 80237.

 If you believe that any information we are holding on you is incorrect or incomplete, please write to, or email us, as soon as
 possible, at the following address. We will promptly correct any information found to be incorrect.

                                                                  Statebridge Company
                                                        5680 Greenwood Plaza Blvd. Suite 100 S
                                                          Greenwood Village, Colorado 80111
                                                             infoastatebridgecompany.com

 Controlling Your Persona! Information
 Direct Marketing Preference Services
 If you wish to limit (Ikea marl and telemarketing offers from companies other than Statebridge, you may contact the Direct
 Marketing Association Mail Preference and Telephone PmferenceServices as follows:

 Mail Preference Service                              Telephone Preference Service
 The Direct Marketing Association                     The Direct Marketing Association
 P.O. Box 9008                                        P.O. Box 9014




Racal* Company, LIG 56130 Greenwood Plea Blvd, Suite 100 5 Greenwald Vil/ege, GO 00111   wwwastabridgeeampanyzam                       066.4663360
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                              EXHIBIT J
         Communication back to Fajardo difference of $2,892.05




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October 13; 2014

To: Whom It May Concern and Frederick Fajardo
    StateBridge Company, LLC
    5680 Greenwood Plain Blvd., Suite 100-S
    Greenwood Village, CO 80111.
    866-HOME360 or (866) 466-3360
    FAX: 303-290-7516


Dear Mr. Fajardo,

Thank you for your recent correspondence regarding a loan modification. I have sent
along with this a QWR or Qualified Written Request due to some alarming accounting
errors.

I have included bank statements from Bank Of America and Fay Servicing that show a
major discrepancy in the accounting of this loan. There is a difference of $2,892.05
between February 2014 and March 2014.

I need proof of ownership and validation of debt to proceed further under these
circumstances of obvious missed accounting. I'm sure you. can understand my concern
with whom StateBridge Company, LLC is as a servicer and not my bank that I signed my
loan with,.

Please honor my QWR and provide me with proof and correction of these accounting
errors so• that we may proceed in goodfaith.
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    lank of America... Home Loans                                                                              Customer service Information
                                                                                                              Customer service 1.800.669.6507
    PO Boz 5170
    Simi Valley, CA 93062-5170                                                                                1DD/1'rf users only: 1.800300.6107
      002 15 1717 et AV 0357 •'AUTO 70 1171 30031-366071 -C104221608.1 2 S                                    En Espanok 1.800295.0325
      MSRA20001010311000000000000011100NCL -MON= 7.CONSIE
      ONI ROBERTS                                                                                             Monday-Friday 7arn. to 7p.rn. Local Time
      5371 CHARITY WAY
      STONE MOUNTAIN GA 30083-3660                                                                      Account number                                         872539326
                                                                                                        Payment due date                                  December 1,2013
                                                                                                        Total Amount Due                                 $43,442.95




    Your Home Loan Account
    Statement date: November 18.2013

    • THIS STATEMENT IS BEING SENT FOR INFORMATIONAL AND/OR COMPLIANCE PURPOSES ONLY. IT SHOULD NOT BE CONSTRUED AS AN
      ATTEMPT TO COLLECT A DEBT. A DEMAND FOR PAYMENT OR AN ATTEMPT TO MODIFY ANY APPLICABLE BANKRUPTCY PLAN TERMS OR
      DISCHARGE INJUNCTION. IF YOU HAVE RECEIVED A DISCHARGE OF YOUR PERSONAL OBLIGATION TO REPAY THE DEBT ASSOCIATED WITH THE
      REFERENCED LOAN. Bank of America, NA WILL NOT TAKE ANY ACTION AGAINST YOU BUT HAS RETAINED THE RIGHT TO ENFORCE ITS RIGHTS
     AGAINST THE PROPERTY SECURING THIS LOAN.

    Account information                                                                 Explanation of total amount due
    Principal balance                                                 S272.56197        Principal                                                        $669.12
    Escrow balance                                                    -S15.127.80       Interest                                                         559226
    Interest rate                                                             2.750%    Escrow (taxes and Insurance)                                     $85165
_   _maymen
    Pr     _agaity                                 -                    tn.      No     Reguktmokthlysaynient_.                              '        $2.1235.05
                                                                                        Current period fees and charges                                    $0.00
    Past payments breakdown                                                             Outstanding payments fees and charges                         641,307.90
                                        Paid since la:t statement   Paid year to due'   Total amount due                                                $.43.442.45
    Principal                                             $0.00                WOO      'Please see the 'Other important infamsation section of this statement
    Interest                                              SO.00                50.00
    Escrow (taxes and insurance)                          50.00                $0.00
    Fees charges and advances                             50.00                50.00
    Total                                                 50.00                50.00




    Sankt/filmed= 4V-Rome Loans                                                                            Amount due on December 1,2013                          $2,135.05

    Account number: 872539326
                                                                                                                            Additional a
    Property address:                                                                                                       principal
    5371 CHARITY WAY                                                    Bank of America. NA
                                                                        PO Box 650070                                       Additional
                                                                                                                            escrow
                                                                        Dallas. D( 75265-0070
                                                                                                                            Total • e
                                                                                                                            enclosed


                                                                       872539326100000213505000Z1 3505

                                                             1:5869900581:8725393260
        I Ill 10 11111111911117 rem oine■ner
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ONI ROBERTS                                               I Account 9326                        November 18,2013                              Page 2 of 6


Additional account information
Property Address                                          5371 CHARITY WAY
Loan type                                                 Cony Ad) Rate Mtge
Contractual remaining term                             24 Years, 09 Months



Transaction activity                 (10/31/13 to 11/18/13)

No transaction activity for this statement period


Additional contact information
 .8     Housing Counselor Information; If you would like counseling or assistance, you can contact the U.S. Department of Housing and                       •

        Urban Development (HUD). For a list of hornemmership counselors Os counseling organizaticrs in your area. go to                                     .Wr•••.


        http://www.hud.gov/offices/hsWsfh/hcc/hcs.cfrri or call 1.800569.4287.                                                                              m•
                                                                                                                                                            =M•
                                                                                                                                                            1111.

                                                                                                                                                            MOM.
Generafinquiries                      To mail a payment                        Overnight mail                      insurance matters                        •••••


PO Box 5170                           PO Box 650070                            Retail Payment Services,            insurance Dept
                                                                                                                                        .
Sint Valley.CA93062A170               Oatlas,1X 75265.0070                     TX1-160106-01                       PO Eitsx461291
                                                                               Dallas InfoMart. STE 6020           Fart Worth, TX 76761-0291
                                                                               1950 N Stemmas FWY
                                                                               Dallas TX 75207-3134                                                               •




Notice of Error. Requests for Information and Qualified Written Requests (as defined in RESPA) must be sent to: PO Box 942019. Simi Valley.
CA 93094-2019. You have certain rights under federal law to resohe errors and request information related to your account. For more information             g=n•M

about these rights, you can go to bankofamericacom or contact us.
                                                                                                                                                            e=Mi




Peyment processing. information.
Ripnents are considered received by Rank of Americet MA. when received from your payrnent.coupoa if your loan is In de(ault based on certain
conditions. such as bankruptcy or foreclosure, you may be unableto make a payment using one or more of the means or locations listed In the You can
make your payment section. I•or mailed payments. If you do not mall your payment coupon with your payment or do not mall your payment to the
designated payment location, it may cause delays in the processing of your payment. Payments mailed with the payment coupon to the designated
location which are received by ma p.m. In the time zone of the designated payment location will be credited to your account of fectivevn tharhusirresr
day, unless athenvise specified on the remittance coupon provided. All payrnents mailed to Bank of Amerlczt, NA must be in the form of a chedc or
money order Idrown in Linked States dollars and payable by a United States financial Institution o the United States Postal Service) made payable to
Bank of America, NA. Certified or other forms of payment may be required if previously advised

If you are planning to pay off your loan please contact us at least 10 days before your scheduled draft date to cancel your service at 1.800669.6607.
This will avoid any drafts occurring In conjunction with your payoff transaction.

Any full periodic payment that is received antaccepted will be'applied to the longest outstandingperiodic payment owed unless otherwise expressly
prohibited or limited by your loan documents, the owner/insuredguarantor of your loan or applicable law. Payments will be applied as described in your
loan documents. including any modifications to the original docurnentsif your loan is current, please specify how you want any additional amounts you
pay to be applied to your account if you do not specify, subject to your loan documento.additional amounts will first be applied to fees or other amounts
owed on your account and the rentainderappliedasa principal reduction. If we are unable to apply additional amounts to your account as you specify, we
may returrrthe haulms you. Postdated checks will be processed an the date received unless an authorized representative agrees to honor the date



        You can make your payment

 •    13y phone - call 1.800.669.6607                            For checks or money orders
 •    By mall using the enclosed envelope                        •  Make your check payable to Bank of America. NA
                                                                 • Please write your loan number on the cheek or money order
                                                                 •   Include this payment coupon with your check (do not staple your check to the coupon)
                                                                 • Please do not send cash or include correspondence




 al Bank of America. NA Member FIX: Equal Housing Lender. 0 2013 Bank of America Coloradan.
           Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 169 of 261


ilankofAmericawea Horne Loans                                                               Customer service Information
                                                                                            Custorner service: 1300.669.6607
PO 00x5170                                                                           CO
Stoll Valley. CA 410624170                                                                  TDDITTY users ordr. L800300.6407
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  ONI ROBERTS                                                                               Monday-Friday 7am. to 7p.m. Local lime
                                                  oit
  5371 CHARITY WAY
  STONE MOUNTAIN GA 30003-3660                    1,t)                                Account number                                       872539326
                                                                                     I Payment due date                               February 1.2014

                                                                                     I Total    Amount Due                           $47,713.05
  1c1111111111411111911211-1
                         1111-1111
                             11 ImPulP111111"s11111




Your Home Loan Account
Statement date January 16.2014

 THIS STATEMENT IS BEING SENT FOR INFORMATIONAL ANTUOR COMPLIANCE PURPOSES ONLY. IT SHOULD NOT BE CONSTRUED AS AN
 ATTEMPT TO COLLECT A DEBT.A DEMAND FOR PAYMENT OR AN ATTEMPT TO MODIFY ANY APPUCABLE BANKRUPTCY PLAN 'TERMS OR
 DISCHARGE INJUNCTION. IF YOU HAVE RECEIVED A DISCHARGE OF YOUR PERSONAL OBUGATION TO REPAY THE DEBT ASSOCIATED WITH THE
 REFERENCED LOAN. Bank of America. NA WILL NOT TAKE ANY ACTION AGAINST YOU BUT HAS RETAINED THE RIGHT TO ENFORCE [Ts RIGHTS
 AGAINST THE PROPERTY SECURING THIS LOAN.

Account information                                                    Explanation of total amount due
Prindpal batsnce                                     • $272561.97      Principal                                                     S59228
Escrow balance                                         -Si 5.127.80    Interest                                                      $589.12
Interest rate                                              2,750%      Escrow Rates and leSurance)                                   565365
Prepayment penalty                                             No      Regular monthly payment                                   52,135.05
                                                                       Current period fees and charges                                 $000
Past payments breakdown                                                Outstanding paymentsb tees. and charges                   S4557800
                                Pak! &Wel= =OMIT     Paidygo
                                                           . re dace   Total amount due                                            $47,713.05
Frindpal                                     S000              S0.00   'P.EaSe see the 'Caw Important Info:mown' secton of this sratemenc
Interest                                    $OZO              $000
EsCravi (taxes and Insurance)               5000             5000
Fem dozes. and advances                     $0 .00           %OD
Total                                       SO.00            $0.00




BaukcifAmerice-0).Rome Loans                                                               Amount due on February 1,2014                    52.135.05

Account number: 872539326
OM ROBERTS                                                                                                Addlknal e
                                                                                                          PrisciP31
Property address:
                                                         Bank of America. NA
5.371 CHARITY WAY                                                                                         Additional c
                                                         PO Box 650070
STONE MOUNTAIN, GA 30003                                                                                  escrotv
                                                         Dallas. 7X 75265-0070
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         Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 170 of 261

CHI FOBERTS                                               lAccounc 9326                    1 Jariuny 1 a 2014                               Page 2 of 6

Additional account information
Property Address                                          5371 CHARITY WAY
Loan type                                                 Cony Ad) Rate Mtge
Contractual remaining term                            24 Years 09 Months



Transaction activity                (12/17/13 to01/16/14)

No transaction acUvity for this statement period


Additional contact information
 ft Housing counselor information; If you Mould like counseling or assistance. you can contact the U.S. Department of Housing arid
▪       Urban Development (HUD). For a list of homeownership counselors or counseling organizations In your area, go to
        hudgoviofficesfragisfhlhccihcs.cfrn or cat 1200.569.4117.
                                                                                                                                                                1•


General Inquiries                     To rnad a payment                        oternight mail                     !mance mauer:
                                                                                                                                                            •
PO Box 5170                           PO Box 650070                            Retail Payment Services            insurance Dept
                                                                                                                                                                     •       I
Simi Valley. CA 93062.5170            Dallas, TX 75265-0370                    TX1-160-05-01                      PO Box 951291
                                                                               Dallas in foklart STE 6020         Fon. Worth. TX 76161-0291
                                                                               1950 N Sternmons FM,                                                         ••
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                                                                                                                                                            •       •
                                                                               Dallas TX 75207.3134

Notice of Error, Requests for Information and Qualified Written Requests (as defined in RESPA) must be sent on PO Box 942019.51mi Valley.
                                                                                                                                                                         •
CA 93094-2019. You have cersain rights under federal law to resolve errors and request information related to your account. For more information
about these rights, you can go to bankofamencacom or contactus.




▪k • You can make your payment
.    By phone - cifl 1600 6696607                                For checks or money orders
•    By mall using the enclosed envelope                         • Make your check payable to Bank of America. NA.
                                                                 • Please write your loan number on the check or money order
                                                                 "   Include this payment coupon with your check (do not staple your check to the coupon)
                                                                 • Please do not send cash or Include correspondence




Bank of America, N A..MmtherFDIC fa Equal Hawing Lender CI 2014 Bank of AmerIca Cooperation.




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             Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 171 of 261

    F"       SERVICING ictrp.211r611
                                                                                                                      Mortgage Statement
                                                                                                                        Statement Date 02/10;2014


                                                                                            If questions or concerns about your statement, please
                                                                                            contact us at 1-800-495-7168 between the hours of
                                                                                            9:00am and 5:00pm Monday through Friday.

             4.775.00791-0016472-004.1.000-100-001000                             Account Number                                                           48404
    ONI ROBERTS                                                                   Payment Due Date                                             03/01/2014
    5371 CHARITY WAY
    STONE MTN GA 30083-3660                                                       Amount Due                                                $44,821.00
                                                                                  ft payment is received efier 0311612014 UM late fee el be charged.

                                                                                  Property Address:
                                                                                  5371 CHARITY WAY
                                                                                  STONE MOUNTAIN GA 30083


 Account Information                     •                                        Explanation of Amount Due
 Outstanding Principal                                             5272.561.97    Principal                                                         $693.87
 interest Rate                                                         2.750%     Interest                                                          $5137.53
 Prepayment Penalty                                                        No     Escrow (for Taxes & Insurance)                  •                 5511.44
                                  .    --
                                                                                  Regular Monthly Payment                                         51,792.84
                                        '
                                                                                  Overdue Payments                                               $43.028.16
                                                                                  Total Fees Charged                                                  $0.00
         •                                   ,              . .     •             Total Amount Due                                              $44.821.00
                                                 •                                          . .
                                                                                            . _
                                         •.            .,                ,        Past Payments Breakdown
                                  .                                                                                      Paid Since I.ast
                                                                                                                            Staten! nt        Paid Year to Date
                              .                  .                                Principal                                           50.00                  $0.00
                                                                                  Interest                                            30.00                  50.00
                                                                                  Escrow (for Taxes & Insurance)                      $0.00                  $0.00
                          •
                                                                                  Suspense (Unapplied Funds)                          $0.00                 '30.00
•                                                                                 Fees                                                $0.00                  30.00
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                                                                 Total                                     51134.84         10;001
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:14.1zygrm* we rill/ fully respebt any applicable automatic stay,.madificationar:ditchargg..Fulther, if yey Meg Chaptel
    :            ;received a discharge, and this loan was not reaffirmed In the bankruptcy den. inwill averyse only 1 •
     • 4.ipylOki.allolkod under applicable law and will not attempt to cp
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                  rti. Please be advised that Fay Servicing will lepoiliiith.egathiq pht(positige information, to the cteslit
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                  •„. ngyour account.                                   .. _ .     • .       .      . . _.        . .            -I
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                                                     DETACH AND RETURN BOTTOM PORTION WITH YOUR PAYMENT



                                                                  Due            Regular                 Past           Payments                 Other
                                                                  Date           Payment                 Due              Due                   Amounts
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                                                                                     Overdue Payments                                                543,028:15
                                                                                     Total Fees Charged                                                   50.00       I
                                                                                     Total Amount Due                                                $44,821.00

                                                                                     Past Payments Breakdown
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                                                                                                                               Statement         Pald Year to Oats
                                                                                     Principal                                          $0.00              $0.00
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                                                                                     Fees                                               $0.00              $0.00
                                                                                    [Total                                          5184.84               10.09
                  1-

                  rImportant Mestag es
                  We are a dfibt c011ector, and Information you provide to us may be used tri.c011f0 a delft; However; if you have filed fort
                  hanky:kw, we will fully respect any applicable automatic slay, modification or disch.erge... optimr, Opp (lied Chapter',
                  rPaRkiwycy, ;received a discharge, and this loan was not reriffirmed4n the papkriygc$, Case, we will porflie only 1.1
                  rem rights as allowed under applicable law and will not attempt to chilectieeover.or offselthe tilathalged debt as Your
                  personal liability. Please be advised that Fay Servicing will report•britif#egafive and pbsitiVe.irifiirrimtioir twee &err
                  iureaut regarding your account
                  F
 0054,814-1100F




                                                           crracRaNDRETuRN BOTTOM MOWN WITH YOUR PAYMENT



                  FAY  SERVICING                Account
                                                Number
                                                                         Due
                                                                         Date
                                                                                    Regular
                                                                                    Paymeht
                                                                                                          Past
                                                                                                          Due
                                                                                                                             Payments
                                                                                                                               Due
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                                                                                                                                                     Amounts
                                                  48404                0310112014   $1,792.84           $43,028.16                24             #     30.00

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                                                                                                                   Amount Due
                                                                                         -Due By 0310112014:                                         544,821.00-
                                                                                          If payment is fecerved after0311612014, 30.06 late ke et? be chruged.

                       FAYSERVICING
                                        P.O. eta 3187
                                          Carol Stream. IL 601324187
                                                                                          Additional Principal
                                                                                          Additional Escrow
                                                                                                                                       $
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                                                                                         # Total Amount Enclosed                       $
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                                        important information-To Help- Us Serve- You Better
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                                     Chtago, IL 60642                                                                     . ....
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                Transaction Activity (01/10/2014 - 02/10/2014)                                                                                                                                                                     •
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                  Date      Description                                                       Total                   Principal                  interest                  Estiow      1:13419.        1. •
                0210111 4 EXPENSf_BIAJSTNENT                                               S184-84                      $ADO                       MOD                      S000,, . •    •Wt6 ." • -
            .Qualified Written Requests must be submitted to Fay Servicing, LLC, 901 S. 2nd                                                                               St., Sti201,-;:ptipieWicillinop
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Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 174 of 261




                               EXHIBIT K
        StateBridge re to QWR: Notice of Intent to Accelerate Loan




                                             (




                                   58
  Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 175 of 261




Name: Oni Roberts

           -

Bank: Unknown

Servicer: STATEBRIDGE COMPANY, LLC

Date: October 13, 2014


Loan:


(alleged) borrower name: Oni Roberts

Property Address: 5371 CHARITY WAY

                   STONE MOUNTAIN, GA 30083

RE: RESPA Qualified Written Request, Complaint, and Dispute of Debt and Validation of Debt
Letter


Dear Correspondence Department:


I am writing to you to request specific itemized information about the accounting and servicing
of my mortgage in order to assist me in understanding various charges, credits, debits,
transactions, actions, payments, analyses and records related to the servicing of my loan from its
inception to the present date.

I am disputing the validity of the current debt you claim that I owe. To date, your company has
failed to a bill of particulars, including full documentation of my closing paperwork. I have
reason to believe that your calculations are in error.

To independently validate this debt, I need to conduct a complete exam, audit, review and
accounting of my mortgage loan from its inception until the present date. Upon receipt of this
letter, please refrain from reporting any negative credit information to any credit reporting
agencies until you have fully responded to this request.

In order to conduct this examination and audit, I need to have full and immediate disclosure
including copies of all pertinent information regarding my loan. The documents requested and
answers to questions are needed to ensure the following:

   • Forward the CUSIP number from the application of this transaction.
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          • That each servicer and sub-servicer of my mortgage has serviced my mortgage in
            accordance with the terms of my mortgage, promissory note and/or deed of trust;
          • That each servicer and sub-servicer of my mortgage has serviced my mortgage in
            compliance with local, state and federal statutes, laws and regulations;
          • That my loan has properly been credited, debited, adjusted, amortized and
            charged correctly;
          ▪ That interest and principal have been properly calculated and applied to my loan;
          • That my principal balance has been properly calculated and accounted for;
          • That no charges, fees or expenses that I am not contractually bound to pay have
            been charged or assessed to or collected on my account;

In order to validate my debt and audit my account, I need copies of pertinent documents to be
provided and answers in writing to various servicing questions to be sent to me at the above-
noted address.

For each record kept on computer or in any other electronic file or format, please provide a paper
copy of all information in each field or record in each computer system, program or database
used by you that contains any information on my account.

As such, please send to me, at the address above, copies of the documents requested below as
soon as possible. Please provide me copies of:

           • All deeds in lieu, modifications to my mortgage, promissory note or deed of trust
             from the inception of my loan to the present date.
           • All contracts or agreements bearing my signature, specifically including but not
             limited to the original mortgage agreement.
           • The front and back of each and every canceled check, money order, draft, debit or
             credit notice issued to any servicer of my account for payment of any monthly
             payment, other payment, escrow charge, fee or expense on my account.
           • All escrow analyses conducted on my account from the inception of my loan until
             the date of this letter;
           • The front and back of each and every canceled check, draft or debit notice issued
             for payment of closing costs, fees and expenses listed on my disclosure statement
             including, but not limited to, appraisal fees, inspection fees, title searches, title
             insurance fees, hazard insurance premiums, commissions, etc.
           • Front and back copies of all payment receipts, checks,.money orders, drafts,
             automatic debits and written evidence of payments made by me or by others on
             my account.
           • All copies of property inspection reports, appraisals, BPOs and reports done on
             my property.
           • All invoices for each charge such as including, but not limited to, appraisal fees,
             inspection fees, title searches, title insurance fees, hazard insurance premiums,
             commissions, or any other expense which has been charged to my mortgage
             account from the inception of my loan to the present date.
           • All loan servicing records, payment payoffs, payoff calculations, ARM audits,
             interest rate adjustments, payment records, transaction histories, loan histories,
 Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 177 of 261




             accounting records, ledgers, and documents that relate to the accounting of my
             loan from the inception of my loan until present date.
           • All loan servicing transaction records, ledgers, registers and similar items
             detailing how my loan has been serviced from the from the inception of my loan
             until present date.

Further, in order to conduct the audit and review of my account, and to determine all proper
amounts due, I need the following answers to questions concerning the servicing and accounting
of my mortgage account from its inception to the present date. Accordingly, please provide me,
in writing, detailed answers to the questions listed below.

DEBITS & CREDITS

1) In a spreadsheet form or in letter form in a columnar format, please detail for me each and
every credit on my account and the date such credit was posted to my account as well as the date
any credit was received.

2) In a spreadsheet form or in letter form in a columnar format, please detail for me each and
every debit on my account and the date such credit was posted to my account as well as the date
any debit was received.

3) For each debit or credit listed, please provide me with the definition for each corresponding
transaction code you utilize.

ORIGINAL DOCUMENTANTION

I) Where is the original promissory note or mortgage I signed located? Please describe its
physical location and anyone holding this note as a custodian or trustee if applicable.

2) Where is the original deed of trust I signed located? Please describe its physical location and
anyone holding this note as a custodian or trustee if applicable.

LATE FEES

1) Have you reported the collection of late fees or late charges on my account as interest in any
statement to me or to the IRS?

CORRESPONDENCE

1) Do you deny the receipt of my correspondence.

Please provide me with the documents I have requested and a detailed answer, in writing, to each
of my questions within the required lawful time frame. Upon receipt of the documents and
answers, an exam and audit may be conducted that may lead to a further document request and
answers to questions under an additional Q'WR letter.
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I understand that under Section 6 of RESPA you are required to acknowledge this request within
20 business days and must demonstrate a good faith effort to resolve the issue within 60 business
days. As such, I anticipate and appreciate your thorough and timely response so that this matter
may be swiftly and fully resolved.

                                                                                          Sincerely,
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                                                                                  ONI ROBERTS
                                                                All rights reserved without recourse
            Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 179 of 261



                                                               STATEBRIDGE




         OM ROBERTS
         5371 CHARITY WAY
         STONE MOUNTAIN, GA 30083

NOTICE OF INTENT TO ACCELERATE - LOAN 0000021276
Dear ONI ROBERTS.
This letter shall serve as notice to you, prior to acceleration, of, among other things: a) the default of your Promissory Note; (b) the
action required to cure the default; (c) when the default must be cured, and (d) that failure to cure the default as specified may result in
acceleration of the sums secured by the security instrument securing the indebtedness, foreclosure by judicial proceeding or otherwise,
and sale of the property. You are further informed that you have the right to reinstate after acceleration and a right to assert in the
foreclosure proceeding the non-existence of a default or any other defense you may have to acceleration and foreclosure.
Notice of Default

Please note that your Promissory Note ("Note") and Security Instrument (Mortgage, Deed of Trust, etc.) are in default because you
failed to pay the 3/1/2012 payment and the payment(s) due thereafter.
Action Required to Cure

You are hereby notified that you must payby certified funds the full amount of the, default on this loan, plus all late charges, interest,
and any payments that may become dueJten the date of this notice and the date the default is cured. Therefore, the total amount
due as of the date of this letter is i.739.8VBecause of interest, late charges and other charges that may vary from day to day, the
amount due on the day you remit payment may be greater. For the exact amount you must pay to bring your loan current, please
contact Frederick Fajardo at (866) 466-3360. Please include your loan number and property address with your payment and send to:

         Statebridge Company, LLC
         5680 Greenwood Plaza Blvd
         Spite 100 S
         Greenwood Village, CO 80111

This letter is in no way intended as a payoff statement for your Mortgage/Deed of Trust, it merelystates an amount necessary to cure
the current delinquency.
When Default Must be Cured

You have 35 days from the dpe of this letter to cure the stated default. Please note, however, that your right to cure this default as
referenced herein does not suspend your payment obligations. Pursuant to the terms of your Note, your next monthly installment is
still due. Please disregard this notice if a payment sufficient to cure the default has already been sent.
Failure to Cure May Result in Acceleration, Foreclosure, and Sale

In the event the default is not cured and the loan reinstated on or before 11/21/2014, all of the unpaid principal and accrued interest
owing under the Note and secured by the Security Instrument may result in acceleration of the sums secured by the security instrument;
furthermore, the owner of your note may commence with foreclosure on the Deed of Trust/Mortgage which is security for your Note,
which may then be scheduled for foreclosure sale in accordance with the terms of the Deed of Trust/Mortgage and applicable state
laws.
Statebridge Company, L,LC is a debt collector and is attempting to collect a debt. Any information obtained may be used for that purpose. If you arc
in active bankruptcy or have previously received a discharge in bankruptcy, this correspondence is not and should not be construed to be an attempt
to collect a debt, but a possible enforcement of a lien against properly.

Statebrldge Company. LLC 5680 Greenwood Plaza Blvd, Suite 100 S Greenwood Village, Co 80111           wwwstatebridgecompany.com 866.4663360
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                                                              STATEBRIDGE
You are informed that you have the right to "cure" or reinstate the loan after acceleration. You have the right to inert in the foreclosure
proceedings the non-existence of a default or assert any other defense you may have to the acceleration and foreclosure sale. Said right
to reinstate and discontinue proceedings begun by Wilmington Savings Fund Society, FSB, Not In Its Individual Capacity But Solely
As Trustee Of The Primestar-H Fund I Trust. ("Note Holder") shall be available to you at any time prior to the sale date.
If you are unable to make payments or resume payments within a reasonable period of time because of a reduction in your income
resulting from a loss or reduction in your employment, you may be eligible for homeownership counseling. Please contact the HUD
toll free number (800-569-4287) to obtain a list of HUD approved nonprofit organizations serving your residential area.
It is the policy of the Note Holder of your loan to: 1) report this default, and all foreclosures to the major credit bureaus; and 2) file suit
to seek deficiency judgments against borrowers when, as a result of a foreclosure, a deficiency under the laws of the applicable States
is established. Foreclosures may have an effect on your taxable income and income tax liability so you may want to consult your
accountant regarding consequences. In addition, you may also he liable for reasonable attorney fees and costs incurred in connection
with any proceedings on the Note and Security Instrument, and such other costs as the court may allow.
Please be advised that our property inspection company will be making periodic inspections to verify the condition of the subject
property in accordance with the terms of the Security Instrument to secure the debt. Your property represents a valuable investment on
your part. We urge you to protect this investment by promptly bringing the loan to a current status.
IF YOU HAVE RECEIVED A DISCHARGE OF THE ABOVE -REFERENCED DEBT1NA BANKRUPTCY PROCEEDING. THIS
LETTER IS OTAN ATTEMPT TO IMPOSE PERSONAL LIABILITY UPON YOU FOR PAYMENT OF THAT DEBT AND ANY
ACTION TO ENFORCE THAT DEBT WILL BE TAICEN AGAINST THE PROPERTY ONLY . THIS NOTICE IS PROVIDED IN
ACCORDANCE WITH THE DEED/MORTGAGE AND APPLICABLE STATE LAW.
You mav have options available to help_you avoid foreclosureirdease contact your Servicing Snecialist Frederick Faiardo. at
1-$66-466-3360 between Monday— Thursday 8:00 AM to 9:00 PM.Pridav 800 AM to 7:00 PMnnd Satunlay_9j00 AM to 1:00 PM
CT or visit www.statebridgeconmanv.com to see what other options are available to you,

Attention Servicemembers and Dependents: Servicemembers on active duty, or a spouse or dependent of such a servicemember,
may be entitled to certain protections under the Servicemembers Civil Relief Act ("SCRA") regarding the Servicemernber'S interest rate
and the risk of foreclosure. SCRA and certain state laws provide important protections for you, including prohibiting foreclosure under
most circumstances. If you are currently in the military service, or have been within the last 12 months, AND joined after signing the
Note and Security Instrument now in default, please notify Statebridge Company, LLC immediately. When contacting Statebridge
Company, LLC as to your military service, you must provide positive proof as to your military status. Servicemembers and dependents
with questions about the SCRA should contact their unit's Judge Advocate, or their installation's Legal Assistance Officer.
Homeowner counseling is also available at agencies such as Military OneSource (www.miiitaryonesource.mil; 1-800-342-9647) and
Armed Forces Legal Assistance (www.Iegalassistance.law.af.mil), and through HUD-certified housing counselors
(www.hutl.gov/offices/hsg/sfh/hce/hcs.cftn). You can also contact us toll-free at Statebridge Company, LLC if you have questions
about your rights under SCRA.




Statebridge Company, LLC




Statebridge Company, LLC is a debt collector and is attempting to collect a debt. Any information obtained may be used for that purpose. If you are
in active bankruptcy or have previously received a discharge in bankruptcy, this correspondence is not and should not be construed to be an attempt
to collect a debt, but a possible enforcement of a lien against property.
Statebridge Company, LLC 5680 Greenwood Plaza Blvd, Suite 100 S Greenwood Village, CO 80111           wwwstarebridgecompany.com 866.466.3360
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                             EXHIBIT L
             10/21/2014 Letter from StateBridge about QWR




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                                                         STATEBRIDGE

         November 26, 2014


         VIA CERTIFIED US MAIL AND LISPS


         Oni Roberts
         5371 Charity Way
         Stone Mountain, GA 30083



                   RE:       Loan No.: 0000021276
                             Borrower: Oni Roberts
                             Property Address: 5371 Charity Way, Stone Mountain, GA 30083


         Dear Mr. Roberts,

                 We appreciate your letters dated October 13, 2013, which we received in our office on October
         20, 2014. Statebridge is currently in review of your client's file and investigating information as to your
         concerns and requests. Please allow this letter to serve as our notice to extend the time period for
         responding to your information request by 15 additional days, as allowed under CFPB Rule
         1024.36(d)(2)(B)(ii).     .

         Sincerely,



         Lindsey Stoecklein
         Borrower Correspondence Team                                                                                                S
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                                       5rik-
\e")\ e;tAI Lk                                1MW                                            C'-fedlIA(19
 5fAu",„                                                             (pc.4.i



  Statchridge Company, LLC is a deb: collector and is attempting to collect a debt. Any information obtained may be used for that purpose. if
  you am in active bankruptcy or have previously received a discharge in bankruptcy, this correspondence is not and should not bc construed to be
  an attempt to collect a debt, but a possible enforcement of a lien against property.

                        Statebridge Company. M. 5680 Greenwood Plaza Blvd I Suite 100 South, Greenwood Village, CO 80111
                                                  wtry4tatobridgecompany.com, 066-466-3360
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              Deed Under Power,




                                  60
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                                                                                                                                                                             ••


  Mortgage Proof of Claim Attachment

  If you file a claim secured by a security Interest In the debtor's principal residence, you must use this form as an
  attachment to your proof of claim. See Bankruptcy Rule 3001(c)(2).
••• .•••••.••••                                                                                                                                                                                                 .••• •••-.....-44.;•••••..1....••••••• •
  Name of Debtor:                              FORREST GENARD •             Case Number: 12492084MS
                                               ROBERTS
                                               IWANISHA ONI ROBERTS

  Name of Creditor:                            Bank of Arnerlea, NA.        Last four digits of any number you
                                                                            use to Identify the debtor's account: )0000(9326                                                                   •
  Pprt.--1:..50tc. rpent of PrfriciP51 arici
  Itemize tha principal and interest due on the claim as of the petition date (included in the Amount of Claim Wed in Item 1 an your Proof of
  Claim form).
 1. Principal due                                                                                                                                                                         $272561.97


                                                          FriTradraM'          kr:171 .AL      •414:w
  2. Interest due                                          2.7500%          02/0112012 03131/2012 • $1,249.24



                                                                                                  -
                                                           4"4.        4.§NititteRtifikigoitti;MS, . $1.249.24                                       . Copy tatol hero $1,249.24
  S. Total principal and littered duo                                                                                                                                                     $273,811.21
                                                                                                                                                                                                    ,                      •.           •
Pori 2 Statementof Pyel4L,ti!iop_Fes, Expenses, and Ct-karges-.L
  Itemize the fee;, expenses. end charges due on pi, claim as of the petition date (included in the Amount of Claim listed in Item ton the
  Proof of Claim form).
                                                                                                                                                                                                                                                           •
                         "'114P-43,4                                                    •;r                    Me
                                                                                                                    71,‘"rw
                                                                                                                        * 4•
                                                                                                                             1
                                                                                                                             4   4,1*

  1: Late Charges:

           Accrued
                                                                                                                                                                                   50.00
           Uncollected
                                                                                            $/17/11, .1119/12 @ $84.07; Balance 5120.98                                            3120.98
  2. Non-Sufficient Rinds (NSF) fees                                                                                                                                              $0.00
  3. Attorney's Fees
                                                                                                          air sh•                                    ..•                                                               "
  5. Fifing fees and bowl Costs
  6. Advertisement Costs
                            •••                                                                                                                                'f••••••=
                                                                  •
  9. Sheriff/Auctioneer fees
                                                                                                                                                                                                                   •••••••••=
                                                                                                                                                                                                                          . •••••••••••

  7. Mile Coats                                                                                                                                                                   50.00
                               •••••••••....       "                                                                                                                                                                              •••••.••••••
  8. Recording Fees.                                                                      • ..           . •                                                                      $0.00
                                                                                                                       ••••3                                                                                                   ••••••••
  9. AppralsaliBrokers Price Opinion Fees                                                                                                                                         $0.00
 10. Property Inspection Fees                                                                                                                                                     30.00
                                                                                                                                                                   '                               --

  11. TalAihrances (non%escrow)                                                                                                                                                   30.00
                  ••••••••••13.                                                                                                          ••••••• •••••.• •:•.••••••••••••.••••.
  12. Insurance Advances (nomescmw)                                                                                                                                               50.00
                      ..•                                                                                                                                                                                                                             "
 113. Eierrirlehortiga tedeliclen4 (Do nal Include amounts that are                                                                                                                31.030.04
   part of any Installment payment listed In Part 3.)               •
.......                        -.                         -                      • -                     .....
   14. Properly Preservation Expenses. Specify:       ;.-       • -                                                                                                   50.00
                       ......-                             -_._..                                                                                            ,...-:-            -...........24,.......... m.
   15 Other. Specify: Post-Petition BK Attorney Fees                  $150 Plan Review, 5150 Proof of Calm                                                          : $300.00 .                  ••.
      :                                                                                 -..--
   10. Other. SPeciir
                                      .- •                                                       .., -         ....,.............„.1._....• .. _.............4.• .. • so.oi       ..................••••••, •••••••••• •••••......'4-5•••••......• ..-4
  17. Other. Specify'.                                                                                                                                                            30.00
                                                                                                                               •••.•••
  18. Total prepethion fees, expanses, and charges. Add all of the                                                                                                                $1,451.62
  amounts listed above.
                        •••••••••
                        Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 185 of 261
G a toiv tam 140/0
1PROOF
:UNITED STATES 'BANKRUPTCY COURT NORTHERN nisrRicr OFOF
                                                     GEORGIA                                                                        CLAIM
                                                                                                                     diasum,   .40..•••

 Name of Debtor: FORREST GERARD ROBERTS                                                                            Case Number: 12-5920114RS
                 TWANISHA ONI ROBERTS

                            ...1....i   •         .aS7.4.1•4*ms ..•)--
    .   'Mr ..... ' .....
                                                                                                                                                                  .
 j NOTE: Da not lite Mit form us :rage a eletafar an aderhartrative cronte that grim eller the terahaptry Pkg. ran
                      =yid e a ertme:afee papered of rat adafetorauve &genre aecattBag ia II LISC ;JIM
'I...........-....11,. do.•,•=1...g. . - ....maw •,.m.ww.•••••.
                                                       .                                               ..,••••-•1...
                                                                                                                 . 1."••••-••

   Narita of      ofCreditor (the person or other entity to whom the debtor owes money or property):

 Bonk of Americo, N.A.
                                                                                                                                                                                     COURT USE ONLY

 Name and address where notices should be sent:                                                                                                                   Cl Cl=k title Ism if this duke amends a
                                                                                                      •
                                                                                                                                                                  previously Med claim.
 Dank of Americo, N.A.
 Six Piedmont Center, Suite 700                                                                                                                                   Coon Claim Number
 3525 Piedmont Road, NE                                                                                                                                           froward
 Atlanta, GA 30305                                                                                                                                                Filed mit..

 Name and address where payment should be sent (if different from ahoy*                                                                                           b Cheek dffs Welt ynuam aware dna
                                                                                                                                                                  mane else has filed a proolafebins
 Bank of America, N.A.                                                                                                                                            reining to thirc1im. Ailed+ copy of
                                                                                                                                                                  statement giving particulars.
 P.O. Box 660933
 Delos. TX 752664933

    1. Amount Of Claim as ornate Cane Piled:                    SZ74,233.19           •
    If all or part of the claim IS secured, complete item 4.

    11111 or part calk: claim is entitled to priority, complete item S.

    a Chrec this box if the claim includes 'Meng or other charges in addition to the principal amount of the'claim.Allach a statement that itemizes interest or charges.

 2. Basis for Chant Money Loaned
    (See instruction NZ)
1—
    3. Lost four digits of any number                      -3o. Debtor may have scheduled accouni as:                                     3b. Uniform Oahu Identifier (optional):
    by which creditor identifies debtor:
                                                                                                                                            mmm   mom mm•             ...mamma 0.1
         XXXXX9326                                         (Sec instruction #38)                                                          (See instruction MO
                                                                                                                                                                                   w...•
 4. Secured Claim (See instruction 04)                                                                             Amount of arrearage and other charges, as of the time casi was Med.
 Cheek the appropriate box ifthe claim is secured by a lien an property or a right of                              Included In secured claim, if any:
 setoff, attach required redacted documents, and provide the requested information,
                                                                                                               •                                        S5,113130
 Nature of property or right of setoff: x Real Estate 0 Motor Vehicle 0 Other
 Describe: 5371 Charity Way, Stone Mountain, GA 300133                                                             Basis for perfecdon: Mortgage

    Value of Property: $                                                                                           Amount of Secured Claim: S174.732.14
    Annual Interest Rate 2.1500b% 0 Fixed or a Variable                                                       - -Amount Ibiseeurcd: S
    (when case was filed)
t
    S. Amount of Claim Entitled to Priority under II U.S.C. §307(e). If any part of the claim fails Into one of Mc following categories, cheek the hos specifying
    the priority and state the amount..
'10 Domestic support Obligations under                 LI Wages, salaries, or commilsIems (up to                   O Contributions to on
   11U.S.C. §507(aX I )(A) or (a)(I)(B).               S11,7250) earned within ISO days bcfam thc                  emplafree benefit plan -
                                                       Catawba Bled or the debtor's business ceased,               !I U.S.C. §5177 (a)(5).                        Amount entitled to priurity:
                                                       whichever is earlier • II U.S.C. §507(a)(4).
                                                                                                                                                                  S.           .
    0 Up to 52.6000 of deposits toward                 0 Tose; or penalties owed to governmental                   O Other- Specify
    purchase. lease. or rental of properly or          units IU.S.C. §507                                          applicable paragraph of
    ser9ien fur Personal. &rally, Cr household                                                                     II        §507 (a)(_).
I   use- I I U S.C. §507(a)(7).
                                                                                                                                                            •••

    'Animate am subject to alto:mein= 4/1/13 and every years thereafter with respect in cares comnienced air or afler Ow date qfat#tannent,

. 6. Credits. The'ornount or WI payments an this claim has been credited for the purpose of making this proof of claim. (See instruction #6)
              Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 186 of 261
  to (Mail! yearle)aitly.             .                                                           -   • - - •
7. Documents: Attached are redacted copies or any documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements or
;tinning accounts, contracts, judgments, mortgages, and security agreements. If the claim is secured, box 4 has been completed, and redacted copies or documents
providing evidence of perfection of a security interest arc attached. (See instruction 87, and the definition orredacter.)

DO NOT SEND ORIGINAL DOCUMENTS. ATTACHED DOCUMENTS MAY DE DESTROYED AFTER SCANNING.

If the documents am not available, please explain:


8. Signature: (See instruction 08)
Check the appropriate box.
O I am the creditor.      0 lam the creditor's authorized agent.        0 lam the trustee, or tho debtor,         0 I am a guarantor, surety, indorser, or other codeloor.
                          (Attach copy of power of attorney, if any.) or their authorized agent.                  (See Bankruptcy Rule 3005.)
                                                                       (See Bondcrupky Rate 3004.)
I declare under penalty or perjury that the Information provided in this claim Is true and correct to the best of my lately/ledge, information. Find reasonable better.
Dated: 4/27/2012                       SYWY-OSIMP21---
                                    Sidney Gelernter
                                    GA. State Dar No. 289145
                                    Attorney (hr Bank orAmerica. N.A.
                                    McCurdy & Candler, LLC
                                    Six Piedmont Center. Suite 700
                                    3525 Piedmont Road. NE
                                    Atlanta, GA 30305
                                    Telephone number: (404) 373-1512
                                    Email: sgelcmlergmecurdycandler.com
                    Penalty.* presraliaaraushdeni dam Rix clap 10 S500,000 or imprisonment for up to I yearx or both. 18 UAC 152 and .1.171.
            Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 187 of 261

)



                                                         .414;11111
                                                          STATEBRIDGE


            ONI ROBERTS
            5371 CHARITY WAY
            STONE MOUNTAIN GA 30083

            Payoff figures have been requested an the loan for the borrower and property described below.

            Loan ID: 0000021276
            ONI ROBERTS
            5371 CHARITY WAY
            STONE MOUNTAIN, GA 30083-3660
            Loan Type: Conventional

            When remitting funds, please use our loan number to insure proper posting and provide us with the
            borrowers forwarding address. Funds received in this office after 12:00 noon will be processed on the
            next business day, with interest charged to that date.

            All payoff figures are subject to clearance of funds in transit. The payoff Is subject to final audit when
            presented. Any overpayment or refunds will be mailed directly to the borrower. We will prepare the
            release of our interest in the property after all funds have cleared.
                      Projected Payoff Date                                           9/1112016
                      Principal Balance                                            $272,561.97
                      Interest Thru 9/11/2016                                       $27,084.55
                      Fees                                                           $1,758.26
                      Prepayment Penalty                                                 $0.00
                      Release Fees                                                       $0.00
                      Funds owed by borrower                                        $19.873.25
                      Funds owed to borrower                                             $0.00

                      Total Payoff                                                 $321,276.02
                      Per diem                                                            $20.54
           The next payment due is 3/1/2012. Payments are made by Billing on a Monthly basis. The current
           Interest rate is 2.75000% and the P & 1 payment is $1,281.40. The taxes are next due 9/30/2015.

            PLEASE CALL THE NUMBER LISTED BELOW TO UPDATE FIGURES PRIOR TO REMITTING
            FUNDS AS THEY ARE SUBJECT TO CHANGE WITHOUT NOTICE.

           Statebridge Company, LLC
           5680 Greenwood Plaza Blvd
           Suite 100$
           Greenwood Village, CO 80111
           (303) 9624763
           (868) 468-3360
           (303) 290-7516 Fax



    Statebridge Company. LLC is a debt collector and is alserapting to collect a debt. Any information obtained may be used for that purpose. if
    you are in naive bankruptcy or have previously received a discharge in bankruptcy, this correspondence is not and should not be construed ro be
    an attempt to collect a debt, but a possible cobra:mem of a lien against property.

    Siatelnidge Company. LLC 5690 Greenwood Plana Blvd. Suite UM Greenwood Tillage. CO. 80111 svww.statebridgecompany.cont 866466-3360
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                                                                            II
                                                 STATEBRIDGE

                                         ON! ROBERTS • 1.0an ID #0000021276



                                                    FEE DETAILS


                       De
                       _sda_  fon                                                 Amount
                      Late Chmge Payment                                          $320.35
                      PC Attorney Fee                                             $700.00
                      Inspections                                                 $106.90
                      Prior. Sem. Mise                                            $207.50
                      FC Attorney Cost                                            $421.50
                                                                                 SI,756.25




StatebrIdgo Company, LW 5680 Greenwood Plaza Blvd. Suite 5003 Greenwood Village, CO. 80111 www.statebridgeannpany.com 866466-3360
             Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 189 of 261




B       Busch
W       White
        Norton
N
       This law firm is acting as a debt collector. This is an attempt to
       collect a debt and any information obtained will be used for that
       purpose.
                                                      August 21,2015

       VIA-CERTIFIED MAIL — RETURN RECEIPT REQUESTED

       Gni Roberts
       Forrest 0 Roberts, Jr.
       5371 Charity Way
       Stone Mountain, Georgia 30083

       Re:        Promissory Note (as amended, modified, or revised from time to time, the "Note") dated July 25,
                  2006 in the original principal amount of $302,000.00 by Oni Roberts and Forrest G Roberts, Jr.
                  ("Borrower") and in favor of Wilmington Savings Fund Society, FSB, not in its individual
                  capacity but solely as Trustee for the PrimeStar-H Fund I Trust (assignee of U.S. Bank National
                  Association, as Trustee for Prof-2013-53 Remic Trust IIII as assignee of Bank of America, N.A.,
                  "Lender"), secured by that certain Security Deed dated July 25, 2006, filed and recorded August
                  15, 2006 in Deed Book 19045, Page 31 of the Official Records of the Clerk of Superior Court of
                  DeKalb County,. Georgia (as amended, modified, or revised from time to time, the "Security
                  Deed"); each of the above described instruments being referred to herein as the "Loan
                  Documents"

        Dear Borrower:

               As indicated by my letter of August 21, 2015, this firm represents Lender with respect to
        the captioned matters. You have committed a monetary default under the Loan Documents.

               As a result, I now disclose to you the following, in accordance with the requirements of
        the Federal Debt Collection Practices Act:

             (1) The amount of the debt is $321,782.22. Because of interest, late charges, and other
                 charges that may vary from day to day, the amount due on the day you pay may be
                 greater. Hence, if you pay the amount shown above, an adjustment may be necessary
                 after we receive your check, in which event we will - inform you before depositing the
                 check for collection. For further information, write the. undersigned or call (770) 790-




3330 Cumberland Blvd.. Suite 300, Atlanta. GA 30339   P (770) 790-3950 F (770)790-3520 .                 www.bwnfirm.com
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       3550.

   (2) The name of the creditor is Wilmington Savings Fund Society, FSB, not in its individual
       capacity but solely as Trustee for the PrimeStar-H Fund I Trust (assignee of U.S. Bank
       National Association, as Trustee for Prof-20I3-S3 Remic Trust RI as assignee of Bank of
       America, N.A.).

   (3) Please note that unless you dispute the validity of this debt within 30 days after the date
       of this letter, I will assume the debt to be valid.

   (4) Please note that if you notify me in writing within the above 30 day-period that you
       disputes all or any portion of the debt, I will obtain a verification of the debt, or a copy of
       the judgment (as the case may be in accordance with the facts surrounding this case), and
       will mail a copy of such verification or the judgment to you (as the case may be in
       accordance with the facts surrounding this case).

   (5) Please note that if you provide me a written request for the name of the creditor within
       the same 30 day-period, I will provide such name to you if it is different from
       Wilmington Savings Fund Society, FSB, not in its individual capacity but solely as
       Trustee for the PrimeStar-H Fund I Trust.

       All inquiries concerning the Loan Documents and any amounts due thereunder should be
directed to me at the firm of Busch White Norton, LLP (770-790-3550). I hereby give notice to
you that I am empowered to negotiate, amend and modify all terms of the Loan Documents with
you. A copy of this letter is being sent to you by certified mail. Refusal of delivery is deemed,
under the law, to be equivalent to notice.

This law firm is acting as a debt collector. This is an attempt to
collect a debt and any information obtained will be used for that
purpose.
                                              Sincere!



                                              Guillermo Todd
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This is an attempt to collect a debt and any infOrmation obtained will be used for that purpose.

NOTICE OF SALE UNDER POWER GEORGIA, DEKALB COUNTY

By virtue of a Power of Sale contained in that certain Security Deed from ON1 ROBERTS AND FORREST G ROBERTS, JR. to
Wilmington Savings Fund Society, FSB, not in its individual capacity but solely as Trustee for the PrimeStar-H Fund I Trust (by virtue of
that certain Assignment of Security Deed, filed and recorded December 26, 2014 in Deed Book 24720, Page 754, DEKALB COUNTY,..
Georgia Records, assignee of U.S. Bank National Association, as Trustee for Prof-2013-S3 Remic Trust Ill as assignee of Bank of America,
N.A.) ("PrimeStar"). dated July 25, 2006, filed and recorded August 15, 2006 in Deed Book 19045, Page 31, DeKalb County, Georgia
Records (as amended, modified, or revised from time to time. "Security Deed"), said Security Deed having been given to secure a Note in the
original principal amount of THREE HUNDRED TWO THOUSAND AND NO/100THS DOLLARS (S302,000.00) (as amended, modified,
or revised from time to time, the "Note"), with interest thereon as provided for therein, there will be sold at public outcry to the highest
bidder for cash before the courthouse door of DEKALB COUNTY, Georgia, within the legal hours for sale on the first Tuesday in October,
2015, all property described in said Security Deed, including, but not limited to, declarant's rights, if any, and, without limitation, the
fallowing described property (or so much thereof as has not, as of said first Tuesday, by duly executed and recorded instrument, previously
been released from the lien of the Security Deed):

ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOT 74 OF THE 18TH DISTRICT OF DEKALB
COUNTY, GEORGIA, AND BEING LOT 8, WY RIDGE SUBDIVISION, AS PER PLAT RECORDED IN PLAT BOOK 118,
PAGES 43-44, DEKALB COUNTY, GEORGIA RECORDS, AS REVISED AT PLAT BOOK 118, PAGE 96, DEKALB COUNTY,
GEORGIA RECORDS, TO WHICH PLATS ARE HEREBY REFERENCED TO FOR THE PURPOSE OF INCORPORATING
HEREIN.

The indebtedness secured by said Security Deed has been and is hereby declared due because of default under the terms of said Security
Deed and Note, including, but not limited to, the nonpayment of the indebtedness as and when due. The indebtedness remaining in default,
this sale will be made for the purpose of paying the same, all expenses of the sale, including attorneys' fees and other payments provided for
under the terms of the Security Deed and Note.

Said property will be sold subject to the following items which may affect the title to said property: all zoning ordinances; matters which
would be disclosed by an accurate survey or by inspection of the property; any outstanding taxes, including, but not limited to, ad valorem
taxes, which constitute liens upon said property; special assessments; and all outstanding bills for public utilities which constitute liens upon
said property; To the best of the knowledge and belief of the undersigned, the party in possession of the property is ON1 ROBERTS AND
FORREST 0 ROBERTS, JR. or tenant(s).

The sale will be conducted subject (1) to confirmation that the sale is not prohibited under the United States Bankruptcy Code and (2) to final
confirmation and audit of the status of the loan with the holder of the Security Deed. PrimeStar and its counsel are acting as debt collectors.
Any information obtained will be used for that purpose.

PrimeStor as Attorney-In-Fact for ONI ROBERTS AND FORREST G ROBERTS, JR.
Contact: Guillermo Todd, Esq.
Busch White Norton, LLP
3330 Cumberland Boulevard, Suite 300
Atlanta, Georgia 30339
Telephone (770) 790-3550
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 192 of 261




                               EXHIBIT R
         Defendants repeatedly refused to provide accurate payoff.




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               6         Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 193 of 261
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Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 194 of 261




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                  [ABOVE SPACE RESERVED FOR RECORDING OFFICE USE]


      AFTER RECORDING, PLEASE RETURN TO:
      Matthew B. Norton, Esq.                                                     Cross Reference:
      Busch White Norton, LLP                                                     Deed Book 19045, Page 31
      3330 Cumberland Boulevard, Suite 300                                        DeKalb County Records
      Atlanta, Georgia 30339

      STATE OF FLORIDA

      COUNTY OF HILLSBOROUGH


                                           DEED UNDER POWER OF SALE


             THIS INDENTURE is made as of this 6th day of October, 2015, by Oni Roberts and
      Forrest 0 Roberts, Jr., each a Georgia resident ("Grantor"), acting through his duly appointed
      agent and attorney-in-fact, Wilmington Savings Fund Society, FSB, not in its individual capacity
      but solely as Trustee for the PrimeStar-H Fund I Trust (assignee of U.S. Bank National
      Association, as Trustee for Prof-2013-S3 Remie Trust III as assignee of Bank of America, NA,
      "Lender"), with an address of do Busch White Norton, LLP, 3330 Cumberland Boulevard, Suite
      300, Atlanta, Georgia 30339, and Wilmington Savings Fund Society, FSB, not in its individual
      capacity but solely as Trustee for the PrimeSlar-H Fund I Trust ("Grantee"), with an address of
      c/o Statebridge Company, LLC, 5680 Greenwood Plaza Blvd., Suite 1003, Greenwood Village,
      CO 80111;

                                                     WITNESSETH:

             WHEREAS, Grantor executed and delivered to Lender that certain Security Deed, dated
      July 25, 2006, filed and recorded August 15, 2006 in Deed Book 19045, Page 31, of the Official
      Records of the Clerk of Superior Court of DeKalb County, Georgia (as may have been modified,
      amended and assigned from time to time, the "Security Deed"), conveying the hereinafter
      described property, to secure the payment of a promissory note dated July 25, 2006 (as may have
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 195 of 261




                                                                            DEED BOOK 2525'9 Ps .731




     been replaced, renewed, extended, modified, amended and/or assigned from time to lime (as the
     case may be), the "Note), together with any and all other indebtedness owing by Grantor to
     Lender;

             WHEREAS, default in the payment of the Note occurred, and whereas by reason of said
     default, Lender elected pursuant to the terms of the Security Deed and Note to declare the entire
     outstanding indebtedness secured by the Security Deed immediately due and payable;

             WHEREAS, the entire outstanding indebtedness still being'in default, Lender on behalf
     of Grantor, and according to the terms of the Security Deed and the laws of the State of Georgia,
     did legally and properly advertise the Property (as hereinafter defined) for sale once a week for
     four (4) consecutive weeks immediately preceding the foreclosure sale in the official newspaper
     in which the Sheriff of DelCalb County, Georgia published legal advertisement

           WHEREAS, notice of the initiation of proceedings to exercise a power of sale was given
     pursuant to Official Code of Georgia Section 44-14-162.2;

            WHEREAS, Lender did expose the hereinafter described property for sale to the highest
     and best bidder for cash on the first Tuesday in October, 2015 within the legal hours of sale at
     the usual place for conducting Sheriffs sales in DeKalb, Georgia, before the Courthouse door in
     said County and offered said property for sale at public outcry to the highest bidder for cash,
     when and where Grantee bid ONE HUNDRED AND NO/100THS DOLLARS ($100.00); and

            WHEREAS, the aforementioned bid by Grantee was the highest and best bid, the
     hereinafter described property was knocked off to Grantee for said sum bid by Grantee;

            NOW THEREFORE, in consideration of the premises and said sum of money and by
     virtue of and in the exercise of the power of sale contained in the Security Deed, Grantor has
     bargained, sold, granted, and conveyed and by these presents does hereby bargain, sell, grant,
     and convey to Grantee, its heirs, representatives, successors, and assigns, the following described
     property, to-wit:

     ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOT 74 OF
     THE 18TH DISTRICT OF DEKALB COUNTY, GEORGIA, AND BEING LOT 8, IVY
     RIDGE SUBDIVISION, AS PER PLAT RECORDED IN PLAT BOOK 118, PAGES 43-44,
     DEKALB COUNTY, GEORGIA RECORDS, AS REVISED AT PLAT BOOK 118, PAGE 96,
     DEKALB COUNTY, GEORGIA RECORDS, TO WHICH PLATS ARE HEREBY
     REFERENCED TO FOR THE PURPOSE OF INCORPORATING HEREIN.
     Together with all the rights, members and appurtenances thereto appertaining also, all the estate,
     right, title, interest, claim or demand of Grantor, Grantor's representatives, heirs, successors and
     assigns, legal, equitable or otherwise whatsoever, in and to the same. All of the foregoing are
     referred to herein as the "Property."

     Grantor hereby designates Grantee, as successor-in-title to Grantor by virtue of this instrument as
     the declarant under any Declaration of Covenants, Conditions, Restrictions and Easements (or
     any similar document) affecting the Property.
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 196 of 261




                                                                            DEED BOK 25259 Ps 311




              TO HAVE AND TO HOLD the Property and every part thereof unto said Grantee, its
      successors and assigns, to its own proper use, benefit and behoof in FEE SIMPLE, in as full and
      ample a manner as Grantor, or its successors, heirs or assigns, did hold and enjoy the same,
      subject, however, to unpaid real estate ad valorem taxes and governmental assessments and to all
      prior restrictions, rights-of-way, easements and other matters of record, if any, appearing prior to
      the date of the Security Deed and those appearing after the date of the Security Deed and
      consented to by Grantee.

      [Balance          of          this         page           intentionally         left         blank] .
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 197 of 261




                                                                    DEED Bum 25259 Ps 312
                                                                      Debra DeBarra
                                                                        Clerk at Suoer or Court
                                                                        DeRolb Counts , Gears' a


             IN WITNESS WHEREOF, Lender, as agent and attorney-in-fact for Grantor, has
      hereunto affixed its hand and seal, as of the day and year first above written.



      Signed, sealed and delivered           Wilmington Savings Fund Society, FSB, not in its
      in the presence of                     individual capacity but solely as Trustee for the
                                             PrimeStar-H Fund I Trust (assignee of U.S. Bank
                                             National Association, as Trustee for Prof-201343
                                             Remic Trust III as assignee of Bank of America,
      Uno       Witness atfin Chrt4e-r       NA)


                                             By.
                                                    ame: Jamie Rand
                                                   Title: Vice President
      My Commission Expires:



                                             AS AGENT AND ATTORNEY-IN-FACT
                                             FOR GRANTOR
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 198 of 261




                             EXHIBIT N
                      Pages from Abstract of Title




                                  61
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 199 of 261




    Return to:
    Document Recording Services
    P.O. Box 3008
    Tallahassee, FL 32315-3008
   File No. 1.040002982
   MAIL TAX STATEMENTS TO:
   PRIMESTAR FUND I TRS, INC.
                                                                           978 REITK              25311 Pg 454
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   PO BOX 447
   ODESSA, FL 33556
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   This document prepared by:                                                                       Ciento:Superb:I Cowl
   RICHARD M. JONI'S. JR., ESQ.                                                                    DeKelb Count). Georgie
   P.O. BOX 371031
   DECATUR, GA 30037
   866-333-3081
   Tax ID No.: 18 074 02 043

                                         SPECIAL WARRANTY DEED
   STATE OF GEORGIA '
                                                                                    11111111INISIM 11111E11 N111
                                                                                          REF U1525.120EA
   COUNTY OF DEKALB
                                                calbt-r: Oui5:, by and between
   THIS DfiliD made and entered into on this fl day of.,
   WILMINGTON SAVINGS FUND SOCIETY; FSB, NO I      itrffiliffIbtIAL CA PACrry BUT
   SOLEI X AS TRUSTEE FOR THE PRIM RSTAR-I1 FUND I TRUST, organized and existing under
   the laws of the Stare or Florida, a mailing address of PO BOX 447, ODF.SSA. FL 33556 hereinafter
   referred lo as Grantor?) and PRIM ESTAR FUND TRS, INC., a mailing address or Pc) BOX. 447.
   ODESSA. FL 33556, iemionner referred Co as Grantee(s).
   wrrwisrrei: Thai 11w said C ;motor. for and in consideration or the sum of TEN AND 09/100 010.00
   DOLLARS and other liond and valuable consideration, the receirk of which is !tetchy acknowledged.
   have this day given. granted. bargained, sold. conveyed and confrontud and do hy these poments give,
   grant, bargain. sell. convey and confirm unto the said Grimed* the following described real wale
   located in DliKALII County, rtF.ORGIA:
   SEE ATTACIIED EXHIBIT "A" FOR LEGAL DESCRIPTION.
   SUBJECT TO EASEMENTS, COVENANTS, CONDITIONS, RESTRICTIONS, RESERVATIONS,
   AND LIMITATIONS OF RECORD, IF ANY.
   Prior instrument reference: BOOK 25259, PAGE 309, Recorded: 11/13/2015
   TO HAVE ANT) TO HOLD cht: lot or parcel above described together with all and singnhu the lights.
   privileges. tenements. benslituments and appurtenances the:ruing, linkniging or in anywise Viten:ming
   unto Ilia sant nraince(s1 and unto the heirs, administrators, successors or assigns of the (iratirec(s) forever
   in fee simple.
   Liranto: hereby warrants to the (iniulite(s) that title to the subject real property described herein is the
   saute quality which was received by the Grantor. Grarnors warrant y is limited solely to matters arising
   Iron. the nen: or omissions or ilic Grantor occurring solely during the period (tithe Crnmair's ownership of
   the subject real property. This limited warranty is binding upon the Grantor, its successors and assigns.
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 200 of 261




                                                                                      DEED BOOK 25311 Ps 45.F.5




   Tax ID No.: 18 074 02 043
   IJJ Wriviss wl IUR HOP, the said Grantor has hereunto set their hand and seal on this            , day of
   LtcrElq.C. 20 I.
   WILMINGTON SAVINGS FUND SOCIETY. FSB. NOT IN ITS INDIVIDUAL CAPACITY BUT
   SOLELY AS TRUSTEE FOR THE PRIMESTAR-H FUND I TRUST



   NAME: JAMIE RAND
           VICE PRESIDENT

   STATE OF FLORIDA
   COUNTY OF I ITILSBOROUGH
   Signed, sealed and delivered this    //        day of         ')eregi btf, 201,C
   In the press:nee of:


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   Notary u ale           My-E-Hill
   Print Name:
   My commission expires               9.eg

   No title search was lierfonued on the suble:ei property by the prepamr. The on:parer or this deed makes
   neither representation as to the status of the title nor propeely use or any zoning rcp,ulations concerning
   dmicrilted propcity herein conveyed nor :my matter except the validity of the form or this inmnsment,
   Information herein was provided k prep:ger by Comical( hantee andlor their agents; no boundary survey
   was made al the time lir this conveyance.




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Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 201 of 261




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                                                                rteklb County Georgia

   EXHIBIT A
   LEGAL DESCRIPTION
   THE FOLLOWING DESCRIBED PROPER.TY, TO-WM
   ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOT 74 OP THE 18TH
   DISTRICT OF DTIKALII COUNTY, GEORGIA. AND BEINCI 1.018. IVY RIDGE StE3DIVISION,
   AS PER PLAT RECORDED IN NAT 1100K 118, PAGES 43-44. DERALII C:OUNTY. GEORGIA
   RECORDS. AS REVISED AT PLAT 1100K I III, PAGE 96, DEKALI1 COUNTY, GEORGIA
   RECORDS. TO WHICH MATS ARE HEREBY REFERENCED TO FOR ri IE PURPOSE OF
   INCORPORATING HEREIN.
   TAX ID NUMBER: 18 074 02 043
   PROPERTY COMMONLY KNOWN AS: 5371 CHARITY WAY, STONE MOUNTAIN, GA 30083




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            Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 202 of 261

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           Gate & Mabe. LLC
           160 Clalremoe Ave. Ste. 350
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                                                    QUITCLAIM DEED

                   BY 'THIS QUITCLAIM DEED, FORREST ROBERTS, herein caned Grantor, in
           consideration of Ten and No/100 ($10.00) Dollam paid by TWANISFIA ONI BAKER Ma
           TWANISHA ONI ROBERTS, herein called Grantee, quitclaims to Grantee Grantor's
           interest in the following described real property in DeKalb County, Georgia:



                   ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN (AND
                   LOT 74 OF THE le DISTRICT OF DEKALB COUNTY, GEORGIA, AND
                   BEING LOT 8, IVY RIDGE SUBDIVISION, AS PER PLAT RECORDED IN
                   PLAT BOOK 118, PAGES 43-44, DEKALB COUNTY, GEORGIA
                   RECORDS, AS REVISED AT PLAT BOOK 118, PAGE 98, DEKALB
                   COUNTY, GEORGIA RECORDS, TO WHICH PLAT REFERENCE IS
                   HEREBY MADE FOR THE PURPOSE OF INCORPORATING HEREIN.


                   This conveyance is made subject to the terms and conditibns of the
                   Settlement Agreement in Civil Action File No. 14CV3259-4, DeKalb County
                   Superior Court, Deka County, Georgia, being styled Twanisha Ont
                   Roberts v. Forrest Roberts.



               . The above-described property is conveyed subject to all encumbrances,
                  covenants, conditions, restrictions and easements of record.


                   TO HAVE AND TO HOLD the said described premises to Grantee, so that neither
                                                       Page 1 of 2
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 203 of 261

                                                      GSCCCAorp- Image Index

                                                                               DEED BOOK 24835 P947
                                                                                Debra DeBer r
                                                                                 Clerk at Surer' or Court
                                                                                 DeKalb County. Gears! a
Grantor nor any person or persons claiming under Grantor shall at any time, by any
means or ways, have, claim, or demand any right or title to said premises or
appurtenances, or any rights thereof.




DATED this                          day of   IV                      , 2014.


Signed, sealed and deli
in th    se     f:


                                                          FORREST ROBERTS, Grantor

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Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 204 of 261




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                Decatur, GA 30030
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                                             Prepared By: Rocket Doox
                                             Grantee's Name: Baker Sister Trust                                                         •
                                             Grantee's Address: 160 Clairemont Ave                                       L5_5_11
                                                               Suite 200                                            mu;
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                                                               Decatur, GA 30030
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      STATE OF GEORGIA                                                                                     We!
      COUNTY OF DEKALB                                                                                               "
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                                          QUITCLAIM DEED                                                    C                      .0
                                                                                                                     ;
                                                                                                                              ..
              This indenture is made this 13 day of March, 2015, by and between GRANTOR                      i       Is.
      (hereinafter "Gmntor"), Oni Roberts and GRANTEE (hereinafter "Grantee"), Baker Sister                          3
      Trust.
          KNOW ALL MEN BY THESE PRESENTS that for and in consideration of the sum of
      Ten and No/100 Dollars (Si 0.00) and other good and valuable consideration, the receipt and
      sufficiency of widish is hereby acicnowledged, Grantor does quitclaim unto Grantee all of
      his/her right, tide and Interest in and to the following described real property:

             ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOT 74
             OF THE 18" DISTRICT OF DEKALB COUNTY, GEORGIA, AND BEING LOT 8,
             IVY RIDGE SUBDIVISION, AS PER PLAT RECORDED IN PLAT BOOK 118,
             PAGES 43-44, DEKALB COUNTY, GEORGIA RECORDS, AS REVISED AT
             PLAT BOOK 118, PAGE 98, DEKALB COUNTY, GEORGIA RECORDS, TO
             WHICH FIAT REFERENCE 15 HEREBY MADE FOR THE PURPOSE OF




                                                       ,
             INCORPORATING HEREIN.

              5371 Charity Way, Stone Mountain, Georgia 30083

      IN WITNESS WHEREOF, Grantor has affixed4h' ,               . d and seal on the date first written.
                                                                     Arm,
                                                         111111rAllrZlisigit
                                                    Grant7" II Rights Reserved Without Prejudice)




      Sworn to and subscribed before me,
      this _Zifr day of        ittIllifilau sr

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Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 205 of 261




    File No.                                                             County:

    Based On: (Policy or Old File No.)
               Full Exam                                 1,/ Ltd. Exam from date: I            2-5-/ 0 L

    Recorded title is vested in:     rr,                          VI-44-R "I" "--rss
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    Effective Date:   '3      Ik5   )
                                             Exhibit "A" Legal Description:
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Appurtenant Easements:

Taxes: .            Parcel 10:       15- cr-le-1-- o T.-. - ol-V3
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    Real:           Year(s): 2-45 I C"           Amount: 4s-114ep . q7-- Date pd: 11 13 ) do

City/Pers:          Year(s):                    Amount:                             Date pd:

"EXAMINER --MAKE SURE TO CHECK 0_7Y TAXES IF APPLICABLE**
Property Address:  5 3-1 t      C. V.% o—f" , Vvi 13 0.1 Consv/Agr                                  Comm.

Recorded Plat filed                                 , Plat Book        i ‘ fg         , Page



       Additional Exceptions: Security Deeds, Covenants. Easements, Liens. Defects and Notes

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                                          Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 206 of 261


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                            EXIM3IT 0
           Tax Commissioner $324,300.00, owed is $7,867.62




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                    Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 224 of 261

                                 2014 DEKALB COUNTY REAL ESTATE TAX STATEMENT
                                               PAY ONLINE AT www.yourdekalb.comkaxcommissioner
   \no                                                   OR BY PHONE AT 404-298-4000 .                             CLAUDIA G. LAWSON
                                                                                                                   TAX COMMISSIONER
  OWNER                 ROBERTS ONI                                          APPRAISAL VALUE -AMR EXE1enowN59manom
  CO-OWNER              ROBERTS FORREST G JR                                 TOTAL APPRAISAL    276,000 EXEMPRDN CODE                H1F
  PARCEL 1.13. t PIN     18 074 02 043 14234163                              40% ASSESSMENT     110.000 BASE ASSESSMENT FREEZE    184.120
  PROPERTY ADDRESS       5371 CHARITY WAY                                    APPEAL ASSESSMENT 93.500 NET FROZEN ExEMPTiaN              0
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  COAT BONDS                       93,600                .0000100                 0.94                  0.00                        0.00                      0.00                                          0.94
  FIRE                             93.500                .0028700               268.35                  0.00                       28.70                    138.29                                        101.36
  STMTAXDIST                       93.600                .0002700                25.25                  0.00                        2.70                     19.03                                          9.52
  POUCE SERVO                      93.500                .0004400                41.14                  0.00                        4.40                     21.20          •                              15.54
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  atruccouNTY TAXES                                                                                                                                                                                     $445.913
  BOARD:OF:EDUCATION - SCHOOL TAXES                                                             !Aided by Board of Educe:dim representing 41.31% a your fax statement
 7 - Volloliqt,..Ellric-,04111Alueve • le. ' ..viduthE                 .      mass .              FROZEN - • ..CON5T:01115r, • • , •• -• limy - •    .• -.. . v. tin.
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           L:TAXES, AND OTHER CHARGES                                        levied as applicable by State. Gay. or County: reprosenHng 49.20% of your faX statement

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  CRY TAXES ' "                    93,500                .0220000             4057.00                   0.00                        0.00                        0.00                                   2.057.00
  STORM WATER                   1 UNIT(S)                      48               48.00                   0.00                        0.00                        0.00                                      48.00
  CRY MI                        1 UNIT(S)                   198.9              198.90                   0.00                        0.00                        0.00                                     198.90


  TOTAL STATE. CITY AND OTHER ASSESSMENTS                                                                                                                                                             $2.313.06
 1:074 PROPERTY TAXES . -       • - cl:ToTAL.                               •. GROSS   •     FROZEN   . ,colisronmer
                                     ' ingiat                               TAXAMOUNT -- . •expernota - , EXEMPTION •., -                                  CREIR1;-.••••        - • i!o..i.o45.1COLTE
 TOTAL DUE                                               0.058690             5.73444                   0.00                      425.95                    607.09                                    $4,701.40
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                                   AIN GA 30083-3660                                                                                        1 d•      10-          •                                                     t
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                                     Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 225 of 261


                                           2015 DEKALB COUNTY REAL ESTATE TAX STATEMENT
                                                       PAY ONLINE AT www.dekafficountyga.ovitaxcommissioner                                                                                  •
                                 CLAUDIA G. LAWSON                                                                                                          IRVIN JOHNSON
                                 TAX COMMISSIONER                                                                                                   CHIEF DEPUTY TAX COMMISSIONER
     OWNER                                ROBERTS OM TWANISHA                             82PIUMSALVALUESAND.EX8MEWHINFoRmATIOS
     CO-OWNER                                                                              TOTAL APPRAISAL                        190,000 EVEMPTION CODE                                                           H1F
     PARCEL 1.0. %PIN                       18 074 02 043142E14153                         40% ASSESSMENT                          70,000. BASE ASSESSMENT FREEZE                                               164.120
     PROPEFfrY ADDRESS                      5371 CHARITY WAY                               APPEAL ASSESSMENT                            0 NET FROZEN ExEmfrnoN                                                        0              •
     TAX DISTRICT                           84 STONE mTre
     TOUR TOTAL TAR swans FOR IRIS TZAR XS 40175.33. THIS TRAIL TES STATE PORTION OP YOUR TAX ET= IS Mem RSDOCZO AND
     GRATffnazx SS someasorso TROT TOUR TAR RILL. THIS TAX SEW= RAS GASSED 13T TNT GOMM= AND TIM ROG= OP RSPRISENTATTORS
     TIM GTORoTA sTASS sITNATT.

    COUNTY GOVERNMENT TAXES                                                                       Levied by the Beard of Commissionen: representing 14.09% of your tux statement
                 TAXING. -              'TAXABLE                i••,.........
                                                                 -- ''.                    GROSS.           FROZEN .     - CONst4tNIAT     ' , HOST          • • v - • NET.
               AUSIORMEt               aOsEssmort      x .      P"-~  .. . `           . IAXAMOUNT -      oesommo ' En-UPTON'            I     _came . .        • '• '.....tox oue
     COUNTTOPNS        76.000      .0103900                                                     789.64                      0.00          103.90                                    301.74                                             384.00
     HOSPITALS         76.000      .0006900                                                      67.64                      0.00            8.90                                     25.86                                              32.88
     COUNTY 80408      76.000      .0000100                                                       0.76                      0.00                   0.00                                  0.00                                            0.76
     FIRE              76.000    . .0027500                                                     209.00                      0.00               27.50                                   79.86                                           101:64
     SIM =MST          76.000      .0003700                                                      28.12                      0.00                3.70                                   10.74                                            13.68
     POLICE SERVO      76.000      .0004200                                                      31.92                      0.00                                                                           -
                                                                                                                                                4.20                                   12.20                                            15.52
                             --                                                                                                                                                            .
     TOTAL COUNTY TAXES                                                                                                                                                                                                             $546.48
    'BOARD OF EDUCATION - SCHOOL TAXES                                                                     Levied by the Board of Educallom representing 39.69% of your hot statement
      -     TAXING                      TATA=                 _LA
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                                                                   . '           .          GROSS                   FROZEN   •PonsTriesur •                                          HOST.
     •• . AVINONMET                    ASSIISRMENt
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     SCHOOL OPNS                            76.000         .0237300                         1,803.48                    0•00      296.62                                                0.00                                      1.506.96
     TOTAL SCHOOL TAX                                                                                                                                                                                                            $1.506.86
     STATE & CITY TAXES, AND OTHER CHARGES •                                              Levied.as applicable by State. CBI% or Caen* represenfing 47.22% of your fax statement
                  TAXENG .",TAXASLE                                 • --
                                                                      LI, '      '       . GROSS                 4 -FROZEN
                                                                                                                    FROZEN             CONSMIST                      - -; HOST
     IA:..n. AUTFICIIIM13 2 . :ASSESSMENT    •.7             ..,...".=.-- •     ,Lr . wocAmouin -                existrnoti 0 ., .     SINATION-                   -'     bosom . ...                            7 e. 1
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     STATE TAXES                      76,000                   .0000500                           3.80                      0.00             0.10                          i 0.00                                                            3.70
     cm TAXES                         78.000                   .0209000                    1,588.40                         0.00                   0.00                                  0.00                                      1.588.40
     Vow WATER                     1 UNIT(S)                               48                    48.00                      0.00                   0.00                .                 0.00                                             48.00
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          -                  -            'I UNIT(S)                 1919..                     198.90                      0.00                   0.00                                  0.00                                            193.90

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   qt3rAk.Stgir_oljy_AND_OTHER ASSESSMENTS                                                                                                                                                                                      si alum
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  4-0                        5371 oiARRY WAY                                                         '4"•:ri, .1 L.                            r   `4.- ••••               •               ,

•• x; • 44".                 STONE MOUNTAIN GA 30083-3660                                                                                      .2 ..: ,...,' ,..:4 ....        q
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Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 226 of 261




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                                          GEORGIA DEPARTMENT OF REVENUE

                                                     STATE TAX EXECUTION
 flT5 4rOmFriai-41:51 W0'1109440
                                                                                                    (includes 50.00 Costs)
              REV 10227479                                          04 .592 .91

GEORGIA, FULTON COUBlY

To ALL and singular sheriffs of this Male. the State Revenue Commissioner or his authorized representatives. greatlego

YOU ARE HEREBY COMMANDED, that of the goods and chattels, or if none be found, then the lands and tenements of
   FORREST G. ROBERTS                                                             MIMI AND SEVERALLY
   ]D-ER-6929
   ONE ROBERTS
   A1QE-KR-3976
   5371 CHEROKEE
   STONE MTN WAY, GA 30083-0000
you cause to be made by levy and sale lite sum of the dollars and cents hereinafter shown. said sum representing delinquent
tax liabilities of the named taxpayer(o) assessed under the taxing Act of this State and the Georgia Public Rove/ore code for
the taxable period(sl indicated below together with interest on the total as shown below at the rate specified In Coda Section
48-240 from the date of this execution until said total amount is paid, plus all collection foes and casts which have accrued
and which may hereafter accrue.
 You am farther commanded to pay over to the Department of Revenue of the State of Georgia the aforesaid amounts upon
collection thereof and to have you then and there this via

                 sMat_r_45.61170t477e941,12014§a44101VN5224516           t- gli2tia657074053419Alsiiiitttoitk
                    1Nnii INCOME                         01/01/08-12/21/05                 56,542.91




Witness the undersigned Stale Revenue Commissioner of Georgia on this date of                  NOVEMBER 15,2010.



                                                                                              Bark L Graham.
                                                                                        State Revenue Commissioner

Principal              62,629.00                                     The State Revenue Commissioner can find no property of the
Interest                   499.51                                    defendant an which to levy the within tax execution.
Penalty                    657.25
Cal/action Fee             757.29                                    This      day of                                •••111=4••••••
Coale                       50.50
Total                  04492.91

                                                                     Authorized Representative of the State Revenue Commissioner

   2011027050          1.1E11 BOOK   1065      PO 533
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                                     OeKalb Comfy. Georgra                                            Clark
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 227 of 261



                              DEKALB COUNTY BOARD OF EQUALIZATION
      .coUNTy.                             120W. TRINITY PL, ROOM 409 .
                                               DECATUR, GA 30030 •
                                              PHONE: 404-371-2451
                                                FAX 404-371-2239
       '1
        1•?*20
            1822 c:2                                                             Decision of the DeKalb county
                                                                                     Board of Equalization
                                                   TAX YEAR: 2014

ROBERTS ON1
ROBERTS FORREST G JR
5371 CHARITY WAY
STONE MOUNTAIN GA 30083-3660

RE: Parcel Id.:        18 074 02 043
    Account Number:    4294183
    Property Address: 5371 CHARITY WAY 30083
We, the undersigned members of the DeKalb County Board of Equalization, hming heard all eridence and
regewed all the information submitted, do hearby find the fallowing for each specific issue raised in this appeal.

Your appeal raised the following issue(s):
$ ) Taxability              ( ) Uniformity                 (yo4lue                  ( ) Other

Decision:
 100% TOTAL Value                                     40% TOTAL Value            76 66 c)
Reason:
 1:1 yVe find in finer of the County                   ID The County and Taxpayer agree with value
 0/We find in (mar of the Taxpayer                     0 The Taxpayer did not appear
Qualifica       questions answered in affirrnathe (Reguiation 560-11-2-35):

Member:
            V             I   .


Member

Mem

I, the undersign       member of the DeKalb County Board of Equalization, hereby dissent from the majority decision
of the Board.


Decision rendered by the majority member of the Board of Equalization, on this 23 day of JUNE 2015.

You may appeal this decision to Superior Court pursuant to Georgia Code 48-5•311. If you wish to continue your
appeal to Superior Court, you must do so within thirty (30) days from the date this decision has been rendered.
Submit your written letter of appeal along with a check for $207.50 payable to DeKalb County Clerk of Superior
Court to: DeKalb County Board of Tax Assessors, 120 West Trinity Place, Room 208,Decatur, GA 30030.

If you hale any questions, please feel free to call our staff at 404-371-2451.

Sincerely,
The DeKelb County Board of Equalization




Account No:. 4294163
                                                                                       *4294163*
            Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 228 of 261



                   DelCalb County
                                                    ANNUAL NOTICE OF ASSESSMENT                                                             MEN
                   Property Appraisal Department                                                                  Notice Date: 05/29/2015
                   120 West Trinity Place, Room 208                                                               This IS not a tax bill
                   Decatur, GA 30030 PHONE (404) 371-0841                                                         Do not send payment                        •
                                                                                                                   Last Date to File Appeal:
                                                                                                                         07/13/2015
                       AUTG"SCH 5-DIGIT 30383
         ROBERTS ON! TWANISHA                                                                           County property records are available online at:
                                                                         20024/115211
         5371 CHARITY WAY                                                                                       dekaIbcountyga.gov/propappr
         STONE MOUNTAIN, GA 30083-3660
                                                                                                OFFICIAL TAX MATTER -2015 ASSESSMENT


 The amount of your ad valorem tax bill for the year shown above will be based on the appraised (100%) and assessed (40%)
 values specified in this notice. You have the right to appeal these values to the County Board of Tax Assessors. Ali documents
 and records used to determine the current value are available on request. Additional information on the appeal process may
                              be obtained at httn://doraeorgia.gov/documents/pro_nertv-tax-euide
                           At the time of filing your appeal you must select one of the following options:
        (1)Appeal to the County Board of Equalization with appeal to the Superior Court. (value, uniformity, denial of exemption. taxability)
        (2)To arbitration without an appeal to the Superior Court (valuation is the only grounds that may he appealed to arbitration)
        (3)For a parcel of non-homestead property with a FAIV in excess of SI million, to a hearing officer with appeal to the Superior Court.
   If you wish to file an appeal, you must do so in writing no later than 45 days after the date of this notice. If you do not file
        an appeal by this date, your right to file an appeal will be lost. Appeal forms which may be used are available at
                                     http://mehm.dekalb.ga.us/ProugilyAppraisalinupeal.html
For further information on the proper method of filing an appeal, you may collect the DeKalb County Board of Tax Assessors which
 is located at 120 West Trinity Place. Room 208, Decatur, GA 30030 and which may be contacted by telephone at: (404) 371-0841.
              Your staff contacts are BRIAN ABERNAITIY (404) 371-7086 and BRENTNOL BAKER (404)371-6351
          -• - •                    .._
     Account num              Propehy TO Number          Acreage            Tax Dist                   Covenant,Year    Homestead
       4294163                    18 074 02043                .30        STONE MTN                                       YES - HIF
 Property Description        R3 - RESIDENTIAL LOT
 Fromm Address               5371 CHARITY WAY
 Fair Market Value               Returned Value         Previous Year Value        Current Year Value                Other Value
 WO% FiiiIVIarket Value                                             233,000                            233,000
40% AsseSsed Value                                                  I .
                                                                               ,             .......___9.3.2.00
                   •-                                                              .:     _          .      ..
                                                   REASONS FO •                    ,. . . _. ,.           ,
Annual Assessment Notice required by GA Law (OCGA-48-5-306)                                         .
                                                                                                                           ,
Based on the following: Review. Property Return or Audit
                                                                                          , _I: . „AA
                                                                                                  -
     Thteithimie oriour.advalorellitnit bill for the current yeatis based an i          FrAviv7.••-. '             .   . ,- .        1.ir market value contained
    •  lapis siotice.Tbe actual tax bill you receive may be more or less than t.                                         ••          call eligible exemptions.
     Twang                           Taxable            2014                                                           •             ST .         Host         Net
    Authority                      Assessment X hlillage = TaxGi°551      Arnoi          Vet;*
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                                                                                                            .: 0•15        ..    •               Credit = Tax Due
COUNTY r.112NS                        93,200        .003220               766.11V.-•-•-----„L.                             • 1 1               391.61            289.29
HOSPITALS                             93,200        .000800                74.56         .00                                o. 0                38.40              28.16
COUNTY BONDS                          93,200        .000010                  .93                        .00                     .00                .00               .93
FIRE                                  93,200        .002870               267.48                        .00                 28.70              137.78           101.00
STM TAXDIST                           93,200       .000270                25.16                         .00                  2.70               12.96             9.50
POLICE SERVC                          93,200       .000440                41.01                         .00                  4.40               21.12            15.49
SCHOOL OPNS                           93,200       .023980             2.234.94                         .00                299.75                 .00         1,935.19
STAIE TAXES                           93,200       .000100                 9.32                         .00                   .20                 .00             9.12
CITY TAXES                      93.200  .022000                         2,050A0                         .00                     .00               .00        2,050.40
CITY SAN!         .                                                        198.90                                                                              198.90
STOI.iMvaRRE 1 4•.: 1\ i ( )--I ii.. 1.:41 1 i 1                    ,: . ''' ; 400, , ; .     , 1         •;.., ... .; . . : i ._ • ... i lip. i"             • 4.00
F.stiniate for bnuiiity . ' -. • 1 I '" :058690- '...               1 -5,716.80 .1                      .00 ' •--- . ' • -425.05 ' .• 1 604;87" • 4,685.98
Total Estimate                                     .058590             5,71640                          .00                42195              604.67         4,68193
                      Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 229 of 261


      damn%
                                                      ANNUAL NOTICE OF ASSESSMENT
                      DeKalb County
  f   ..--4      0 Property Appraisal Department                                              T.-                     Notice Date:06/26/2015
         i 120 West Trinity Place, Room 208                                                    f - , • .. 7::        Ttiiiis itilinY    •bill,   - ' -•i
                                                                                              .; . ''... ••• -       -.77:1- - :-."-.7''' : 7.. . ' '. .. ,..• • I
   '
   4 iGM
       '   Decatur, GA 30030 PHONE: (404) 371-0841                                            .!       ••       •   no Oot: sgo.51:pormit ..- •
                                                                                                                    Last Date To File Appeal:
                      ROBERTS ONI TWAN1SHA                                                                                                              .
                                                                                                                          08/10/2015
                      5371 CHARITY WAY
                      STONE MOUNTAIN GA 30083-3660                                                 County property records are available online at
                                                                                                            dekalbcountyga.gov/propappr
                                                                                                   OFFICIAL TAX MATTER - 2015 ASSESSMENT


 The amount of your ad valorem tax bill for the year shown above will be based on the appraised (100%) and assessed (40%) values
 specified in this notice. You have the right to appeakthese values to the County Board of Tax Assessors. All documents and records
    used to determine the current value are available on request. Additional information on the appeal process may be obtained at
                                        httn://dor.georgia.nov/documents/prouerty=tax7guide
                             At the time of filing your appeal you must select one of the following options:
       (1) Appeal to the County Board of Equalization with appeal to the Superior Court. (value, uniformity, denial of exemption. taxability)
       (2) To arbitration without an appeal to the Superior Court (valuation is the only grounds that may be appealed to arbitration)
       (3) For a pturel of non-homestead property with a FMV in excess ofS1 million, ton hearing offices with appeal to the Superior Court.
  If you wish to file an appeal, you must do so in writing no later than 45 days after the date of this notice. If you do not file an appeal
                 by this date, your right to file an appeal will be Jost. Appeal forms which may be used are available at
                                       http://web.co.dekalb.na.us/PropertyAnoralsal/appeaLhtmI
For further information on the proper method of filing an appeal, you may contact the DeKalb County Board of Tax Assessors which
is located at 120 West Trinity Place, Room 208, Decatur, GA 30030 and which may be contacted by telephone at: (404) 371-0841. Your
                   staff contacts are BRIAN ABERNATHY (404)371-7086 and BRENTNOL BAKER (404) 371-6351
                                   protthrty ID:Nutubef -j ATM-p.:1                                                    cornAnaeas.              • IigniePs0;,..
   4294163                       ;18 074 02 043                                    3 I STONE MTN                                         1       YES -HIF
 --;ii.r.oPetrtiDesCriofiop-
                   , .. .        I R3 - RESIDENTIAL LOT .
:TriSPer.t3rAddtb-ris ...,„1 5371 CHARITY WAY
                               .                                                                    , .                                               , .
    Pair Market                        Returned Maine - • Provides Year•Volud [ Cukrent Year Value I                                         'Other             •
    100% Fair                                                        190,000 /              190,000 I
         I.AgsgsP.44faille %                                          76,000 I               76,000
                        --.- •                                                                        „.
             -•                                        RE-"Akifikkait;NOTICE... • -       -                                                                 .
  Annual Assessment Notice required by GA Law 48-5-306
II Based on the followieg Review, PropertyRetum or Audit

   . The i.36,134iJ74371.74-2717tilrilWaliktodr;syrrip   , t 34iilig:arkeTottliTiv      : Allii5.3411430. --ir                  a'rrsettillTe-           •-- • i
iitiktitinfdLislhis  sati5s,;:lbe actual titpin yoy retkiveniv.: he pkorili less thals 'Milani& Thiiiitiniatt may, not ipelid-d tilkeligth -: ... • ......_ . _
             Taxing                       Taxable            2014                Gross              Frozen         CONST-HMST            Host               Net
;           Authority                    Assessment X &linage = Tax Amount - Exemption - Exemption
i                                                                                                                                  - Credit              Tax Due
I COUNTY OPNS                                76,000        .008220                624.72                0.00             82.20        313.03               229.49
I HOSPITALS                                  76.000        .000800                 60.80                0.00               8.00         30.47               22.33
1COUNTY BONDS                                76.000        .000010                    .76               0.00               0.00           0.00                0.76
'FIRE                                        76,000        .002870                218.12                0.00             28.70        109-30                80.12
•STM TAXD1ST                                 76,000        .000270                 20.52                0.00               2.70         10.28                 7.54
•POLICE SERVC                                76,000 -      .000440                 33.44                0.00               4.40         16.76                12.28
  SCHOOL OPNS                                76.000        .023980              1,822.48                0.00            299.75           0.00            1,522.73
  STATE TAXES                                76.000        .000100                  7.60                0.00               0.20           0.00                7.40
•CITIY TAXES •                               76.000        .022000            • 1,672.00
                                                                                       .1 .             0.00             ,               ono, •
:crrygAm..                                          •                       ' • 198.1:                       ;....    ; / • ••                 /•          198.90
  STORMWIR FEE                                                                     48.00                                                                    48.00
  Estimate for County                                      .058690              4,707.34                0.00            425.95        479.84             3.801.55
  Total Estimate                                           .058690              4,707.34                0.00            425.95        479.84            3,801.55




 LGS-300 (rev 12/2010)
                  Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 230 of 261



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                       Print this page for your records


                Property Tax Information Results

                            Online Payments am for 2014 Only      pay




                                                    For additional assistance, contact (404)298-4000.

                           Property Identification                                               Property Value/Billing Assessment
    Parcel ID                      18 074 02 039                                  Taxable Year                                                      2015
    pin Number                     4294121                                        Land Valuq                                                     $38,070
    Property Addrqsq               5364 CHARITY WAY                                uildinoMaluq                                                 $121,900
    Property Type                  Real Estate                                    Misc. Imoroyement Value,                                            $0
    Tax District                   84- STONE MTN                                                                                                $159,970
                                                                                  IslaLYslite
                                                                                  40% Taxable Assessment                                         $63,988
                             Owner Information
                                                                                                       Information as of 6/23/2015
                                  Last Name, First Name
    Jan. 1 St Owner               HUBBELL COREY L                                                      Tax information Summary
             Co-Ownec                                                             Taxable Year                                                          2014
    Current An                    HUBBELL COREY L                                 Miliage Rate                                                       0.05869
             Cnvner
                                                                                  DeXalb County Taxes Billed                                       $3,583.82
    Owner Address                 5364 CHARITY WAY                                DeKalb County Taxes Paid                                         $3,583.82
                                  STONE MOUNTAIN GA 30083-3660
                                                                                  DeiCalb County Taxes Due                                             $0.00
    Care of information

                          "CHANGE MAILING ADDRESS?"                               Total Taxes Billed                                               $3,583.82
                                                                                  Total Taxes Paid                                                 $3,583.82
                                                                                  Total Taxes Due                                                      $0.00 ,
                            Homestead Exemption
    pvpmptipn Time                      H1F - BASIC EXEMPTION W/TH FREEZE
    Tax.61q/not Amount                                                $0.00
                                                                                  Last Payment Date far DeKalb County Taxes                     11/19/2014
                                                                                  Last Payment Amount for DeKalb County Taxes                    $1,876.09
                       Other Exemption information
    Exemption Type                                                                              ( Tax Paid Receipt              ( Tag Sill Details
    Value Exemption Amount                                               $0.00

                                                                                        [ -- Choose a Tax Year --           Get Tax Payoff Info.
                              Deed Information
    DWI=                           UMITEDWARRANTY DEED                                                  Prior Team Tax
    Peed Book/Pace                 24657! 00417                                    "Please note that Information below may be 7 days old.
    Mat Book/Page                  /00 0                                           Deltalb County Tax
                                                                                                                                             Adjusted Silt
                                                                                   Ituefsac              Total Owed Total Paid lettplrea
                          Property Characteristics/                                                                                            120L.ftte
                                                                                   2014                  $3,583.82   $3,583.82 $0.00
                             Sales Information                                     2013                  $3,072.20   $3,872.20 $0.00
    fiBHD Coda                  0730                                               2012                  $6,867.46   $6,867.46 $0.00
    ,Zonino Tvoq                R100 - SF RES 01ST                                 2011                  $5,261.41   $5,261.41 $0.00
    Improvement Type            09-SINGLE FAMILY RESIDENTIAL                       2010                  $4,619.90   $4,619.90 $0.00
    Year Built                  2004                                               2009                  $6,083.78   $6,083.78 $0.00
    Condition Cade              AVERAGE                                            2008                  $8,169.33   $0,169.33 $0.00
    Quality Grade               GOOD PLUS                                          2007                  $7,711.91   $7,711.91 $0.00
    Air Conditioning            YES                                                2006                  $7,526.13   $7,526.13 $0.00
                                                                                   2005                  $7,270.86   $7,270.86 $0.00
    Fireplaces                  1
    Stories                     2
    Square Footage              2,038 Sq. Ft.                                                              Delinquent Taxes/
    Basement Area               1,172 Sq. Ft.                                                             Tax Sale Information
    % Bsmt Finished             0 Sq. Ft.                                         Tax Sale File Number
    Bedrooms                    4                                                 FiFa-GED Book/Page
    Bathrooms                   3.5                                               Levy Date
    Last DeactDatq              11/7/2014                                         Stellate
    Last Deed Amount            $160,000.00                                       .1beinosnt.AmnantIliie
                                              Click here to view. gronerto_m_ao                     Property Tax Mailing Address
    f Additional Property                                                         DeKalb County Tax Commissioner
                                                                                  Collections Division
                                                                                  PO Box 100004
                   For additional information on the data above,                  Decatur, GA 30031-7004
            contact the Property Appraisal Department at 404-371-2471

                                                    For additional assistance, contact (4104) 2913-4000.

http:/ itaxcemmissIoner.dekalbcountyga.g oviTaxCommissloner/TCDIsplay.asp7ParceiStatus .18iple4294I 21                                               Page
                  Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 231 of 261

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                 Property. Tax Information Results.;

                           Online Payments am for 2014 Only


                                                     For additional assistance, contact (404) 298-4000.


                           Property Identification                                             Property Value/Billing Assessment
     Parcel ID                  18 074 02 037                                   Taxable Year                                                        2015
    Pin Number                  4294104                                         land Value                                                        $55,260
    property Address            5348 CHARITY WAY                                Ihdidine_Value                                                    $93,240
    Property TVPa               Real Estate                                     Misc, Improvement Value                                                $0
    Tax District                64- STONE MIN                                   Total Value                                                   $153,500
                                                                                40% Taxable Assessment                                         $61,400
                             Owner Information
                                 Last Name, First Name                                                Information as of 6/23/2015
    Jan. 1 5t pyrner             POUNDS TERESA I                                                     Tax Information Summary
             EmciaMIL                                                           Taxable Year                                                          2014 •
    Current aaegr                 POUNDS 'TERESA I                              Malaga Rate                                                        0.05869
             p_e_11=
                                                                                DeKalb County Taxes Billed                                        $3.050.80
    Owner Address                5348 CHARITY WAY
                                                                                DeKalb County Taxes Paid                                          $3,050.80
                                 STONE MOUNTAIN GA 30083-3660
                                                                                Delialb County Taxes Due                                              $0.00
    Care of Information

                          ** CHANGE MAILING ADDRESS? --                         Total Taxes Billed                                                $3,050.80
                                                                                Total Taxes Paid                                                  $3,050.80
                                                                                Total Taxer Due                                                       $0.00
                           Homestead Exemption
    Levitation Type                    H1F - BASIC EXEMPTION WITH FREEZE
    Tax Exempt Amount                                                $0.00
                                                                                Last Payment Date for DeKalb County Taxes                     11/10/2014
                                                                                Last Payment Amount for DeKalb County Taxes                    $1,643.611
                       Other Exemption Information
    Exemption Type                                                                          [ Tax Paid Receipt )               I Tax Bill Details)
    Value Exemption Amount                                              $0.00

                                                                                      1 -- Choose a Tax Year --            Get Tax Payoff Info.
                              Deed Information
    Manse                         WARRANTY DEED                                                       Prior Years Tax
    peed Book/Page                21389/ 00443                                   **Please note that information below may be 7 days old.
    Plat Book/Page                0118 / 0096                                    DeKelb County Tax
                                                                                                                                           Adjusted BR
                                                                                 late=                 latalamad Total Palct T I Tin
                          Property Characteristics/                                                                                          2/01-61ate
                                                                                 2014                  $3,050.60   $3,050.80   $0.00
                             Sales Information                                   2013                  $3,673.40   $3,673.40   $0.00
    je8HD Code                         0730                                      2012                  $3,173.10   $3,173.10   $0.00
    2anino Tvott                       RICO - SF RES DIST                        2011                  $2,887.70   $2,887.70   $0.00
    Improvement Type                                                             2010                  $2,490.24   $2,490.24   Mao
    Year Built                         2004                                      2009                  $5,260.26   $5,260.26   $0.00
    Condition Code                     AVERAGE                                   2008                  $7.276.68   $7,276.68   $0.00
    Quality Grade                      GOOD PLUS                                 2007                  0,492.06    $7,492.06   $0.00
    Air Conditioning                   YES                                       2006                  $7,749.49   $7.749.49   $0.00
                                                                                 2005                  $6,914.34   $6,914.34   $0.00
    Fireplaces
    Stories                            2
    Square Footage                     2,288 Sq. FL                                                     Delinquent Taxes/
    Basement Area                      1,226 Sq. Ft.                                                   Tax Sale Information
    % Bsmt Finished                    0 Sq. Ft.                                Tax Sale File Number
    Bedrooms                           4                                        FiFa-GED Book/Page
    Bathrooms                          2.5                                      Levy Date
    Last Deed Date                     3/13/2009                                Sale Date
    Last Deed Amount                   $157,200.00                              pennouentamountDua

                                           click here to view nropertv map                       Property Tax Mailing Address
    (Additional Property I                                                      DeKalb County Tax Commissioner
                                                                                Collections Division
                                                                                PO Box 100004
                   For additional Information on the data above,                Decatur, GA 30031-7004
            contact the Property Appraisal Department at 404-371-2471

                                                  For additional assistance, Minna (404) 298.4000.

hop://taxcommissioner.dekalbcountyga.govrraxCommissioneriTCDisplay.asp?ParcelStatustASpinr24294104                                                Page Lot;
                  Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 232 of 261



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                Property. Tax InformationAResults •

                            Online PayMentS are for 204 Only     RaiNove                                                 Bach_ I

                                                   For additional assistance, contact (4) 298-4000.

                            Property Identification                                             Property Value/Billing Assessment
    parcel ID                    18 074 02 042                                   Taxable Year                                          2015
    Pin_Number                   4294155                                         Land Value                                         $58,873
    prenertv Address             5375 CHARITY WAY                                lluildlito Value                                  $119,528
    Property .111130             Real Estate                                     Misc. Improvement Value
    Tax District                 84 - STONE MTIT                                 Total Value                                       $178400
                                                                                 40% Taxable Assessment                             $71,360
                              Owner Information
                                                                                                       Information as of 6/23/2015
                                Last Name, First Name
    Jan. 1 st Owner             FORREST CAROLITI                                                    Tax Information Summary
             radkalaSE                                                           Taxable Year                                                         2014
    Current Owner                 FORREST CAROLYN                                Millage Rate                                                      0.05869
             r.41.45111C                                                         1 51 Installment Amount                                           $275.19
    Owner Address                 5375 CHARITY WAY                               2 nd Installment Amount                                           $313.69
                                  STONE MOUNTAIN GA 300133-3660
    Care of Information                                                          DeKalb County Taxes Billed                                       $3,601.44
                                                                                 DeKalb County Taxes Paid                                         $3,012.56
                           " CHANGE MAILING ADDRESS? 0'0                         DeKalb County Taxes Due                                            $588.88

                            Homestead exemption                                  Total Taxes Billed                                               $3,601.44
    Fxemotion tyg                   H1F - BASIC EXEMPTION WITH FREEZE            Total Taxes Paid                                                 $3,012.56
    Tax ExerroltaVIourt                                           $0.00          Total Taxes Due                                                    $588.1113


                    Other Exemption Information                                  Last Payment Date for DeKalb County Taxes                        11/4/2014
    Exemption Type                                                               Last Payment Amount for DeKalb County Taxes                      $1,506.28
    Value Exemption Amount                                               $0.00
                                                                                               Tax Paid Receipt                 Tax Bill Details
                               Deed Information
    Psalm                         LIMITEDWARRANTY DEED                                   -- Choose a Tax Year       j    ( Get Tax Payoff info.
    Deed Book/Pam                 19444 / 00341
    Plat Book/Palle               mut/ 0096
                                                                                                       Prior Years Tax
                                                                                  "Please note that information below may be 7 dayn old.
                     Property Characteristics/                                    Deltalb County Tax
                        Sales Information                                                                                                  Adjusted But
                                                                                  lad=                lataLikasi IataLEald Mall=
    NRHDe                0730                                                                                                                MOAN
    Zonino Tvog          R100 - SF RES DIST                                       2014                $3,601.44 $3,012.56 $588.88           7/21/2015
    Improvement Ave      09-SINGLE FAMILY RESIDENTIAL                             2013                $4,083.30 $4,083.30 $0.00
                                                                                  2012                $3,440.44 $3,440.44 $0.00
    Yea Built            2001
                                                                                  2011                $3,132.76 $3,132.76 $0.00
    Condition Code       AVERAGE                                                  2010                $4,230.62 $4,230.62 $0.00
    Quality Grade        GOOD PLUS                                                2009                $4,230.62 $4,230.62 $0.00
    Air Conditioning     YES                                                      2008                $8,052.58 $8,052.58 $0.00
    Fireplaces           1                                                        2007                $7,363.46 $7,363A6 $0.00
    Stories              2                                                        2006                $9,591.02 $9,591.02 $0.00
    Square Footage       3,239 Sq. Ft.                                            2005                $2,712.62 $2,712.62 $0.00
    Basement Area        0 Sq. Ft.
    % Bsrnt Finished     2,173 Sq. Ft.                                                                  Delinquent Taxes/
    Bedrooms             4
                         4.5                                                                           Tax Sale Information
    Bathrooms
    1ast_Deed Date       11/20/2006                                              Tax Sale Re Number
    Last Deed Amount     $280,000.00                                             FiFa-GED Book/Page
                                                                                 Levy Date
                                            ClIck_hare to view nrowartv map      Sale Date
                                                                                 Belinavent Amount Due Call 404-298-3053 for Payoff Amount
    ( Additional Property
                                                                                                   Property Tax Mailing Address
                    For additional Information on the data above,                DeKans County Fax Commissioner
             contact the Property Appraisal Department at 404-371-2471           Collections Division
                                                                                 PO Box 100004
                                                                                 Decatsw, GA 30031-7004


hup://taxcommissioner.dekalbcountyga.gav/TexCammissloner/TONsplay.asp?ParcelStatusmy&pin14294155                                                   Page 1 of.
 Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 233 of 261




                        DEKALB COUNTY BOARD OF EQUALIZATION
                                      120 W. TRINITY PL, ROOM 409
                                          DECATUR, GA 30030
                                          PHONE: 404-371-2451
                                           FAX: 404-371-2239




May 22, 2015                                                   DeKalb County Board of Equalization

ROBERTS ONI
ROBERTS FORREST G JR
5371 CHARITY WAY
STONE MOUNTAIN GA 30083-3660

RE: Parcel Id.:           18 074 02 043
Account Number:           4294163
Property Address:         5371 CHARITY WAY 30083
Tax Year:                 2014

Dear ROBERTS ONI

Your appeal was receked by the Board of Tax Assessors and no changes or corrections were made in the
valuation or decision. Therefore, our appeal was certified to the Board of Equalization. The appeal is
scheduled to be heard before the Board of Equalization on:

                              Date: June 23, 2015
                              Time: 09:00 AM
All hearings are scheduled on e first come basis. You will then be called by your assigned
appraiser in the order you sign in. Sign-in for hearings will only last for 30 minutes after your
scheduled start time. You may reschedule your appeal date one time only. If this is your 2nd
notice, you may not reschedule.

 If you wish to reschedue / cancel this hearing, please sign the statement below and fax or mail to the
Board of Equalization at the abow address at least 24 hours before your hearing dale.

The Board of Equalization is made up citizens of DeKalb and appointed by the Grand Jury. Hearings will be
no longer than fifteen minutes. Both taxpayer and Board of Tax Assessors shall be allowed to present both
written and / or oral evidence. The Bbard of Equalization will then make their decision on the evidence
presented as to value.

                                                          Sincerely,

                                                         Board of Equalization

Please circle below whether you wish to reschedule or cancel your hearing.
I wish to reschedule! cancel this hearing.




         Date                                                              Signature




  Account No: 4294163                                                          *4294163*
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 234 of 261




     .0013Nry.04.„           DEKALB COUNTY BOARD OF TAX ASSESSORS
                    c•                           120W TRINITY PLACE
       t-   so— At                                DECATUR, GA 30030
                AO;                              Phone: 404-371-0841
                                                   Fax: 404-371-2947
             1822 0


12/08/2014

ROBERTS ONI
ROBERTS FORREST G JR
5371 CHARITY WAY
STONE MOUNTAIN GA 30083-3680


RE: 18 074 02 043
5371 CHARITY WAY 30083

TAX YEAR: 2014

Dear Property Owner:

The Dekalb County Board Of Tax Assessors has reriewed your appeal and their decision is as follows:


                                                  PreVous                     Current
Fair Market Value                                  275,000                  233,000
40% Assessment                                     110,000                    93,200

PLEASE RESPOND TO THE ABOVE BY SELECTING ONE OF -11-1E FOLLOWING STATEMENTS AND
RETURN THIS FORM OR OTHER SUFFICIENT WRMNG TO THE ABOVE ADDRESS WITHIN THIRTY (30)
DAYS FROM THE DATE OF THIS NOTIFICATION, OR YOUR RIGHTS TO FURTHER THIS APPEAL WILL
BE TERMINATED. (OCGA 48-5-31).

            I accept the proposed valuation and wish to withdraw my appeal.

            I do not accept the proposed valuation and wish to further my appeal to the Board of Equalization.

The Tax Commissioner's office will be notiffed of any changes affecting your tax bill. You may contact their
office at 404-298-4000 for further information concerning your tax bill.


Date: I     fQ•    c/

Signatu




 Account No: 4294163                                                                    *4294163*
                   Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 235 of 261

                                                                                                                         6123/15 8:01 A



                                         Address Scorch Results
                                           Property Tracking System
                                                                                                             Ei   c-
                 Below are the results of your search for 'MAMMY%

                 Please locate th property address then click on the street name, you will be directed to the property
                 Information pa

                                       Address        Owner Name                             Pa rce140
                         3112 C ARITY DR              BUXBAUM INGRID                         15 081 09 010
                         3113 C ARITY DR              ISLAS 'MUM PAULA                       15 081 04 029
                         311_6 ARrnr DR               COOPER GERALD PHILLIP                  15 081 09 011
                         3117 ARM DR                  ISLAS IGNACIO                          15 081 04 030
                         3121 ARM            R        ISLAS IGNACIO                          15 081 04 028
                         3124 ARITif OR               COOPER PHILLIP                         15 081 09 016
                         3125 ARITY DR                HABITAT FOR HUMANITY IN ATL            15 081 04 031
                         3228 C ARrre OR              COHRAN CRYSTAL                         15 081 09 012
                         3129 C ARITY DR              HABITAT FOR HUMANITY IN AR             15 081 04 032
                         3131 C RITf DR               HABITAT FOR HUMANTN IN ATL             15 081 04 027
                         3133 C RITY DR               PEMBERTON AND KLEMAN REAL              15 081 04 040
                         3114 CH RITY DR              COHRAN CRYSTAL                         15 081 09 020
                         3140 CH RITY DR              VENICE CAPITAL LLC                     15 081 09 019
                         3150 CHA ITV OR              MINCY HENRY                            15 081 09 013
                         3153 CHA ny DR               SPIVEY MARCQUES R                      15 081 04 025
                                                      HABITAT FOR HUMANITY IN All            15 081 04 024
                         5331 CHARITY WAY             GLOBAL PROFESSIONAL DEVELOPMEN         18 074 02 048
                                 -11NtITY WAY         BOWMAN SHARON                          18 074 02 047
                         3340 CHARITY WAY             THOMAS ANN                             18 074 02 036




              1
                         3347 CHARITY WAY             DOCKERY DANIEL JESUS                   18 074 02 046
                         5348 C.HAR1NY WAX            POUNDS TERESA I                        18 074 02 037
                         5355 CHARITY WAY             DAWIT GIRMAY Y                         18 074 02 045
                         5336 CHARITY WAY             BAKHTIARI VERONICA D                   18 074 02 038
                         5363 HARM WAY                DIUARD ANTHONY                         18 074 02 044
                         5364 CHARITY WAY             HUBBELL COREY L                        18 074 02 039
                         5371 CHARITY WAY             ROBERTS ONI TWANISHA                   18 074 02 043
               \\........_
                         5372 CHARITY WAY             CONLEY ANITA L                         18 074 02 040
                         5375 CHARITY WAY             FORREST CAROLYN                        18 074 02042
                         5376_CHARTTY WAY             WINBUSH SHIRLEY                        18 074 02 041
                                            For additional assistance, contact (4 04) 298-400e.




http://taxcommIssioner.dekalbcounryga.govitaxComrnissioner/TCDIsplay.asp                                                     Page 1 of
                   Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 236 of 261

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              Property Tax Information Results

                           Online Payments arc for 2cu4 Only     :6417#
                                                                  .     I                                               13 a cit.

                                                     For additional assistance, contact (404) 298-4000.

                           Property Identification                                             Property Value/Billing Assessment
    EarceilD                      18 074 02 043                                 Taxable Year                                                         2015
    pin Number                    4294163                                       LentYahie                                                          $58,900
    property Addren               5371 CHARITY WAY                              Bunding_Vatue,                                                    $174,100
    Property Type                 Real state                                    Misc. Improvement Vales                                                 $0
    Tax District                  84- STONE MTh                                 Total Value                                                       $233,000
                                                                                40% Taxable Aseassment                                             $93,200
                             Owner Information
                                 Last Name, First Name                                               Information as of 6/23/2015
    Ian. 1 St Owner              ROBERTS ONI TWANISHA                                                Tax Information Summary
             Co-Owner                                                           Taxable Year                                                            2014
    Current Owner                BAKER SISTER 'TRUST                            Malaga Rate                                                          0.05869
             naafi=
                                                                                Deltalb County Taxes Billed                                        $4,981.06
                                 160 =TREMONT RD                                DeKalb County Taxes Paid
    Current Owner Address        STE 200                                                                                                           $4,981.06
                                 DECATUR GA 30030                               DelCalb County Taxes Due                                                 $0.00
    Care of Information
                                                                                Total Taxes Billed                                                 64.981.06
                          ** CHANGE MAILING ADDRESS? "                          Total Taxes Paid                                                   $4,981.06
                                                                                Total Taxes Due                                                        $0.00
                           Homestead Exemption
    Exemption Type                     HIF - BASIC EXEMPTION WITH FREEZE
    Tax Exempt Amount                                               $0.00       Last Payment Date for DeKalb County Taxes                          1/14/2015
                                                                                Last Payment Amount for DeiCalb County Taxes                       $5,030.87

                       Other Exemption Information                                            ( Tax Paid Receipt                    Tax 8111 Details )
    Exemption Type
    Value Exemption Amount                                              $0.00
                                                                                      (    C.hoose a Tax Year -- ]       (cot Tax Payoff Info. I

                              Deed Information                                                        Prior Teem Tax
    Deed Tvna                     QUIT CLAIM DEED                                **Please note that information below may be 7 days old.
    Deed 0o0X/Pape                24835/ 110071                                  Delialb County Tax
    Plat Book/Page                / 01 0 DOG                                                                                                   Adjusted gilt
                                                                                 DISYNX                791311:62Lei Total d Total Due
                                                                                                                                                 P21.1291N
                          Property Characteristics/                              2014                  $4,981.06 $4,981.06 $0.00
                                                                                 2013                  $6,191.84 $6,191.84 $0.00
                             Sales Information                                   2012                  $6,521.26 $6,521.26 $0.00
    JIRO Cpda                  0730                                              2011                  $5,402.44 $5,402.44 $0.00
    Zonino Tvoq                R100 - SF RES DIST                                2010                  34,659.80 $4,659.80 $0.00
    Improvement Type           09-SINGLE FAMILY RESIDENTIAL                      2009                  $4,814.40 $4,814.40 $0.00
                               2001                                              2008                  $5,999.88 $5,999.88 $0.00
    Condition Cade             AVERAGE                                           2007                  $5,946.10 $5,946.10 $0.00
    Quality Grade              GOOD PLUS                                         2006                  $7,972.46 $7,972,46 $0.00
    Air Conditioning           YES                                               2005                  $7,197.24 $7,197.24 $0.00
    fireplaces
    Stories                    2                                                                         Delinquent Taxes/
    Square Footage             2,943 Sq. Ft.                                                            Tax Sale Information
    Basement Area              0 Sq. Ft.                                        Tax Salejile Numbec
    % Brant Finished           1,309 Sq. Ft.                                    FiFa-GED Book/Page
    Bedrooms                                                                    Levy Date
    Bathrooms                  3                                                Sale Date
    j,ast Deed Date            3/13/2015                                        Delineuent Amount Dug
    last Deed Amount           $10.00
                                                                                                  Property Tax Mailing Address
                                               Moir here to view oronerhtman    DeXalb County Tax Commissioner
    (Additional Property j                                                      Collections Division
                                                                                PO Box 100004
                                                                                Decatur, GA 30031-7004
                   For additional information on the data above,
            contact the Property Appraisal Department at 404-371-2471



hUp://taxcommissioner.deltatbcountyga.gov/TaxCommissioner/TCOisplay.asp?ParceiStaluswy&pin4294163                                                   Page 1 of
                    Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 237 of 261

                                                                                                                                                6/23/15 7:57A




                       Print this page for your records




                           Online Payments are for 2014 Only.    p.a.y.Nas      I                                            Back_      I

                                                   For additional assistance, contact (404 298-000.

                           Property Identification                                                 Property Value/Billing Assessment
                                  10 074 02 044                                     Taxable Year                                                        2015
    PP-53l.Ma
    Pin Numbar                    4294171                                           J.and Value                                                      $35,900
    prorsertv_Addres              5363 CHARITY WAY                                  guildina Value                                                  $226,300
    Property Type                 Real Estate                                       Misc. Imorovemant Value                                               $0
    Tax District                  84 - STONE MTN                                    Total Value                                                     $285,200
                                                                                    40% Taxable Assimment                                           $114,080
                             Owner Information
                                 Last Name, First Name                                                    Information as of 6/23/2015
    Jan. 1 sl flour              DILLARD ANTHONY                                                         Tax Information Summary
            Co-Owner                                                                Taxable Year                                                           2014
    Current _Owner               DILLARD ANTliONY                                   (linage Rate                                                        0.05869
            Co-Owner
                                                                                    Delralb County Taxes Billed                                        $3,287.36
    Owner Address                5363 CHARITY WAY                                   DeKatb County Taxes Paid
                                 STONE MOUNTAIN GA 30083-3660                                                                                          $3,287.36
    Care of Information                                                             DelCalb County Taxes Due                                               $0.00

                          "CHANGE   MAILING ADDRESS? "                              Total Taxes Billed                                                 $3,287.36
                                                                                    Total Taxes Paid                                                   $3,287.36
                                                                                    Total Taws Clue                                                        $0.00
                           Homestead Exemption
    laen118120.315111                  H1F - BASIC EXEMPTION wrnr FREME
    Tax_Exemot Amount                                               $0.00
                                                                                    Last Payment Date for DeKalb County Taxes                        11/4/2014
                                                                                    Last Payment Amount for Deltalb County Taxes                       $1,643.68
                       Other Exemption Information
    Exemption Type                                                                                 Tax Paid Receipt                 ( Tax Bill Details )
    Value Exemption Amount                                              $0.00

                                                                                            -- Choose a Tax Year -- :           Get Tax Payoff info.
                              Deed Information
    aegsLrAtit                   WARRANTY DEED                                                             Prior Years Tax
    Pee,s1J3ook/Pa84             12806/ 00496                                         **Please note that Information below may be 7 days old.
    Plat Book/Page               0118/ 0043                                          DelCalb County Tax
                                                                                     lax=                                                        Adiusted Bill
                                                                                                            TataBEM Total Paid      TotaIre
                                                                                                                                                    Due Date
                          Property Characteristics/                                  2014                   $3,287.36   $3,287.36   $0.00
                             Sales Information                                       2013                   $3,673.40   $3,673A0    $0.00
    LIMP-Sdlit                 0730                                                  2012                   $3,173.10   $3,173.10   $0.00
    Xonina Tyne                R100 - SF RES 01ST                                    2011                   $2,887.70   $2,887.70   $0.00
    Improvement Type           09-SINGLE FAMILY RESIDENTIAL                          2010                   $2,490.24   $2,490.24   $0.00
    Year_Bulit                 2001                                                  2009                   04,623.50   $4,623.50   $0.00
    Condition Code             AVERAGE                                               2008                   $5,730.60   $9,730.60   $0.00
    Quality Grade              GOOD PLUS                                             2007                   $5,679.76   $5,679.76   $0.00
    Air Conditioning           YES                                                   2006                   $5,807.12   $5,807.12   $0.00
                                                                                     2005                   $5,196.35   05,196.35   $0.00
    Fireplaces                 1
    Stories                    2
    Square Footage             2,640 Sq. R.                                                                  Delinquent Taxes/
    Basement Area              0 Sq. R.                                                                     Tax Sale Information
    % Eismt Finished           976 Sq. Ft.                                          Tax_Sale File_Numteac
    Bedrooms                   4                                                    FIFa-GED Book/Page
    Bathrooms                  3.5                                                  Levy Date
    Last Degd Oat@             11/23/2001                                           5ale_Oate
    Last Deed Amount           $252,000.00                                          petinauentAmaunt gee

                                             Click here tp view orsurertv moo                          Property Tax Mailing Address
      Additional Properin                                                           DeKalb County Tax Commissioner
                                                                                    Collections Division
                                                                                    PO Box 100004
                  Far additional information on the data above,                     Decabo, GA 30031-7004
            contact the Property Appraisal Department at 404-371-2471

                                                   For additional assistance, contact (um) 298-4000.

http://taxcommissioner.dekalbcountyga.gov/TaxCommissioner/TaXsplay.asp?Parceigatus•qapin=4294171                                                       Page 1 of;
                   Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 238 of 261

GnuII - 18 074 02 043 - DeKalb County 2014 Appeal C.onfitmatIon                                                                     6/23/15 7:45 Al




            tr.g1 all                                                                                      Cry Btkr.1 'i•              friJ:1




 18 074 02 043 - DeKalb County 2014 Appeal Confirmation
   rilit":n1Z

 rosproperty@dekalbcountyga.gov <respropertygdekalbcountyga.gov>                                                     Wed, Jun 18,2014 at 3:58 Pi+
 To: docfivinity@gmail.com
 Cc: appltonktdekalboountyga.gov



                                                     DeKalb County Property Appraisal Department
                                                              2014 Online Appeal Form


                                                            asup_42.aginio to this wriall.

                DATE: 6118120143:56:43 PM
                SUBJECT: 2014APPEAL CONFIRMATION

                OWNER NAME: ROBERTS ON1
                PARCEL !DM 18 074 02 049
                PROPERTY ADDRESS: 6371 CHARITY WAY
                Confirmation Number 2014028139859760

                Your 2014 appeal has been successfully submitted to the Property Appraisal Department. Our appraisal staff will review
                your appeal and make a recommendation to the Board of Tax Assessors, who will notify you of the decision in writing.
                This process can take several weeks or months.

                You are hereby notified (and should communicate this notification to any other occupants of your property) that
                pursuant to 0.C.GA 48-5-284.1 (a), representatives of the DeKalb Property Appraisal Department, with proper ID, may
                enter upon your property during normal business hours, for the purposes of collecting accurate data or any verifications
                thereof due to any permits issued, return of value filing, revaluations (partial or whole), parcel sales, and appeal
                reviews. Please contact our office if you have questions.

                We appreciate your patience as we give careful consideration to the information you have provided.

                Please print this message and keep a copy for your records.

                If you have additional information to send to us regarding your appeal, please print a copy of this Confirmation Letter
                and attach it to the front of your documents, then mail to:

                DeKalb County Property Appraisal Department
                Additional Appeal Information
                120 West Trinity Place
                Decatur, GA 30030




bups://mail.geogle.com/mailfu/0/7u1..2816484040aEllavlew=ptikr....ov•truelisearchmtwery&th=146b0937c1b104586sIm1=14660937c1b10458          Page 1 of
                  Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 239 of 261


         4,auffrr.0
                   'II, DeKalb County
                                                       ANNUAL NOTICE OF ASSESSMENT
                                                                                                                                    HEM
                          Property Appraisal Department                                                         Notice Date: 05/28/2013
                          120 West Trinity Place, Room 208                                                     This is:#04taii-bill - - - ': ..'
                          Decatur, GA 30030 PHONE (404) 371-0841                                               Do not: send, payment
                                                                                                            Last Date to File Appeal:
             '''•4***** '          AUTO'S-DIGIT 30083                                                             07/1=013
                ROBERTS ONI                                                                       County property records are available online at:
                ROBERTS FORREST 0 JR                                                                      dekalbcountyga.gov/propappr
                                                                           t7648111/45021
                5371 CHARITY WAY
                STONE MOUNTAIN, GA 30083-3660
                                                                                               OFFICIAL TAX MATTER - 2013 ASSESSMENT

  The amount of your ad valorem tax bill for the year shown above will be based on the appraised (100%) and assessed (40%)
  values specified in this notice. You have the right to appeal these values to the County Board of Tax Assessors. All documents
  and records used to determine the current value are available on request. Additional information on the appeal process may
                         '     be obtained at bups://etax.dor.ga.gov/PTD/admitaxguide/appeals-aspx
                            At the thne of filing your appeal you must select one of the following options:
            (1)Appeal to the County Beard of Equalization with appeal to the Superior Court. (value1 uniformity, denial of exemption, taxability)
            (2)To arbitration without an appeal to the Superior Court (valuation is the only grounds that may be appealed to arbitration)
            (3)Fore Pared of non-homestead property with a FMV in excess of SI million, to a hearing officer with appeal to the Superior Court.
        If you wish to file an appeal, you must do so in writing no later than 45 days after the date of this notice. If you do not file
             an appeal by this date, your right to file an appeal will be lost.Appeal forms which may be used are available at
                                         bttp://web.to.dekalb.ga.us/ProperVAppraisaldappeal.h(ml
For further information on the proper method of filing an appeal, you may contact the DcKalb County Board of Tax Assessors which
 is located at 120 Wcsi Trinity Place, Room 208, Decatur, GA 30030 and which may be contacted by telephone al: (404) 371-0841.
            . Your staff contacts are JAFARI FARMER (404) 371-7086 and BRENTNOL BAKER (404) 371-6351
            . ..             .                       . _ . . ..       • ... . _ .... . .. . _ • .. . _ - ., -            , _ . . ... ... __
     AccountNknb  -er              -' "
                              PropertylD.Ntimber    . Apreags -              'ThX•Dist                  Coyenapt:Year        Homestead.
                                                          • ---                                              " - •
       4294163                    18 074 02 043    I        .30            STONE MTh                                          YES - H IF
 ffogrk.'s.ciii*911 - R3 - RESIDENTIAL LOT                                                                                                  _
 PAIlistY Addie.s.s.       . 5371 CHARITY WAY                                  -                                  --.. .
 Fair hiariiiiMituo:    - : . - Returned Value - .--Preijp.0..s. Year Value 1- ',.._-, ":C.iiiiiit. Wit'. Value.„ . . .  Offier, yaitie.. .
 1.0095:dirlYiii:liet'Vahie                                                332.800 ,                                 32 8(10 ,
..;AV)Assesigifypiq ' ._                                                   133.120                                   133,120
                                                                                                                                        ..       ,...     a
                                                                                                                                                                     -
   ..       •  -  -
                                              - - • - - - - " ?REASONS, FOR NOTIC.4 ' ' :                '        ... : . . ' '' - _               6




Annual Assessment Notice requited by GA Law (OCGA-48-5-306)
Based an the following Review. Property Return or Audit
- " ybe:estilnit:eatiopi'ad vaiiiiiiil4puiViithA-Fiirroit felti--Skodsiaii:thikeilogi Spiel Ipiii4i.e rate ind.tliefiii. AFirgeAspiimaidibied . .„.7__
'       imthiintitliethe.aeliAtaFtiali you receive may be tilbre or less than thilestinsate. This estininso may riatitiihni.e'alleilgiblti etieNitiims:i.
      Taxing                         Mutable            2012   _         Gross               Frozen           CONST-HMST                   host     -       Net
    Authority                      Assessment X Milloge - Tax Amount - Exemption -                              Exemption          -      Ctedit          Tax Due
-
 COUNTY OPNS                             133,120       .010430             1,38844                  .00                104.30          757.65             526.49
 HOSPITALS                               133,120       .000940               125.13                 .00                  940            68.28              47.45
 COUNTY BONDS                  .         133,120       .000700                93.18                 .00                  .00              .00              93.18
 FIRE                                    133,120       .003290               437.96                 .00                32.90           238.99             166.07
 5Th! TAXDIST                            133,120       .000160                21.30                 .00                 1.60            11.62               8.08
 POLICE SERVC                            133,120       .000310                41.27                 .00                 3.10            22.52              15.65
 SCHOOL OPNS                             133,120       .023980             3,192.22                 .00               299.75              .00           2,892.47
 STATE TAXES                             133,120       .000201)               26.62                 .00                  .40              .00              26.22
 CITY TAXES                              133,120       .018800             2,502.66                 .00                   .00              .00          2,502.66
 scTo
   rny.
     rismi
        win1/4.f,
          [. .                                                         -     195.00.                                                               .,     i15,00
               WE I S -
 Esdniate frirCounly
                      N            N OT A Ril
                                          .0758 iim
                                                    L D(104\10T
                                                       8,071.78 45'END PAYNdEN                                        4 51.45        1,099.
                                                                                                                                                              184°
 Total Estimate                                        .058810             8,071.78                 .40               451.45         4099.06            6,521.27




 9 MO OM         491PIA91/11
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 240 of 261




                              EXHIBIT P
                                Audit




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                                                                                                                                  0117/18, 10:37 AI
GEORGIA.




                                                                                                       GEORGIA SECRETARY OF STATE
                        GEORGIA
                                                                                                                BRIAN P. KEMP
                        CORPORATIONS DIVISION
                                                                                                                                 HOME (/)
      BUSINESS SEARCH

        BUSINESS INFORMATION
                                           PRIMFSIAR FUND I
                     Business Name:                                                        Control Number: 15001743
                                           TRS INC.
                                           Foreign Profit
                        Business Type:                                                      Business Status: Revoked
                                           Corporation
                   Business Paws= NONE
                                      8665 East Hartford Dr,
                                                                                         Date of Formation /
            Principal Office Address: Suite 2011, Scottsdale, AZ,                                            1/6/2015
                                                                                          Registration Date:
                                      85255, USA
                                                                                 Last Annual Registration 2017
                           Jurisdiction: Delaware
                                                                                                    Year:
                        Dissolved Date: 09/07/2018


        REGISTERED AGENT INFORMATION                                                 a
            Registered Agent Name: C T CorporationSystem
                   Physical Address: 289 S Culver St, Lawrenceville, GA, 30046-4805, USA
                               County: Gwinnett


        OFFICER INFORMATION

         Name                 Title            mann Adthess
           Adk Prawer         CFO              8665 East Hartford Dr Suite 200, Scottsdale, AZ, 85255, USA
           Fred Tuomi         CEO              8665 East Hartford Dr Suite 200, Scottsdale, AZ, 85255, USA
           Ryan Berry         Secretary        8665 East Hartford Dr Suite 200, Scottsdale, AZ, 85255, USA


                                                         Filing }Wary            Name Many
           Back
                                                              Return to Business Search


htms://ecerp.sos.ga.govjElyeleessSearch/BusinessInformation7busirtessidi220155511kbusInessTypemForeign1(20Profit%20Corperation          Page 1 al :
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 242 of 261




MORTGAGE FRAUD INVESTIGATIONS
                                                   265 S. FEDERAL HWY. STE 279
STEPHEN J. DIBEFtT                              DEERFIELD BEACH. FL 334414148
                                                      TELEPHONE: (551)317.9915
                                                        FACSIMILE: (888) 8254285




               FORENSIC AUDIT REPORT
                                       FOR

         Oni Roberts aka
       Twanisha Oni Roberts
              5371 Charity Way
          Stone Mountain, GA 30083




Oni Roberts aka Twanisha Oni Robarts
6371 Chanty Way
Stone Mountain, Gk 30083


                                        1
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Original Lender:               • ServIcor:                           Alleged Note Holder:
Bank of America, NA.             Statobridge Company                 PrimeStar Fund 1 IRS. Inc.
9000 Southside Blvd.             5680 Greenwood Plaza Blvd. Ste. 100
Jacksonville, FL 32256           Greenwood Village. CO 90111
NIERS ID#                        Loan #
N/A                              6864351371

Origination
On 7/26/2006, Oni Roberts aka Twanisha Oni Roberts (client) and her ex-husband consummated a 30-
year fixed mortgage in the amount of $302,000 with an interest rate of 5.575% and a payment of
$1.786.45
Modification
On 4/7/2010, Client and her ex-husband negotiated a loan modification with BAC Home Loan Seividng,
the servicer for alleged note holder. Bank of America. NA with following terms:

Time Frame:              Start Date:   Interest        Principal & Interest Payment
Years 1-5                April 2010    2.75%           $1,291.40
Year 6                   April 2016    3.75%           $1,409.92
Year 7                   April 2016    4.75%           $1,539.92
Year 23-30               April 2017    5%              $1,572.14

Note
The note is endorsed in blank by Bank of America AVP Christina M. Schmitt.

Public Records
Client's Security Deed (Georgia's version of a mortgage) dated 7/26/2006 was recorded with the DeKalb
County Clerk of the Superior Court on 8/15/2006.
011'4/5/2012, Client and her ex-husband filed Chapter 13 Bankruptcy and reaffirmed the Bank of America.
mortgage In the filing.
On 6124/2014, a mortgage assignment dated 3119/2014 was recorded with the DeKalb County Clerk
assigning this mortgage from Bank of America to US Bank NA as Trustee for Prof 2013-83 REMIC Trust
iii

On 12/28/2014, a second mortgage assignment dated 12/16/2014 was recorded with the DeKalb County
Clerk indicating that the mortgage was being assigned from US Bank NA as Trustee for Prof 2013-83
REMIC Trust III to Wilmington Savings Funding Society FSB as Trustee for PdmeStar-H1 Fund 1 Trust.
On 3/19/2015, a Quit Claim Deed dated 11/7/2014 was recorded with the DeKalb County Clerk from
Forrest Roberts to Twanisha Oni Roberts.

On 3/19/2015, a second Quit Claim Deed dated 3/13/2015 was recorded with the DeKalb County Clerk
from Twanisha Oni Roberts to the Baker Sister Trust

On 12/17/2016, a Special Warranty Deed was recorded with the DeKalb County Clerk Indicating the
property was being sold by Wilmington Savings Funding Society FSB as Trustee for PrimeStar-H1 Fund 1
Trust to PrimeStar-H Fund 1 Trust.

REM= Trusts


                                                  2
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However, after reviewing the Securities and Exchange Commission's EDGAR database, it appears that
none of the REIM Trusts named in thevarlous mortgage assignments are registered with the Securities
and Exchange Commission (SEC). Therefore, they either don't exist or in violation of Section 5 of the
SEC Act of 1933 that requires all entities offering securities to be registered with the SEC or qualify for a
Rule 144a exemption frourthe registration requirements. (htta://www.secitov1answershule144J1tro)

Validation of the Debt
It appears that that Statebridge is unable to validate the debt that Is owed on this loan. The transaction
history supplied by Statebridge to MFI-Miaml begins on 9115/2014 and goes through 1111512017. Nearly
95 months of transaction history are missing. Therefore, validating an accurate amount of the debt would
be impossible.

                                                Disclaimer

The comments, opinions, conclusions contained in this Mortgage Loan Audit Report are not intended to
provide legal advice, and should not be relied on for legal advice. The Applicant(s) is hereby advised that
they should consult their legal adviser if they seek legal edifice regarding the Information contained
herein.
                                               Certification

The comments, opinions, and conclusions of the Examiner are based on information provided by
Applicant(s) in accordance with the Terms and Conditions of the Mortgage Fraud Investigation
Agreement. If Information was submitted by either the Mortgage Broker, or the Mortgage Lender, or both
regarding this Mortgage transaction, whether or not submitted in response to a Qualified Written Request
(OWR) if demanded by the Examiner, said information provided has been fully reviewed by Examiner,
and given full consideration in the process of forming the comments, opinions, and conclusions contained
in this Mortgage Loan Amid Report.
Based on the Information submitted by the Applicant(s) and if applicable, ail other parties involved with
this transaction, it is the opinion of the Examiner that Applicant(s). should seek the advice of a qualified
licensed attorney to assess the extent of any legal remedies that may be available, and to what extend
pursuing such remedies may provide a benefit to the Applicant(s).




Stephen Dibert, Examiner 811812018
MFI-Miami, LLC-Examiner




                                                     3
Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 245 of 261




                            EXHIBIT Q
                      Foreclosure Notice Letters




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 Busch
 White
 Norton



This law firm is acting as a debt collector. This is an attempt to
collect a debt and any information obtained will be used for that
purpose.
                                        November 22, 2014


WA-CERTIFIED MAIL — RETURN RECEIPT REOUESTED

Oni Roberts
Forrest G Roberts, Jr.
5371 Charity Way
Stone Mountain, Georgia 30083

Re:    Promissory Note (as amended, modified, or revised from time to time, the "Note") dated
       July 25,2006 in the original principal amount of $302,000.00 by Oni Roberts and Forrest
       G Roberts, Jr. ("Borrower") and in favor of Wilmington Savings Fund Society, FSB, not
       in its individual capacity but solely as Trustee for the PrimeStar-H Fund I Trust (assignee
       of U.S. Bank National Association, as Trustee for Prof-2013-S3 Remic Trust III as
       assignee of Bank of America, N.A., "Lender"), secured by that certain Security Deed
       dated July 25, 2006, filed and recorded August 15, 2006 in Deed Book 19045, Page 31 of
       the Official Records of the Clerk of Superior Court of DeKalb County, Georgia (as
       amended, modified, or revised from time to time, the "Security Deed"); each of the above
       described instruments being referred to herein as the "Loan Documents"

Dear Borrower:

        This firm represents Lender with respect to the captioned matters. Borrower has
committed a monetary default under the Loan Documents in that Borrower has not paid the debt
service due under the Loan Documents for several months. As a result, Borrower has committed
a default under the Loan Documents, thereby causing the acceleration, attorney's fees and
foreclosure provisions of this letter to apply. Nonetheless, this letter is to give notice to you that
you may cure this default by paying all accrued but unpaid interest, late fees, and costs incurred
by Lender to date in connection with the Loan Documents and the real estate secured by the
Loan Documents in the amount of $61,325.56


                                                                                             3330 Cumberland Blvd.
                                                                                                          Suite 300
                                                                                             Atlanta, Georgia 30339

                                                                                                 P (770) 790-3550
                                                                                                 F (770) 790-3520
                                                                                                ww.v.bvinfirm.com
   Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 247 of 261



                                                                                      Roberts
                                                                             November 22,2014
                                                                                       Page 2




       Because of interest, late charges, and other charges that may vary from day to day, the
amount due on the day you pay may be greater. Hence, if you pay the amopnt shown above, an
adjustment may be necessary after we receive your check, in which event we will inform you
before depositing the check for collection. For further information, write the undersigned or call
(770) 790-3550.

       If the above amount is not paid in thirty (30) days, then in accordance with the terms and
conditions of the Loan Documents, the entire amount of the present outstanding balance of both
the principal and accrued interest at the default rate on indebtedness evidenced by the Loan
Documents and secured by the Loan Documents, all late charges incurred on the indebtedness
evidenced by the Loan Documents, all interest incurred at the default rate specified in the Loan
Documents and all other charges provided for under the Loan Documents (all such monies due
on said indebtedness hereinafter collectively referred to as the "Amounts Due") shall be
considered, without further action or notice by Lender or its counsel, declared immediately due
and payable. After acceleration has occurred Borrower has the right to reinstate and bring a
court action should Borrower assert the non-existence of a default or any 'other defense to
acceleration and sale under Georgia law.

       Unless the Amounts Due are paid in full within ten (10) days from the expiration of the
30 day period set forth above, the provision for attorneys' fees in the Loan Documents will be
enforced, as provided by Official Code of Georgia Annotated ("0.C.G.A.") Section 13-1-11, and
you will be required to pay such stipulated attorneys' fees. The payment for attorneys' fees will
be in addition to your obligation to pay the Amounts Due. If you pay the Amounts Due within
ten (10) days after the expiration of the 30 day period, you will not be required to pay the
attorneys' fees. In other words, you can avoid the additional obligation of attorneys' fees if the
Amounts Due are fully paid within ten (10) days from the expiration of the 30 day period.

       This letter shall also serve as notice that Lender intends to initiate foreclosure
proceedings against the Property on the first Tuesday of January, 2015 and may also exercise its
other rights under the Loan Documents, which rights will be in addition to the rights which are
exercised, noticed or discussed herein. A copy of the Notice of Sale Under Power which shall be
submitted to The Champion for publication is enclosed herewith.

      Any money expended by Lender in accordance with the terms and conditions of the Loan
Documents shall be added to the outstanding principal indebtedness secured by the Loan
Documents, shall bear interest at the delinquency rate specified in the Loan Documents, shall be
deemed secured by the Loan Documents, and shall be subject to the aforementioned provisions
   Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 248 of 261



                                                                                      Roberts
                                                                            November 22, 2014
                                                                                       Page 3




contained in the Loan Documents governing the payment of attorneys' fees. No attorneys' fees
shall be due for such additional money expended until after ten days from your receipt of notice
of such additional Amounts Due, and you will have an opportunity to avoid such additional
attorneys' fees by the payment of the additional Amounts Due within ten days from receipt of
notice.

        Notice is also hereby given to you pursuant to 0.C.G.A. Section 134-4, that Lender
continues to rely on and hereby continues to require strict compliance with each and every term
and condition of the Loan Documents and the other documents evidencing and securing the
indebtedness evidenced by the Secured Indebtedness, and none of the terms or conditions
contained in said Loan Documents shall be construed as having been modified by Borrower's
failure to make the payments required under the Loan Documents.

       All inquiries concerning the Loan Documents and, any amounts due thereunder should be
directed to me at the firm of Busch White Norton, LLP (770-790-3550). I hereby give notice to
you that I am empowered to negotiate, amend and modify all terms of the Loan Documents with
you. A copy of this letter is being sent to you by certified mail. Refusal of delivery is deemed,
under the law, to be equivalent to notice.

This law firm is acting as a debt collector. This is an attempt to
collect a debt and any information obtained will be used for that
purpose.



                                            Sincerely,



                                            Guillermo Todd
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This is an attempt to collect a debt and any information obtained will be used for that purpose.

NOTICE OF SALE UNDER POWER GEORGIA, DEKALB COUNTY

By virtue of a Power of Sale contained in that certain Security Deed from ONI ROBERTS AND FORREST G ROBERTS, JR. to
Wilmington Savings Fund Society, FSB, not in its individual capacity but solely as Trustee for the PrimeStar-H Fund I Trust (assignee of
U.S. Bank National Association, as Trustee for Prof-2013-53 Remic Trust Ill as assignee of Bank of America, N.A.) (“PrimeStar"), dated
July 25, 2006, filed and recorded August 15, 2006 in Deed Book 19045, Page 31, DeKalb County, Georgia Records (as amended, modified,
or revised from time to time, "Security Deed"). said Security Deed having been given to secure a Note in the original principal amount of
THREE HUNDRED TWO THOUSAND AND NO/100THS DOLLARS ($302,000.00) (as amended, modified, or revised from time to time,
the "Note", with interest thereon as provided for therein, there will be sold at public outcry to the highest bidder for cash before the
courthouse door of DEKALB COUNTY, Georgia, within the legal hours for sale on the first Tuesday in January, 2015, all property
described in said Security Deed, including, but not limited to, declarant's rights, if any, and, without limitation, the following described
property (or so much thereof as has not, as of said first Tuesday, by duly executed and recorded instrument, previously been released from
the lien of the Security Deed):

ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOT 74 OF THE 18TH DISTRICT OF DEKALB
COUNTY, GEORGIA, AND BEING LOT 8, IVY RIDGE SUBDIVISION, AS PER PLAT RECORDED IN PLAT BOOK 118,
PAGES 4344, DEKALB COUNTY, GEORGIA RECORDS, AS REVISED AT PLAT BOOK 118, PAGE 96, DEKALB COUNTY,
GEORGIA RECORDS, TO WHICH PLATS ARE HEREBY REFERENCED TO FOR THE PURPOSE OF INCORPORATING
HEREIN.

The indebtedness secured by said Security Deed has been and is hereby declared due because of default under the terms of said Security
Deed and Note, including, but not limited to, the nonpayment of the indebtedness as and when due. The indebtedness remaining in default,
this sale will be made for the purpose of paying the same, all expenses of the sale, including attorneys' fees and other payments provided for
under the terms of the Security Deed and Note.

Said property will be sold subject to the following items which may affect the title to said property: all zoning ordinances; matters which
would be disclosed by an accurate survey or by inspection of the property; any outstanding taxes, including, but not limited to, ad valorem
taxes, which constitute liens upon said property; special assessments; and all outstanding bills for public utilities which constitute liens ,upon
said property; To the best of the knowledge and belief of the undersigned, the party In possession of the property-is ON! ROBERTS AND
FORREST G ROBERTS, JR. or tenant(s).

The sale will be conducted subject (1) to confirmation that the sale is not prohibited under the United States Bankruptcy Code and (2) to final
confirmation and audit of the status of the loan with the holder of the Security Deed. PrimeStar and its counsel are acting as debt collectors.
Any information obtained will be used for that purpose.

PrImeStar as Attorney-In-Fact for ON! ROBERTS AND FORREST G ROBERTS, .11t.
Contact: Guillermo Todd, Esq.
Busch White Norton, LLP
3330 Cumberland Boulevard, Suite 300
Atlanta, Georgia 30339
Telephone (770) 790,3550
           Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 250 of 261




        Busch
        White
        Norton •



        This law firm is acting as a debt collector. This is an attempt to
        collect a debt and any information obtained will be used for that
        purpose.


        VIA-CERTIFIED MAIL — RETURN RECEIPT REQUESTED

        Oni Roberts
        Forrest G Roberts, Jr.
        5371 Charity Way
        Stone Mountain, Georgia 30083

        Re:       Promissory Note (as amended, modified, or revised from time to time, the "Note") dated July 25,
                  2006 in the original principal amount of $302,000.00 by Oni Roberts and Forrest 0 Roberts, Jr.
                  ("Borrower") and in favor of Wilmington Savings Fund Society, FSB, not in its individual
                  capacity but solely as Trustee for the PrimeStar-H Fund 1 Trust (assignee of U.S. Bank National
                  Association, as Trustee for Prof-2013-S3 Remic Trust 111 as assignee of Bank of America, N.A.,
                  "Lender"), secured by that certain Security Deed dated July 25, 2006, filed and recorded August
                  15, 2006 in Deed Book 19045, Page 31 of the Official Records of the Clerk of Superior Court of
                  DeKalb County, Georgia (as amended, modified, or revised from time to time, the "Security
                  Deed"); each of the above described instruments being referred to herein as the "Loan
                  Documents"

        Dear Borrower:

                As indicated by my letter of December 31, 2014, this firm represents Lender with respect
        to the captioned matters. You have committed a monetary default under the Loan Documents.

               As a result, I now disclose to you the following, in accordance with the requirements of
        the Federal Debt Collection Practices Act:

              (1) The amount of the debt is                  Because of interest, late charges, and other
                  charges that may vary from y o ay, the amount due on the day you pay may be
                  greater. Hence, if you pay the amount shown above, an adjustment may be necessary
                  after we receive your check, in which event we will inform you before depositing the
                  check for collection. For further information, write the undersigned or call (770) 790-




3330 Cumberland Blvd.. Suite 300, Atlanta, GA 30339   P (770)790-3550 F (7701 790-3520                   i.verw.bwnRrm.com
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       3550.

   (2) The name of the creditor is Wilmington Savings Fund Society, FSB, not in its individual
       capacity but solely as Trustee for the PrimeStar-H Fund I Trust (assignee of U.S. Bank
       National Association, as Trustee for Prof-20I3-S3 Remic Trust III as assignee of Bank of
       America, N.A.).

   (3) Please note that unless you dispute the validity of this debt within 30 days after the date
       of this letter, I will assume the debt to be valid.

   (4) Please note that if you notify me in writing within the above 30 day-period that you
       disputes all or any portion of the debt, I will obtain a verification of the debt, or a copy of
       the judgment (as the case may be in accordance with the facts surrounding this case), and
       will mail a copy of such verification or the judgment to you (as the case may be in
       accordance with the facts surrounding this case).

   (5) Please note that if you provide me a written request for the name of the creditor within
       the same 30 day-period, I will provide such name to you if it is different from
       Wilmington Savings Fund Society, FSB, not in its individual capacity but solely as
       Trustee for the PrimeStar-H Fund I Trust.

       All inquiries concerning the Loan Documents and any amounts due thereunder should be
directed to me at the firm of Busch White Norton, LLP (770-790-3550). I hereby give notice to
you that I am empowered to negotiate, amend and modify all terms of the Loan Documents with
you. A copy of this letter is being sent to you by certified mail. Refusal of delivery is deemed,
under the law, to be equivalent to notice.

This law firm is acting as a debt collector. This is an attempt to
collect a debt and any information obtained will be used for that
purpose.
                                              Sincere!



                                              Guillermo Todd
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        Busch
        White
        Norton


        This law firm is acting as a debt collector. This is an attempt to
        collect a debt and any information obtained will be used for that
        purpose.
                                                     April 22,2015

        VIA-CERTIFIED MAIL — RE                      RECEIPT REGUESTXD

        Oni Roberts
        Forrest G Roberts, Jr.
        5371 Charity Way
        Stone Mountain, Georgia 30083

        Re:       Promissory Note (as amended, modified, or revised from time to time, the "Note") dated July 25,
                  2006 in the original principal amount of $302,000.00 by Oni Roberts and Forrest U Roberts, Jr.
                  ("Borrower") and in favor of Wilmington Savings Fund Society, FSB, not in its individual
                  capacity but solely as Trustee for the PrimeStar-H Fund I Trust (assignee of U.S. Bank National
                  Association, as llustee for Prof-2013-S3 Remic Trust 111 as assignee of Bank of America, NA.,
                  "Lender"), secured by that certain Security Deed dated July 25, 2006, filed and recorded August
                  15,2006 in Deed Book 19045, Page 31 of the Official Records of the Clerk of Superior Court of
                  DeKalb County, Georgia (as amended, modified, or revised from time to time, the "Security
                  Deed"); each of the above described instruments being referred to herein as the "Loan
                  Documents"

        Dear Borrower:

               As indicated by my letter of April 22, 2015, this fum represents Lender with respect to
        the captioned matters. You have committed a monetary default under the Loan Documents.

               As a result, I now disclose to you the following, in accordance with the requirements of
        the Federal Debt Collection Practices Act

              (1) The amount of the debt is i319,132.15.)Because of interest, late charges, and other
                  charges that may vary from -fty-To day, the amount due on the day you pay may be
                  greater. Hence, if you pay the amount shown above, an adjustment may be necessary
                  alter we receive your check, in which event we will inform you before depositing the
                  check for collection. For further information, write the undersigned or call (770) 790-




3320 Cumberland Blvd. Surto 300. Atlanta, GA 3033g   P Ina)700-3550 F (770)790-3P0
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 i••••




            3550.

         (2) The name of the creditor is Wilmington Savings Fund Society, FSB, not in its individual
             capacity but solely as Trustee for the PrimeStar-H Fund I Trust (assignee of U.S. Bank
             National Association, as Trustee for Prof-2013-53 Remic Trust III as assignee of Bank of
             America, NA.).

         (3) Please note that unless you dispute the validity of this debt within 30 days after the date
             of this letter, I will assume the debt to be valid.

         (4) Please note that if you notify me in writing within the above 30 day-period that you
             disputes all or any portion of the debt, I will obtain a verification of the debt, or a copy of
             the judgment (as the case may be in accordance with the facts surrounding this case), and
             will mail a copy of such verification or the judgment to you (as the case may be in
             accordance with the facts surrounding this case).

         (5) Please note that if you provide me a written request for the name of the creditor within
             the same 30 day-period, I will provide such name to you if it is different from
             Wilmington Savings Fund Society, FSB, not in its individual capacity but solely as
             Trustee for the PrimeStar-H Fund I Trust.

       All inquiries concerning the Loan Documents and any amounts due thereunder should be
directed to me at the firm of Busch White Norton, LLP (770-790-3550). I hereby give notice to
you that I am empowered to negotiate, amend and modify all terms of the Loan Documents with
you. A copy of this letter is being sent to you by certified mail. Refusal of delivery is deemed,
under the law, to be equivalent to notice.

This law firm is acting as a debt collector. This is an attempt to
collect a debt and any information obtained will be used for that
purpose.
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        Busch
        White
        Norton


        This law firm is acting as a debt collector; This is an attempt to
        collect a debt and any information obtained will be used for that
        purpose.



         VIA-CERTIFIED _MAIL — RETURN RECEIPT REQUESTED

         Oni Roberts
         Forrest G. Roberts, Jr.
         5371 Charity Way
         Stone Mountain, Georgia 30083

         Re: —Promissory Note (as amended, modified, or revised from time to time, the "Note") dated
              July 25, 2006 in the original principal amount of $302,000.00 by Oni Roberts and Forrest
              G. Roberts, Jr. ("Borrower") and in favor of Wilmington Savings Fund Society, FSB, not
              in its individual capacity but solely as Trustee for the PrimeStar-H Fund I Trust (assignee
              of U.S. Bank National Association, as Trustee for Prof-2013-S3 Remic Trust III as
              assignee of Bank of America, NA., "Lender"), secured by that certain Security Dged
              dated July 25,2006, filed and recorded August 15, 2006 in Deed Book 19045, Page 31 of
              the Official Records of the Clerk of Superior Court of DeKalb County, Georgia (as
              amended, modified, or revised from time to time, the "Security Deed"); each of the above
              described instruments being referred to herein as the "Loan Documents"

         Dear Borrower!

               As you know, this firm represents Lender with respect to the captioned matters. Borrower
        has committed a monetary default under the Loan Documents in that Borrower has not paid the
        debt service due under the Loan Documents for several months. As a result, Borrower has
        committed a monetary default under the Loan Documents, thereby causing the acceleration,
        attorney's fees and foreclosure provisions of this letter to apply. Nonetheless, this letter is to
        give notice to you that you may cure this monetary default by paying all accrued but unpaid
        interest, late fees, and costs incurred by Lender to date in connection with the Loan Documents
        and the real estate secured by the Loan Documents in the amount of

               Because of interest, late charges, and other charges that may vary from day to day, the
         amount due on the day you pay may be greater. Hence, if you pay the amount shown above, an
         adjustment may be necessary after we receive your check, in which event we will inform you


3330 Cumberland Elbrd. Suite 300. Atlanta, CA 30339   P 17701 70-3550 F (ria)790-3520             www.bwnflmi.com
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                                                                                         Roberts
                                                                                    May 27, 2015
                                                                                          Page 2




before depositing the check for collection. For further information, write the undersigned or call
(770) 790-3550.

        Since the above amount was not paid within thirty (30) days from the date of our prior
letter to you dated April 22, 2015, then in accordance with the terms and conditions of the Loan
Documents, the entire amount of the present outstanding balance of both the principal and
accrued interest at the default rate on indebtedness evidenced by the Loan Documents and
secured by the Loan Documents, all late charges incurred on the indebtedness evidenced by the
Loan Documents, all interest incurred at the default rate specified in the Loan Documents and all
other charges provided for under the Loan Documents (all such monies due on said indebtedness
hereinafter collectively referred to as the "Amounts Due") shall be considered, without further
action or notice by Lender or its counsel, declared immediately due and payable. After this
acceleration has occurred Borrower still has the right to reinstate and bring a court action should
Borrower assert the non-existence of a default or any other defense to acceleration and sale under
Georgia law.

         Unless the Amounts Due are paid in full within ten (10) days from the date of this letter,
the provision for attorneys' fees in the Loan Documents will be enforced, as provided by Official
Code of Georgia Annotated ("O.C.G.A.") Section 13-1-11, and you will be required to pay such
stipulated attorneys' fees. The payment for attorneys' fees will be in addition to your obligation
to pay the Amounts Due. If you pay the Amounts Due within ten (10) days after the date of this
letter, you will not be required to pay the attorneys' fees. In other words, you can avoid the
additional obligation of attorneys' fees if the Amounts Due are fully paid within ten (10) days
from the date of this letter.

       This letter shall also serve as notice that Lender intends to initiate foreclosure
proceedings against the Property on the first Tuesday of June, 2015 and may also exercise its
other rights under the Loan Documents, which rights will be in addition to the rights which are
exercised, noticed or discussed herein. A copy of the Notice of Sale Under Power which has
been submitted to The Champion for publication is enclosed herewith.

        Any money expended by Lender in accordance with the terms and conditions of the Loan
Documents shall be added to the outstanding principal indebtedness secured by the Loan
Documents, shall bear interest at the delinquency rate specified in the Loan Documents, shall be
deemed secured by the Loan Documents, and shall be subject to the aforementioned provisions
contained in the Loan Decuments governing the payment of attorneys' fees. No attorneys' fees
shall be due for such additional money expended until after ten days from your receipt of notice
of such additional Amounts Due, and you will have an opportunity to avoid such additional
attorneys' fees by the payment of the additional Amounts Due within ten days from receipt of
notice.
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                                                                                        Roberts
                                                                                   May 27, 2015
                                                                                         Page 3




        Notice is also hereby given to you pursuant to 0.C.G.A. Section 13-4-4, that Lender
continues to rely on and hereby continues to require strict compliance with each and every term
and condition of the Loan Documents and the other documents evidencing and securing the
indebtedness evidenced by the Secured Indebtedness, and none of the terms or conditions
contained in said Loan Documents shall be construed as having been modified by Borrower's
failure to make the payments required under the Loan Documents.

       All inquiries concerning the Loan Documents and any amounts due thereunder should be
directed to me at the firm of Busch White Norton, LLP (770-790-3550). I hereby give notice to
you that I am empowered to negotiate, amend and modify all terms of the Loan Documents with
you. A copy of this letter is being sent to you by certified mail. Refusal of delivery is deemed,
under the law, to be equivalent to notice.

This law firm is acting as a debt collector. This is an attempt to
collect a debt and any information obtained will be used for that
purpose.



                                            Sincerely,



                                            Guillermo Todd
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This is an attempt to collect a debt and any information obtained will be used for that purpose.

NOTICE OF SALE UNDER POWER GEORGIA, DEKALB COUNTY

By virtue of a Power of Sale contained in that certain Secretly Deed from ONI ROBERTS AND FORREST G ROBERTS, JR. to
Wilmington Savings Fund Society, FS13. not in its individual capacity but solely as Trustee for the PrimeStara Fund I Trust (by virtue of
that certain Assignment of Security Deed, filed and secluded December 26, 2014 in Deed Book 24720, Page 754, DEKALB COUNTY,
Georgia Records, assignee of U.S. Bank National Association. as Trustee for Prof-2013-53 Rattle Trust 111 as assignee of Bank of America,
NA.) ("PrirneStar), dated July 25, 2006, filed and recorded August 15, 2006 in Deed Book 1904$, Page 31, DeKalb County, Georgia
Records (as amended, modified, or revised from time to time. "Security Dea). said Security Deed having been given to secure a Note in the
original principal amount of THREE HUNDRED TWO THOUSAND AND NO/100THS DOLLARS ($302,000.00) (as amended, modified,
or revised from time to time, the "Note"), with interest thereon as provided for therein, there will be sold at public outcry to the highest
bidder for cosh before the courthouse door of DEKALB COUNTY, Georgia, within the legal hauls for sale an the first Tuesday In June.
2015, all property described in said Security Deed, including, but not limited to, declarants rights, if any, and, without limitafion, the
following described property (or so much thereof as has not, as of said first Tuesday, by duly executed and retooled instrument, previously
been released from the lien of the Security Deed):

ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOT 74 OF THE 18TH DISTRICT OF DEKALB
COUNTY, GEORGIA, AND BEING LOT 8, IVY RIDGE SUBDIVISION, AS PER PLAT RECORDED IN PLAT BOOK 118,
PAGES 43-44, DEKALB COUNTY, GEORGIA RECORDS, AS REVISED AT PLAT BOOK 118, PAGE 96, DEKALB COUNTY,
GEORGIA RECORDS, TO WHICH PLATS ARE HEREBY REFERENCED TO FOR THE PURPOSE OF INCORPORATING
HEREIN.

The indebtedness secured by said Security Deed has been and is hereby declared due because of default under the tams of said Security
Deed and Note, including, but not limited to, the nonpayment of the indebtedness as and when due. The indebtedness remaining in default,
this sale will be made for the pyrpose of paying the same, all expenses of the sale, including attorneys' fees and other payments provided for
under the terms of the Security Deed and Note.

Said property will be sold subject to the following items which may affect the tide to said property: all zoning ordinances; matters which
would be disclosed by an accurate survey or by inspection of the property; any outstanding taxes, including, but not limited to, ad valorem
taxes, which constitute liens upon said property; special assessmans; and all outstanding bills for public utilities which constitute liens upon
said property; To the best of the knowledge end belief of the undersigned, the party in possession of the property is ONI ROBERTS AND
FORREST G ROBERTS, JR. or theallt(s)-

The sale will be conducted subject (I) to confirmation that the sate is not prohibited under the United States Bankruptcy Code and (2) to final.
confirmation and audit riffle status of the loan with the holder of the Security Deed. PrimeStar mid its counsel are acting as debt collectors.
Any information obtained will be used for that purpose

PrimeStar us Attorney-In-Fact for OM ROBERTS AND FORREST G ROBERTS. JR.
Contact: Guillcmto Todd, Esq.
Busch White Norton, L12
3330 Cumberland Boulevard, Suite 300
Adana, Georgia 30339
Telephone (770) 790-3550
            Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 258 of 261




        Busch
        White
        Norton


        This law firm is acting as a debt collector. This is an attempt to
        collect a debt and any information obtained will be used for that
        purpose.



        VIA-CERTIFIED MAIL — RETURN RECEIPT REQUESTED

        Oni Roberts
        Forrest 0 Roberts, Jr.
        5371 Charity Way
        Stone Mountain, Georgia 30083

        Re:       Promissory Note (as amended, modified, or revised from time to time, the "Note") dated
                  July 25, 2006 in the original principal amount of S302000.00 by Oni Roberts and Forrest
                  G Roberts, Jr. ("Borrower") and in favor of Wilmington Savings Fund Society, FSB, not
                  in its individual capacity but solely as Trustee for the PrimeStar-11 Fund I Trust (assignee
                  of U.S. Bank National Association, as Trustee for Prof-2013-S3 Remic Trust III as
                  assignee of Bank of America, N.A., "Lender"), secured by that certain Security Deed
                  dated July 25,2006, filed and recorded August 15,2006 in Deed Book 19045, Page 31 of
                  the Official Records of the Clerk of Superior Court of DeKalb County, Georgia Os
                  amended, modified, or revised from time to time, the "Security Deed"); each of the above
                  described instruments being referred to herein as the "Loan Documents"

        Dear Borrower:

                This firm represents ,Lender with respect to the captioned matters. Borrower has
        committed a monetary default under the Loan Documents in that Borrower has not paid the debt
        service due under the Loan Documents for several months. As a result, Borrower has committed
        a default under the Loan Documents, thereby causing the acceleration, attorney's fees and
        foreclosure provisions of this letter to apply. Nonetheless, this letter is to give nOtice to you that
        you may cure this default by paying all accrued but unpaid interest, late fees, and costs incurred
        by Lender to date in connection with the Loan Documents and the real estate secured by the
        Loan Documents in the amount of




3330 Cumberland Blvd. Suite 300. Atlanta. GA 30339   P Wet 7e0-3530 F Wei 7,00-3520                   www.bwnfirmgam
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               FILED 10/16/2018 1:11 PM CLERK OF SUPERIOR COURT DEKALB COUNTY GEORGIA TD




                                      IN   THE SUPERIOR COURT OF DEKALB COUNTY,
                                                    STATE 0F GEORGIA


0N1 ROBERTS                                                                        CASE N0: 18CV 10026

PLAINTIFF,

Vs.


BANK 0F AMERICA, CORPORATION
FAY SERVICING, LLC; US BANCORP;
STATEBRIDGE COMPANY, LLC;
WILMINGTIN SAVINGS FUND SOCIETY,
FSB, (As Trustee            for the   Prime Star-H Fund
I   Trust);       PRIMESTAR FUND, ITRS,            INC;
BRET J. CHANESS, ESQ.

DEFENDANT,

                                                       AFFIDAVIT OF SERVICE

Personally app cared before me, the undersigned                   omcer duly authorized to       administer oaths, Donnie C.
Briley,   who, ﬁrst being duly sworn, on oath deposes and                 states that   he is   citizen   of the United   States   and
18 years of age or older and is a party having                 no interest in the above-styled       Aﬁant further states
                                                                                                   case.
that   on October       15‘“   2018   at   2:36 p m,   I   served StateBridge Company,     LLC by serving Jayne Rauser who
is   authorized to accept for their registered agent, Incorp Services, Inc. at her place of business located at
2000 Riveredge Pkwy., N.W.,                  Suite 885 Atlanta,    GA 30328 with the following: SUMMONS, VERIFIED
COMPLAINT, AFFIDAVIT OF POVERTY and GENERAL CIVIL AND DOMESTIC RELATIONS
CASE FILING INFORMATION FORM.

         Jayne Rauser ﬁt’s the following physical description: White female, 50-60 years                           old, 5’4”-5’6”
in height, 155-165 pounds, and Salt and pepper hair.



              I   declare under penalty ofpexjury that the foregoing is true                     rrect.



          This       16‘“   ofOctober, 2017.



                                                                                   Process Server
                                                                                   Donnie C. Bn‘ley
Subscribed and sworn to                                                            21 10 Spruce Lake Dr.
Before    me this      16‘”
                                                                                   Dacula,       GA 30019
Day of October, 2018,
And notarized by me on this                date.




            Linda S Kieﬁ‘er
             Notary Public
       ﬁwinnett County, Gebrgia
        ”My Commission Expires
          ’



             August 9, 2022
       Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 260 of 261
               FILED 10/16/2018 1:11 PM CLERK OF SUPERIOR COURT DEKALB COUNTY GEORGIA TD




                               m THE SUPERIOR COURT OF DEKALB COUNTY,
                                                    STATE OF GEORGIA


0N1 ROBERTS                                                                    CASE NO: 18CV10026

PLAINTIFF,

Vs.


BANK 0F AMERICA, CORPORATION
FAY SERVICING, LLC; US BANCORP;
STATEBRIDGE COMPANY, LLC;
WILMINGTIN SAVINGS FUND SOCIETY,
FSB, (As Trustee for the Prime Star-H Fund
        PRIMESTAR FUND, I TRS, INC;
I Trust);
BRET J. CHANESS, ESQ.

DEFENDANT,

                                                  AFFIDAVIT OF SERVICE

Personally appeared before me, the undersigned                omcer duly authorized to      administer oaths, Donnie C.
Briley,   who, ﬁrst being duly sworn, on oath deposes and             states that   he is citizen of the United   States   and
l8 years of age or older and         is   a party having no   interest in the above-styled case.      Aﬁant further states
       on October    16‘“   2018              a m, I served PrimeStar Fund
that                               at 10:00                                   I,   TRS,   Inc.   by sewing Linda Banks who
is                                            CT Corporation Systems at her place of business located
     authorized to accept for their registered agent,
at 289 S. Culver St Lawrenceville, GA 30046 with the following: SUMMONS, VERIFED

COMPLAINT, AFFIDAVIT OF POVERTY and GENERAL CIVIL AND DOMESTIC RELATIONS
CASE FILWG INFORMATION FORM.

        Linda Banks ﬁt’s the following physical description: White female, 60-70 years                       old, 5’ l” in
height, 120-130 pounds, and Salt and pepper hair.



          I   declare under penalty ofpeljury that the foregoing is u'ue and correct.




W
          This 16m of October, 2017.




                                                                               Process Server
                                                                               Donnie C.     Bn'l
Subscribed and sworn to                                                        21 10 Spruce          e Dr.
Before me this 16‘“                                                            Dacula,     GA 30019
Day ofOctober, 2018,
And notarized by me on this date.




          Linda S Kieﬂ'er
           Notary Public
     Gwinnett County, Georg'a
      My Commission Expires
          August 9, 2022
      Case 1:18-cv-05229-MHC-AJB Document 1-1 Filed 11/14/18 Page 261 of 261
                     FILED 10/16/2018 1:11 PM CLERK OF SUPERIOR COURT DEKALB COUNTY GEORGIATD



                                  IN THE SUPERIOR COURT OF DEKALB COUNTY,
                                                         STATE OF GEORGIA


0N1 ROBERTS                                                                          CASE NO: 18CV10026

PLAINTIFF,

Vs.


BANK 0F AMERICA, CORPORATION                               '




FAY SERVICING, LLC; US BANCORP;
STATEBRIDGB COMPANY, LLC;
WILMINGTIN SAVINGS FUND SOCETY,
FSB, (As Trustee for the Prime StaI-H Fund
ITrust); PRIMESTAR FUND, I TRS, INC;
BRET J. CHANESS, ESQ.

DEFENDANT,

                                                     AFFIDAVIT 0F SERVICE

Personally appeared before me, the undersigned                    omcer duly authorized to           administer oaths, Donnie C.
Briley,   who, ﬁrst being duly sworn, on oath deposes and                   states that   he   is   ciﬁzen of the United States and
18 yeaxs of age or older and            is   a pany having no     interest in the above-styled case.            Aﬁant further states
that   on October    16‘”   2018   at   10:00 a m,   I   served   Bank of America Corporation by                serving Linda Banks
who is authorized to accept for their reg'stered agent, CT Corporation Systems                             at   her place ofbusiness
located at    289   S.   Culver   St.   Lawrenceville,     GA 30046 with ﬂ1e following: SUMMONS, VERIFIED
COMPLAINT, AFFIDAVIT OF POVERTY and GENERAL CIVIL AND DOMESTIC RELATIONS
CASE FILING INFORMATION FORM.

        Linda Banks ﬁt’s the following physical description: White female, 60-70 years old,                                5’ I” in

height, 120-130 pounds, and Salt and pepper hair.



          I   declare under penalty          of perjury that the foregoing     is true    and   correct.




                                                                                                           é
          This   16‘“    ofOctober, 2017.


                                                                                          WE
                                                                                    Process Server
                                                                                    Donnie C. Briley
Subscribed and sworn to                                                             21 10 Spruce Lake Dr.
Before me this 16'“                                                                 Dacula, GA 30019
Day of October, 2018,                                                   -




And notarized by me on this date.




        Linda S Kieﬂ'et
         Notary Public
   Gwinnett County, Georgia
    My Commission Expires
        August 9, 2022
